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                              TAB D




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                                                                                               Filed 13 June 5 P4:39
                                                                                               Chris Daniel - District Clerk
                                                                                               Harris County
                                    2013-33584 I Court: 152                                    ED101J017526770
                                                                                               By: Jerri L. Coble
                                             NO. - - - - - - -

         WELLSHIRE FINANCIAL SERVICES, LLC,                    §             IN THE DISTRICT COURT
         d/b/a LOANSTAR TITLE LOANS                            §
         and INTEGRITY TEXAS FUNDING, LP,                      §
                                                               §
                 Plaintiffs,                                   §
                                                               §
         v.                                                    §
                                                               §         OF HARRIS COUNTY, TEXAS
         TMX FINANCE HOLDINGS, INC.;                           §
         TMX FINANCE, LLC;                                     §
         TMX FINANCE OF TEXAS, INC.;                           §
         TITLEMAX OF TEXAS, INC.;                              §
         FELIX DeLEON;                                         §
         and ISHMAEL HERNANDEZ,                                §
                                                               §
                 Defendants.                                   §        - - - - JUDICIAL DISTRICT

                                   PLAINTIFFS' ORIGINAL PETITION AND
                                       REQUEST FOR DISCLOSURE

                 COME NOW,          Plaintiffs   WELLSHIRE FINANCIAL          SERVICES,      LLC,     d/b/a

         LOANSTAR TITLE LOANS and INTEGRITY TEXAS FUNDING, LP and file this Original

         Petition and Request for Disclosure, and respectfully shows the following:

                                                 I.         DISCOVERY

         1.      Pursuant to Tex. R. Civ. P. 190.3, discovery is intended to be conducted under a Level 3

         discovery control plan.

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......                                                II.    PARTIES
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         2.      Plaintiff Wellshire Financial Services, LLC, d/b/a LoanStar Title Loans ("LoanStar") is a

         limited liability company organized under the laws of the State of Georgia.          LoanStar is

         registered to transact business in the State of Texas.




                                                                                         APPENDIX 0018
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          3.      Plaintiff Integrity Texas Funding, LP ("Integrity") is a limited partnership organized

          under the laws of the State of South Carolina. Integrity is registered to transact business in the

          State of Texas.

          4.      LoanStar and Integrity are hereafter referred to collectively as "Plaintiffs."

          5.      Defendant TMX Finance Holdings, Inc. ("TMX Finance Holdings") is a corporation

          organized under the laws of the State of Delaware, whose home office address is 15 Bull Street,

          Suite 200, Savannah, GA 31401. Defendant TMX Finance Holdings has engaged in business in

          the State of Texas, does not maintain a regular place of business in the State of Texas, does not

          have a registered agent for service of process in the State of Texas, and therefore may be served

          with process through the Texas Secretary of State, 1019 Brazos Street, Austin, Texas 78701.

          6.      Defendant TMX Finance, LLC ("TMX Finance") is a limited liability company

          organized under the laws of the State of Delaware, whose home office address is 15 Bull Street,

          Suite 200, Savannah, GA 3140 I. Defendant TMX Finance has engaged in business in the State

          of Texas, does not maintain a regular place of business in the State of Texas, does not have a

          registered agent for service of process in the State of Texas, and therefore may be served with

          process through the Texas Secretary of State, 1019 Brazos Street, Austin, Texas 78701.

          7.      Defendant TMX Finance of Texas, Inc. ("TMX Finance Texas") is a corporation

          organized under the laws of the State of Delaware. TMX Finance Texas is registered to transact

          business in the State of Texas and may be served with process by serving its registered agent, CT

          Corporation System, at 350 North St. Paul St., Suite 2900, Dallas, Texas 75201.

          8.      Defendant TitleMax of Texas, Inc. ("TMX Texas") is a corporation organized under the
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~         laws of the State of Delaware. TMX Texas is registered to transact business in the State of
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Texas and may be served with process by serving its registered agent, CT Corporation System, at

350 North St. Paul St., Suite 2900, Dallas, Texas 75201.

9.       Defendant Felix DeLeon, an individual, may be served with process at his usual place of

business, TitleMax, 1930 W. William Cannon Road, Austin, Travis County, Texas 78745, or

wherever he may be found.

10.      Defendant Ishmael Hernandez, an individual, is believed to be a resident of Harris

County, Texas. Defendant Hernandez may be served with process at his usual place of business,

TitleMax, 5248 Aldine Mail Route Rd., Houston, Harris County, TX 77039, or wherever he may

be found.

11.      Defendants TMX Finance Holdings, TMX Finance, TMX Finance of Texas, TMX Texas,

Felix DeLeon and Ishmael Hernandez are jointly and severally liable for Plaintiffs' claims and

are collectively referred to as "Defendants" or "TitleMax."

                                     III.     JURISDICTION

12.      The court has jurisdiction over the lawsuit because the amount in controversy exceeds

this court's minimum jurisdictional requirements.

13.      The court has jurisdiction over defendants, nonresident corporations, because Defendants

have purposefully availed themselves of the privileges and benefits of conducting business in

Texas.

                                            IV.   VENUE

14.      Venue is proper in Harris County under Chapter 15 of the Tex. Civ. Prac. & Rem. Code,

including but not limited to § 15.002.




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                                               V.     ACTS OF AGENTS

         15.     When it is alleged that Defendants did any act, it is meant that Defendants performed or

         participated in such act or thing, or Defendants' officers, agents or employees performed or

         participated the act or thing and were authorized to do so by Defendants.

                                                     VI.   FACTS

                                         A.         PLAINTIFFS' BUSINESS

         16.    LoanStar is licensed and operates as a Credit Services Organization ("CSO") under Texas

         law.

         17.    Integrity operates as a consumer lender to provide secured and unsecured loans to

         customers.

         18.    LoanStar brokers loans exclusively with Integrity. The loans that LoanStar and Integrity

         specialize in offering are loans secured by customers' motor vehicles.

         19.    The major value of a customer's business to Plaintiffs is the retention of that customer,

         both for refinances and future loans. Therefore, Plaintiffs invest significant time and resources in

         developing the existing customer relationship. Due to these efforts, customers will return to

         Plaintiffs for future loans and use Plaintiffs to refinance their loans. It is this customer retention

         that produces value for Plaintiffs.

N        20.    To preserve that value, Plaintiffs expend significant effort and money to obtain and retain

         the business of its customers. Plaintiffs' customer list is proprietary and confidential, and the

         information is appropriately protected from any unauthorized access or distribution.
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N        21.    LoanStar shares its proprietary customer list and customer loan information with Integrity
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..0      under contractual assurances of confidentiality and appropriate treatment. LoanStar's customers
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z        are Integrity's customers.
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                                        B.     DEFENDANTS' BUSINESS

          22.      Defendants are part of a family of related companies operating under the name

          "TitleMax." TitleMax is engaged in the business of automobile title lending, and is a competitor

          of Plaintiffs.

          23.      Defendant TMX Texas operates as a CSO under Texas law and is a competitor of

          Plaintiffs.

          24.      Defendant TMX Finance Texas also operates as a CSO under Texas law and is a

          competitor of Plaintiffs.

          25.      Defendant TMX Finance is a parent company which owns all ownership and membership

          interests of various operating subsidiaries, including Defendants TMX Finance Texas and TMX

          Texas. Defendant TMX Finance manages, directs, and controls all operations of its operating

          subsidiaries, including Defendants TMX Finance Texas and TMX Texas.

          26.      Defendant TMX Finance Holdings is a parent company which owns all ownership and

          membership interests in Defendant TMX Finance, and thus indirectly owns Defendants TMX

          Finance Texas and TMX Texas.

                           C.     TEXAS DMV DRIVER INFORMATION DATABASE

          27.      The Texas Department of Motor Vehicles ("OMV") maintains a database of records

          containing drivers' personal information collected in connection with obtaining a driver's license

          and/or vehicle registration ("OMV Records"). The OMV sells OMV Records to certain entities

..-       who are authorized to resell the OMV Records under very limited circumstances (the
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N         "Authorized Resellers").    Access to OMV Records is severely restricted to only a few
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..0       permissible uses because of the sensitive personal identifying nature of the information contained
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          Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 7 of 296




      therein. Violation of the federal and state laws limiting access to DMV Records is a punishable

      criminal offense.

                     D.       CONDUCT OF DEFENDANTS' EMPLOYEES OR AGENTS

      28.        Defendants have surreptitiously targeted and collected the license plate numbers of the

      customers in Loan Star's parking lot, using that information to perform impermissible searches

      for the customers' personal information in DMV Records.

      29.        Defendants have searched and continue to search the DMV Records by lienholder for

      Plaintiffs' customers, obtaining the customers' personal information, and then using such

      personal information for impermissible purposes.

      30.        Through these acts, Defendants are collecting and compiling the information contained in

      Plaintiffs' confidential customer lists for Defendants' use in the direct contact and solicitation of

      Plaintiffs' customers.

      31.        Individual Defendants Felix DeLeon and Ishmael Hernandez have actively assisted

      Defendants in       ~arrying out the illegal and unlawful conduct described herein. 1
      32.        Defendants illegal and unlawful actions have interfered with and hindered Plaintiffs'

      ability to conduct their businesses and affairs with such customers. As a result, Plaintiffs have

      suffered significant actual damages.

                                            VII.    CAUSES OF ACTION

            A.        COUNT I- MISAPPROPRIATION OF PLAINTIFFS' TRADE SECRET

      33.     Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.
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N     34.     Plaintiffs' customer list and related loan information are trade secrets under Texas law.
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        Plaintiffs believe that other individuals may have actively assisted Defendants in carrying out the illegal and
g     unlawful conduct described herein and reserve the right to add additional defendants if appropriate.
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                                                                                                   APPENDIX 0023
      Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 8 of 296




    35.     Defendants have acquired or discovered Plaintiffs' trade secret by improper means.

    Defendants have performed unlawful and impermissible searches for the drivers' personal

    information in the DMV Records in order to target Plaintiffs' customers for direct contact and

    solicitation. This conduct is continuous and ongoing.

    36.    Defendants have used, and continue to use, Plaintiffs' trade secret without authorization

    from Plaintiffs. Upon information and belief, Defendants have accessed information from the

    DMV Records to circumvent the measures Plaintiffs have in place to prevent unauthorized

    access to Plaintiffs' trade secret.    Defendants then used the unlawfully accessed personal

    information to solicit Plaintiffs' customers for business.

    37.    Defendants' unauthorized use of Plaintiffs' trade secret has harmed Plaintiffs.

    Defendants were and are in fact using the personal information, including the name, address,

    date of birth, and driver's license number, to directly contact and solicit Plaintiffs' existing and

    prospective customers. Defendants' unlawful efforts have caused Plaintiffs to Jose customers to

    Defendants.

    38.    As a direct and proximate result of Defendants' infringing acts, Plaintiffs have suffered

    damages in the form of the Joss of existing and prospective customers, Joss of business goodwill,

    loss of interest payments under the current loan contracts, loss of interest payments under the

N   prospective loan contracts, and loss of associated prospective fees in an amount not less than that

    which will make Plaintiffs whole and which will be proven at trial.

    39.    Defendants' conduct was committed intentionally, knowingly, and with callous disregard

    of Plaintiffs' legitimate rights. Accordingly, Plaintiffs are entitled to recover exemplary damages

    in an amount to be determined by a jury.




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                 B.        COUNT II - TORTIOUS INTERFERENCE WITH INTEGRITY'S LOAN
                                                CONTRACTS

           40.        Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.

           41.        Defendants had actual knowledge of the valid Loan Contracts existing between Integrity

           and its customers.

           42.        Despite their actual knowledge of the Loan Contracts, Defendants willfully and

           intentionally interfered with the customers' performance of the Loan Contracts by one, or both,

           of the following independently tortious and unlawful acts for the purpose of directly contacting

           and soliciting Plaintiffs' customers: (1) surreptitiously recording the customers' license plate

           numbers to perform impermissible searches of the OMV Records or (2) impermissibly searching

           the OMV Records by lienholder for Integrity's customers. Defendants were not parties to the

           Loan Contracts, had no rights or interests in the Loan Contracts and no legitimate justification or

           excuse for their interference.

           43.        Integrity has been damaged as a direct and proximate result of Defendants' conduct

           including the loss of existing customers and Loan Contracts, loss of business goodwill, and loss

           of interest due under the Loan Contracts, in an amount not less than that which will make

           Integrity whole and which will be proven at trial.

           44.        Defendants' conduct was committed intentionally, knowingly, and with callous disregard
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'O         of Integrity's legitimate rights. Accordingly, Integrity is entitled to recover exemplary damages
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l          in an amount to be determined by a jury.

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                      C.   COUNT III - TORTIOUS INTERFERENCE WITH INTEGRITY'S
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                      PROSPECTIVE LOAN CONTRACTS AND BUSINESS RELATIONSHIPS
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..0        45.        Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.
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46.    Defendants had actual knowledge of the relationship between Integrity and its customers,

including the reasonable probability that Integrity would have entered into business relationships

with its repeat customers.

47.    Despite Defendants' actual knowledge of the current and prospective relationships

between Integrity and its customers, Defendants willfully and intentionally interfered with

Integrity's prospective contracts and business relationships by one, or both, of the following

independently tortious and unlawful acts for the purpose of directly contacting and soliciting

Plaintiffs' customers: (1) surreptitiously recording the customers' license plate numbers to

perform impermissible searches of the OMV Records or (2) impermissibly searching the OMV

Records by lienholder for Integrity's customers.           Defendants had no legitimate right,

justification, or excuse to interfere in the relationship between Integrity and its customers, and

Defendants' conduct was intentionally calculated to damage Integrity.

48.    Integrity has been damaged as a direct and proximate result of Defendants' conduct

including the loss of prospective Loan Contracts, loss of business goodwill, and loss of interest

due under the prospective Loan Contracts, in an amount not less than that which will make

Integrity whole and which will be proven at trial.

49.    Defendants' conduct was committed intentionally, knowingly, and with callous disregard

of Integrity's legitimate rights. Accordingly, Integrity is entitled to recover exemplary damages

in an amount to be determined by a jury.

        D.  COUNT IV -TORTIOUS INTERFERENCE WITH LOANSTAR'S
        PROSPECTIVE CSO CONTRACTS AND BUSINESS RELATIONSHIPS

50.    Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.




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         51.    Defendants had actual knowledge of the relationship between LoanStar and its existing

         customers, including the reasonable probability that LoanStar would have entered into business

         relationships with its repeat customers.

         52.    Despite Defendants' actual knowledge of the relationship between LoanStar and its

         customers, Defendants willfully and intentionally interfered with LoanStar's prospective

         contracts and business relationships by one, or both, of the following independently tortious and

         unlawful acts for the purpose of directly contacting and soliciting Plaintiffs' customers: (1)

         surreptitiously recording the customers' license plate numbers to perform impermissible searches

         of the OMV Records or (2) impermissibly searching the DMV Records by lienholder for

         Integrity's customers. Defendants had no legitimate right, justification, or excuse to interfere in

         the relationship between LoanStar and its customers, and Defendants' conduct was intentionally

         calculated to damage LoanStar.

         53.    LoanStar has been damaged as a direct and proximate result of Defendants' conduct

         including the loss of existing customers, loss of business goodwill, and loss of CSO Fees under

         the prospective CSO Contracts, in an amount not less than that which will make LoanStar whole

         and which will be proven at trial.

         54.    Defendants' conduct was committed intentionally, knowingly, and with callous disregard

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         of LoanStar's legitimate rights. Accordingly, LoanStar is entitled to recover exemplary damages
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         in an amount to be determined by a jury.
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......                                    VIII. EQUITABLE RELIEF
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N        55.    As may be demonstrated in a separate application for temporary restraining order,
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.D       temporary injunction, and permanent injunction, Plaintiffs request any and all equitable relief to
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z        which they may be entitled.




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                                                                                           APPENDIX 0027
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                                             IX.      JURY DEMAND

       56.     Plaintiffs demand a jury trial and tender the appropriate fee with this petition.

                                        X.   CONDITIONS PRECEDENT

       57.     All conditions precedent to Plaintiffs' claim for relief have been performed or have

       occurred.

                                       XI.   REQUEST FOR DISCLOSURE

       58.    Under Tex. R. Civ. Proc. 194, Plaintiffs request that Defendants disclose, within 50 days

       of the service of this request, the information or material described in Rule 194.2.

                                                   XII.    PRAYER

               WHEREFORE, Plaintiffs respectfully pray that Defendants be cited to appear and

       answer, and on final trial, that Plaintiffs be awarded a judgment against Defendants, jointly and

       severally, for the following:

              a.      Actual damages;

              b.      Exemplary damages;

              c.      Prejudgment and postjudgment interest;

              d.      Court costs; and

              e.      All other relief to which Plaintiffs are entitled.

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                                                          SUTHERLAND ASBILL & BRENNAN LLP
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                                                          By: Isl Daniel Johnson
                                                                  Kent C. Sullivan
                                                                  Texas Bar No. 19487300
                                                                  Daniel Johnson
                                                                  Texas Bar No. 24046165
                                                                  Robert A. Lemus
                                                                  Texas Bar No. 24052225
                                                              1001 Fannin, Suite 3700
                                                              Houston, Texas 77002
                                                              Telephone: (713) 470-6100



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          Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 13 of 296




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                                                  E-mail: Robert.lemus@sutherland.com


                                          And

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                                                      (Pro Hae Vice in Process)
                                                      Kenneth W. Stroud
                                                      Georgia Bar No. 940329
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                                                  Attorneys for Plaintiff
                                                  Wellshire Financial Services, LLC dlbla
                                                  LoanStar Title Loans and
                                                  Integrity Texas Funding, LP



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     I, Chris Daniel, District Clerk of Harris
     County, Texas certify that this is a true and
     correct copy of the original record filed and or
     recorded in my office, electronically or hard
     copy, as it appears on this date.
     Witness my official hand and seal of office
     this February 6. 2017


     Certified Document Number:         56223691 Total Pages: 12




     Chris Daniel, DISTRICT CLERK
     HARRIS COUNTY, TEXAS




In accordance with Texas Government Code 406.013 electronically transmitted authenticated
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please e-mail support@hcdistrictclerk.com




                                                                                       APPENDIX 0030
Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 15 of 296
                                                                                              Filed 13 June 13 P3:46
                                                                                              Chris Daniel - District Clerk
                                                                                              Harris County
                                                                                              FAX15499217

                                                          NO. 2013-33584

 WELLSHIRE FINANCIAL SERVICES, LLC, §                                       IN THE DISTRICT COURT
 cl/b/a LOANSTAR TITLE LOANS        §
 and INTEGRITY TEXAS FUNDING, LP,   §
                                    §
                Plaintiffs,         §
                                    §
 V.                                 §                                       OF HARRIS       co~. TEXAS
 TMX FINANCE HOLDINGS, INC.;                                     ~                        a(o/j
 TMX FlN/\NCE, LLC;                                              §                        ~
 TMX HNANCE OF TEXAS, INC.;                                      §                     o~
 TTTLEMAX OF TEXAS, INC.;
                                                                 §                 o~J?
 FELIX DeLEON;
                                                                 §             ;(),~
 and ISHMAEL HERNANDEZ,                                          §           ~~
                                                                 §         o.@Ji
                             Defendants.                         §         ~2nd JUDICIAL DISTRICT

                            DEFENJ)ANTS TMX                   FINANC..&~EXAS,
                                                           INC. AND
                            TITLEMAX OF TEXAS, IN~¥RIGINAL ANSWER

 TO TI-IE HONORABLE JUDGE OF THIS                             C~:
            COME NOW, Defendants TMX &nee of Texas, Inc. and TitleMax of Texas, Inc.


                           .              .            <&#'
 ("Defendants''), and file this Original, A'l@(ver, in support of which they would show as follows:

                                                      (§~JENERAL DENIAL
            Subject to all        stipula!~~nd admissions that may hereinafter be made.• Defendants assert
                                              <Ql ~
 a general denial as           aut~~~d by Rule 92 of the Texas Rules of Civil Procedure, hereby denying
 each and every, a1J #singular, of the material allegations in Plaintiffs' Original Petition, and
                         (!:i(t;j}.
 demand that W~:iiire Financial Services, LLC d/b/a Loanstar Title Loans and Integrity Texas
                    ~~                .
 Funding, L':t~)Plaintiffs") be required to prove its charges and allegations against Defendants as

 required by the Constitution and laws of the State of Texas.




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                                     PRAYER FOR RELIEF


              WHEREFORE, PREMISES CONSIDERED, Defendants pray that Plaintiffs take

nothing; that these Defendants recover their costs of court; and that they be granted such other

and further relief, at law or in equity, to which they may show themselves justly entitled.


                                              Respectfully submitted,

                                              BECK REDDEN LLP


                                              By:«.-
                                                   . - -.J4<- - - - - - - - --+--
                                                  Da · J. Beck
                                                  State Bar No. 00000070
                                                  Geoff A. Gannaway
                                                  State Bar No . 24036617
                                                  Bryon A. Rice
                                                  State Bar No. 24065970
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                                              Tel: 713-951-3700
                                              Fax: 713-951-3720
                                              Email: dbeck@beckredden.com
                                                      ggannaway@beckredden.com
                                                      bri ce@beckredden. corn

                                              ATTORNEYS FOR DEFENDANTS
                                              TMX FINANCE OF TEXAS, INC. AND
                                              TITLEMAX OF TEXAS, INC.




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                                                                               APPENDIX 0032
   Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 17 of 296




                               CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing instrument to be
served on counsel of record in accordance with Rules 21 and 21 a of the Texas Rules of Civil
Procedure on this 13th day of June, 2013, by email and facsimile:

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                                                                           APPENDIX 0033
   Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 18 of 2964/9/2014 3:27:52 PM
                                                                                       Chris Daniel - District Clerk Harris County
                                                                                                            Envelope No. 949860
                                                                                                               By: SALENE SMITH


                                                  NO. 2013-33584

WELLSHIRE FINANCIAL SERVICES, LLC, §                                     IN THE DISTRICT COURT
d/b/a LOANSTAR TITLE LOANS         §
and INTEGRITY TEXAS FUNDING, LP,   §
                                   §
              Plaintiffs,          §
                                   §
V.                                 §                                     OF HARRIS CO~Y, TEXAS
                                   §
                                                                                     ~@
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TMX FINANCE HOLDINGS, INC.;        §
TMX FINANCE, LLC;                  §
TMX FINANCE OF TEXAS, INC.;        §                                           o~
TITLEMAX OF TEXAS, INC.;           §                                         ~
FELIX DeLEON;                      §                                        o~
and ISHMAEL HERNANDEZ,             §
                                   §                                     ~
              Defendants.          §                               i:;,~2nct JUDICIAL DISTRICT
                                                                   ()
                           DEFENDANT TMX FINANCE L                      ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF THIS                        C~,
             COMES NOW, Defendant TMX               F~Ue, LLC ("TMX Finance"), and files this Original
Answer, in support of which it would            s~~s follows:
                                              ~~ENERAL DENIAL
             Subject to all       stipul~~q   nd admissions that may hereinafter be made, TMX Finance

asserts a general denial            u~orized by Rule 92 of the Texas Rules of Civil Procedure, hereby
denying each and                ~~'   all and singular, of the material allegations in Plaintiffs ' Original

Petition, and              d~qs that Wellshire Financial Services, LLC d/b/a Loanstar Title Loans and
                           g
Integrity ~Funding, LP ("Plaintiffs") be required to prove their charges and allegations

against TMX Finance as required by the Constitution and laws of the State of Texas.




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                                           PRAYER FOR RELIEF

             WHEREFORE, PREMISES CONSIDERED, TMX Finance prays that Plaintiffs take

nothing; that TMX Finance recover its costs of court; and that it be granted such other and

further relief, at law or in equity, to which it may show itself justly entitled.




                                                                            'R,,a *
                                                  Respectfully submitted,           ~
                                                  BECK REDDENLLP
                                                                        o~
                                                  By:.~-=7"7-~~~~.,,.........,=-----r-~~~+-
                                                      D      J. Bee
                                                        ate Bar ~O 000070
                                                      Geoff A. ~away
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                                                      Sta~
                                                         to. 24036617
                                                     Bry, n    . Rice
                                                      St~     ar No. 24065970
                                                  122li,9£6Kinney Street, Suite 4500
                                                  ~on, Texas 77010
                                                  ~: 713-951-3700
                                                 ~ax: 713 -951-3720
                                                  Email: dbeck@beckredden.com
                                         0
                                           <t:J;@         ggannaway@beckredden.com
                                         ~                brice@beckredden.com
                                       0              Stephen T. LaBriola
                                     ~~               Christina M. Baugh
                                   (Jg            FELLOWS LABRIOLA LLP
                                                  Suite 2300, South Tower, Peachtree Center

                              o~                  225 Peachtree Street, N.E.
                                                  Atlanta, Georgia 30303 -1731
                           ~<r:J                  Tel. 404 586-9200
                                                  Fax: 404 529-4028
                       ~cg                        Email: slabriola@fellab.com
                 ~                                       cbaugh@fellab.com

                                                  ATTORNEYS FOR DEFENDANTS
                                                  TMX FINANCE OF TEXAS, INC.,
                                                  TITLEMAX OF TEXAS, INC. AND
                                                  TMX FINANCE LLC




1730.0000 I/54 1663 .v I




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                                    CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing instrument to be
served on counsel of record in accordance with Rules 21 and 21a of the Texas Rules of Civil
Procedure on this 9th day of April, 2014, by email and facsimile:

SUTHERLAND ASBILL & BRENNAN LLP
Kent C. Sullivan, Esq.
Daniel Johnson, Esq.                                                  (}  J!
Robert A. Lemus, Esq.
                                                                     ~
Facsimile: (713) 654-1301
E-mail: kent. sulli van@sutherland.com                            ~rt;j
E-mail: daniel .j ohnson@suther land. com                     o~
E-mail: robert.lemus@sutherland.com
                                                          ~<t:J
WARGO&FRENCH,LLP                                       ~@
Joseph D. Wargo                               ~<f!PJ
Sarah Powers                                  V
Christina Goebelsmann                      rP/>,
Facsimile: (404) 853-1501                ~~d/
                                         ~""
E-Mail: jwargo@wargofrench.com         rr~
E-Mail: spowers@wargofrench.com      ~Y
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                                        @

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                                                                            5/30/2014 4 :05:34 PM
                                                                                Chris Daniel - District Clerk Harris County
                                                                                                    Envelope No. 1408594
                                                                                                        By: SALENE SMITH



                                            NO.   2013~33584


WELLSHIRE FINANCIAL SERVICES, LLC,                                      IN THE DISTRICT COURT
d/b/a LOANST AR TITLE LOANS, d/b/a/
MONEYMAX TITLE LOANS, and d/b/a
LOANMAX; MEADOWWOOD FINANCIAL
SERVICES, LLC, d/b/a LOANSTAR TITLE
LOANS, and d/b/a/ MONEYMAX TITLE
LOANS; and INTEGRITY TEXAS
FUNDING, LP,

        Plaintiffs,
                                                                   OF
                                                                                ri*
                                                                        HA~OUNTY, TEXAS
                                                                            ~
                                                                         o~
v.                                                                      ~
                                                                    o~
TMX FINANCE HOLDINGS, INC.;                                        Q
TMX FINANCE, LLC;           .                                  ~
                                                               o~
TMX FINANCE OF TEXAS, INC.; and
TITLEMAX OF TEXAS, INC.
                                                               ~
                                                                        152nd JUDICIAL DISTRICT
        Defendants.




        COME NOW, Plaintiff'. ~;SHIRE FINANCIAL SERVICES, LLC, d/b/a

LOANSTAR TITLE LOANS,               d/V~v10NEYMAX         TITLE LOANS, and d/b/a LOANMAX;

MEADOWWOOD              FINANCI~ERVICES,            LLC, d/b/a LOANSTAR TITLE LOANS, and

d/b/a/ MONEYMAX              TI~~OANS; and INTEGRITY TEXAS FUNDINO, LP and file this
                              ~·
Amended Petition and'~uest for Disclosure, and respectfully show the following:
                      a<k$J
                      ~'Yo      ·      I.         DISCOVERY.

1.      Purs~~ Tex. R. Civ. P. 190.4, discovery is to be conducted under a Level 3 discovery
control plan.

                                            II.    PARTIES

2.      Plaintiff Wellshire Financial Services, LLC, d/b/a LoanStar Title Loans, d/b/a

MoneyMax Title Loans, and d/b/a LoanMax ("Wellshire") is. a limited liability company




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organized under the laws of.the State of Georgia. Wellshire is registered to transact business in

the State of Texas.

3.       Plaintiff Meadowwood Financial Services, LLC, d/b/a LoanStar Title Loans, and d/b/a/

MoneyMax Title Loans ("Meadowwood") is a limited liability company organized under the

laws of the State of Georgia. Meadowwood is registered to transact              busin~ the       State of
                                                                                 ~<@
Texas.                                                                         · ~
                                                                                ~               .
4.       Plaintiff Integrity Texas Funding, LP ("Integrity") is a          li~~ pai1nership    organized

under the laws of the State of South Carolina. Integrity is        re~ to transact business in the
State of Texas.                                                    o   ~
                                                                       ~
5.       Wellshire, Meadowwood, and Integrity              ax~after         referred to collectively as

"Plaintiffs."                                              ~

6.       Defendant TMX Finance Holdings,             I~TMX ·Finance         Holdings") is a corporation

organiz~d under the laws of the State of D~are, whose home office address is 15 Bull Street,
                                                ~
Suite 200, Savannah, GA 31401. Dr                   t TMX Finance Holdings has engaged in business in

the State of Texas, does not mainQ            a regular place of business in the State of Texas, does not

have a registered agent for         ·~"'of process in the State of Texas, and therefore may be served
with process through   th~s Secretary of State, 1019 Brazos Street, Austin, Texas 78701.
                       0   rt!fjj
7.       Defendant,                 Finance, LLC ("TMX Finance") is a limited liability company

organized unde~ laws of the State of Delaware, whose home office address is 15 Bull .Street,

Suite 200,   S~ah, GA 31401.              Defendant TMX Finance has engaged in business in the State

of Texas, does not maintain a regular place of business in the State of Texas, does not have a

registered agent for service of process in the State of Texas, and therefore may be served with

process through the Texas Secretary of State, 1019 Brazos Street, Austin, Texas 78701.



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8.       Defendant TMX Finance of Texas, Inc. ("TMX Finance Texas") is a corporation

organized under the laws of the State of Delaware. TMX Finance Texas is registered to transact

business in the State of Texas and may be served with process by serving its registered agent, CT

Corporation System, at 350 North St. Paul St., Suite 2900, Dallas, Texas 75201.

9.       Defendant TitleMax of Texas, Inc. ("TMX Texas") is a corporatio~,zed under the

laws of the State of Delaware. TMX Texas is registered to transact b1'Jess in the State of
               .                                                          ~

Texas and may be served with process by serving its registered   age~~Corporation System, at
                                                                  00-.~
                           •
350 North St. Paul St., Suite 2900, Dallas, Texas 75201.         Q""                   .




10.      Defendants TMX Finance Holdings, TMX           Financ~~X Finance of Texas, and TMX
Texas are jointly and severally liable for     Plaintiffs'~and are collectively referred to as
"Defendants" or "TitleMax."                            §!!?
                                      III.     JU~ICTION
11.      The court has jurisdiction over     the~suit because the amount in controversy exceeds
                                             ~                                    .

this court's minimum jurisdictional ~ments.

12.                         Y Defendants, nonresident corporations, because Defendants
         The court has jurisdiction

have purposefully availed ~~ves of the privileges and benefits of conducting business in

Texas.                   ~~
                       o~
                    ~                        IV.   VENUE

13.      Venue iw     per in Harris County under Chapter 15 of the Tex. Civ. Prac. & Rem. Code,

including   bu~t limited to §15.002.




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                                             V.     ACTS OF AGENTS

14.      When it is alleged that Defendants did any act, it is meant that Defendants performed or

participated in such act or thing, or Defendants' officers, agents, or employees performed or

participated the act .or thing and were authorized to do so by Defendants.

                                                   VI.   FACTS                      (j
                                                                                       JI
                                                                                  ~
                                        A.                    ;/f;:<t;j
                                                  PLAINTIFFS' BUSINESS

15.    Wellshire is licensed and operates as a Credit Servi~~ganization ("CSO")                      under
                                                           ~
Texas law.                                              o{f(P
16.      Meadowwood is licensed and operates as a              C~rvices Organization (''CSO") under
Texas law.                                                   ~

17.      Integrity operates as a consumer              le~
                                                         ~o      provide ·secured and unsecured loans to

customers.                                           ~
                                                   ~
18.      Wellshire brokers loans excl~ with Integrity. The loans that Wellshire and Integrity

specialize in offering are loans secY d by customers' motor vehicles.

19.      Meadowwood           broker~s exclusively with Integrity. The loans that Meadowwood and
Integrity specialize in       o~~ are loans secured by customers' motor vehicles.
20.      The major fl?    0    rt!fjj
                                  of a customer's business to Plaintiffs is the retention of that customer,

both for refin~nd future loans. Therefore, Plaintiffs invest significant time and resources in

developing   ~existing customer relationship.                Due to these efforts, customers will return to

Plaintiffs for future loans and use Plaintiffs to refinance their loans. It is this customer retention

that produces value for Plaintiffs.




                                                         4


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21.      To preserve that value, Plaintiffs expend significant effort and money to obtain and retain

the business of its customers. Plaintiffs' customer list is proprietary and confidential, and the

information is appropriately protected from any unauthorized access or distribution.

22.      Wellshire shares its proprietary customer list and customer loan information with

Integrity under contractual assurances of confidentiality and appropriate   treat~.     Wellshire' s

customers are Integrity's customers.                          .              V~<@
                                                                          ~
23.      Meadowwood shares its proprietary customer list and          cust~loan   information with

Integrity under contractual assurances of             confidentiali~        appropriate treatment.

Meadowwood's customers are Integrity's customers.             o   ~
                                                                  ~
                                  B.   DEFENDANTS<)~NESS
24.      Defendants are part of a family of relaQ companies operating under the name
                                                      ~@              .



"TitleMax." TitleMax is engaged in the busin~ automobile title lending, and is a competitor

of Plaintiffs.                               ~
                                           ~
25.      Defendant TMX Texas ope~~as a CSO under Texas law and is a competitor of

Plaintiffs.                            U
26.      Defendant TMX Fin@"\exas also operates as a CSO under Texas law and is a

competitor of    Plaintiffs. ~Q
                    rt!fjj
                        0      .
27.      Defendant ~Finance is a parent company that owns all ownership and membership

interests of var~perating subsidiaries, including Defendants TMX Finance Texas and TMX

Texas.   Def~t TMX Finance manages, directs, and controls all operations of its operating
subsidiaries, including Defendants TMX Finance Texas and TMX Texas.




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28.       Defendant TMX Finance Holdings is a parent company which owns all ownership and

membership interests in Defendant TMX Finance, and thus indirectly owns Defendants TMX

Finance Texas and TMX Texas.

                      C.         TEXAS DMV DRIVER INFORMATION DATABASE

29.       The Texas Department of Motor Vehicles ("DMV") maintains a                     d~se     of records
                                                                                        ~<@)
containing drivers' personal information collected in connection with obt~g a driver's license
                                                                        ~
and/or vehicle registration ("DMV Records"). The DMV sells DM'C~ords to certain entities
                                                                                ~                   .
who are authorized to resell the DMV Records under ~1imited circumstances (the

"Authorized Resellers").                  Access to DMV Records iso ~rely restricted to only a few
                                                                         ~
permissible uses because of the sensitive personal             ide~nature of the infonnation contained
therein.   Violati~n       of the federal and state laws   li ~it'@g   access to DMV Records is a punishable

criminal offense.                                     .   ~
             D.                   DEFE~NTS' EMPLOYEES OR AGENTS
                           CONDUCT OF

30.   Defendants have surreptitio~geted and collected the license plate numbers of the

customers in Wellshire's parking Q, using that info1mation to perform impermissible searches

for the customers' persoilal              i~tion in DMV Records.
31 .      Upon   informati~g belief, Defendants have also surreptitiously targeted and collected
                  .          0   rt!fjj
the license plate~~ers of the customers in Meadowwood's parking lots, using that

information to ~rm impermissible searches for the ?ustomers' personal information in DMV

Records.      ~                            ·      .

32.       Defendants have searched and continue to search the DMV Records by lienholder for

Plaintiffs' customers, obtaining the customers' personal information, and then using such

personal information for impermissible purposes.



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    33.        Tlrrough these acts, Defendants are collecting and compiling the information contained in

    Plaintiffs' confidential customer lists for Defendants' use in the direct contact and solicitation of

    Plaintiffs' customers.

    34.        Defendants illegal and unlawful actions have interfered with and hindered Plaintiffs'

    ability to conduct their businesses and affairs with such customers. As a        re~laintiffs have
    suffered significant actual damages.
                                                                                   (j                 .
                                                                                  ~
                                         VU.           ;/f;:<t;j
                                                 CAUSES OF ACTION

          A.       COUNT I - MISAPPROPRIATION OF PLAIN~' TRADE SECRETS

    35.        Plaintiffs incorporate the foregoing paragraphs as ift'~set forth herein.

    36.        Plaintiffs' customer list and related loan   inform~~e trade secrets under Texas law.
    37.        Defendants have acquired or discovered ~tiffs' trade secrets by improper means.

    Defendants have performed unlawful and             i~issil?le      searches for the drivers' personal

    information in .the DMV Records in order         ~arget Plaintiffs' customers for direct contact and
                                                  ~
    solicitation. This conduct is continuF          d ongoing.

    38.        Defendants have used, anciChtinue to use, Plaintiffs' trade secrets without authorization

    from Plaintiffs. Upon       info~ and belief, Defendants have accessed information from the
    DMV Records to         circ~~t the measures Plaintiffs have in place to prevent unauthorized
.                             o~
    access to Plaintif~~de secrets.            Defendants then used the unlawfully accessed personal

    information to ~t Plaintiffs' customers for business.                                              .

    39.        Defe~ts'      unauthorized use of Plaintiffs' trade secrets has harmed Plaintiffs.

    Defendants were and are in fact using the         person~!   information, including the name, address,

    date of birth, and driver's license number, to directly contact and solicit Plaintiffs' existing and




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prospective customers. Defendants' unlawful efforts have caused Plaintiffs to lose customers to

Defendants.

40.          As a direct and proximate result of Defendants' infringing acts, Plaintiffs have suffered

damages in the form of the loss of existing and prospective customers, loss of business goodwill,

loss of interest payments under the current loan contracts, loss of interest r                   nts under the

prospective loan contracts, and loss of associated prospective fees in an a4                t not less than that
                                                                          ~
which will make Plaintiffs whole and which will be proven at trial.         ;/f;:<t;j
41.          Defendants' conduct was committed intentionally, kno~ and with callous disregard

of Plaintiffs' legitimate rights . Accordingly, Plaintiffs are     ~~d to recover exemplary damages
                                                                   ~
in an amount to be determined by a jury.
                                                              Q(f/jjj
        B.        COUNT II - TORTIOUS INTER!_~CE WITH INTEGRITY'S LOAN
                                                  CONT~TS

42.          Plaintiffs incorporate the foregoing   ~vaphs as if fully set forth herein.
                                                    g
43 .         Defendants had actual knowled&:,@ f the valid Loan Contracts existing between Integrity

and its customers.                        &(/~~
                                              ~

44.          Despite their actual ](~wledge of the Loan Contracts, Defendants willfully and
   .                                  ~                                                 .
intentionally interfered     w~ customers' performance of the Loan Contracts by one, or both,
of the following       indep~ntly tortious and unlawful acts for the purpose of directly contacting
                          "~
and soliciting      Pl~fs'         customers: (1) surreptitiously recording the customers' license plate
                      g        .                                        .
numbers to       ~m impermissible searches of the DMV Records, or (2) impermissibly searching
the DMV Records by lienholder for Integrity's customers. Defendants were not parties to the

Loan Contracts, had no rights or interests in the Loan Contracts and no legitimate justification or

excuse for their interference.




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45.      Integrity has been damaged as a direct and proximate result of Defendants' conduct,

including the loss of existing customers and Loan Contracts, loss of business goodwill, and loss

of interest due under the Loan Contracts, in an amount not less than that which will make

Integrity whole and which will be proven at trial.

46.      Defendants' conduct was committed intentionally, knowingly, and wit~ous disregard
                                                                               ~(gf/
of Integrity's legitimate rights. Accordingly, Integrity is entitled to recovW xemplary damages
                                                                           ~
in an amount to be determined by a jury.                               ~<t;j
         C.   COUNT III - TORTIOUS INTERFERENC..,.                  ~ INTEGRITY'S
         PROSPECTIVE LOAN CONTRACTS AND BUSI~,._RELATIONSHIPS
                                                                o~
47.      Plaintiffs incorporate the foregoing paragraphs as i~y set forth herein.
                                                             {!jj
48.      Defendants had actual knowledge of the relatig       ip between Integrity and its customers,
                                                       o~
including the reasonable probability that   Integri~ld have entered into business relationships
 .h.its repeat customers.
wit                                            ~a
                                               ~                                                  .
                                              cg
49.      Despite Defendants' ac~~dge of the current and prospective relationships

between Integrity and its custo.(Jf Defendants willfully and intentionally interfered with

Integrity's prospective contrac~d business relationships by one, or both, of the following
                                ~ v                      .
independently .tortious   an~awful     acts for the purpose of directly contacting and soliciting

Plaintiffs'   customers:o~ surreptitiously   recording the customers' license plate numbers to

perform impermi,          searches of the DMV Records, or (2) impermissibly searching the DMV

Records       by~older      for Integrity's customers.       Defendants had no legitimate right,

justification, or excuse to interfere in the relationship between Integrity and its customers, and

Defendants' conduct was intentionally calculated to damage Integrity:

50.      Integrity has. been damaged as a direct and proximate result of Defendants' conduct,

including the loss of prospective Loan Contracts, loss of business goodwill, and loss of interest


                                                   9

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due under the prospective Loan Contracts, in an amount not less than that which will make

Integrity whole and which will be proven at trial.

51.        Defendants' conduct was committed intentionally, knowingly, and with callous disregard

of Integrity's legitimate rights. Accordingly, Integrity is entitled to recover exemplary dam.ages

in an amount to be determined by a jury.                                            ~
                                                                                ~<@
      D.     COUNT IV - TORTIOUS INTERFERENCE WITH WEL~IRE'S AND
           MEADOWWOOD'S PROSPECTIVE CSO CONTRACTS~ BUSINESS
                               RELATIONSHIPS                             ;if;
52.        Plaintiffs incorporate the foregoing paragraphs as if   full~rth herein.
53.        Defendants had actual knowledge of the             re~~ship     between Wellshire and

Meadowwood and their existing customers,          respecti~cluding the reasonable probability
that Wellshire and Meadowwood would have e~d into business relationships with their
                                                    ~                .
respective repeat customers.                      Q
54.        Despite Defendants' actual    knowl~ of the relationship between Wellshire and its
                                             ~
customers, and Meadowwood an~~ customers, Defendants willfully and intentionally

interfered with Wellshire's and      ~owwood's, respective, prospective contracts and business
relationships by one, or    bo~~e following independently tortious and unlawful acts for the
purpose of directly     con~g and soliciting Plaintiffs' customers: (1) surreptitiously recording
                         o~                                                     .

the customers'     lic~ate numbers to perform impermissible searches of the DMV Records, or
(2) impenniss~ searching the DMV Records by lienholder for Integrity's customers.

Defendants      ~ no     legitimate right, justification, or excuse to interfere in the relationship

between Wellshire and its customers, or between Meadowwood and its customers, and

Defendants' conduct was intentionally calculated to dam.age Wellshire and Meadowwood.




                                                    IO

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55.      Wellshire and Meadowwood have been damaged as a direct and proximate result of

Defendants' conduct, including the loss of existing customers, loss of business goodwill, and loss

of CSO Fees under the prospective CSO Contracts, in an amount not less than that which will

make Wellshire and Meadowwood whole and which will be proven at trial.

56.      Defendants' conduct was committed intentionally, knowingly, and with~ous disregard
                                                                                          ~<@         .
ofWellshire's and Meadowwood's legitimate rights. Accordingly, Wells~d Meadowwood
                                                    .                       .        ~

are entitled to recover exemplary damages in an amount to be deter~~~y a jury.

                                             vm.    EQUITABLE           RELIE~~
57.      As may be demonstrated in a separate                    applicatie>~r   temporary restraining order,

temporary injunction, and permanent injunction,              Plai~~uest any and all equitable relief to
which they may be entitled.                                      §!!?
                                              IX.       AT~EYFEES
58.      Plaintiffs   ~re entitled recover reas~le and necessary attorney fees under Tex. Civ.
                                                ~
Prac. & Rem. Code § 134.005(b).                ~

                                             Q          JURY DEMAND

59.     .Plaintiffs demand a          j~ and tender the appropriate fee with this petition.
                .        0
                              ~QI.
                             rt!fjj
                                               CONDITIONS PRECEDENT
                                                        .
                                                                                      .

60.      All   condi~recedent                 to Plaintiffs' claim for relief have been performed or have

occurred.           ~g
               ~                      XII.    REQUEST FOR DISCLOSURE

61.      Urider Tex. R. Civ. Proc. 194, Plaintiffs request that Defendants disclose, within 50 days

of the service of this request, the information or material described in Rule 194.2.




                                                            11


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                                             XIII. PRAYER

       WHEREFORE, Plaintiffs respectfully pray that Defendants be cited to appear and

answer, and on final trial, that Plaintiffs be awarded a judgment against Defendants, jointly and

severally, for the following:

       a.

       b.
               Actual damages;

               Exemplary damages;
                                                                                ~
                                                                                 (j~  *
       c.      Pre-judgment and post-judgment interest;                      o~
                                                                            ~
       d.      Attorney fees;                                            o~
                                                                       <Q
       e.                                                            ~

                                                              et/'
               Court costs; and                                     o~

       f.      All other relief to which Plaintiffs are

                                                     Resp~~ly submitted,

                                                     S~ERLAND ASBILL & BRENNAN LLP

                                               <@J
                                                    &:      Isl Daniel Johnson
                                                                Kent C. Sullivan (SBN 19487300)
                                         (/<t._$?               Daniel Johnson (SBN 24046165)
                                     ~"'>                       Robert A. Lemus (SBN 24052225)
                                     V                      1001 Fannin, Suite 3700
                                   ~                        Houston, Texas 77002
                                g~                          Telephone: (713) 470-6100
                             {j)                            Facsimile: (713) 654-1301
                          ~                                 E-mail: kent.sullivan@sutherland.com
                       off/jY                               E-mail: daniel.johnson@sutherland.com
                  ~                                         E-mail: robert.lemus@sutherland.com

               §::<g                                 WARGO FRENCH LLP
            ~                                        By: Isl Joseph D. Wargo
                                                              Joseph D. Wargo (GA No. 738764)
                                                              (Admitted Pro Hae Vice)
                                                              Abigail Joy Stecker (CA No. 284534)
                                                              (Pro Hae Vice in Process)
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                                                         Atlanta, Georgia 30309
                                                         Telephone: (404) 853-1500


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                                                     E-mail: astecker@wargofrench.com


                                           And

                                           WARGOFRENCHLLP                    ~

                                           By: Isl Sarah F Powers        a@
                                                    Sarah F. Powers ( C . 238184)
                                                    (Admitted Pro H~ice)
                                                    Christina~.  Go ~smann (CA No. 273379)
                                                                     0



                                                    (Admitted J;,r, ac Vice)
                                               1888 Century          ast, Suite 1520
                                               Los Angele~ ifornia 90067
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                                               Facsimi~'-{310) 853-6333
                                                     E-~powers@wargofrench.com
                                                     E-:Maw. cgoebelsmann@wargofrench.com

                                                     ~
                                            @         ttorneys for Plaintiffs
                                           ~         WELLSHIRE FINANCIAL SERVICES, LLC,
                                           Q)        d/bla LOANSTAR TITLE LOANS, d/blal
                                      ~              MONEYMAX TITLE LOANS, and d/bla
                                 (/<&__~             LOANMAX; MEADOWWOOD FINANCIAL
                             ~'Yo                    SERVICES, LLC, dlblaLOANSTAR TITLE

                        ft"
                        g~
                             V                       LOANS, and d/bla/ MONEYMAX TITLE
                                                     LOANS; and INTEGRITY TEXAS FUNDING,
                                                     LP

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                                                                             APPENDIX 0049
   Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 34 of 296




                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of Plaintiffs' Amended Petition and Request for

Disclosure has been forwarded to all counsel of record in accordance with TEX. R. Civ. P. 21 and

21a on this 30th day of May, 2014.

Geoff Gannaway
Byron Rice
BECK REDDEN LLP
1221 McKinney St., Suite 4500
                                                                         (jri
                                                                         ~
                                                                              *
Houston, Texas 77010.                                                o~
                                                                    ~
Stephen LaBriola                                                   o~
Christina B~ugh                                                Q
FELLOWS LABRIOLA LLP                                           ~
                                                           o~
Peachtree Center
                                                          ~
Suite 2300, South Tower
225 Peachtree Street, N.E.
                                                     Q(f/jjj
                                                    ~
Atlanta, Georgia 30303~ 1731

Attorneys for Defendants                        ~
TMX Finance of Texas, Inc.; and              ~·
TitleMax of Texas, Inc., TitleMax Finance Ifl!l§:
                                        ~

                                 0~
                          vg~                       Isl Daniel Johnson
                                                    Daniel Johnson .
                        ~
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                                                                              APPENDIX 0050
     Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 35 of 296
                                                                            6/ 11 /2014 11 :30:46 AM
                                                                             Chris Daniel - District Clerk Harris County
                                                                                                 Envelope No. 1507362
                                                                                                     By: Rhonda Momon


                                            NO. 2013-33584

WELLSHIRE FINANCIAL SERVICES, LLC,                  §          IN THE DISTRICT COURT
d/b/a LOANSTAR TITLE LOANS, d/b/a                   §
MONEYMAX TITLE LOANS, and d/b/a                     §
LOANMAX; MEADOWWOOD FINANCIAL                       §
SERVICES, LLC, d/b/a LOANSTAR TITLE                 §
LOANS, and d/b/a MONEYMAX TITLE                     §
LOANS; and INTEGRITY TEXAS                          §                        ©~
FUNDING, LP,                                        ~                     a~

                        Plaintiffs,                 §                   ~
                                                    §                 o~
v.                                                  §          OF   tJ~IS COUNTY, TEXAS
TMX FINANCE HOLDINGS, INC.;                         ~           Q~
TMX FINANCE, LLC;                                   §        o~
TMX FINANCE OF TEXAS, INC.; and                     §      ~
                                                    ~ Q~
TITLEMAX OF TEXAS, INC.;

                        Defendants.                 ~          152ND JUDICIAL DISTRICT

      DEFENDANTS TMX FINANCE OF w~s, INC., TITLEMAX OF TEXAS, INC.,
        AND TMX FINANCE LLC'S FI~MMENDED ORIGINAL ANSWER AND
              ORIGINAL COUNTEM~AIM FOR ATTORNEYS' FEES
                                           @
TO THE HONORABLE JUDGE ~~IS COURT:

           COME NOW, DefendaQTMX Finance of Texas, Inc., TitleMax of Texas, Inc., and

TMX Finance LLC           ("Def~s"), and file this First Amended Original Answer and Original
Counterclaim for        Att~g, Fees, in support of which they would show as follows:
                         o~
                        ~
                                          GENERAL DENIAL

           Subje~ all stipulations and admissions that may hereinafter be made, Defendants assert

a general      ~al as authorized by Rule 92 of the Texas Rules of Civil Procedure, hereby denying
each and every, all and singular, of the material allegations in Plaintiffs ' Amended Petition, and

demand that Plaintiffs be required to prove their charges and allegations against Defendants as

required by the Constitution and laws of the State of Texas.



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                                                                              APPENDIX 0051
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                                ORIGINAL COUNTERCLAIM FOR ATTORNEYS ' FEES

              1.            Defendant and Counter-Plaintiff TMX Finance LLC is a limited liability company

organized under the laws of the State of Delaware.

             2.             Defendant and Counter-Plaintiff TMX Finance of Texas, Inc. 1s a corporation

organized under the laws of the State of Delaware.                                          ~
                                                                                          ~cw
             3.             Defendant and Counter-Plaintiff TitleMax of Texas, Inc.   i~orporation organized
                                                                                      ~
under the laws of the State of Delaware.                                        ~<t;j
             4.             Plaintiff and Counter-Defendant Wellshire Fin~ervices, LLC, d/b/a LoanStar

Title Loans, d/b/a MoneyMax Title Loans, and d/b/a                Loa~ ("Wellshire") is a limited liability
company organized under the laws of the State of               Ge~Wellshire has already appeared in this
litigation.                                                   ~

             5.             Plaintiff and   Counter-Defen~~Meadowwood         Financial Services, LLC, d/b/a

LoneStar Title Loans, and d/b/a                MoneyM~itle Loans ("Meadowwood") is a limited company
                                                     @
organized under the laws of the r                      f Georgia. Meadowwood has already appeared in this

litigation.                                    U
             6.             Plaintiff   an~"1,ter-Defendant Integrity Texas Funding, LP ("Integrity") is a
limited partnership              or~Qd under the laws of the State of South Carolina.      Integrity has already
                                 0   ~@f
         . th.1s 1~
appeared m        _~on.
             7.            ~ amount in controversy in this lawsuit is within the jurisdictional limits of this
Court.        V~ of the underlying action establishes venue over this counterclaim. Accordingly,
venue in Harris County, Texas is proper under TEX. Crv. PRAC. & REM. CODE § 15.062.

             8.             Defendants and Counter-Plaintiffs seek recovery of their court costs and reasonable

and necessary attorney's fees in defending the claims brought against them in this lawsuit, pursuant



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                                                                                           APPENDIX 0052
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to TEX. CIV. PRAC. & REM. CODE §134.005(b). Section §134.005(b), invoked and relied upon by

Plaintiffs and Counter-Defendants in their Amended Petition, "compel[s] the award of reasonable

and necessary attorney's fees to a party that successfully defends against a claim under this act,

without any prerequisite that the claim be found groundless, frivolous, or brought in bad faith."

Air Routing Intern. Corp. (Canada) v. Britannia Airways, Ltd., 150 S.W.3d           68~4 (Tex. App.-
                                                                                    ~@
Houston [14th Dist.] 2004, no pet.).                                            U
                                                                                ~
             9.            All conditions precedent to this Counterclaim   h~~een performed or have
occuned.                                                              Q~
                                              PRAYER FOR RELI~

             WHEREFORE, PREMISES              CONSIDERED~~dants and Counter-Plaintiffs pray that
Plaintiffs and Counter-Defendants take             nothin~ ~t   these Defendants and Counter-Plaintiffs
                                                          ~
recover their costs of court and reasonable a0%essary attorney's fees; and that they be granted

such other and further relief, at law or           ~quity, to which they may show themselves justly
                                                 @

                                         0~
entitled.

                                                      Respectfully submitted,

                                       ~~
                                   uo                 BECK REDDEN LLP


                                 ~
                               o~
                         ~
                       ~cg
                                                          Geoff A. Gannaway
                                                          State Bar No . 24036617

                  ~
                                                          Bryon A. Rice
                                                          State Bar No. 24065970
                                                      1221 McKinney Street, Suite 4500
                                                      Houston, Texas 77010
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                                                              brice@beckredden.com


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                                                                                     APPENDIX 0053
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                                                Stephen T. LaBriola
                                                Christina M. Baugh
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                                            Atlanta, Georgia 30303-1731
                                            Tel. 404 586-9200
                                            Fax: 404 529-4028
                                            Email: slabriola@fellab.com ~
                                                   cbaugh@fellab.com ~@

                                            ATTORNEYS FOR    DEFEN~Q.
                                                                   AND COUNTER-
                                            PLAINTIFFS TMX FIN~ OF TEXAS, INC.,
                                            TITLEMAX OF TEXA~C. AND TMX FINANCE
                                            LLC              Q~
                                     CERTIFICATE OF SER~E
                                                        o~

       I hereby certify that I caused a true and correr~py of the foregoing instrument to be
served on counsel of record in accordance with R~<rl- and 21a of the Texas Rules of Civil
                                                         1




Procedure on this 11th day of June, 2014, by emaili?/'.'.::\
                                               ~d
SUTHERLAND ASBILL & BRENNAN LP~
Kent C. Sullivan, Esq.                     U
Daniel Johnson, Esq.                      ~
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                                                                          APPENDIX 0054
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                                                                                                     7/2/2014 4:10:40 PM
                                                                               Chris Daniel - District Clerk Harris County
                                                                                                   Envelope No. 1714972
                                                                                                   By: KATINA WILLIAMS


                                            NO. 2013-33584

WELLSHIRE FINANCIAL SERVICES, LLC,                  §                IN THE DISTRICT COURT
d/b/a LOANSTAR TITLE LOANS, d/b/a/                  §
MONEYMAX TITLE LOANS, and d/b/a                     §
LOANMAX; MEADOWWOOD FINANCIAL                       §
SERVICES, LLC, d/b/a LOANSTAR TITLE                 §
LOANS, and d/b/a/ MONEYMAX TITLE                    §
LOANS; and INTEGRITY TEXAS                          §
FUNDING, LP,                                        §
                                                    §
        Plaintiffs,                                 §           OF ~RRIS COUNTY, TEXAS
                                                    §
v.                                                  §
                                                    §
TMX FINANCE HOLDINGS, INC.;                         §
TMX FINANCE, LLC;                                   §
TMX FINANCE OF TEXAS, INC.; and                     §
TITLEMAX OF TEXAS, INC.                             §
                                                    §
        Defendants.                                 §               l 52nd JUDICIAL DISTRICT

                      PLAINTIFFS' SECOND AMENDED PETITION AND
                              REQUEST FOR DISCLOSURE

        COME NOW,         Plaintiffs   WELLSHIRE FINANCIAL            SERVICES,        LLC, d/b/a

LOANSTAR TITLE LOANS, d/b/a/ MONEYMAX TITLE LOANS, and d/b/a LOANMAX;

MEADOWWOOD FINANCIAL SERVICES, LLC, d/b/a LOANSTAR TITLE LOANS, and

d/b/a/ MONEYMAX TITLE LOANS; and INTEGRITY TEXAS FUNDING, LP and file this

Amended Petition and Request for Disclosure, and respectfully show the following:



                                       I.      DISCOVERY

L       Pursuant to Tex. R. Civ. P. 190.4, discovery is to be conducted under a Level 3 discovery

control plan.




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                                         II.     PARTIES

2.       Plaintiff Wellshire Financial Services, LLC, d/b/a LoanStar Title Loans ("LoanStar") is a

limited liability company organized under the laws of the State of Georgia.           LoanStar is

registered to transact business in the State of Texas.

3.       Plaintiff Meadowwood Financial Services, LLC, d/b/a LoanStar Title Loans, and d/b/a/

Moneymax Title Loans ("Meadowwood") is a limited liability company organized under the

laws of the State of Georgia. Meadowwood is registered to transact business in the State of

Texas.

4.       Plaintiff Integrity Texas Funding, LP ("Integrity") is a limited partnership organized

under the laws of the State of South Carolina. Integrity is registered to transact business in the

State of Texas.

5.       LoanStar, Meadowwood, and Integrity are hereafter referred to collectively as

"Plaintiffs.,,

6.       Defendant TMX Finance Holdings, Inc. ("TMX Finance Holdings") is a corporation

organized under the laws of the State of Delaware, whose home office address is 15 Bull Street,

Suite 200, Savannah, GA 31401. Defendant TMX Finance Holdings has engaged in business in

the State of Texas, does not maintain a regular place of business in the State of Texas, does not

have a registered agent for service of process in the State of Texas, and therefore may be served

with process through the Texas Secretary of State, 1019 Brazos Street, Austin, Texas 78701.

7.       Defendant TMX Finance, LLC ("TMX Finance") is a limited liability company

organized under the laws of the State of Delaware, whose home office address is 15 Bull Street,

Suite 200, Savannah, GA 31401. Defendant TMX Finance has engaged in business in the State

of Texas, does not maintain a regular place of business in the State of Texas, does not have a



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registered agent for service of process in the State of Texas, and therefore may be served with

process through the Texas Secretary of State, 1019 Brazos Street, Austin, Texas 78701.

8.       Defendant TMX Finance of Texas, lQc. ("TMX Finance Texas") is a corporation

organized urider the laws of the State of Delaware. TMX Finance Texas is registered to transact

business in the State of Texas and may be served with process by serving its registered agent, CT

Corporation System, at 350 North St. Paul St., Suite 2900, Dallas, Texas 75201.

9.       Defendant TitleMax of Texas, Inc. ("TMX Texas") is a corporation organized under the

laws of the State of Delaware. TMX Texas is registered to transact business in the State of

Texas and may be served with process by serving its registered agent, CT Corporation System, at

350 North St. Paul St., Suite 2900, Dallas, Texas 75201.

10.      Defendants TMX Finance Holdings, TMX Finance, TMX Finance of Texas, and TMX

Texas are jointly and severally liable for Plaintiffs' claims and are collectively referred to as

"Defendants" or "TitleMax."

                                     III.     JURISDICTION

11.      The court has jurisdiction over the lawsuit because the amount in controversy exceeds

this court's minimum jurisdictional requirements.

12.      The court has jurisdiction over Defendants, nonresident corporations, because Defendants

have purposefully availed themselves of the privileges and benefits of conducting business in

Texas.

                                            IV.   VENUE

13.      Venue is proper in Harris County under Chapter 15 of the Tex. Civ. Prac. & Rem. Code,

including but not limited to §15.002.




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                                      V.     ACTS OF AGENTS

 14.     When it is alleged that Defendants did any act; it is meant that Defendants performed or

participated in such act or thing, or Defendants' officers, agents, or employees performed or

participated the act or thing and were authorized to do so by Defendants.

                                            VI.    FACTS

                                 A.        PLAINTIFFS' BUSINESS

15.      LoanStar is licensed and operates as a Credit Services Organization ("CSO") under Texas

law.

16.      Meadowwood is licensed and operates as a Credit Services Organization ("CSO") under

Texas law.

17.      Integrity operates as a consumer lender to provide secured and unsecured loans to

customers.

18.      LoanStar brokers loans exclusively with Integrity. The loans that LoanStar and Integrity

specialize in offering are loans secured by customers' motor vehicles.

19.      Meadowwood brokers loans exclusively with Integrity. The loans that Meadowwood and

Integrity specialize in offering are loans secured by customers' motor vehicles.

20.      The major value of a customer's business to Plaintiffs is the retention of that customer,

both for refinances and future loans. Therefore, Plaintiffs invest significant time and resources in

developing the existing customer relationship. Due to these efforts, customers will return to

Plaintiffs for future loans and use Plaintiffs to refinance their loans. It is this customer retention

that produces value for Plaintiffs.




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21.      To preserve that value, Plaintiffs expend significant effort and money to obtain and retain

the business of its customers. Plaintiffs' customer list is proprietary and confidential, and the

information is appropriately protected from any unauthorized access or distribution.

22.     LoanStar shares its proprietary customer list and customer loan information with Integrity

under contractual assurances of confidentiality and appropriate treatment. LoanStar's customers

are Integrity's customers.

23.     Meadowwood shares its proprietary customer list and customer loan information with

Integrity under     contractual     assurances   of confidentiality and     appropriate treatment.

Meadowwood's customers are Integrity's customers.

                               B.       DEFENDANTS' BUSINESS

24.     Defendants are part of a family of related companies operating under the name

_"TitleMax." TitleMax is engaged in the business of automobile title lending, and is a competitor

of Plaintiffs.

25.     Defendant TMX Texas operates as a CSO under Texas law and is a competitor of

Plaintiffs.

26.     Defendant TMX Finance Texas also operates as a CSO under Texas law and is a

competitor of Plaintiffs.

27.     Defendant TMX Finance is a parent company that owns all ownership and membership

interests of various operating subsidiaries, including Defendants TMX Finance Texas and TMX

Texas. Defendant TMX Finance manages, directs, and controls all operations of its operating

subsidiaries, including Defendants TMX Finance Texas and TMX Texas.




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28.        Defendant TMX Finance Holdings is a parent company that owns all ownership and

membership interests in Defendant TMX Finance, and thus indirectly owns Defendants TMX

Finance Texas and TMX Texas.

                    C.     TEXAS DMV DRIVER INFORMATION DATABASE

29.      The Texas Department of Motor Vehicles ("DMV") maintains a database of records

containing drivers' personal information collected in connection with obtaining a driver's license

and/or vehicle registration ("DMV Records"). The DMV sells DMV Records to certain entities

with authorization to resell the DMV Records under very limited circumstances (the "Authorized

Resellers").       Access to DMV Records is severely restricted to only a few permissible uses

because of the sensitive personal identifying nature of the information contained therein.

Violation of the federal and state laws limiting access to DMV Records is a punishable criminal

offense.

              D.         CONDUCT OF DEFENDANTS' EMPLOYEES OR AGENTS

30.      Defendants have surreptitiously targeted and collected the license plate numbers of the

customers in LoanStar's parking lots, using that information to perform impermissible searches

for the customers' personal information in DMV Records.

31.      Upon information and belief; Defendants have also surreptitiously targeted and collected

the license plate numbers of the customers in Meadowwood's parking lots, using that

information to perform impermissible searches for the customers' personal information in DMV

Records.

32.      Defendants have searched and continue to search the DMV Records by lienholder for

Plaintiffs' customers, obtaining the customers' personal information, and then using such

personal information for impermissible purposes.



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    33.        Through these acts, Defendants are collecting and compiling the information contained in

    Plaintiffs' confidential customer lists for Defendants' use in the direct contact and solicitation of

    Plaintiffs' customers.

    34.        Individual employees of Defendants have actively assisted Defendants in carrying out the

illegal and unlawful conduct described herein. 1

35.            Defendants illegal and unlawful actions have interfered with and hindered Plaintiffs'

ability to conduct their businesses and affairs with such customers. As a result, Plaintiffs have

suffered significant actual damages.

                                         VII.    CAUSES OF ACTION

          A.       COUNT I- MISAPPROPRIATION OF PLAINTIFFS' TRADE SECRETS

36.            Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.

37.            Plaintiffs' customer list and related loan information are trade secrets under Texas law.

38.            Defendants have acquired or discovered Plaintiffs' trade secret by improper means.

Defendants have performed unlawful and impermissible searches for the drivers' personal

information in the DMV Records in order to target Plaintiffs' customers for direct contact and

solicitation. This conduct is continuous and ongoing.

39.            Defendants have used, and continue to use, Plaintiffs' trade secrets without authorization

from Plaintiffs. Upon information and belief, Defendants have accessed information from the

DMV Records to circumvent the measures Plaintiffs have in place to prevent unauthorized

access to Plaintiffs' trade secrets.            Defendants then used the unlawfully accessed personal

information to solicit Plaintiffs' customers for business.




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  Plaintiffs believe that many individuals may have actively assisted Defendants in carrying out the illegal and
unlawful conduct described herein and reserve the right to add additional defendants if appropriate.

                                                         7



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40.        Defendants' unauthorized use of Plaintiffs' trade secrets has harmed Plaintiffs.

Defendants were and are in fact using the personal information, including the name, address,

date of birth, and driver's license number, to directly contact and solicit Plaintiffs' existing and

prospective customers. Defendants' unlawful efforts have caused Plaintiffs to lose customers to

Defendants.

41.        As a direct and proximate result of Defendants' infringing acts, Plaintiffs have suffered

damages in the form of the loss of existing and prospective customers, loss of business goodwill,

loss of interest payments under the current loan contracts, loss of interest payments under the

prospective loan contracts, and loss of associated prospective fees in an amount not less than that

which will make Plaintiffs whole and which will be proven at trial.

42.        Defendants' conduct was committed intentionally, knowingly, and with callous disregard

of Plaintiffs' legitimate rights. Accordingly, Plaintiffs are entitled to recover exemplary damages

in an amount to be determined by a jury.

      B.        COUNT II - TORTIOUS INTERFERENCE WITH INTEGRITY'S LOAN
                                     CONTRACTS

43.        Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.

44.        Defendants had actual knowledge of the valid Loan Contracts existing between Integrity

and its customers.

45.        Despite their actual knowledge of the Loan Contracts, Defendants willfully and

intentionally interfered with the customers' performance of the Loan Contracts by one, or both,

of the following independently tortious and unlawful acts for the purpose of directly contacting

and soliciting Plaintiffs' customers: (1) surreptitiously recording the customers' license plate

numbers to perform impermissible searches of the DMV Records or (2) impermissibly searching

the DMV Records by lienholder for Integrity's customers. Defendants were not parties to the


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Loan Contracts, had no rights or interests in the Loan Contracts and no legitimate justification or

excuse for their interference.

46.      Integrity has been damaged as a direct and proximate result of Defendants' conduct

including the loss of existing customers and Loan Contracts, loss of business goodwill, and loss

of interest due under the Loan Contracts, in an amount not less than that which will make

Integrity whole and which will be proven at trial.

47.      Defendants' conduct was committed intentionally, knowingly, and with callous disregard

of Integrity's legitimate rights. Accordingly, Integrity is entitled to recover exemplary damages

in an amount to be determined by a jury.

         C.   COUNT III - TORTIOUS INTERFERENCE WITH INTEGRITY'S
         PROSPECTIVE LOAN CONTRACTS AND BUSINESS RELATIONSHIPS

48.      Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.

49.      Defendants had actual knowledge of the relationship between Integrity and its customers,

including the reasonable probability that Integrity would have entered into business relationships

with its repeat customers.

50.      Despite Defendants' actual knowledge of the current and prospective relationships

between Integrity and its customers, Defendants willfully and intentionally interfered with

Integrity's prospective contracts and business relationships by one, or both, of the following

independently tortious and unlawful acts for the purpose of directly contacting and soliciting

Plaintiffs' customers: (1) surreptitiously recording the customers' license plate numbers to

perform impermissible searches of the DMV Records or (2) impermissibly searching the DMV

Records by lienholder for Integrity's customers.             Defendants had no legitimate right,

justification, or excuse to interfere in the relationship between Integrity and its customers, and

Defendants' conduct was intentionally calculated to damage Integrity.


                                                   9


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51.     Integrity has been damaged as a direct and proximate result of Defendants' conduct

including the loss of prospective Loan Contracts, loss of business goodwill, and loss of interest

due under the prospective Loan Contracts, in an amount not less than that which wil1 make

Integrity whole and which will be proven at trial.

52.     Defendants' conduct was committed intentionally, knowingly, and with callous disregard

of Integrity's legitimate rights. Accordingly, Integrity is entitled to recover exemplary damages

in an amount to be determined by a jury.

       D.   COUNT IV - TORTIOUS INTERFERENCE WITH LOANSTAR'S AND
         MEADOWWOOD'S PROSPECTIVE CSO CONTRACTS AND BUSINESS
                             RELATIONSHIPS

53 .    Plaintiffs incorporate the foregoing paragraphs as if fully set fo1th herein.

54.     Defendants had actual knowledge of the relationship between LoanStar and

Meadowwood and their existing customers, respectively, including the reasonable probability

that LoanStar and Meadowwood would have entered into business relationships with their

respective repeat customers.

55.     Despite Defendants' actual knowledge of the relationship between ·LoanStar and its

customers, and Meadowwood and its customers, Defendants willfully and intentionally

interfered with LoanStar's and Meadowwood' s respective, prospective contracts and business

relationships by one, or both, of the following independently tortious and unlawful acts for the

purpose of directly contacting and soliciting Plaintiffs• customers: (1) surreptitiously recording

the customers' license plate numbers to perform impermissible searches of the DMV Records or

(2) impermissibly searching the DMV Records by lienholder for Integrity's customers.

Defendants had no legitimate right, justification, or excuse to interfere in the relationship




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between LoanStar and its customers, and between Meadowwood and its customers, and

Defendants' conduct was intentionally calculated to damage LoanStar and Meadowwood.

56.      LoanStar and Meadowwood have been damaged as a direct and proximate result of

Defendants' conduct including the loss of existing customers, loss of business goodwill, and loss

of CSO Fees under the prospective CSO Contracts, in an amount not less than that which will

make LoanStar and Meadowwood whole and which will be proven at trial.

57.      Defendants' conduct was committed intentionally, knowingly, and with callous disregard

of LoanStar's and Meadowwood's legitimate rights. Accordingly, LoanStar and Meadowwood

are entitled to recover exemplary damages in an amount to be determined by a jury.

                                    VIII. EQUITABLE RELIEF

58.      As may be demonstrated in a separate application for temporary restraining order,

temporary injunction, and permanent injunction, Plaintiffs request any and all equitable relief to

which they may be entitled.

                                      IX.     JURY DEMAND

59.      Plaintiffs demand a jury trial and tender the appropriate fee with this petition.

                               X.      CONDITIONS PRECEDENT

60.      All conditions precedent to Plaintiffs' claim for relief have been performed or have

occurred.

                              XI.     REQUEST FOR DISCLOSURE

61.      Under Tex. R. Civ. Proc. 194, Plaintiffs request that Defendants disclose, within 50 days

of the service of this request, the information or material described in Rule 194.2.




                                                   11


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                                          XII.     PRAYER

       WHEREFORE, Plaintiffs respectfully pray that Defendants be cited to appear and

answer, and on final trial, that Plaintiffs be awarded a judgment against Defendants, jointly and

severally, for the following:

       a.      Actual damages;

       b.      Disgorgement of all profits wrongfully earned by Defendants;

       c.      Exemplary damages;

       d.      Pre-judgment and post-judgment interest;

       e.      Attorney fees;

       f.      Court costs; and

       g.      All other relief to which Plaintiffs are entitled.

                                                 Respectfully submitted,

                                                 SUTHERLAND ASBILL & BRENNAN LLP

                                                 By: Isl Daniel Johnson
                                                         Kent C. Sullivan
                                                         Texas Bar No. 19487300
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                                                 And




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                                       LOANMAX; MEADOWWOOD FINANCIAL
                                       SER VICES, LLC, dlbla LOANSTAR TITLE
                                       LOANS, and d/b/a/ MONEYMAX TITLE
                                       LOANS; and INTEGRITY TEXAS FUNDING,
                                       LP




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                                 CERTIFICATE OF SERVICE

       This is to certify that I have this day served all parties with a copy of the within and

foregoing PLAINTIFFS' SECOND AMENDED PETITION AND REQUEST FOR

DISCLOSURE has been forwarded to all counsel of record in accordance with TEX. R. CIV. P.

21 and 21 a on this 2nd day of July, 2014.

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Attorneys for TitleMax
TMX Finance of Texas, Inc. and
TitleMax of Texas, Inc.



DATED: July 2, 2014

                                                   Isl Daniel Johnson
                                                     Daniel Johnson




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                                   CAUSE NO. 2013-33584                                     Filed: 2/17/2015 3:12:50 PM


 WELLSHIRE FINANCIAL                            §         IN THE DISTRICT COURT OF
 SERVICES, LLC, ET AL.                          §
                                                §
 v.                                             §         HARRIS COUNTY, TEXAS
                                                §
 TMX FINANCE HOLDINGS,                          §
 INC., ET AL.                                   §         152nd JUDICIAL DISTRICT


                 DEFENDANT I COUNTERPLAINTIFF TITLEMAX
                     OF TEXAS, INC.'S COUNTERCLAIM


           Defendant/Counterplaintiff TitleMax of Texas, Inc. brings this Counterclaim

 against        Plaintiffs/Counterdefendants    Wellshire       Financial    Services,      LLC;

 Meadowwood Financial Services, LLC; and Integrity Texas Funding, LP (collectively,

 "Counterdefendants").

                                              I.
                                           PARTIES

           1.      Defendant/Counterplaintiff TitleMax of Texas, Inc. ("TitleMax of

 Texas") is a Delaware corporation with its principal place of business in Texas.

 TitleMax of Texas assists Texas customers in obtaining title loans through third-party

 lenders. TitleMax of Texas was sued by Counterdefendants in this lawsuit.

           2.      Plaintiff/Counterdefendant       Wellshire    Financial    Services,      LLC

 ("Wellshire") is a Georgia limited liability company. Wellshire is a competitor of

 TitleMax of Texas that operates in Texas.

           3.       Plaintiff/Counterdefendant Meadowwood Financial Services, LLC

 ("Meadowwood") is a Georgia limited liability company. Meadowwood is a

 competitor ofTitleMax of Texas that operates in Texas.

           4.       Plaintiff/Counterdefendant Integrity Texas Funding, LP ("Integrity") is

 a South Carolina limited partnership. Integrity is a third-party lender that provides title




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loans to customers of Wellshire and Meadowwood.

                                           II.
                                         FACTS

       5.         TitleMax of Texas is a credit service organization (“CSO”). As a CSO,

TitleMax of Texas assists customers in obtaining title loans through third-party lenders.

Namely, TitleMax of Texas connects a customer with a lender who will secure that

loan with the customer’s title to his/her vehicle. In addition to arranging for title loans,

TitleMax of Texas will also help a customer refinance a pre-existing loan held with

another CSO (such as a title loan held by Counterdefendants). TitleMax of Texas’s

business depends on entering into initial title loans, refinancing title loans, and entering

into additional loan arrangements. Counterdefendants are in the same line of business

as TitleMax of Texas and directly or indirectly compete with TitleMax of Texas.

       6.         Counterdefendants have engaged in a campaign of corporate espionage

against TitleMax of Texas and have interfered with its contracts, customers, and

business relations.

       7.         For example, Counterdefendants have entered TitleMax of Texas stores

posing as potential customers or other third parties and, using recording devices, taken

TitleMax     of     Texas’s   confidential   financial   and    marketing     information.

Counterdefendants have taken TitleMax of Texas’s confidential business information

to attempt to undermine TitleMax of Texas and increase their competitiveness in the

marketplace.

       8.         Additionally, Counterdefendants have refused to provide Letters of

Guarantee to TitleMax, substantially interfering with TitleMax of Texas’s current and

prospective business relationships. Title loans typically have a maturity of 30 days. At

the end of the 30 days, one option a customer has is to pay the entirety of the loan. A

customer can pay off the loan using his or her own money, or the customer may enter

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into a new title loan with a different, competing title company such as TitleMax of

Texas. If a customer decides to pay off the original loan using funds from a competing

title company (a situation called a “buyout”), the original title-loan entity must release

the title to the vehicle so that a new secured loan can be arranged. To secure the

buyout, the competitor obtains from the original title-loan company either the title to

the vehicle or a Letter of Guarantee of title ensuring that title to the vehicle will be

released upon full payment of the original title loan. Counterdefendants, however, have

refused to provide such Letters of Guarantee to TitleMax of Texas or its customers.

Thus, the transaction cannot be completed, the loan cannot be purchased, and

TitleMax of Texas loses that customer. Moreover, because customers frequently

refinance their title loans, losing that customer likely resulted in not only the loss of the

initial contract, but also future contracts (such as refinancing loans or arranging

additional loans) with that customer.

                                        III.
                                   COUNTERCLAIMS

               COUNT I—TORTIOUS INTERFERENCE WITH EXISTING CONTRACTS

          9.      TitleMax of Texas incorporates the foregoing allegations as if fully set

forth in this Paragraph.

          10.     TitleMax of Texas had valid contracts with customers.

          11.     Counterdefendants knew of these contracts and willfully and

intentionally interfered with them.

          12.     Counterdefendants’ interferences proximately caused TitleMax of Texas

injury.

          13.     TitleMax of Texas incurred actual damage or loss, including but not

limited to lost profits, loss of goodwill, and loss of future contracts and business

prospects.

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       14.      Counterdefendants’ actions were malicious or wanton, and therefore

TitleMax of Texas specifically requests an award of exemplary damages.

        COUNT II—TORTIOUS INTERFERENCE WITH PROSPECTIVE RELATIONS

       15.      TitleMax of Texas incorporates the foregoing allegations as if fully set

forth in this Paragraph.

       16.      TitleMax of Texas had a reasonable probability that potential customers

would have entered into business relationships with TitleMax of Texas.

       17.      Counterdefendants either acted with a conscious desire to prevent the

relationship from occurring or knew the interference was certain or substantially certain

to occur as a result of the conduct.

       18.      Counterdefendants’     actions   were   independently   tortious   and/or

unlawful.

       19.      Counterdefendants’ interferences proximately caused TitleMax of

Texas injury.

       20.      TitleMax of Texas incurred actual damage or loss, including but not

limited to lost profits, loss of goodwill, and loss of future contracts and business

prospects.

       21.      Counterdefendants’ actions were malicious or wanton, and therefore

TitleMax of Texas specifically requests an award of exemplary damages.

                               COUNT III—CONVERSION

       22.      TitleMax of Texas incorporates the foregoing allegations as if fully set

forth in this Paragraph.

       23.      Counterdefendants have wrongly asserted dominion over TitleMax of

Texas’s property, namely its confidential marketing and financial information,

inconsistent with TitleMax of Texas’s right of ownership.



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       24.      TitleMax of Texas owns and has the right to possess over its confidential

marketing and financial information.

       25.      Counterdefendants unlawfully and knowingly came into actual

possession of TitleMax of Texas’s confidential marketing and financial information.

       26.      Counterdefendants’ knowingly used TitleMax of Texas’s confidential

marketing and financial information for their own benefit. The conversion resulted in

damages to TitleMax of Texas, including but not limited to loss of prospective

customers, loss of business goodwill, and loss of interest payments under prospective

contracts.

       27.      Counterdefendants’ actions demonstrate willful misconduct, malice,

fraud, wantonness, oppression, or that entire want of care which would raise the

presumption of conscious indifference to consequences sufficient to justify an award

of punitive damages.

                           COUNT IV—THEFT OF PROPERTY

       28.      TitleMax of Texas incorporates the foregoing allegations as if fully set

forth in this Paragraph.

       29.      Counterdefendants have committed theft regarding TitleMax of Texas’s

property, namely its confidential marketing and financial information.

       30.      TitleMax of Texas owns and has a possessory right over its confidential

marketing and financial information.

       31.      Counterdefendants unlawfully and knowingly appropriated TitleMax of

Texas’s confidential marketing and financial information.

       32.      TitleMax of Texas did not consent to Counterdefendants’ taking of

the property.

       33.      Counterdefendants’ theft has resulted in damages to TitleMax of Texas


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including but not limited to loss of prospective customers, loss of business goodwill,

and loss of interest payments under prospective contracts.

       34.     Counterdefendants’ actions demonstrate willful misconduct, malice,

fraud, wantonness, oppression, or that entire want of care which would raise the

presumption of conscious indifference to consequences sufficient to justify an award

of punitive damages.

                                COUNT V—CONSPIRACY

       35.     TitleMax of Texas incorporates the foregoing allegations as if fully set

forth in this Paragraph.

       36.     Counterdefendants have engaged in an orchestrated and widespread

campaign to acquire confidential financial and marketing information from TitleMax

of Texas.

       37.     Counterdefendants have entered storefronts belonging to TitleMax of

Texas under false pretenses with the express purpose of obtaining TitleMax of Texas’s

confidential marketing and financial information.

       38.     Counterdefendants have used TitleMax of Texas’s confidential

marketing and financial information to try to gain a competitive advantage over

TitleMax of Texas in the marketplace and have caused damage to TitleMax of Texas.

                           COUNT VI—DECLARATORY JUDGMENT

       39.     TitleMax of Texas incorporates the foregoing allegations as if fully set

forth in this Paragraph.

       40.     A declaratory judgment would resolve a judicial controversy regarding

the rights, obligations, and statuses of the parties with respect to buyouts.

       41.     TitleMax of Texas seeks a declaratory judgment pursuant to Chapter 37

of the Texas Civil Practice and Remedies Code declaring that:


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              a. When a debtor pays off a title loan, the title-loan company must

                   immediately provide either the title to the vehicle or an executed

                   guarantee of title; and

              b. When a debtor seeks to pay off a title loan with funds brokered by a

                   competitor title-loan company, the competitor assumes the legal

                   rights of the debtor.

                                     IV.
                            CONDITIONS PRECEDENT

       42.    All conditions precedent to TitleMax of Texas’s claims for relief have

been performed or have occurred.

                                             V.
                                           PRAYER

       43.    WHEREFORE, TitleMax of Texas prays for the following relief:

              a.      actual damages;

              b.      exemplary damages;

              c.      declaratory judgment;

              d.      temporary and permanent injunctive relief;

              e.      prejudgment and post-judgment interest;

              f.      court costs;

              g.      attorneys’ fees; and

              h.      such other and further relief as the Court deems just and proper.




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Dated: February 17th, 2015

                                       Respectfully submitted,

                                       GREENBERG TRAURIG, L.L.P.

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                                        TEXAS, INC.

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                                        COUNTERPLAINTIFFS TMX FINANCE
                                        OF TEXAS, INC.; TITLEMAX OF TEXAS,
                                        INC.; AND TMX FINANCE LLC




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                          CERTIFICATE OF SERV ICE

     I certify that a true and correct copy of the foregoing was served on all counsel of
record in accordance with the Texas Rules of Civil Procedure on the 17th day of
February, 2015.

                                                 /s/ L. Bradley Hancock
                                                 L. Bradley Hancock




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                                  CAUSE NO. 2013-33584

WELLSHIRE FINANCIAL                       §        IN THE DISTRICT COURT OF
SERVICES, LLC, ET AL.                     §
                                          §
v.                                        §        HARRIS COUNTY, TEXAS
                                          §
TMX FINANCE HOLDINGS,                     §
INC., ET AL.                              §        152nd JUDICIAL DISTRICT


       DEFENDANTS TMX FINANCE OF TEXAS, INC.; TITLEMAX
         OF TEXAS, INC.; AND TMX FINANCE LLC'S SECOND
         AMENDED ANSWER AND AFFIRMATIVE DEFENSES


        Defendants TMX Finance of Texas, Inc.; TitleMax of Texas, Inc.; and TMX

Finance LLC (collectively, "Defendants") submit this Second Amended Answer and

Affirmative Defenses to the Second Amended Petition filed by Plaintiffs Wellshire Financial

Services, LLC; Meadowwood Financial Services, LLC; and Integrity Texas Funding, LP

(collectively, "Plaintiffs").

                                              I.
                                    GENERAL DENIAL

        In accordance with the rights granted to Defendants by Rule 92 of the Texas Rules of

Civil Procedure, Defend.ants generally deny each and every material allegation contained in

Plaintiffs' Second Amended Petition and demand that Plaintiffs be required to prove their

charges and allegations against Defendants as required by the Constitution and the laws of

the State of Texas.

                                         II.
                                AFFIRMATIVE DEFENSES

        1.     Plaintiffs' claims are barred in whole or in part by the affirmative defenses of

justification or privilege.




                                                                               APPENDIX 0078
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         2.      Plaintiffs' damages, if any, were proximately caused in whole or in part by the

acts or omissions of negligence or other bad conduct of other parties or third parties over

whom Defendants had no control or right of control or that were acting outside the scope of

employment.

         3.      Defendants acted in good faith and not with willful or reckless disregard of

the law.

         4.      Plaintiffs' claims are barred in whole or in part by the doctrine of unclean

hands.

         5.      Defendants assert the affirmative defenses of res judicata and collateral

estoppel.

         6.      Plaintiffs' claims are barred at least in part by the applicable statutes of

limitation.

         7.      Plaintiffs' claims are barred by application of the doctrine oflaches.

         8.      Plaintiffs' claim for punitive damages should be dismissed to the extent an

award of punitive damages would violate the U.S. Constitution or other applicable law.

         9.      Plaintiffs' trespass claim is barred in whole or in part by application of the

innocent trespasser doctrine.

         10.     Plaintiffs' trespass claim is barred in whole or in part by effect of permission

or invitation.

         11.     Defendants assert any other affirmative defenses to which they are entitled.




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                                             m.
                                      RESERVATION

       Defendants expressly reserve the right to amend or supplement this Second

Amended Answer and Affirmative Defenses to assert other and further defenses, affirmative

defenses, counterclaims, cross-claims, and/ or third-party claims as may be warranted.

                                            IV.
                                          PRAYER

       Defendants pray that: (1) Plaintiffs take nothing by this suit; (2) Defendants recover

their attorneys' fees, costs, and expenses incurred in this suit; and (3) Defendants have such

other and further relief to which they may be entitled.

Dated: February 25, 2015

                                                Respectfully submitted,

                                                GREENBERG TRAURIG, L.L.P.

                                                By: Isl L. Bradley Hancock
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                                                  TITLEMAX OF TEXAS, INC.

                                                BECK REDDEN, LLP

                                                David J. Beck


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                                                COUNSEL FOR DEFENDANTS TMX
                                                FINANCE OF TEXAS, INC.; TITLEMAX OF
                                                TEXAS, INC.; AND TMX FINANCE LLC

                           CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing was served on all counsel of
record in accordance with the Texas Rules of Civil Procedure on the 25th day of February,
2015.

                                             Isl L. BradleyHancock
                                             L. Bradley Hancock




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                                                                          APPENDIX 0081
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                                                                                            Filed: 3/171201511 :22:09 AM

                                         NO. 2013·33584

WELLSHIRE FIN ANCIAL SERVICES, LLC ,                §                 IN THE DISTRICT COURT
d/b/a LOA NSTAR TITLE LOANS, d/b/a                  §
MON EYMAX TJTLE LOANS, and d/b/a                    §
LOANMAX; MEADOWWOOD FINANCIAL                       §
SERV ICES, LLC, d/b/a LOANSTAR TlTLE                §
LOANS, and d/b/a MONEYMAX TITLE                     §
LOANS; and INTEGRITY TEXAS                          §
FUNDING, LP,                                        §
                                                    §
         Plaintiffs,                                §             OF HARRIS COUNTY, TEXAS
                                                    §
V.                                                  §
                                                    §
TMX FINANCE HOLDINGS, INC.;                         §
TMX FINANCE, LLC;                                   §
TMX FINANCE OF TEXAS, INC. ; and                    §
TITLEMAX OF TEXAS, INC.,                            §
                                                    §
         Defendants.                                §                 152°d JUDICIAL DISTRJCT

 PLAJNTIFFS/COUNTERDEFENDANTS' ANSWER AND AFFIRMATIVE DEFENSES
             TO TITLE MAX OF TEXAS, INC. 'S COUNTERCLAIM

         COME NOW, Plaintiffs/Counterdefendants Wellshire Financial Services, LLC d/b/a

LoanStar Title Loans, d/b/a MoneyMax Title Loans, and d/b/a LoanMax; Meadowwood

Financial Services, LLC, d/b/a LoanStar Title Loans, and d/b/a MoneyMax Title Loans and

Integrity Texas Funding, LP (collectively, "LoanStar"), submit this Answer and Affirmative

Defenses to the Counterclaim fil ed by Defendant/Counterplaintiff TitleMax of Texas, Inc.

("TitleMax").

                                  I.      GENERAL DENIAL

         LoanStar asserts a general denial as authorized by Rule 92 of the Texas Rules of Civi l

Procedure, hereby denying each and every, all and singular, of the material allegations in

TitleMax's Counterclaim, and demand that TitleMax be required to prove its charges and

allegations against Loan Star as required by the Constitution and the laws of the State of Texas.



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                             11.     AFFIRMATIVE DEFENSES

         Without conceding any applicable burden of proof, LoanStar further aileges the

following as defenses to all of the Counts, numbered I through TV, set forth in TitleMax's

Counterclaim :

                              FIRST AFFIRMATIVE DEFENSE

                              (Failure to State a Cause of Action)

         The Counterclaim and each and every Count therein fails to state facts sufficient to

constitute a cause or causes of action against LoanStar. Specifically, Counts I through VI fail as

a matter of law because one or more of the elements of the causes of action are not supported by

the allegations pied by TitleMax, even when those allegations are presumed true.

                            SECOND AFFIRMATIVE DEFENSE

                                      (Equitable Estoppel)

         LoanStar is informed and beUeves, and based thereon alleges, that by virtue of

TitleMax' s acts, omissions, carelessness, and negl igence, and by virtue of its conduct, TitleMax

is equitably estopped from asserting the Counterclaim and each and every Count therein.

                             THIRD AFFIRMATIVE DEFENSE

                                            (Laches)

         LoanStar is informed and believes, and based thereon alleges, that by virtue of

TitleMax's acts, omissions, carelessness, and negligence, and by virtue of its conduct, TitleMax

has inexcusably and unreasonably delayed the commencement of the action to the prejudice of

Loan Star.




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                             FOURTH AFFIRMATIVE DEFENSE

                            (Comparative/Contributory Negligence)

         LoanStar is informed and believes, and based thereon alleges, that if TitleMax has

suffered or sustained any loss, damage, or injury at or about the time and place alleged in the

Counterclaim, the same was directly and proximately contributed to by the careless, reckless,

negligent and/or unlawful conduct of TitleMax and/or its agents.         If TitleMax suffered or

sustained any loss, damage, or injury at or about the time and place alleged in the Counterclaim,

the total amount of damages to which TitleMax would otherwise be entitled should be reduced in

proportion to the amount of negligence attributable to the TitleMax and/or its agents, which

negligence directly and proximately contributed to TitleMax' s loss or damage herein alleged.

                              FIFTH AFFIRMATIVE DEFENSE

                                     (Acts of Third Persons)

         LoanStar is informed and believes, and based thereon alleges, that the injuries and

damages, if any, sustained by TitleMax were either in whole or in part caused by persons, firms,

corporations, or entities other than LoanStar, and that said acts are either imputed to TitleMax by

reason of the relationship of said parties to TitleMax.

                              SIXTH AFFIRMATIVE DEFENSE

                                       (Intervening Causes)

         LoanStar is informed and believes, and based thereon alleges, that any such acts by

others, as alleged in the preceding Affirmative Defenses, constitute an intervening and

superseding cause of the damages TitleMax allegedly suffered.




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                             SEVENTH AFFIRMATIVE DEFENSE

                                       (Failure to Mitigate)

         LoanStar is informed and believes, and based thereon alleges, that TitleMax should be

barred from recovery under any Count in the Counterclaim by reason of TitleMax's failure to act

reasonably to mitigate its alleged damages.

                              EIGHTH AFFIRMATIVE DEFENSE

                                      (Statute of Limitations)

         LoanStar is informed and believes, and based thereon alleges, that TitleMax's claims are

barred by the applicable statute of limitations.

                               NINTH AFFIRMATIVE DEFENSE

                                        (Punitive Damages)

         LoanStar alleges that the Counterclaim, and each and every Count therein, fails to contain

claims sufficient upon which to base a recovery for punitive damages.

                              TENTH AFFIRMATIVE DEFENSE

                                         (Unclean Hands)

         LoanStar is informed and believes, and thereon alleges, that with respect to the matters

and Counts alleged in the Counterclaim, TitleMax does not come into court with clean hands and

is precluded from recovering on said Counterclaim by the doctrine of unclean hands.

                           ELEVENTH AFFIRMATIVE DEFENSE

                                              (Waiver)

         LoanStar is informed and believes, and based thereon alleges, that TitleMax has engaged

m conduct and activ ities sufficient to constitute a waiver of any alleged breach of duty,

negligence, act, omission or any other conduct, if any, as set forth in the Counterclaim.



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                               TWELFTH AFFIRMATJVE DEFENSE

                                      (Justification or Privilege)

             LoanStar is informed and believes, and based thereon alleges, that LoanStar's alleged

conduct at issue in the Counterclaim was justified or privileged, which bars TitleMax from

recovering under any of the Counts in its Counterclaim.

                             TfilRTEENTH AFFIRMATIVE DEFENSE

                                           (Reasonableness)

         LoanStar is informed and believes, and based thereon alleges, that at all times relevant

herein, it acted in a commercially reasonable manner and was acting in accordance with

reasonable standards and practices applicable to the auto title lending industry.

                             FOURTEENTH AFFIRMATIVE DEFENSE

                                          (Conduct Excused)

         LoanStar is informed and believes, and based thereon alleges, that LoanStar's alleged

conduct at issue in this litigation was excused, which bars TitleMax from recovering under any

of the Counts in the Counterclaim.

                              FIFTEENTH AFFIRMATIVE DEFENSE

                                         (Consent to Conduct)

         LoanStar is informed and believes, and based thereon alleges, that TitleMax and/or its

agents consented to the conduct that they attribute to LoanStar.

                              SIXTEENTH AFFIRMATIVE DEFENSE

                                             (Good Faith)

         LoanStar is informed and believes, and based thereon alleges, that the actions alleged in

the Counterclaim as attributable to LoanStar were performed in good faith .



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                                         ID.        RESERVATION

             LoanStar expressly reserves the right to amend or supplement this Answer and

Affirmative Defenses to TitleMax's Counterclaim to assert other and further defenses,

affirmative defenses, counterclaims, cross-claims, and/or third-party claims as may be warranted.

                                    IV. . EXEMPLARY DAMAGES

             If LoanStar is found liable for exemplary damages, those damages must be capped under

the Texas Damages Act and the Due Process Clauses of the United States and Texas

Constitutions.

                                               V.     PRAYER

         WHEREFORE, LoanStar prays for judgment on TitleMax 's Counterclaim as follows:


             1. That the Counterclaim, an all of the Counts asserted therein, be dismissed in its

                entirety with prejudice, and that TitleMax takes nothing by way of the Counterclaim;

         2. For an award of costs of suit incurred in defense of the Counterclaim; and

         3. for such other relief as the Court may deem proper.


DATED: March 17, 2015

                                                    Respectfully submitted,

                                                    SUTHERLAND ASBILL & BRENNAN LLP

                                                    By: Isl Daniel Johnson
                                                           Kent C. Sullivan (SBN 19487300)
                                                           Daniel Johnson (SBN 24046165)
                                                           Robert A. Lemus (SBN 24052225)
                                                         1001 Fannin, Suite 3700
                                                        Houston, Texas 77002
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                                   CERTIFICATE OF SERVICE

             This   is   to   certify   that   a       copy   of   the    within   and   foregoing

PLAINTIFFS/COUNTERDEFENDANTS' ANSWER AND AFFIRMATIVE DEFENSES

TO TITLEMAX OF TEXAS, INC.'S COUNTERCLAIM has been forwarded to all counsel

of record in accordance with the Texas Rules of Civil Procedure on this 171h day of March 2015.

Geoff Gannaway
Bryon Rice
BECK REDDEN LLP
I221 McKinney St., Suite 4500
Houston, Texas 770 I 0.

Attorneys for
TitleMax of Texas, Inc.



                                                         Isl Daniel Johnson
                                                            Daniel Johnson




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                                                                                                        By: KATINA WILLIAMS
                                                                                                   Filed: 8/28/2015 4:30:33 PM

                                       CAUSE NO. 2013-33584

 WELLSHIRE FINANCIAL                          §         IN THE DISTRICT COURT OF
 SERVICES, LLC, ET AL.                        §
                                              §
 v.                                           §         HARRIS COUNTY, TEXAS
                                              §
                                              §
 TMX FINANCE HOLDINGS,                        §
 INC., ET AL.                                 §         1sznct JUDICIAL DISTRICT
         DEFENDANT TMX FINANCE HOLDINGS, INC.'S SPECIAL APPEARANCE

         Defendant TMX Finance Holdings, Inc. ("TMX Holdings") files this Special Appearance in

 response to Plaintiffs' petition, and asks that the Court dismiss with prejudice all claims against

 TMX Holdings for want of personal jurisdiction.

                                            Introduction

         TMX Holdings is a Delaware corporation that was formed merely to facilitate more efficient

 estate planning and tax reporting for its owners. It has never conducted any consumer business

 activities anywhere, let alone in Texas, and it has no employees or operating assets. Therefore,

 Texas courts do not have jurisdiction over TMX Holdings because it lacks any contacts with Texas.

 This Court lacks general and/or specific jurisdiction over TMX Holdings, and subjecting it to this

 Court's jurisdiction would violate "traditional notions of fair play and substantial justice." Thus,

 Plaintiffs' causes of action filed against TMX Holdings should be dismissed with prejudice.

                                              Argument

         TMX Holdings is a nonresident corporation formed and organized under the laws of the

  State of Delaware, and maintains its principal place of business in Georgia. TMX Holdings conducts

  no business in Texas and sells no services or products in Texas. TMX Holdings attaches an affidavit

  from Christopher Kelly Wall to establish that it is a nonresident and to establish facts not apparent

  from the record. See Affidavit of Christopher Kelly Wall, attached as Exhibit A.

         Texas courts do not have jurisdiction over TMX Holdings because it lacks the "minimum

  contacts" with Texas that the U.S. and Texas Constitutions and other applicable laws require to




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justify the exercise of personal jurisdiction over a nonresident. Therefore and pursuant to Texas Rule

of Civil Procedure 120a, TMX Holdings specially appears and asks that all claims and causes of

action asserted by Plaintiffs against TMX Holdings must be dismissed.

A. The Law regarding Personal Jurisdiction over a Nonresident Defendant

        Texas courts may exercise jurisdiction over a nonresident only where two conditions are

satisfied: (1) “the Texas long-arm statute authorizes the exercise of jurisdiction”; and (2) “the

exercise of jurisdiction is consistent with federal and state constitutional guarantees of due process.”

Baldwin v. Household Int’l, Inc., 36 S.W.3d 273, 276 (Tex. App.—Houston [14th Dist.] 2001, no pet.)

(citing Schlobohm v. Schapiro, 784 S.W.2d 355, 356 (Tex. 1990)). In essence, the Texas long-arm

statute governs Texas courts’ exercise of jurisdiction over a nonresident defendant who “does

business” in Texas. See TEX. CIV. PRAC. & REM. CODE §§ 17.041–45 (examples such as “contracts

by mail” or “recruits Texas residents . . . for employment” are examples listed as “do[ing]

business”). Plaintiff has the initial burden of pleading sufficient allegations to bring a foreign

defendant within the provisions of the Texas long-arm statute. Id.; see also, BMC Software Belgium,

N.V. v. Marchand, 83 S.W.3d 789, 793 (Tex. 2002). If a plaintiff meets that burden, the defendant

must then negate the jurisdictional bases pleaded by the plaintiff. Id.

        The Texas long-arm statute permits the exercise of jurisdiction to reach as far as due process

under the United States Constitution will allow. TEX. CIV. PRAC. & REM. CODE § 17.042; see also

Baldwin, 36 S.W.3d at 276. Therefore, if a plaintiff pleads sufficient allegations under the Texas long-

arm statute, the entire test reduces to whether the jurisdiction alleged by plaintiff is consistent with

federal constitutional requirements for due process. Id. Consequently, Texas courts “rely on

precedent from the United States Supreme Court and other federal courts, as well as [Texas]

decisions, in determining whether a nonresident defendant has met its burden to negate all bases of

jurisdiction.” BMC Software, 83 S.W.3d at 795.

        Texas courts do not have jurisdiction over a nonresident defendant unless the nonresident



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defendant purposefully established “minimum contacts” with Texas and the court’s exercise of

jurisdiction over a defendant comports with “fair play and substantial justice.” Daimler AG v.

Bauman, 134 S. Ct. 746, 753 (2014); Moki Mac River Expeditions v. Drugg, 221 S.W.3d 569, 575–76

(Tex. 2007); BMC Software, 83 S.W.3d at 795 (citing International Shoe Co. v. Washington, 326 U.S.

310, 316 (1945)).

        Texas courts must determine whether the nonresident defendant has purposefully established

minimum contacts with Texas. Moki Mac, 221 S.W.3d at 575–76; CSR Ltd. v. Link, 925 S.W.2d 591,

596 (Tex. 1996). To prove it had no minimum contacts with Texas, the defendant must show (1)

that it did not “purposefully avail” itself of the privilege of conducting activities within Texas; and

(2) any contacts it may have had with Texas do not give rise to specific or general jurisdiction. Moki

Mac, 221 S.W.3d at 575–76; BMC Software, 83 S.W.3d at 795–96. To establish “purposeful

availment,” the defendant’s acts must be purposeful rather than random, isolated, or fortuitous, and

the defendant must have sought some benefit, advantage, or profit in availing itself of Texas

jurisdiction. IRA Res., Inc. v. Griego, 221 S.W.3d 592, 596 (Tex. 2007); Moki Mac, 221 S.W.3d at 575.

        Specific jurisdiction exists when the defendant’s alleged liability arises from, or is related to,

an activity conducted within the forum state. BMC Software, 83 S.W.3d at 796. In contrast, general

jurisdiction allows the court to exercise personal jurisdiction regardless of whether the cause of

action arises out of the defendant’s activities in Texas. Id. General jurisdiction over a corporation is

limited to where it is at home, which generally is the state of incorporation and principal place of

business. Daimler, 134 S. Ct. 760 (rejecting “sprawling view of general jurisdiction”).

B.TMX Holdings Is Not Subject to General Jurisdiction

        Texas courts do not have general jurisdiction over TMX Holdings because it is not at home

in Texas. Id. It is a Delaware corporation with its principal place of business in Georgia. See Exhibit

A at ¶ 4.

        Additionally, TMX Holdings has not had continuous and systematic contacts with Texas


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because it:

               a.      has never been incorporated or otherwise formed in Texas;

               b.      has never maintained an office or facility of any kind in Texas;

               c.      has never had any employees, servants, or agents within Texas, other than
                       counsel for this matter;

               d.      has never maintained a mailing address or telephone number in Texas;

               e.      does not have a registered agent for service of process in Texas;

               f.      is not required to pay, and has never paid, franchise or any other taxes in
                       Texas;

               g.      has never maintained a savings and loan association or bank account in
                       Texas;

               h.      has never owned, leased, rented, or controlled any real or personal property
                       in Texas;

               i.      has never been licensed or otherwise authorized to do business in Texas;

               j.      has never had employees or agents in Texas; and

               k.      does not manufacture goods, distribute products, or sell or otherwise provide
                       services in Texas.

Id. at ¶ 8. TMX Holdings should not be subject to this Court’s general jurisdiction based on

unsupported allegations of “random, fortuitous, and attenuated contacts.” BMC Software, 83 S.W.3d

at 795. This Court does not have general jurisdiction over TMX Holdings.

C. TMX Holdings Is Not Subject to Specific Jurisdiction

        Texas courts cannot exercise specific jurisdiction over a nonresident defendant unless the

plaintiff’s causes of action result from injuries that are alleged to arise out of or relate to the

defendant’s contacts with Texas. Kelly v. Gen. Interior Constr., Inc., 301 S.W.3d 653, 659 (Tex. 2010);

Moki, 221 S.W.3d at 585. A foreign court cannot exercise jurisdiction over a person merely on the

basis of random, fortuitous, or attenuated contacts. BMC Software, 83 S.W.3d at 796 (citing Burger

King Corp. v. Rudzewicz, 471 U.S. 462, 474–76, 105 S. Ct. 2174, 85 L.Ed.2d 528 (1985)). Rather, the

defendant must purposefully avail itself of the privileges and benefits of conducting business in the


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forum state. Id. Specific jurisdiction only exists when the defendant’s alleged liability arises from, or

is related to, an activity conducted within the forum state. Id. at 796.

        In this matter, Plaintiffs vaguely allege that TMX Holdings is subject to jurisdiction

because it “is a parent company that owns all ownership and membership interests in Defendant

TMX Finance, and thus indirectly owns Defendants TMX Finance Texas and TMX Texas.” See

Plaintiffs’ Second Amended Petition at ¶ 28. Plaintiffs lump TMX Holdings with the other named

Defendants in this matter. This superficial attempt to establish jurisdiction is simply not sufficient.

        Under the Driver’s Privacy Protection Act (the “DPPA”), a “person who knowingly obtains,

discloses or uses personal information, from a motor vehicle record, for a purpose not permitted under

this chapter shall be liable to the individual to whom the information pertains. . . .” 18 U.S.C.A. §

2724 (emphasis added). Because an essential element of the DPPA claim is that the information was

obtained from a driving record, there cannot be specific jurisdiction over TMX Holdings if it never

accessed driving records in Texas. See Goodyear, 131 S. Ct. at 2851 (stating that specific jurisdiction

exists where the lawsuit arises from the defendant’s purposeful contacts with the forum). Waller

Marine, Inc. v. Magie, 14-14-00181-CV, 2015 WL 1456879, at *6 (Tex. App.—Houston [14th Dist.]

Mar. 26, 2015, no. pet. h.).

        Not only has TMX Holdings never accessed any driving records in Texas, but it has never

accessed driving records anywhere. See Exhibit A at ¶ 10. This follows at least in part from TMX

Holdings’ limited purpose, which was merely to facilitate estate planning and tax reporting for its

owners. Id. at ¶ 5. Hence, there is no basis for specific jurisdiction over TMX Holdings.

D. Exercising Jurisdiction Does Not Comport with Fair Play and Substantial Justice

        Given the absence of both general and specific jurisdiction over TMX Holdings in Texas,

this Court need not consider whether the assertion of jurisdiction comports with traditional

principles of fair play and substantial justice. See BMC Software, 83 S.W.3d at 796 (citing Burger King,

417 U.S. at 476). In other words, the Court should not reach the considerations of fair play and


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substantial justice because Plaintiffs have not established the requisite minimum contacts between

TMX Holdings and Texas. But even if such minimum contacts could be established, fair play and

substantial justice would not permit this Court to assert jurisdiction over TMX Holdings. See

Daimler, 134 S. Ct. 754 (citing International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)).

        Not only would this Court’s assumption of jurisdiction over TMX Holdings offend

traditional notions of fair play and substantial justice, but it would also be inconsistent with the

constitutional requirements of due process. Moki, 221 S.W.3d at 575. In determining whether the

exercise of jurisdiction comports with notions of fair play and substantial justice, the Court may

consider: (1) the burden on the defendant; (2) the interest of the forum state in adjudicating the

dispute; (3) the plaintiff’s interest in obtaining convenient and effective relief; (4) the interstate

judicial system’s interest in obtaining the most efficient resolution of controversies; and (5) the

shared interest of the several states in furthering fundamental social policies. Id. Each of these factors

weighs against the Court’s exercise of jurisdiction over TMX Holdings.

        There is nothing fair and equitable about haling TMX Holdings—a Delaware corporation

with no minimum contacts with Texas—into a Texas court to confront a frivolous lawsuit filed for

no other reason than for harassment and corporate warfare.

E. TMX Holdings Is Not an Alter Ego of the Other Defendants

        TitleMax of Texas, Inc. (“TitleMax of Texas”) is the only defendant that provides consumer

products or services in Texas. TMX Holdings is a separate and distinct entity from TitleMax of

Texas and is not its alter ego. See Affidavit at ¶ 13. Moreover, TMX Holdings is separate and distinct

from the other Defendants. Id.

        More specifically, “a foreign parent corporation is not subject to the jurisdiction of a forum

state simply because its subsidiary is present or doing business there.” Conner v. ContiCarriers and

Terminals, Inc., 944 S.W.2d 405, 418 (Tex. App.—Houston [14th Cir.] 1997, no writ) (internal

citations omitted). The party trying to establish jurisdiction must overcome the presumption of



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corporate separateness and show that the parent controls “the internal business operations and

affairs of the subsidiary” to a greater degree than “that normally associated with common ownership

and directorship.” Id. at 319; All Star Enter., Inc. v. Buchanan, 298 S.W.3d 404, 422-24 (Tex. App.—

Houston [14th Dist.] 2009, no pet.). The movant must show that the “parent so controls or dominates

the subsidiary as to disregard corporate formalities.” Conner, 944 S.W.2d at 418. Ownership of 100%

of the stock is not sufficient, and common directors and officers are not sufficient. Id. Factors such as

the following are analyzed: “(1) the amount of stock in one company that is owned by its affiliate;

(2) whether the entities have separate headquarters, directors, and officers; (3) whether corporate

formalities are observed; (4) whether the entities maintain separate accounting systems; and (5)

whether one company exercises complete control over the other’s general policies or daily

activities.” All Star Enter., Inc., 298 S.W.3d at 422-24.

        In Conner v. ContiCarriers and Terminals, Inc., plaintiff (an engineer on a push boat) was

injured in an accident and sued both his employer (i.e. ContiCarriers) and the parent company of his

employer (i.e. Continental Grain Inc.). 944 at 418-420.

        The court found that the ties between the parent and the subsidiary were not sufficient to

show that the subsidiary was the alter-ego of the parent so as to establish jurisdiction despite the

following commonalities:

               the subsidiary received its initial capital from the parent;
               they shared office headquarters in Chicago, Illinois;
               employees have the same benefits and are paid by the same payroll system;
               employees for the parent provided legal, accounting and other services to the subsidiary; and
               approximately 50% of the subsidiary’s revenue comes from providing shipping services to the
                parent. Id.

        The court found that the parent did not “control” the subsidiary based on the following: each

conducted separate operations and entering into separate contracts; each could pay off a judgment;

each maintained separate bank accounts; and each filed separate tax returns. Id. Moreover, the court

noted that the entities maintained separate officers and directors (except for two common officers),

did not share joint stockholder or director meetings, and the parent made all operating policy


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decisions independently. Id. See also All Star Enter., 298 S.W.3d at 422-24 (reversing the trial court’s

denial of the special appearance and remanding for dismissal and severance of a defendant when

that stock ownership between the corporate entities, common employees, one shared executive,

sharing an office, and using the same letterhead, were “legally insufficient” to “fuse” the two

companies). See also, PHC Minden, L.P. v. Kimberly-Clark Corp., 235 S.W.3d 163, 169 (Tex. 2007)

(holding that parent did not exercise such control over the subsidiary so as to “fuse” the two when

“the evidence cited points to parental involvement—involvement consistent with its investor

status—not atypical control . . . What is lacking here is the ‘plus’ factor, “something beyond the

subsidiary’s mere presence within the bosom of the corporate family”).

        TMX Holdings does not exercise sole authority over general policies and does not have

direct ownership interest in TitleMax of Texas. See Exhibit A at ¶ 13. Moreover, TMX Holdings

maintains separate accounts from TitleMax of Texas and has separate operations. Id. As a result,

TMX Holdings cannot possibly be TitleMax of Texas’s alter ego for jurisdiction purposes. Similarly,

TMX Holdings is not an alter ego of the other Defendants. Id.

                                               Pr ayer

        Plaintiffs have failed to establish either general or specific jurisdiction over TMX Holdings,

and exercising jurisdiction over this foreign defendant would offend traditional notions of fair play

and substantial justice. Accordingly, TMX Holdings respectfully requests that the Court grant this

Special Appearance and dismiss Plaintiffs’ claims against TMX Holdings for lack of personal

jurisdiction.




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                                              Respectfully submitted,

                                              GREENBERG TRAURIG, L.L.P.

                                              By: /s/ L. Bradley Hancock
                                                      Roland Garcia, Jr.
                                                      State Bar No. 07645250
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                                                      713-374-3500 – Telephone
                                                      713-374-3505 – Facsimile

                                                      COUNSEL FOR DEFENDANT              TMX
                                                      FINANCE HOLDINGS, INC.

                                CERTIF ICATE OF SERVI CE

       I certify that a true and correct copy of the foregoing was served on all counsel of record in
accordance with the Texas Rules of Civil Procedure on the 28th day of August, 2015.

                                                  /s/ Theresa Wanat
                                                  Theresa Wanat




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                        EXHIBIT A




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                                  CAUSE NO. 2013-33584

WELLSHIRE FINANCIAL                      §        IN THE DISTRICT COURT OF
SERVICES, LLC, ET AL.                    §
                                         §
v.                                       §        HARRIS COUNTY, TEXAS
                                         §
                                         §
TMX FINANCE HOLDINGS,                    §
INC., ET AL.                             §         152nct JUDICIAL DISTRICT

                    AFFIDAVIT OF CHRISTOPHER KELLY WALL

STATE OF GEORGIA                    §
COUNTY OF FULTON                    §

       BEFORE ME, the undersigned authority, appeared Christopher Kelly Wall known to

me to be the person whose name is subscribed hereto and, after being duly sworn by me, stated

as follows:

        1.    My name is Christopher Kelly Wall. I am over the age of 21 years of age and
              am of sound mind, and am fully competent to give this Affidavit. The facts
              stated in this Affidavit are within my personal knowledge and are true and
              correct.

       2.     I am the Vice President of TMX Finance Holdings, Inc. ("TMX Holdings"). I
              have personal knowledge of the facts stated in this Affidavit through my role with
              TMX Holdings. Each of the statements made below is based upon my personal
              knowledge.

       3.     I submit this Affidavit in support of TMX Holdings's Special Appearance under
              Texas Rule of Civil Procedure 120a.

       4.     TMX Holdings is a corporation formed and organized under the laws of the State
              of Delaware. TMX Holdings maintains its principal office in Atlanta, Georgia.

       5.     TMX Holdings was formed in October 2012 in order to facilitate more efficient
              estate planning and tax reporting for its owners.

       6.     TMX Holdings is a parent holding company for TMX Finance LLC and
              TitleMax Aviation Inc.

        7.    TMX Holdings has no employees, does not issue any paychecks, and does not
              file income taxes. TMX Holdings does not have any operations. TMX Holdings
              is not registered to conduct business in any state.

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  8.    TMX Holdings:

           a. has never been incorporated or otherwise formed in Texas;

           b. has never maintained an office or facility of any kind in Texas;

           c. has never had any employees, servants, or agents within Texas, other
              than counsel for this matter;

           d. has never maintained a mailing address, or telephone number in Texas;

           e. does not have a registered agent for service of process in Texas;

           f.   is not required to pay, and has never paid, franchise or any other taxes in
                Texas;

           g. has never maintained a savings and loan association or bank account in
              Texas;

           h. has never. owned, leased, rented, or controlled any real or personal
              property in Texas;

           L    has never been involved in any litigation (other than this lawsuit), or any
                involvement in any tortious or illegal activity in Texas;

           J.   has never been licensed or otherwise authorized to do business in Texas;

           k. has never had employees or agents in Texas; and

           1.   does not manufacture goods, distribute products, or sell or otherwise
                provide services in Texas.

  9.    TMX Holdings has never advertised or marketed in any state, including but not
        limited to Texas, and has never entered into a contract with a Texas resident,
        other than to engage counsel in this matter for the specific purpose of defending
        itself in this lawsuit.

  10.   TMX Holdings has never accessed any driving records of anyone, including but
        not limited to residents of Texas.

  11.   To defend this action would require TMX Holdings's representatives to travel to
        Texas, to exchange documents and other evidence with other parties and
        attorneys in Texas, and to attend the trial of this action in Texas.

  12.   Because of the distance between TMX Holdings's office and Houston, Texas, it
        would be inconvenient, burdensome, and financially expensive for TMX
        Holdings to litigate this case in this Court.

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              13.    TMX Holdings is a separate and distinct entity from the other Defendants. It
                     observes corporate formalities; maintains separate corporate accounts and a
                     separate bank account; does not commingle assets; does not share business
                     departments; has its own financial statements; and has separate operations.
                     Further, it does not exercise sole authority over the other Defendants' general
                     policies and daily operations and does not pay their salaries and expenses.
                     Moreover, TMX Holdings does not have a direct ownership interest in
                     Defendant, TitleMax of Texas, Inc.

              FURTHER AFFIANT SAYETH NOT.




                                                           TMX Finance Holdings, Inc.

              Subscribed and sworn to before me this ll_-#iday of August, 2015 .


         Angela ATripido
                                                             Q_,~,,_         c     ..,
                                                                                    < .
                                                           NotaryPbii(; in and for the
                                                                                          c:._...
                                                                                          ~lb
         NOTARY PUBLIC                                     State of Georgia
    Chatham County, GEORGIA
My Comm. Expires February 16, 2019




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                                    CAUSE NO. 2013-33584

WELLSHIRE FINANCIAL                        §         IN THE DISTRICT COURT OF
SERVICES, LLC, ET AL.                      §
                                           §
v.                                         §         HARRIS COUNTY, TEXAS
                                           §
                                           §
TMX FINANCE HOLDINGS,                      §
INC., ET AL.                               §         152nd JUDICIAL DISTRICT

                           ORDER ON DEFENDANT
              TMX FINANCE HOLDINGS, INC.’S SPECIAL APPEARANCE

        After considering Defendant TMX Finance Holdings, Inc.’s Special Appearance, the

responses and replies thereto, argument of counsel, controlling law, and the affidavits, discovery

on file, and oral testimony, the Court

        SUSTAINS the Special Appearance, dismisses Plaintiff’s suit against Defendant TMX

Finance Holdings, Inc. with prejudice for refiling in Texas, and orders that Plaintiff take nothing

against Defendant TMX Finance Holdings, Inc.



         SIGNED on ____________________, 2015.


                                               _________________________
                                               PRESIDING JUDGE




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                                         NO. 2013-33584

WELLSHIRE FINANCIAL SERVICES, LLC,                  §                 IN THE DISTRICT COURT
d/b/a LOAN STAR TITLE LOANS, d/b/a                  §
MONEYMAX TITLE LOANS, and d/b/a                     §
LOANMAX; MEADOWWOOD FINANCIAL                       §
SERVICES, LLC, d/b/a LOANSTAR TITLE                 §
LOANS, and d/b/a MONEYMAX TITLE                     §
LOANS; and INTEGRITY TEXAS                          §
FUNDING, LP,                                        §
                                                    §
        Plaintiffs,                                 §             OF HARRIS COUNTY, TEXAS
                                                    §
v.                                                  §
                                                    §
TMX FINANCE HOLDINGS, INC.;                         §
TMX FINANCE, LLC;                                   §
TMX FINANCE OF TEXAS, INC.; and                     §
TITLEMAX OF TEXAS, INC.,                            §
                                                    §
        Defendants.                                 §                 152"ct JUDICIAL DISTRICT

           LOANSTAR'S RESPONSE IN OPPOSITION TO TMX HOLDINGS'
                          SPECIAL APPEARANCE

        COME NOW Plaintiffs Wellshire Financial Services, LLC d/b/a LoanStar Title Loans,

d/b/a MoneyMax Title Loans, and d/b/a LoanMax; Meadowwood Financial Services, LLC, d/b/a

LoanStar Title Loans, and d/b/a MoneyMax Title Loans and Integrity Texas Funding, LP,

(collectively, "LoanStar") and hereby file this response in opposition to TMX Finance Holdings,

Inc.'s ("TMX Holdings") Special Appearance, and show the Court as follows:

                                    I.     INTRODUCTION

        TMX Holdings is subject to this Court's personal jurisdiction because it is the alter ego of

TMX Finance, LLC ("TMX Finance"), which has already consented to jurisdiction. Since TMX

Holdings' creation in 2012, TMX Holdings and TMX Finance have acted as a single entity and

ignored all corporate formalities. Indeed, the two defendants have exchanged

-       without any supporting contracts or paperwork, TMX Holdings requires TMX Finance to




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perform                                                                          , the two entities

share corporate headquarters without any payment of rents, and TMX Holdings owns all

membership units in TMX Finance. Further, TMX Holdings has not complied with its corporate

obligations under Delaware law, including the appointment directors.

       Despite the lack of any meaningful separation between the two entities, TMX Holdings

asks this Court to artificially divide TMX Holdings from TMX Finance so that TMX Holdings'

assets cannot be used to satisfy a judgment in this litigation. However, TMX Holdings cannot

shield TMX Finance's assets simply by pointing to a different legal name.          Further, TMX

Holdings' admission that it was created to facilitate "more efficient estate planning and tax

reporting" for Tracy Young only further evidences that TMX Holdings is under Mr. Young's

control. Where, as here, TMX Holdings is the alter ego of TMX Finance, the Court can assert

jurisdiction over both entities. Accordingly, the Court can (and should) exercise jurisdiction

over TMX Holdings.

          II.    TMX HOLDINGS IS SUBJECT TO PERSONAL JURISDICTION

       A.       The Court Has Personal Jurisdiction over the Alter-Ego of an Entity that
                Has Consented to Personal Jurisdiction

       This Court has personal jurisdiction over the alter-ego of an entity that has already

consented to personal jurisdiction. See, e.g., Patin v. Thoroughbred Power Boats Inc., 294 F.3d

640, 653 (5th Cir. 2002) ("[I]mputing a corporation's consent to personal jurisdiction to its ...

alter ego is consistent with the underlying rationale justifying piercing of the corporate veil.")

(citation omitted); 1 Mejia v. Bureau Veritas Consumer Products Service (India) Private Ltd,

Case No. 1-15-cv-333 RP, 2015 WL 4601201, at *6 n.3 (W.D. Tex. July 29, 2015) (applying


1
 See also Villagomez v. Rockwood Specialties, Inc., 210 S.W.3d 720, 745 n.1 (Tex. App.-
Corpus Christi 2006, pet. denied) (approving of the Fifth Circuit's decision in Patin).



                                                2

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Texas long-arm statute) ("The waiver by one corporate entity is ... properly imputed to a

separate corporate entity if it is a successor to, or alter ego of, the first corporate entity");; see

also I & JC Corp. v. Helen of Troy L.P., 164 S.W.3d 877, 890-91 (Tex. App.-El Paso 2005,

pet. denied) ("any minimum contacts of one [alter ego] may be imputed to the other").

        In this litigation, TMX Finance consented to personal jurisdiction when it answered

LoanStar's petition. 2 (Ex. 1, Defendant TMX Finance Original Answer [April 9, 2014].) TMX

Finance's consent to personal jurisdiction is imputed to its alter ego TMX Holdings, and TMX

Holdings therefore is subject to this Court's jurisdiction.

        B.     TMX Holdings and TMX Finance Are Alter Egos

        Courts consider the following factors to determine whether two entities are considered

alter egos for jurisdictional purposes: (1) the amount of the subsidiary's stock owned by the

parent corporation, (2) the degree of control exercised over the subsidiary, (3) the observance of

corporate formalities, and (4) the existence of separate headquarters. See PHC-Minden, LP v.

Kimberly Clark Corp., 235 S.W.3d 163, 175 (Tex. 2007). Each of the factors listed above

compels the conclusion that TMX Holdings and TMX Finance are alter egos and that the Court

can exercise jurisdiction over both entities.

               1.      TMX Holdings Owns 100% ofTMX Finance

       TMX Holdings has complete ownership and control over TMX Finance. Shortly after it

was incorporated in July 2012, TMX Holdings acquired a 100% ownership in TMX Finance

2
  TMX Finance also has minimum contacts with the forum state sufficient to merit the exercise
of specific jurisdiction. For example, TMX Finance has significant control of the day-to-day
operations of TitleMax of Texas, Inc., is closely associated with TitleMax of Texas, Inc., has a
regional corporate office and chief operations officer in Texas, and has ongoing involvement
with the TitleMax stores making loans in Texas. (See Ex. 2, Order finding TMX Finance LLC
subject to personal jurisdiction in Texas, Cantu v. TitleMax, Inc., Case No. 5: 14-cv-00628-RP-
HJB (W.D. Tex. June 17, 2015) (finding specific jurisdiction appropriate) (affirmed by trial
court).)



                                                  3

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when it acquired Tracy Young's membership units of TMX Finance.              (See Ex. 3, Delaware

Certificate of Incorporation [July 26, 2012]; Ex. 4, Delaware Corporate Entity Details; Ex. 5,

Excerpts From TMX Finance LLC's 2012 10-K ("TMX Finance 10-K") at 2 ["Effective

September 30, 2012, Tracy Young, the former sole member of TMX Finance LLC, transferred

100% of his membership units to newly-formed TMX Finance Holdings Inc."]; Ex. 6, TMX

Holdings' Responses to LoanStar's First Set of Interrogatories ("Rog. Resp.") at Nos. 1, 3. 3 )

Since that time, TMX Holdings has maintained that full ownership ofTMX Finance.

        Further, both entities are fully controlled by the same individual, Tracy Young. Indeed,

Mr. Young owns one hundred-percent of TMX Holdings' shares and thereby completely and

unilaterally controls both entities. (Id at Nos. 4-6 [Mr. Young owns all shares].) Mr. Young

also serves as the Chief Executive Officer and President of both TMX Holdings and TMX

Finance. (Ex. 8, TMX Holdings' 2012, 2013, and 2014 Annual Franchise Tax Reports ("Tax

Reports") [listing Mr. Young as "President/CEO" and "CEO"]; Ex. 5, TMX Finance 10-K at 3

["Tracy Young is our ... Chief Executive Officer, President"].)

       Thus, not only does TMX Holding own all of its subsidiary's stock, but Mr. Young has

(and exerts 4 ) complete control over both TMX Holdings and TMX Finance. (See, e.g., id. ["Mr.

Young has the ability to control substantially all matters of significance to the Company"]; Ex. 6,

Rog. Resp. at Nos. 4-'6.)     Indeed, Mr. Young has shuffled his ownership interest in TMX

3
  See also Ex. 7, Deposition of Christopher Kelly Wall, Corporate Representative for TMX
Holdings [April 30, 2014] ("Corp. Dep.") at 12:14-18. TMX Holdings' corporate representative
deposition, as well as various other exhibits cited herein, were designated attorneys-eyes only
and therefore will be produced to the Court for in camera review. References to attorneys-eyes
only material will be redacted for the version of this brief filed in the public record.
4
  In an attempt to prevent TitleMax's former general counsel from testifying that Mr. Young was
the individual controlling this litigation on behalf of all Defendants, TitleMax asserted a baseless
privilege objection. The Court subsequently overruled that objection and compelled further
deposition testimony on that matter.



                                                 4

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Finance to TMX Holdings in an attempt to shelter certain TitleMax's assets from creditors and

taxes while still retaining complete control over TMX Finance.          This factor accordingly

demonstrates that TMX Holdings and TMX Finance are alter egos for jurisdictional purposes.

               2.     TMX Holdings Controls TMX Finance

       Since its formation in 2012, TMX Holdings has fully controlled TMX Finance's very

existence.



                              (Ex. 9, TMX 007063

                                 ; Ex. 10, TMX_007064-65



               ; see also Ex. 7, Corp. Dep. at 35:7-23.) That TMX Holdings made such a

significant financial contribution to TMX Finance is strong evidence of control and an alter-ego

relationship. See, e.g., Carson v. Maersk, Ltd., 61 F.Supp.2d 607, 611 (S.D. Tex. 1999) (holding

company exercised sufficient control over another company to establish alter ego relationship

where, among other things, dominating company "financed [other company's] ability to set up

for its operations") (applying Texas long-arm statute); Crithfield v. Boothe, 343 S.W.3d 274, 286

(Tex. App-Dallas 2011, no pet.) (considering inadequate capitalization); Vanderbilt Mortg. &

Fin., Inc. v. Flores, 747 F.Supp.2d 794, 824 (S.D. Tex. 2010) (parent's financing of subsidiary

indicates improper control) (applying Texas law).

       Additionally despite the magnitude of that transaction, TMX Holdings has not produced

any contract or paperwork demonstrating that                                 was an arms-length

transaction, despite being so ordered by the Court. (Ex. 11, January 23, 2015 Hearing Transcript




                                                5

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at 48:1-49:9 [ordering TMX Holdings to produce documents evidencing capital contributions]. 5)

Similarly, TMX Holdings has failed to produce any paperwork evidencing its

- - - w h i c h it admits is non-contractual. (Ex. 7, Corp. Dep. at 28:11-15, 33:19-

22.)   TMX Holdings and TMX Finance's failure to deal at arm's length and inability to

document their financial exchanges demonstrates TMX Holdings' control over TMX Finance

and mandates piercing the corporate veil. See, e.g., Crithfield, 343 S.W.3d at 285 (failure to

keep assets separate evidence of degree of control); Vanderbilt, 747 F.Supp. 2d at 824 (whether

"alleged dominator deals with the dominated corporation at arms length" is indicative of control

and whether alter ego relationship exists) (applying Texas law).

       TMX Holdings also



                                                                   For example,




5
  The Court explicitly ordered TMX Holdings to produce "All documents reflecting ... capital
contributions, loans, [and] securities agreements ... involving both [Holdings] and any other
Defendant." (Ex. 12, TMX Holdings' Amended Responses LoanStar' s First Set of Requests for
Production at No. 9 [improperly labeled No. 6].) In response, TMX Holdings produced only five
sheets of paper and no underlying contractual documents or agreements evidencing -
-transaction, instead claiming any supporting documents were privileged (while failing to
produce a privilege log). (Id., Ex. 13, TMX_007083-87.) TitleMax's failure to produce such
documents in response to discovery requests precludes TitleMax from later attempting to
produce such information in reply papers supporting their motion. See Swain v. Sw. Bell Yellow
Pages, Inc., 998 S.W.2d 731, 733 (Tex. App.-Fort Worth 1999, no pet.) (holding "the proper
remedy" in a case where party refuses to respond to discovery requests "is to exclude the
evidence that was requested but not produced") (citing Remington Arms Co., Inc. v. Caldwell,
850 S.W.2d 167, 170-71 (Tex. 1993)); see also Tex. R. Civ. P. 215.2 ("If a party ... fails to
comply with proper discovery requests or to obey an order to provide or permit discovery ... the
court in which the action is pending may [enter] an order ... prohibiting [the disobedient party]
from introducing designated matters in evidence[.]"); see also Ex. 15, November 21, 2014
Transcript at 43 ("if evidence is requested and not produced, it doesn't come in").



                                                6

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                      . (Id. at 18:22-19:4                                             J,   20:3-9   [I
                                              ], 22:2-23 :9 [

60:4-19 [                                                                             ], 9:2-4 and

62:17-23 [                                           ], 28:3-5 [



        Similarly, TMX Holdings

                                                                   . (Id. 7:6-10 [

                                                    ], 9:2-4 and 62: 17-23

                     ], 21:12:-22:1                                                  ], 59:21-60:3

[

- ] . ) Each of these facts weighs in favor of finding an alter ego relationship between TMX

Holdings and TMX Finance. See I & JC Corp., 164 S.W.3d at 890 (failure to pay officers and

the joint handling of financial operations weigh in favor of finding level of control necessary to

establish alter ego relationship).

        In sum, from infusing TMX Finance with                                       , to failing to

document                                                  and demanding

                     , the evidence confirms TMX Holdings' dominance over TMX Finance.

Therefore, this factor also confirms that TMX Holdings and TMX Finance must be treated as

alter egos.

               3.      TMX Holdings Fails to Observe Corporate Formalities

        Since its inception, TMX Holdings has failed to satisfy even the most basic formalities

required of a general Delaware corporation and therefore must be considered the same entity as

TMX Finance for jurisdictional purposes. As a general Delaware corporation, TMX Holdings is

required to have at least one director. See Del. Code Ann. tit. 8, §§ 14l(a)-(b) ("The business


                                                7

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and affairs of every corporation organized under this chapter shall be managed by or under the

direction of a board of directors, [which] shall consist of 1 or more members, each of whom shall

be a natural person.... "). However, TMX Holdings' public filings-which were sworn to by

Mr. Young under penalty of perjury-confirm TMX Holdings has never had directors. 6 (See Ex.

8, Tax Reports [listing "O" directors].) 7 TMX Holdings' failure to meet such a basic requirement

for corporate existence weighs in favor of disregarding TMX Holdings' status as a Delaware

corporation. See Irwin & Leighton, Inc. v. W.M Anderson Co., 532 A.2d 983, 989 (Del. Ch.

1987) ("[w]hen [corporate] formalities are not respected, the legal fiction of corporateness

becomes less real").

        Further, as discussed above, TMX Holdings has disintegrated its corporate integrity by

failing to transact business with TMX Finance at arms-length; instead, TMX Holdings and TMX

Finance                                        without any supporting contract or paperwork and

TMX Holdings receives

Accordingly, TMX Holdings fails to observe corporate formalities and this factor further

confirms that TMX Holdings is not separate and distinct from TMX Finance.

               4.      TMX Holdings and TMX Finance Share Headquarters

       TMX Holdings and TMX Finance share joint headquarters in Savannah, Georgia and

TMX Holdings fails to pay any rent or other compensation to TMX Finance for that use of that


6
  Notably, TMX Holdings' corporate representative testified that
meaning that either Mr. Young committed perjury when signing TMX Holdings' tax returns or
the corporate representative committed erjury at his deposition. (See Ex. 7, Corp. Dep. 15:20-
25 [                                      ].)
7
  Delaware also requires annual meetings for the election of directors, which TMX Holdings also
does not conduct as it has no directors. See Del. Code § 211 (b) ("an annual meeting of
stockholders shall be held for the election of directors on a date and at a time designated by or in
the manner provided in the bylaws"); see also Ex. 7, Corp. Dep. at 16:1-3 (no board meetings).



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space. (Ex. 8, Tax Reports [listing TMX Holdings' principal place of business]; Ex. 5, TMX

Finance 10-K at I [listing the same principal executive office], Ex. 6, Rog. Resp. at No. 8 [TMX

Holdings does not own or lease the office space].) Therefore, this fourth and final factor-along

with each of the three preceding factors-requires that TMX Holdings and TMX Finance be

treated as a single entity for jurisdictional purposes. LoanStar accordingly requests the Court

deny TMX Holdings' Special Appearance.

        C.      The Exercise of Personal Jurisdiction over TMX Holdings Comports with
                Traditional Notions of Fair Play and Substantial Justice

        Each of the five factors that courts traditionally consider when determining whether

personal jurisdiction comports with traditional notions of fair play and substantial justice also

support this Court exercising jurisdiction over TMX Holdings: "(!) the burden on the defendant,

(2) the interests of the forum state in adjudicating the dispute, (3) the plaintiffs interest in

obtaining convenient and effective relief, (4) the interstate judicial system's interest in obtaining

the most efficient resolution of controversies, and (5) the shared interest of the several States in

furthering fundamental substantive social policies." 8 See Guardian Royal Exchange Assur., Ltd

v. English China Clays, PLC, 815 S.W.2d 223, 228 (Tex. 1991) (quotation marks and citation

omitted).




8
  LoanStar addresses this topic out of an abundance of caution, even though courts have found
that an alter ego's consent to jurisdiction is the end of the personal jurisdiction inquiry-thus, the
consent satisfies traditional notions of fair play and substantial justice. See American Airlines,
Inc. v. Rogerson ATS, 952 F.Supp. 377, 381 (N.D. Tex. 1996) (When a party consents to
personal jurisdiction, "consent alone is sufficient to satisfy the fundamental fairness of the
personal jurisdiction analysis."); see also Patin, 294 F.3d at 653 ("[I]t is compatible with due
process for a court to exercise personal jurisdiction over an individual or a corporation that
would not ordinarily be subject to personal jurisdiction in that court when the individual or
corporation is an alter ego or successor of a corporation that would be subject to personal
jurisdiction in that court.") (five citations omitted) (emphasis in original).



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        First, TMX Holdings will not suffer undue burden should it be compelled to (continue to)

litigate against LoanStar in Harris County.     Indeed, TMX Holdings has no employees who

LoanStar may depose, and TMX Holdings' officers (Mr. Young and - ) are already

subject to deposition due to their positions as officers of TMX Finance. 9         LoanStar will

additionally travel to Savannah for any potential depositions of TMX Holdings' officers or

corporate representative, just as it has in the past to depose other TitleMax employees.

Moreover, TMX Holdings and TMX Finance also share the same Texas counsel, Greenberg

Traurig LLP, which is already up to date on this case and may adequately and efficiently

represent TMX Holdings in this Court (as demonstrated by its advocacy on TMX Holdings'

behalf in the special appearance here under consideration).

       Second, Texas has an exceedingly strong interest in the subject matter of this lawsuit,

which involves the criminal acquisition of DMV records used to identify and solicit Texas

citizens in violation of the Texas Motor Vehicle Records Disclosure Act. See V.T.C.A. §§

730.003, et seq. (criminal punishment for improper access of DMV records); see also federal

Driver's Privacy Protection Act, 18 U.S.C. § 2721 (federal law restricting access to DMV

records). Third, LoanStar also has a strong interest in resolving the instant case in Texas, the

sole state in which it operates and where it has lost substantial profits.       This interest is

compounded given that LoanStar has spent extensive effort in litigating the instant case in Texas

over the past two years.

       Fourth, the efficient resolution of this controversy is promoted by adjudication in this

Court because each of the other defendants (including TMX Finance) have consented to personal


9
 TMX Holdings and TMX Finance also share a corporate representative. (Compare Ex. 7,
Corp. Dep. at 1 [Christopher Kelly Wall] with Ex. 14, January 28, 2015 Email [presenting Mr.
Wall as corporate representative].)



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jurisdiction. Litigation against TMX Holdings in a separate jurisdiction would accordingly be

duplicative and inefficient.   Fifth, the substantive social policies at issue-protecting Texas

citizens' personally identifying information-can be more than adequately addressed by this

Texas Court. Accordingly, the exercise of personal jurisdiction over TMX Holdings does not

offend notions of fair play and substantial justice and TMX Holdings' Special Appearance

should be denied.

                                      III.   CONCLUSION

       Because TMX Holdings and TMX Finance are alter egos, and this Court has personal

jurisdiction over TMX Finance, TMX Holdings is subject to this Court's personal jurisdiction.

LoanStar accordingly requests the Court order TMX Holdings to respond to its petition within

ten days, and for other relief the Court deems just.


DATED: September 3, 2015                      Respectfully submitted,

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                                        Attorneys for Wells hire Financial Services,
                                        LLC, d/bla LoanStar Title Loans, d/bla
                                        MoneyMax Title Loans, and d/b/a LoanMax;
                                        Meadowwood Financial Services, LLC, d/b/a
                                        LoanStar Title Loans, and d/b!a MoneyMax
                                        Title Loans; and Integrity Texas Funding, LP




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                                CERTIFICATE OF SERVICE

       This is to certify that a copy of the within and foregoing LOANSTAR'S RESPONSE IN

OPPOSITION TO TMX HOLDINGS' SPECIAL APPEARANCE has been forwarded to all

counsel of record in accordance with Texas Rules of Civil Procedure 21and21a on this 3rd day

of September 2015.

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           EXHIBIT 1




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                                         NO. 2013-33584

WELLSHIRE FINANCIAL SERVICES, LLC, §                        IN THE DISTRICT COURT
d/b/a LOANSTAR TITLE LOANS         §
and INTEGRITY TEXAS FUNDING, LP,   §
                                   §
              Plaintiffs,          §
                                   §
V.                                               §          OF HARRIS COUNTY, TEXAS
                                                 §
TMX FINANCE HOLDINGS, INC.;                      §
TMX FINANCE, LLC;                                §
TMX FINANCE OF TEXAS, INC.;                      §
TITLEMAX OF TEXAS, INC.;                         §
FELIX DeLEON;                                    §
and ISHMAEL HERNANDEZ,                           §
                                                 §
                          Defendants.            §          152n<l JUDICIAL DISTRICT

                        DEFENDANT TMX FINANCE, LLC'S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF THIS COURT:

           COMES NOW, Defendant TMX Finance, LLC ("TMX Finance"), and files this Original

Answer, in support of which it would show as follows:

                                        GENERAL DENIAL

           Subject to all stipulations and admissions that may hereinafter be made, TMX Finance

asserts a general denial as authorized by Rule 92 of the Texas Rules of Civil Procedure, hereby

denying each and every, all and singular, of the material allegations in Plaintiffs' Original

Petition, and demands that Wellshire Financial Services, LLC d/b/a Loanstar Title Loans and

Integrity Texas Funding, LP ("Plaintiffs") be required to prove their charges and allegations

against TMX Finance as required by the Constitution and laws of the State of Texas.




1730.00001/541663. vi




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                                       PRAYER FOR RELIEF

            WHEREFORE, PREMISES CONSIDERED, TMX Finance prays that Plaintiffs take

nothing; that TMX Finance recover its costs of court; and that it be granted such other and

further relief, at law or in equity, to which it may show itself justly entitled.


                                                Respectfully submitted,

                                                BECK REDDEN LLP



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                                                TMX FINANCE OF TEXAS, INC.,
                                                TITLEMAX OF TEXAS, INC. AND
                                                TMX FINANCE LLC




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                               CERTIFICATE OF SERVICE

       I hereby certify that I caused a true and correct copy of the foregoing instrument to be
served on counsel of record in accordance with Rules 21 and 21a of the Texas Rules of Civil
Procedure on this 9th day of April, 2014, by email and facsimile:

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           EXHIBIT 2




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     Case
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              5:14-cv-00628-RP-HJB
                         Document 1-6
                                    Document
                                      Filed in 54
                                               TXSD
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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION

GREGORY CANTU and                                §
JACQUELINE HOLMES,                               §
                                                 §
                        Plaintiffs,              §
                                                 §
v.                                               §           SA-14-CA-628-RP (HJB)
                                                 §
TITLEMAX, INC., TITLEMAX                         §
HOLDINGS, LLC, TMX FINANCE,                      §
LLC, TMX FINANCE HOLDINGS,                       §
INC., TITLEMAX OF TEXAS, INC.,                   §
and TITLEMAX FINANCE CORP.,                      §
                                                 §
                        Defendants.              §

                           REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

To the Honorable Robert L. Pitman, United States District Judge:

        This Report and Recommendation concerns two Motions to Dismiss for Lack of Personal

Jurisdiction Under Federal Rule of Civil Procedure 12(b)(2) filed by Defendants TitleMax Finance

Corp. {"TitleMax Finance") and TMX Finance, LLC F!KlA TitleMax Holdings, LLC {"TMX

Finance"). (Docket Entries 6, 7). Dispositive pretrial matters have been referred to the undersigned

for ruling pursuant to Western District of Texas Local Rule CV-72 and Appendix C. (See Docket

Entry 31.) For the reasons set out below, I recommend that TitleMax Finance's Motion (Docket

Entry 6) be GRANTED, and TMX Finance's Motion (Docket Entry 7) be DENIED.

I.      Jurisdiction.

        Plaintiffs bring a class action complaint under the Driver's Privacy Protection Act ("DPPA),

18 U.S.C. §§ 2721, et seq. (Docket Entry I). This Court has jurisdiction over federal questions




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pursuant to 28 U.S.C. § 1331.          The undersigned is authorized to issue this report and

recommendation by 28 U.S.C. § 636(b).

II.      Background.

         Plaintiffs allege that, beginning in the summer of 2012, Defendants began engaging in a

pattern of accessing state motor vehicle records to obtain information about consumers who had

previously obtained car title loans from other companies for purposes of marketing its own title loan

services to these potential customers. (Docket Entry 1, at 5.) Defendants allegedly used the

information to contact Plaintiffs and other putative class members for purposes of soliciting future

business. (Id.) By obtaining this information for purposes of soliciting new customers, Plaintiffs

contend that Defendants violated the DPPA, which limits the permissible uses for obtaining

information from state vehicle records. See 18 U.S.C. 272l(b). (Id)

         Plaintiffs' complaint primarily targets Defendant TitleMax of Texas, Inc. ("TitleMax of

Texas"), which they allege does business in the Western District of Texas. 1 Plaintiffs' claim,

however, that other TitleMax entities are also liable, including TitleMax Finance and TMX Finance.

According to Plaintiffs' complaint, although the TitleMax family of companies may be registered

as separate companies, "in reality they all operate together as a single entity under the joint control

of Tracy Young, without any separation," through multiple wholly-owned subsidiaries set up in

various states (including TitleMax ofTexas). (Docket Entry 1, at 2.) Plaintiffs claim that there is

no meaningful division or separation between the various entities within the TitleMax family of

companies, and that all TitleMax stores, regardless of whether they may be owned by any particular


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          TitleMax of Texas has answered Plaintiffs' complaint, denying liability but admitting that
it does business in Texas and declining to challenge this Court's jurisdiction over it. (See Docket
Entry 8.)

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subsidiary, are operated pursuant to a company-wide risk management system supported by district

and regional managers all under the central leadership of Young, who is the founder, Chairman of

the Board, Chief Executive Officer, President and the sole beneficial owner of TMX Finance, "as

well as all other TitleMax companies." (Id at 2-3.)

          TitleMax Finance and TMX Finance, represented by the same counsel as TitleMax ofTexas,

have each moved to dismiss the charges against them for lack or personal jurisdiction. See FED. R.

Crv. P. 12(b)(2) (authorizing such motions). TitleMax Finance asserts that it is a Delaware

corporation formed in conjunction with a bond offering, and that it has no employees or operating

assets and has never conducted any consumer business activities anywhere, let alone in Texas.

(Docket Entry 6, at 2.) TMX Finance alleges that it did not commit any of the acts in Texas giving

rise to Plaintiffs' complaint, that its principal place of business is Georgia, and that it lacks the

minimum contacts with Texas required to justify the exercise of personal jurisdiction over a

nonresident. (Docket Entry 7, at 2. )2

          Plaintiffs responded to the motion filed by TMX Finance (Docket Entry 50), but not the

motion filed by TitleMax Finance. Based on the assertion that TitleMax Finance does not do

business anywhere, Plaintiffs do not oppose dismissal of their claims against that entity. (Id. at 1

n.1.)

III.      Applicable Law.

          If a party raises the defense of lack of personal jurisdiction, the non-moving party bears the

burden of proving personal jurisdiction. Luv N'care, Ltd. v. Insta-Mix, Inc., 438 F.3d 465, 469 (5th


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         Proceedings on the motions to dismiss have been delayed while the parties have engaged
in limited discovery regarding the personal jurisdiction issue. This discovery is ongoing, and is
addressed by a separate order entered today.

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Cir. 2006). Although the non-moving party bears the burden, "[w]hen a court rules on a motion to

dismiss for lack of personal jurisdiction without holding an evidentiary hearing ... the nonmoving

party need only make a prima facie showing, and the court must accept as true the nonmover' s

allegations and resolve all factual disputes in its favor." Guidry v. U.S. Tobacco Co., Inc., 188 F.3d

619, 625 (5th Cir.1999); see also Stripling v. Jordan Prod. Co., 234 F.3d 863, 869 (5th Cir. 2000)

(explaining that we "accept as true the uncontroverted allegations in the complaint and resolve in

favor of the plaintiff any factual conflicts.").

        A.      Due Process and Personal Jurisdiction.

        Federal courts ordinarily follow state law in determining the bounds of their jurisdiction over

persons. See FED. RULE C1v. P. 4(k)(l)(A) (service of process is effective to establish personal

jurisdiction over a defendant "who is subject to the jurisdiction of a court of general jurisdiction in

the state where the district court is located"); Daimler AG v. Bauman, 134 S. Ct. 746, 753 (2014).

Additionally, a federal court may only exercise personal jurisdiction over a nonresident defendant

if "the exercise of personal jurisdiction comports with the Due Process Clause of the Fourteenth

Amendment." McFadin v. Gerber, 587 F.3d 753, 759 (5th Cir. 2009). In this instance, the state-law

and due-process inquiries merge into one, since Texas law permits the exercise of personal

jurisdiction to the limits of due process. Pervasive Software Inc. v. Lexware GmbH & Co. KG, 688

F.3d 214, 220 (5th Cir. 2012).

       On issues of personal jurisdiction, due process is satisfied ifthe "nonresident defendant has

certain minimum contacts with [the forum] such that the maintenance of the suit does not offend

traditional notions of fair play arid substantial justice." Gardemal v. Westin Hotel Co., 186 F.3d 588,

595 (5th Cir. 1999) (brackets in original) (quoting Int'/ Shoe Co. v. Washington, 326 U.S. 310, 316


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(1945)). "The 'minimum contacts' inquiry is fact intensive and no one element is decisive; rather

the touchstone is whether the defendant's conduct shows that it 'reasonably anticipates being haled

into court."' McFadin, 587 F.3d at 759 (internal citation omitted).

       A district court may assert either general or specific jurisdiction over a party. Panda

Brandywine Corp. v. Potomac E/ec. Power Co., 253 F.3d 865, 867-68 (5th Cir. 2001). General

jurisdiction is established where the defendant has "continuous and systematic" contacts with the

forum state. Choice Healthcare, Inc. v. Kaiser Foundation Health Plan ofColo., 615 F .3d 364, 368

(5th Cir. 2010). For corporations, it will be rare for such jurisdiction to be available in states other

than the state of incorporation and the principal place of business. Daimler AG, 134 S. Ct. at

760-61.

       Even when the defendant lacks the "continuous and systematic contacts" to support general

jurisdiction, specific jurisdiction may still be established if (1) the defendant has "purposefully

directed his activities at residents of the forum," and (2) that the plaintiffs' alleged injury "arise[s]

out of or relate[ s]"to the defendant's contacts with the forum state. Clemens v. McNamee, 615 F.3d

374, 378-79 (5th Cir. 2010) (quoting Burger King Corp. v. Rudzewicz, 471U.S.462, 472 (1985)).

"[A]lthough physical presence in the forum is not a prerequisite to jurisdiction, ... physical entry

into the State-either by the defendant in person or through an agent, goods, mail, or some other

means-is certainly a relevant contact" for purposes of specific jurisdiction. Walden v. Fiore, 134

S. Ct. 1115, 1122 (2014).

       If a plaintiff establishes minimum contacts between the defendant and the forum state, the

burden of proof shifts to the defendant to show that the assertion of jurisdiction is unfair and

unreasonable. Cent. Freight Lines Inc. v. APA Transp. Corp., 322 F.3d 376, 384 (5th Cir. 2003).


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"To show that an exercise of jurisdiction is unreasonable once minimum contacts are established,

the defendant must make a 'compelling case' against it." Wien Air Alaska, Inc. v. Brandt, 195 F.3d

208, 215 (5th Cir. 1999) (citing Burger King Corp., 471 U.S. at 477). In determining whether

jurisdiction is unfair and unreasonable, a court may consider, when relevant, "(l) the burden on the

nonresident defendant, (2) the forum state's interests, (3) the plaintiffs interest in securing relief,

(4) the interest of the interstate judicial system in the efficient administration ofjustice, and (5) the

shared interest of the several states in furthering fundamental social policies." McFadin, 587 F.3d

at 759-60.

       B.      Agency and Personal Jurisdiction.

       The Fifth Circuit has recognized that the contacts of an alter ego or agent may be imputed

to a parent corporation for purposes ofpersonal jurisdiction. Dickson Marine Inc. v. Panalpina, Inc.,

179 F.3d 331, 338 (5th Cir. 1999); Hargrave v. Fibreboard Corp., 710 F.2d 1154, 1159 (5th Cir.

1983). As the Supreme Court has explained, "[a] corporation is a distinct legal entity that can act

only through its agents. . . . As such, a corporation can purposefully avail itself of a forum by

directing its agents or distributors to take action there." Daimler AG, 134 S. Ct. at 759

n.13 (citations omitted).

       In considering issues of personal jurisdiction, however, the presumption is in favor of

corporate separateness. Dickson Marine Inc., 179 F.3d at 338.          Accordingly, "a foreign parent

corporation is not subject to the jurisdiction of a forum state merely because its subsidiary is present

or doing business there." Alpine View Co. Ltd v. Atlas Copco AB, 205 F.3d 208, 218 (5th Cir. 2000)

(quoting Hargrave, 710 F.2d at 1159); see also Dickson Marine Inc., 179 F.3d at 338. In fact, the

Fifth Circuit does not even view 100 percent ownership, shared officers and directors, and financing


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arrangements, by themselves, to be sufficient to establish an alter ego relationship. Alpine View Co.

Ltd., 205 F.3d at 218. Instead, the plaintiff must present prima facie evidence that the parent

corporation so controls the subsidiary that the activities of the subsidiary are attributable to the parent

corporation for jurisdictional purposes. Id.; see also Gardemal v. Westin Hotel Co., 186 F.3d 588,

593 (5th Cir. 1999) (stating that subsidiary is alter ego of parent corporation when it is "organized

or operated as a mere tool or business conduit"). Such proof requires "something beyond the

subsidiary's mere presence within the bosom of the corporate family." Dickson Marine Inc., 179

F .3d at 338 (internal citations omitted). "There must be evidence of one corporation asserting

sufficient control to make the other its agent or alter ego." Id.

        Factors set out by the Fifth Circuit for the consideration of whether a parent corporation is

amenable to personal jurisdiction based on the actions of a subsidiary include: ( 1) whether the parent

corporation owns all or a significant portion of the subsidiary's stock; (2) whether the two

corporations have separate headquarters; (3) whether they have common officers and directors; (4)

whether they observe corporate formalities; (5) whether they maintain separate accounting systems

and bank accounts; (6) whether the assets of the corporations are commingled; (7) whether the parent

corporation exercises complete authority over general policy or daily operations; (8) whether the two

entities share common business departments; (9) whether they have consolidated financial statements

and tax returns; (10) whether the parent corporation finances the subsidiary or pays salaries and

expenses; (11) whether the subsidiary is undercapitalized; (12) whether the subsidiary has any

business other than that from the parent corporation; (13) whether the parent corporation uses the

subsidiary's property as the parent's own; and ( 14) whether daily operations are separate. Hargrave,

710 F .2d 1160; Gundle Lining Constr. Corp. v. Adams Cnty. Asphalt, Inc., 85 F .3d 201, 208-09 (5th


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Cir. 1996). The Court's decision must be based on the totality of circumstances. Gundle Lining

Constr. Corp., 85 F.3d at 209.

IV.       Analysis.
          In support of its motion to dismiss, TitleMax Finance presents affidavit evidence from its

vice-president Christopher Wall. (Docket Entry 7, at 9-10.) Wall's affidavit states, among other

things, that TMX Finance is a separate and distinct entity, incorporated in Delaware and having its

principal place of business in Georgia; that it observes corporate formalities, has its own employees,

and maintains its own books and bank accounts; that it has never engaged in providing any consumer

product or service in Texas; that it not licensed or otherwise authorized to do business in Texas; that

it has never paid franchise taxes or any other taxes to Texas, or owned any real property there; and

that is has no Texas agent for service of process in Texas. (Id) Wall also asserts that "TMX

Finance has never had any involvement in any tortious or illegal activity in Texas," and "has never

accessed any driving records of Texas residents." (Id. at 10.)

          In response, Plaintiffs provide a variety of contravening evidence, including, among other

things:

          (1)    TMX Finance's Annual Report to the Securities and Exchange Commission.

                 (Docket Entry 50-5.) This report provides contradicting evidence. It states generally

                 that TMX Finance exists "solely as a holding company" (Docket Entry 50-5, at 5);

                 however, it also states that the company3 operates to provide title loans to customers

                 with limited access to credit, that it "operate[s] under two brands," one of which is



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         Although not controlling, the report uses "TMX Finance," the "Company," "we," "us"
"our," and similar terms to "represent TMX Finance and its consolidated affiliates." (Id at 5.)

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             TitleMax (id. at 6). More pertinent to the issue before the Court, the report states

             that TMX Finance "conduct[s] business in Texas and certain other states through

              wholly-owned subsidiaries." (Id. at 8.) It notes that it operates in compliance with

              city ordinances in Austin, Dallas, El Paso and San Antonio, but that its subsidiary

              TitleMax of Texas is challenging the legality of two of the ordinances. (Id. at 11.)

              TMX Finance also includes all of the title loans its subsidiaries have provided as

              accounts receivable in a "Consolidating Balance Sheet" (with receivables totaling

              more than $577 million). (Id. at 65.)

       (2)    Information about Otto Bielss.        (Docket Entries 50-6, 50-9.)   Bielss is Chief

              Operating Officer of TMX Finance. (Docket Entry 50-6, at 1. )4 His "Linked In"

              webpage lists his business as "retail" in the "Dallas-Ft. Worth Area."

              (Id) According to an affidavit filed in another case, a former Houston district

              manager ofTitleMax of Texas reported to a regional manager who in turn reported

              directly to Bielss. (Docket Entry 50-10, at 3.) Bielss reported directly to Tracy

              Young, CEO of both TitleMax of Texas and TMX Finance. (Id.; see also Docket

              Entry 50-7, at 2.) Another affidavit, from a former Dallas area regional manager of

              TitleMax of Texas, stated that the regional managers reported to Bielss, and that

              Bielss and other corporate operations employees participated in monthly conference

              calls concerning operations and performance of individual Texas stores. (Docket




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         The SEC Annual Report lists him as "Senior Vice President of Operations." (Docket Entry
50-5, at 74.)

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               Entry 50-11, at 4.) This regional manager opined that unattainable performance goals

               set during these

        conference calls led TitleMax ofTexas employees to engage in "improper practices" to boost

sales. (Id at 5.)

        (3)     Information about other Texas employment positions. Plaintiffs submit a page from

                an employment website, "Simply Hired," which lists the "TMX Finance family of

                companies" as offering numerous jobs in Texas. (Docket Entries 50-16 through 50-

                18.)

        (4)     Information about TMX Finance's corporate offices.            Another TMX Finance

                document, apparently from its "careers" website, indicates that Dallas is TMX

                Finance's "regional corporate office and corporate contact center." (Docket Entry

                50-20, at 3.) Plaintiffs also submit a document called "TMX Finance Careers" which

                states that TMX Finance has "over 15 departments with state-of-the-art corporate

                offices located in Savannah and Dallas." (Docket Entry 50-19, at 5.)

        Considered in its totality, and with conflicts construed in Plaintiffs' favor, the above evidence

is sufficient to present a prima facie case that this Court has personal jurisdiction over TMX

Finance. 5 Although mere association with, or even ownership of, TitleMax of Texas would not be

sufficient, Plaintiffs have presented evidence that TMX Finance had significant control ofthe day-to-

day operations of TitleMax of Texas, including coordinating its business operations and even its

legal activities in Texas courts. This evidence, combined with (1) other evidence of the close



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         TMX Finance disputes much of this evidence in its reply (Docket Entry 53); at this stage
in the proceedings, however, such disputes must be resolved in Plaintifrs favor.

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association of the two companies, (2) the placement of a regional corporate office and chief

operations officer in Texas, and (3) ongoing involvement with the stores making loans in Texas, all

make an exercise of specific personal jurisdiction appropriate. As the Fifth Circuit has repeatedly

made clear, defendants who purposefully engage in business within the forum state "knowingly

benefit[ ] from the availability of a particular state's market," and they thus may reasonably foresee

that claims will arise from their business transactions. Dontos v. Vendomation NZ Ltd., 582 F.

App'x. 338, 348 (5th Cir. 2014) (brackets in original) (quoting Luv N' care, Ltd., 438 F.3d at 470).

If they engage in such business in this state, they "can reasonably expect to be haled into a Texas

court." Dontos, 582 F.3d at 348. 6

        The same evidence that establishes sufficient "minimum contacts" between TMX Finance

and Texas also defeats any argument by TMX Finance that this Court's exercise of jurisdiction

would be unreasonable. Wien Air Alaska, Inc., 195 F.3d at 215. It is not unreasonable for a

company with corporate offices in Texas, which offers multiple corporate employment positions in

Texas, and whose chief operations officer participates in the management ofTexas stores and whose

employees are alleged to have committed the violations giving rise to the lawsuit in Texas, should

be called upon to answer that suit in this State.

        For all these reasons, reviewing the totality of the evidence and resolving conflicts in

Plaintiffs favor, TMX Finance's motion should be denied. 7


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         Indeed, Plaintiffs note that TMX Finance has been sued in Texas state court in a related
case, but has not contested jurisdiction. (See Docket Entry 50-2.)
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          Of course, even though Plaintiffs have established a prima facie case of specific personal
jurisdiction, this does not "foreclose [any] defendant from holding [the Plaintiffs] to its ultimate
burden at trial of establishing contested jurisdictional facts by a preponderance of the evidence."
Mullins v. TestAmerica, Inc., 564 F.3d 386, 399 (5th Cir. 2009).

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V.      Conclusion.
        For the reasons set out above, I recommend that the Motion to Dismiss for Lack of Personal

Jurisdiction Under Federal Rule of Civil Procedure 12(b)(2) filed by Defendant TitleMax Finance

Corp. (Docket Entry 6) be GRANTED, and that the Motion to Dismiss for Lack of Personal

Jurisdiction Under Federal Rule of Civil Procedure 12(b)(2) filed by Defendant TMX Finance, LLC

F/KJA TitleMax Holdings, LLC (Docket Entry 7) be DENIED.

VI.     Instructions for Service and Notice of Right to Object/Appeal.

        The United States District Clerk shall serve a copy of this Report and Recommendation on

all parties by either: (1) electronic transmittal to all parties represented by an attorney registered as

a Filing User with the Clerk of Court pursuant to the Court's Procedural Rules for Electronic Filing

in Civil and Criminal Cases; or (2) by certified mail, return receipt requested, to any party not

represented by an attorney registered as a Filing User.

         As provided in 28 U.S.C. § 636(b)(l) and Federal Rule of Civil Procedure 72(b), any party

who desires to object to this Report must file with the District Clerk and serve on all parties and the

Magistrate Judge written Objections to the Report and Recommendation within fourteen (14) days

after being served with a copy, unless this time period is modified by the District Court. A party

filing Objections must specifically identify those findings, conclusions or recommendations to which

objections are being made and the basis for such objections; the District Court need not consider

frivolous, conclusive or general objections.

         A party's failure to file timely written objections to the proposed findings, conclusions and

recommendations contained in this Report will bar the party from receiving a de novo determination

by the District Court. See Thomas v. Arn, 474 U.S. 140, 150 (1985); Acuna v. Brown & Root, Inc.,


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200 F.3d 335, 340 (5th Cir. 2000). Additionally, a party's fai lure to fil e timely written objections

to the proposed findings, conclusions and recommendations contained in this Report will bar the

aggrieved party, except upon grounds of plain e1TOr, from attacking on appeal the unobjected-to

proposed factual findings and legal conclusions accepted by the District Court. Douglass v. United

Servs. Auto. Ass 'n, 79 F.3d 1415, 1428-29 (5th Cir. 1996) (en bane).

       SIGNED on June 17, 2015.




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           EXHIBIT 3




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                                         'Ifie   :First State

              I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF
       DELAWARE, DO HEREBY CERTIFY THE ATTACHED ARE TRUE AND CORRECT
       COPIES OF ALL DOCUMENTS ON FILE OF "TMX FINANCE HOLDINGS INC."
       AS RECEIVED AND FILED IN THIS OFFICE.
             THE FOLLOWING DOCUMENTS HAVE BEEN CERTIFIED:
             CERTIFICATE OF INCORPORATION, FILED THE TWENTY-SIXTH DAY OF
       JULY, A.D. 2012, AT 12:20 O'CLOCK P.M.
             AND I DO HEREBY FURTHER CERTIFY THAT THE AFORESAID
       CERTIFICATES ARE THE ONLY CERTIFICATES ON RECORD OF THE
       AFORESAID CORPORATION, "TMX FINANCE HOLDINGS INC. ".




                                                                 Jeffrey W. Bullock, Secretary of State
          5185806       8100H                                   C TION: 2689159
          151236125                                              DATE: 08-31-15
You may verify this certificate online
at corp.delaware.gov/authver.shtml
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                                                                                        State of Delaware
                                                                                    Secreta.z:y of State
                                                                                Division of Corporations
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                           CERTIFICATE ~{INCORPORATION
                              A STOCK CORPORATION

     •    First: The name oftbis Corporation is TJllJX Fin.a.nee Holdinc;rs Inc.

      •   Second: Its registered office in the State of Delaware is to be located at Corp.
           T:i:ust Center, 1209 Oranqe Street, in tbe City of Wilminqt:on
          County of New Castle              Zip Code 1980l         . The registered agent in
          charge thcreofis The Co:cporation T:r.ust Comuanv


        Third: The purpose of the corporation is to engage in any lawful act or activity for
          which corporatjons may be organized under the General Corporation Law of
          Delaware.
     • Fourth; The amount of the total stock of this corporatio11 is authorized to issue is
          10, 00 o*                      shares (number of authorized shares) with a par value of
      0.0000000000                     per share *l.Og ctass AB('Joting) .Sh{l.res a.nd
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     • Fifth: The name and mailing address of the incorporator are as follows:
                     Name Ma:r,vin A Fentress
                     MaiUngAddress2-:l Drayton Street, Suite 1000
                                        Savan.nah, GA                Zip Code~3_1_4_0_1_ __
     • I, The Undersigned, for the pu.rposc of fonning a. corporation under the laws of the
        State of Delaware, do make, file and record this Certificate, and do certify that the


                                                            nA ~
         facts herein stated are true, and I have accordingly hereunto set my hand this


          24th        day of   Jul~             ,   A:~ZO                        ~-~--
                                                                       {LJ-LX>'""""'.

                                                                 (Jn~
                                                NAME:IMarv;,n A fi'entress
                                                            (type or pdnt)




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           EXHIBIT 4




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  Department of State: Division of Corporations


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  Office Location
  SERVICES                                                                         Incorporation Date    07/26/2012
                                  File Number:                5185806
  Pay Taxes                                                                         / Formation Date:    (mm/dd/yyyy)
  File UCC's
  Delaware Laws Online            Entity Name:                TMX FINANCE HOLDINGS INC.
  Name Reservation
  Entity Search                   Entity Kind:                CORPORATION                Entity Type:    GENERAL
  Status
  Validate Certificate
  Customer Service                Residency:                  DOMESTIC                          State:   DE
  Survey
  INFORMATION                     REGISTERED AGENT INFORMATION
  Corporate Forms
  Corporate Fees
  UCC Forms and Fees
  Taxes                           Name:                       THE CORPORATION TRUST COMPANY
  Expedited Services
  Service of Process              Address:                    CORPORATION TRUST CENTER 1209 ORANGE ST
  Registered Agents
  Get Corporate Status
                                  City:                       WILMINGTON                      County:    NEW CASTLE
  Submitting a Request
  How to Form a New
  Business Entity                 State:                      DE                         Postal Code:    19801
  Certifications, Apostilles
  & Authentication of             Phone:                      (302)658-7581
  Documents

                                  Additional Information is available for a fee. You can retrieve Status for a fee of $10.00 or
                                  more detailed information including current franchise tax assessment, current filing history
                                  and more for a fee of $20.00.
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                                                                                     FORM 10-K

     ANNUAL REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                          For the fiscal year ended December 31, 2012

     TRANSITION REPORT PURSUANT TO SECTION 13 OR 15(d) OF THE SECURITIES EXCHANGE ACT OF 1934
                                                                         For the tr ansition per iod fr om       to

                                                                             Commission File Number 333-172244



                                                                               TMX Finance LLC
                                                                       (Exact Name of Registrant as Specified in its Charter)


                                           Delawar e                                                                                        XX-XXXXXXX
                                    (State of Incorporation)                                                                     (I.R.S. Employer Identification No.)

                              15 Bull Str eet, Savannah, Geor gia                                                                               31401
                            (Address of Principal Executive Offices)                                                                          (Zip Code)

                                                               Registrant’s Telephone Number, Including Area Code: (912) 525-2675

    Securities registered pursuant to Section 12(b) of the Act: None

    Securities registered pursuant to Section 12(g) of the Act: None



    Indicate by check mark if the registrant is a well-known seasoned issuer, as defined in Rule 405 of the Securities Act. Yes  No 

    Indicate by check mark if the registrant is not required to file reports pursuant to Section 13 or Section 15(d) of the Act. Yes  No 

     Indicate by check mark whether the registrant (1) has filed all reports required to be filed by Section 13 or 15(d) of the Securities Exchange Act of 1934 during the preceding 12 months
(or for such shorter period that the registrant was required to file such reports), and (2) has been subject to such filing requirements for the past 90 days. Yes  No 

    (Note: The registrant has filed all reports pursuant to the Securities Exchange Act of 1934 as applicable for the preceding 12 months)

    Indicate by check mark whether the registrant has submitted electronically and posted on its corporate Web site, if any, every Interactive Data File required to be submitted and posted
pursuant to Rule 405 of Regulation S-T (§232.405 of this chapter) during the preceding 12 months (or for such shorter period that the registrant was required to submit and post such files).
Yes  No 

     Indicate by check mark if disclosure of delinquent filers pursuant to Item 405 of Regulation S-K (§229.405 of this chapter) is not contained herein, and will not be contained, to the best
of registrant’s knowledge, in definitive proxy or information statements incorporated by reference in Part III of this Form 10-K or any amendment to this Form 10-K. 

    Indicate by check mark whether the registrant is a large accelerated filer, an accelerated filer, a non-accelerated filer, or a smaller reporting company. See definitions of “large
accelerated filer,” “accelerated filer” and “smaller reporting company” in Rule 12b-2 of the Exchange Act.

                                   Large accelerated filer                                                                               Accelerated filer 

                                  Non-accelerated filer                                                                            Smaller reporting company 
                        (Do not check if a smaller reporting company)

    Indicate by check mark whether the registrant is a shell company (as defined in Rule 12b-2 of the Exchange Act). Yes  No 

     Indicate by check mark whether the registrant has filed all documents and reports required to be filed by Sections 12, 13 or 15(d) of the Securities Exchange Act of 1934 subsequent to
the distribution of securities under a plan confirmed by a court. Yes  No 

    The Company has 100 outstanding limited liability company membership units, all of which are held by TMX Finance Holdings Inc.




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                                                                                  TMX FINANCE LLC
                                                                                   AND AFFILIATES
                                                                   FORM 10-K FOR THE YEAR ENDED DECEMBER 31, 2012

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      This report contains “forward-looking statements” that involve risks and uncertainties. Forward-looking statements provide current expectations of future events based on
certain expectations, assumptions, estimates and projections. Forward-looking statements can be identified by the fact that they do not relate strictly to historical or current facts and
frequently contain words such as “anticipate,” “assume,” “believe,” “budget,” “continue,” “could,” “estimate,” “expect,” “future,” “intend,” “may,” “plan,” “potential,” “predict,”
“project,” “will” and other similar terms. All statements that address operating performance, events or developments that we expect or anticipate will occur in the future — including
statements relating to demand for our products and services, sales growth, comparable store sales, store openings, state of the economy, capital allocation and expenditures, liquidity
and the effect of adopting certain accounting standards — are forward-looking statements. Forward-looking statements involve risk and are not guarantees of future performance. The
Company’s actual results may differ significantly from current expectations as expressed or implied in the forward-looking statements. Factors that might cause such differences
include, but are not limited to, those discussed in “Item 1A. Risk Factors” in this report. The Company assumes no obligation to revise or update any forward-looking statements,
except as required by law.

                                                                                           PART I

ITEM 1. BUSINESS.

Intr oduction

      TMX Finance LLC is a privately-owned automobile title lending company with 1,035 company-owned stores in 12 states as of December 31, 2012. We provide our customers with
access to funds through loans secured by a first or second lien on the customer’s automobile. Our loan products allow our customers to meet their liquidity needs by borrowing against the
value of their vehicles while allowing the customer to retain use of the vehicle during the term of the loan.

      TMX Finance LLC is a limited liability company that was formed in Delaware in 2003 and exists solely as a holding company to own the equity interests of its subsidiaries. TMX
Finance LLC changed its name from TitleMax Holdings, LLC to TMX Finance LLC effective June 21, 2010. Effective September 30, 2012, Tracy Young, the former sole member of TMX
Finance LLC, transferred 100% of his membership interests to newly-formed TMX Finance Holdings Inc., or our “Parent,” in exchange for shares of common stock of our Parent.
Mr. Young is the sole beneficial owner of the common stock of the Parent. We refer to Mr. Young in this report as the “Sole Shareholder.” Unless the context indicates otherwise,
references in this report to “TMX Finance,” the “Company,” “we,” “us,” “our” or similar terms represent TMX Finance LLC and its consolidated affiliates.

      Our principal corporate offices are located at 15 Bull Street, Suite 200, Savannah, Georgia 31401, and our telephone number is (912) 525-2675. Our website address is www.titlemax.biz.
The information on our website is not a part of this report.

Over view

        Our automobile title lending business provides a simple, quick and confidential way for consumers to meet their liquidity needs. We offer title loans in amounts ranging from $100 to
$5,000 to customers who generally have limited access to consumer credit from banks, thrift institutions, credit card lenders and other traditional sources of consumer credit. As of
December 31, 2012, we had approximately 470,000 customers and $577.2 million in title loans receivable. We believe we are the largest automobile title lender in the United States based on
title loans receivable.

      We principally operate under two brands: TitleMax and TitleBucks. TitleMax requires a minimum appraised vehicle value of more than $500 and offers interest rates that we believe,


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If we lose key management or are unable to attract and retain quality management talent, we may be unable to profitably operate and grow our business.

       Our continued growth and future success will depend on our ability to retain the members of our senior management team, who possess valuable knowledge of, and experience with,
the legal and regulatory environment of our industry and who have been instrumental in developing our strategic plans and procuring capital to enable the pursuit of those plans. The loss
of the services of members of senior management, together with any inability to attract new skilled management, could harm our business and future development.

The interests of our Parent’s sole beneficial owner may be different than those of our investors.

       Tracy Young is our founder, Chairman of the Board, Chief Executive Officer, President and the sole beneficial owner of our parent holding company, TMX Finance Holdings Inc. As a
result, subject to the limitations in the agreements governing our indebtedness, including the indenture governing our senior secured notes, or the “Indenture,” Mr. Young has the ability
to control substantially all matters of significance to the Company, including the strategic direction of our business, the election and removal of the managers of TMX Finance LLC, the
appointment and removal of our officers, the approval or rejection of a sale, merger, consolidation or other business combination, the issuances of additional equity or debt securities,
amendments of our organizational documents, the entering into of related party transactions and the dissolution and liquidation of the Company, regardless of whether the holders of the
senior secured notes, or our “bondholders,” believe that any such action is in their best interests.

      As a result of Mr. Young’s complete beneficial ownership and control of our Company, his interests could conflict with the interests of our bondholders. For example, if we encounter
financial difficulties or are unable to pay our debts as they mature, Mr. Young’s interests as the sole equity owner of our Parent might conflict with the interests of our bondholders.
Mr. Young might also have an interest in pursuing transactions that, in his judgment, could enhance his equity investment, even though such transactions might involve risks to our
bondholders. In addition, Mr. Young could cause us to make acquisitions that increase the amount of our indebtedness or sell assets, either of which may impair our ability to make
payments under the notes.

Economic recession, unemployment and other factors could result in a reduction in demand for our products and services, and we may be unable to adapt to any such reduction.

       Factors that influence demand for our products and services include macroeconomic conditions such as employment, personal income and consumer sentiment. If consumers become
more pessimistic regarding the outlook for the economy and therefore spend less and save more, demand for title loans may decline. In addition, weakened economic conditions may result
in an increase in loan defaults and loan losses. We can give no assurance that we will be able to sustain our current charge-off rates or that we will not experience increasing difficulty in
collecting defaulted loans. Further, in an economic slowdown, we could be required to tighten our underwriting standards, which likely would reduce our loan balances.

      Should we fail to adapt to any significant declines in consumers’ demand for our products or services, our revenues could decrease significantly and our operations could be harmed.
Even if we do make changes to existing products or services or introduce new products or services to fulfill consumer demand, consumers may resist or may reject such products or
services.

We are subject to liabilities for claims related to repossession of automobiles.

      We use licensed third-party providers in connection with the repossession of defaulting customers’ automobiles. We typically enter into agreements with these providers in which
they indemnify us for all losses related to claims arising from a repossession and warrant that they maintain insurance sufficient to cover such claims and indemnification obligations;
however, we do not enter into these agreements with every third-party provider. We are subject to the risk that any third-party provider that we use may not have sufficient insurance to
cover such claims or indemnification obligations. In such event, we may be subject to claims of customers related to repossession, which could have an adverse effect on our business.

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Disruptions in the credit and capital markets could negatively impact the availability and cost of borrowing.

      Borrowed funds represent a significant portion of our capital. We rely on borrowed capital, together with cash flows from operations, to fund our working capital needs, including
making title loans. Disruptions in the credit and capital markets, such as those experienced in 2008 and 2009, could adversely affect our ability to obtain cash to make title loans and to
refinance existing debt obligations. Efficient access to these markets is critical to our ongoing financial success; however, our future access to the credit and debt capital markets could
become restricted due to a variety of factors, including a deterioration of our earnings, cash flow, balance sheet quality or overall business or industry prospects, a sustained disruption or
further deterioration in the state of the credit or capital markets or a negative bias toward our industry by market participants. Our ability to obtain additional financing in the future will
depend in part upon prevailing credit and capital markets conditions. The credit and capital markets are volatile and a decline in those markets may adversely affect our efforts to arrange
additional financing on satisfactory terms. If adequate funds are not available on acceptable terms, we may not be able to make future title loans, take advantage of acquisitions or other
opportunities or respond to competitive challenges.

Changes in credit ratings issued by statistical rating organizations could adversely affect our costs of financing.

       Credit rating agencies rate our indebtedness based on factors that include our operating results, actions that we take, their view of the general outlook for our industry and their view
of the general outlook for the economy. Actions taken by the rating agencies can include maintaining, upgrading or downgrading the current rating or placing us on a watch list for possible
future downgrading. Downgrading the credit rating of our indebtedness or placing us on a watch list for possible future downgrading could limit our ability to access the capital markets to
meet liquidity needs and refinance maturing liabilities or increase the interest rates and our cost of financing.

The Indenture and Credit Agreement impose significant operating and financial restrictions, which may prevent us from pursuing certain business opportunities and taking certain
actions.

      The Indenture and Credit Agreement impose, and future debt agreements may impose, operating and financial restrictions on us. These restrictions limit or prohibit, among other
things, our ability to:

       ·    incur additional indebtedness unless certain financial tests are satisfied;

       ·    issue disqualified capital stock;

       ·    pay dividends, redeem subordinated debt or make other restricted payments;

       ·    make certain investments or acquisitions;

       ·    issue stock of subsidiaries;




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           EXHIBIT 6




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                                          NO. 2013-33584

WELLSHIRE FINANCIAL SERVICES, LLC,                §          IN THE DISTRICT COURT
d/b/a LOANSTAR TITLE LOANS, d/b/a                 §
MONEYMAX TITLE LOANS, and d/b/a                   §
LOANMAX; MEADOWWOOD FINANCIAL                     §
SERVICES, LLC, d/b/a LOANSTAR TITLE               §
LOANS, and d/b/a MONEYMAX TITLE                   §
LOANS; and INTEGRITY TEXAS                        §
FUNDING, LP,                                      §
                                                  §
                       Plaintiffs,                §
                                                  §
v.                                                §          OF HARRIS COUNTY, TEXAS
                                                  §
TMX FINANCE HOLDINGS, INC.;                       §
TMX FINANCE, LLC;                                 §
TMX FINANCE OF TEXAS, INC.; and                   §
TITLEMAX OF TEXAS, INC.;                          §
                                                  §
                       Defendants.                §          152ND JUDICIAL DISTRICT

       SPECIALLY APPEARING DEFENDANT TMX FINANCE HOLDINGS, INC.’S
      AMENDED ANSWERS TO PLAINTIFFS’ FIRST SET OF INTERROGATORIES

TO:        Plaintiff Wellshire Financial Services, LLC d/b/a LoanStar Title Loans and Integrity
           Texas Funding, LP by and through their attorneys of record, Kent C. Sullivan, Daniel
           Johnson, and Robert A. Lemus, Sutherland Asbill & Brennan, LLP, 1001 Fannin, Suite
           3700, Houston, Texas 77002; and Joseph D. Wargo, Wargo French, LLP, 999 Peachtree
           Street, N.E. 26th Floor, Atlanta, Georgia 30309.

           Subject to and without waiving its anticipated Special Appearance, Specially Appearing

Defendant TMX Finance Holdings, Inc. hereby serves its Amended Answers to Plaintiffs’ First

Set of Interrogatories.




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                                        Respectfully submitted,

                                        GREENBERG TRAURIG, L.L.P.

                                        By: /s/ Roland Garcia, Jr.
                                        Roland Garcia, Jr.
                                        State Bar No. 07645250
                                        garciar@gtlaw.com
                                        L. Bradley Hancock
                                        State Bar No. 00798238
                                        hancockl@gtlaw.com
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                                        Houston, Texas 77002
                                        713-374-3500 - Telephone
                                        713-374-3505 - Facsimile

                                            COUNSEL FOR SPECIALLY
                                            APPEARING DEFENDANT TMX
                                            FINANCE HOLDINGS, INC.

                                        BECK REDDEN, LLP

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                                        Geoff A. Gannaway
                                        State Bar No. 24036617
                                        ggannaway@beckredden.com
                                        Bryon A. Rice
                                        State Bar No. 24065970
                                        brice@beckredden.com
                                        1221 McKinney Street, Suite 4500
                                        Houston, Texas 77010
                                        713-951-3700 - Telephone
                                        713-951-3720 - Facsimile

                                            COUNSEL FOR SPECIALLY
                                            APPEARING DEFENDANT TMX
                                            FINANCE HOLDINGS, INC.




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                              CERTIFICATE OF SERVICE

     I certify that a true and correct copy of the foregoing was served on all counsel of record in
accordance with the Texas Rules of Civil Procedure on the 10th day of March, 2015.

                                                 /s/ L. Bradley Hancock
                                                 L. Bradley Hancock




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                                        GENERAL OBJECTIONS

           Specially Appearing Defendant TMX Finance Holdings, Inc. (“Holdings”) hereby adopts

     and incorporates by reference the following general objections into each of its specific

     responses to the interrogatories contained in Plaintiffs’ First Set of Interrogatories to

     Defendant TMX Finance Holdings, Inc.:


           1.          Holdings objects to the interrogatories, and the incorporated definitions, to the

     extent that any part thereof purports to place any greater or different obligation or burden

     upon Holdings than required under the Texas Rules of Civil Procedure or other applicable

     law.


           2.          Holdings objects to the interrogatories to the extent they reach beyond the Rule 11

     agreement between counsel.


           3.          Holdings objects to the interrogatories to the extent they reach beyond the

     appropriate scope of discovery for the limited purpose of determining the validity of an

     objection on jurisdictional grounds.


                RESPONSES AND SPECIFIC OBJECTIONS TO INTERROGATORIES


           1.          Is TMX Finance a wholly-owned subsidiary of You?             If not, describe the

     relationship between You and TMX Finance.


     Response: Yes.


           2.          Is TMX Finance TX an indirect subsidiary of You?             If not, describe the

     relationship between You and TMX Finance TX.




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     Response:           Holdings objects to this Interrogatory on the grounds that it is vague and

     ambiguous as the term “indirect subsidiary” is not defined. Subject to and without waiving

     the foregoing objection, Holdings states as follows: Holdings owns 100% of TMX Finance

     LLC, and TMX Finance LLC owns 100% of TMX Finance of Texas, Inc.


           3.          Is TitleMax TX an indirect subsidiary of You? If not, describe the relationship

     between You and TitleMax TX.


     Response:           Holdings objects to this Interrogatory on the grounds that it is vague and

     ambiguous as the term “indirect subsidiary” is not defined. Subject to and without waiving

     the foregoing objection, Holdings states as follows: Holdings owns 100% of TMX Finance

     LLC, and TMX Finance LLC owns 100% of TitleMax of Texas, Inc.


           4.          Identify by name and title all officers, members and/or directors that You have in

     common with TMX Finance TX. For the purposes of this Interrogatory, an officer and/or

     director is “in common” if the same individual holds a position with both You and TMX

     Finance TX.


     Response: Tracy Young is the CEO and sole stockholder of Holdings. Tracy Young is the

     CEO and President of TMX Finance of Texas, Inc.


           5.          Identify by name and title all officers, members and/or directors You have in

     common with TMX Finance.                For the purposes of this Interrogatory, an officer and/or

     director is “in common” if the same individual holds a position with both You and TMX

     Finance.




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     Response: Tracy Young is the CEO and sole stockholder of Holdings and the sole member

     and manager of TMX Finance LLC.                Christopher Kelly Wall is the Vice President of

     Holdings and of TMX Finance LLC.


           6.          Identify name and title all officers, members and/or directors that You have in

     common with TitleMax TX. For the purposes of this Interrogatory, an officer and/or director

     is “in common” if the same individual holds a position with both You and TitleMax TX.


     Response: Tracy Young is the CEO and sole stockholder of Holdings and the CEO and

     President of TitleMax of Texas, Inc.


           7.          Describe how Your books and records are maintained, including but not limited to

     identification by name, position, and work address all of the individuals who are responsible

     for maintaining Your books and/or records and/or accounting information.


     Response: Holdings objects to this Interrogatory as overly broad, unduly burdensome,

     cumulative to the deposition testimony of Christopher Kelly Wall as the 30(b)(6) witness of

     Holdings, and seeking information that is neither relevant to nor reasonably calculated to lead

     to the discovery of admissible evidence.


           8.          Do You own or lease the office space located at 15 Bull Street, Savannah,

     Georgia? If leased, from whom do You lease the office space?


     Response: Holdings objects to this Interrogatory as overly broad, unduly burdensome, and

     seeking information that is neither relevant to nor reasonably calculated to lead to the

     discovery of admissible evidence. Subject to and without waiving the foregoing objections,




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     Holdings states as follows: Holdings does not own or lease the office space located at 15 Bull

     Street, Savannah, Georgia.


           9.          For all bank accounts for which You are an account holder or authorized

     signatory, please provide: (1) banking institution, (2) last four digits of the account number,

     (3) names of the account holder(s), and (4) names of the authorized signatories on the

     accounts.


     Response: Holdings objects to this Interrogatory as overly broad, unduly burdensome, and

     seeking information that is neither relevant to nor reasonably calculated to lead to the

     discovery of admissible evidence. Subject to and without waiving the foregoing objections,

     Holdings states as follows: SunTrust in Atlanta, Georgia.


           10.         Identify all telephone numbers and email addresses used by each of Your officers,

     directors, members and employees.


     Response: Holdings objects to this Interrogatory as overly broad, unduly burdensome, and

     seeking information that is neither relevant to nor reasonably calculated to lead to the

     discovery of admissible evidence.




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 Attorneys Eyes Only
  In Camera Review




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           EXHIBIT 8




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                                  State of <DeCaware
                            .Jlnnua[ Prancliise <Ta~ <;Rgport.
                      CORPORATION NAHE
TMX FINANCE HOLDINGS INC.
FILE NUHBER l [NCORPORAJION DATE
5185806 2012/07/26
                                        j RENEWAL/REUOCATl/N
                                              2013/03 02
                                                               DATE   I
 PRINCIPAL PLACE OF BUSINESS                                                                                                   PHONE NUHDfR
15 Bull Street Ste 200                                                                                                       912/525-2675

Savannah GA 31401 United States
 RTGTSITREO AGEXI                                                                                                                      A(;l:JJT NUl!llER
THE CORPORATION TRUST COMPANY                                                                                                       9000010
CORPORATION TRUST CENTER
1209 ORANGE ST
WILMINGTON                                             DE 19801
             AUTHOR IZED STOCi<;                DESIGNATIONf                            NO. Of SHARES    PAR VALUE/ SHARE
 BEGIN DATE                        END DATE     SIOCK CLASS
2012/07/26                                      COMMON                                     10,000




 OFFICER                            NAHE                                  STREET/CITY/STATE/ZIP                                TITLE
Tracy Young
15 Bull Street Ste 200                                                                                                      President/CEO

Savannah GA 31401 United States
 DIRECTORS                          HAHE                                  STREET/CITY/STATE/ZIP
Corporation currently has no Directors




Total number of directors:O
!ND1l(}E.: Pursuant to 8 ©e! C. 502(6) If any officer or director ofa corporation requirea to ma1i.§ an annualJran.cfiire ta..'( report
to tfi.e Secretary ofState sli.aJIk..rwwingtj mak..f anyja{se statement in tli.e report, sucli offiar or directur sfiaJI5e guilty ofperjury.
 AUTHORIZED BY <OFFICER, DIRECTOR OR INCORPORATORJ                                                           DATE              TITLE
Tracy Young
15 Bull Street Ste 200                                                                                                      President/CEO
                                                                                                        2013-03-11
Savannah GA 31401 United States




                                                                                                                    APPENDIX 0153
           Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 138 of 296
                                State of <De{aware
                         )2lnnua{ Prancliise cTa~ <Rgport
                    CORPORATION NAHE
TMX FINANCE HOLDINGS INC.
FI LE NUHBER IINCORPORAflON "DATE
5185806 2012/07/26
                                    I RENElliilfREIJOCATTON DATE   I
 PRINCIPAL PLACE OF BUSINESS                                                                                               PHONE NUHBEA
15 BULL STREET STE.200                                                                                                   912/525-2675

SAVANNAH GA 31401 United States
 REGISTERED AGENT                                                                                                                  AGENT NUHBER
THE CORPORATION TRUST COMPANY                                                                                                   9000010
CORPORATION TRUST CENTER
1209 ORANGE ST
WILMINGTON                                           DE 19801
          AUTHORIZED STOCK                  DESIGNATION/                             NO. OF SHARES    PAR UALUE/ SHARE
 BEGIN DATE                ENO DATE         SIUCK CLASS

2012/07/26                                  COMMON                                      10,000




 OFFICER                       NAHE                                    STREET/CITY/STATE/ZIP                               TITLE
TRACY YOUNG
15 BULL STREET STE.200                                                                                                                    CEO

SAVANNAH GA 31401 United States
 DIRECTORS                     NAHE                                    STREET/CITY/STATE/ZIP
Corporation currently has no Directors




============::::===========------------------------------------------
Total number of directors:O
:NOTI(}E: Pursuant to 8 1De[ C. 502(6), If any officer or airector ofa corporation required to ma~ an annua{francliise ta.(tqJOrt
to tfi.e Secretary ofState sfza{( f(nowing(y mak.g arryfafse statement in tne nport, such offiar or director sfza[[6e guifty ofperjury.
 AUTHORIZED BY !OFFICER, DIRECTOR OR INCORPORATORJ                                                        DATE             TITLE
TRACY YOUNG
15 BULL STREET STE.200                                                                                                                    CEO
                                                                                                     2014-01-08
SAVANNAH GA 31401 United States




                                                                                                                 APPENDIX 0154
       Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 139 of 296




                                  rJJe[aware                               PAGE          1


                                         %£ !First State

             I,   JEFFREY W.       BULLOCK, SECRETARY OF STATE OF THE STATE OF

       DELAWARE DO HEREBY CERTIFY THAT THE ATTACHED IS A TRUE AND

       CORRECT COPY OF THE ANNUAL REPORT OF "TMX FINANCE HOLDINGS INC. "

       AS FILED IN THIS OFFICE.




                                                              Jeffrey W. Bullock, Secretary of State
          5185806       8200                               . C TION:        2691712

          151238075                                           DATE: 09-01-15
You may verify this certificate online
at corp.delaware.gov/authver.shtml
                                                                          APPENDIX 0155
             Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 140 of 296
                                State of <De{aware
                         .Jlnnua{ Prancliise CJ'a:{ <R§port
                    CORPORATION NAHE
TMX FINANCE HOLDINGS INC.
FILE NUHBER IINCORPORAJION DATE I RENEWAL/REUOCATION DATE I
5185806 2012/07/26
 PRINCIPAL PLACE OF DUSINESS                                                                                                   PHONE NUHDER
15 Bull St., Ste. 200                                                                                                      912/525-2675

SAVANNAH GA 31401 United States
 REGISTERED AGENT                                                                                                                       AGENT NUMBER
THE CORPORATION TRUST COMPANY                                                                                                        9000010
CORPORATION TRUST CENTER
1209 ORANGE ST
WILMINGTON                                      DE 19801
          AUTHORIZED STOCK              DESIGNATION/                        NO . OF SHARES           PAR VALUE/ SHARE
 BEGIN ORTE                ENO DATE     SIUCK CLA~S
2012/07/26                              COMMON                                 10,000




 OFFICER                       NAHE                           STREET/CITY/STATE/ZIP                                             TITLE
TRACY YOUNG
15 Bull St., Ste. 200                                                                                                                         CEO

SAVANNAH GA 31401 United States
 DIRECTORS                     NAHE                           STREET/CITY/STATE/ZIP
Corporation currently has no Directors




------------------------------------------------------------------------------
Total number of directors:O
WOTI(JE,: Pursuant to 8 ©el. C. 502(6), If any officer or airector ofa corporation required to mafiJ an annua{francliise tar_ report
to tfie Secretary ofState sfza{{ f(noiving(y mak.f arry ja{se statement in tli.e re-port, sucli officer or d"irector sfi.a([6e guifty ofperjury.
 AUTHORIZED BY <OFFICER, OlREClOR OR INCORPORATOR>                                                        DATE                  TITLE
TRACY YOUNG
15 Bull St., Ste. 200                                                                                                                         CEO
                                                                                                   2015-02-25
SAVANNAH GA 31401 United States



                                                                                                                 APPENDIX 0156
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             Exhibit 9
 Attorneys Eyes Only
  In Camera Review




                                                            APPENDIX 0157
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          Exhibit 10
 Attorneys Eyes Only
  In Camera Review




                                                            APPENDIX 0158
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         EXHIBIT 11




                                                            APPENDIX 0159
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                                                                                       1

                                   MOTION TO DISQUALIFY
                                     JANUARY 23, 2015

 1
 2                                  REPORTER'S RECORD
                                  VOLUME 1 OF 1 VOLUMES
 3                          TRIAL COURT CAUSE NO. 2013-33584
 4
 5   WELLSHIRE FINANCIAL SERVICES, LLC d/b/a             ) IN THE DISTRICT COURT
     LOANSTAR TITLE LOANS, d/b/a MONEYMAX TITLE          )                         )
 6   LOANS, and d/b/a LOANMAX; MEADOWWOOD                )
     FINANCIAL SERVICES, LLC, d/b/a LOANSTAR             )
 7   LOANS, AND d/b/a MONEYMAX TITLE LOANS; and          )
     INTEGRITY TEXAS FUNDING, LP                         )
 8                                                       )
     vs.                                                 ) HARRIS   COUNTY, TEXAS
 9                                                       )
     TMX FINANCE HOLDINGS, INC.; TMX FINANCE,            )                         )
10   LLC; TMX FINANCE OF TEXAS, INC;                     )
     and TITLEMAX OF TEXAS, INC.                         ) 152ND JUDICIAL DISTRICT
11
12
13                  _____________________________________________
14                              MOTION TO DISQUALIFY
                    _____________________________________________
15
16
17         On the 23RD day of January, 2015, the following proceedings came
18   on to be held in the above-titled and numbered cause before the
19   Honorable ROBERT K. SCHAFFER, Judge Presiding, held in Houston, Harris
20   County, Texas.
21         Proceedings reported by computerized stenotype machine.
22
23
24
25

                             CYNTHIA MARTINEZ MONTALVO, CSR
                                  152ND DISTRICT COURT
                                      713-368-6037
                                   cynthiam@justex.net




                                                                       APPENDIX 0160
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                                                                                      48

                                    MOTION TO DISQUALIFY
                                      JANUARY 23, 2015

 1              MS. ROMERO:     RFP No. 9, which is No. 6 right after Number.
 2   8.   There was an error in our numbering.
 3              THE COURT:    The same response to that.
 4              MS. ROMERO:     This one is very narrow.
 5              THE COURT:    No.      It's not very narrow.     Involving both you
 6   and any other Defendant?
 7              MS. ROMERO:     Yes.     These Defendants that we are looking to
 8   pierce the veil for jurisdictional purpose.
 9              So, we want to the make sure that if they were lending money
10   to each other, we know that that's a factor that we would need to
11   look into for commingling of funds, corporate formalities, who
12   controls who, who controls the money.
13              THE COURT:    Then why don't you ask for that?           Specifically
14   ask for that.
15              Are there any documents which document loans between
16   Plaintiff -- and I guess that's done in this case.
17              MR. GANNAWAY:       And, again, your Honor, this is cumulative of
18   what they've already received because the corporate rep was asked
19   those specific questions.          Are there any financial transactions.          Is
20   any money owed between the two companies.            They got answers.      Clear
21   and concise answers to those questions at the corporate rep depo.
22              MS. ROMERO:     We are aware of at least one or two
23   transactions that occurred between Holdings and Finance.               I want to
24   see the paperwork for that.
25              You know, if there is some concern, we have a

                             CYNTHIA MARTINEZ MONTALVO, CSR
                                  152ND DISTRICT COURT
                                      713-368-6037
                                   cynthiam@justex.net




                                                                      APPENDIX 0161
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                                                                                     49

                                 MOTION TO DISQUALIFY
                                   JANUARY 23, 2015

 1   Confidentiality Agreement.       There's a Protection Order that you
 2   executed, you know, last month.         For these ones that are, you know,
 3   capital contribution, loans, security agreements, like these specific
 4   things, we want to make sure they did it right, and they are
 5   observing their corporate formalities.          That's what we have to know.
 6             THE COURT:     I will go along with you on that.          Capital
 7   contributions, loans and security agreements.
 8             MS. ROMERO:     And leases, salaries and bonuses.
 9             THE COURT:     No for the leases.
10             Why the salary and bonus payments?
11             MS. ROMERO:     A salary by one company to another company
12   employees is something that would reflect a disregard of corporate
13   formalities.    Also, a control -- you know, who holds the pocketbook.
14   Who are these companies.
15             THE COURT:     For who specifically?
16             MS. ROMERO:     For the Defendants.       I want to know if Holdings
17   has those kinds of relationships with any of these Defendants.
18             THE COURT:     Did you ask?     Did you ask the Holdings corporate
19   rep, Christopher Kelly Wall, whether TMX Holdings pays the salaries
20   of any employees of TMX Finance?
21             MS. ROMERO:     We asked if they paid at least his salary.             He
22   said that, no, they did not pay his salary.
23             THE COURT:     Is he the corporate rep?
24             MR. GANNAWAY:     He was the corporate rep.
25             THE COURT:     You didn't ask him about anyone else?

                            CYNTHIA MARTINEZ MONTALVO, CSR
                                 152ND DISTRICT COURT
                                     713-368-6037
                                  cynthiam@justex.net




                                                                     APPENDIX 0162
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         EXHIBIT 12




                                                            APPENDIX 0163
     Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 148 of 296



                                            NO. 2013-33584

WELLSHIRE FINANCIAL SERVICES, LLC,                §          IN THE DISTRICT COURT
d/b/a LOANSTAR TITLE LOANS, d/b/a                 §
MONEYMAX TITLE LOANS, and d/b/a                   §
LOANMAX; MEADOWWOOD FINANCIAL                     §
SERVICES, LLC, d/b/a LOANSTAR TITLE               §
LOANS, and d/b/a MONEYMAX TITLE                   §
LOANS; and INTEGRITY TEXAS                        §
FUNDING, LP,                                      §
                                                  §
                   Plaintiffs,                    §
                                                  §
v.                                                §          OF HARRIS COUNTY, TEXAS
                                                  §
TMX FINANCE HOLDINGS, INC.;                       §
TMX FINANCE, LLC;                                 §
TMX FINANCE OF TEXAS, INC.; and                   §
TITLEMAX OF TEXAS, INC.;                          §
                                                  §
                   Defendants.                    §          152ND JUDICIAL DISTRICT

      SPECIALLY APPEARING DEFENDANT TMX FINANCE HOLDINGS, INC.’S
               SECOND AMENDED RESPONSES TO PLAINTIFFS’
                    FIRST REQUEST FOR PRODUCTION

TO:     Plaintiff Wellshire Financial Services, LLC d/b/a LoanStar Title Loans and Integrity
        Texas Funding, LP by and through their attorneys of record, Kent C. Sullivan, Daniel
        Johnson, and Robert A. Lemus, Sutherland Asbill & Brennan, LLP, 1001 Fannin, Suite
        3700, Houston, Texas 77002; and Joseph D. Wargo, Wargo French, LLP, 999 Peachtree
        Street, N.E. 26th Floor, Atlanta, Georgia 30309.

        Subject to and without waiving its anticipated Special Appearance, Specially Appearing

Defendant TMX Finance Holdings, Inc. hereby serves its Second Amended Responses to

Plaintiffs’ First Request for Production.




                                                  1

                                                                            APPENDIX 0164
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                                                  Respectfully submitted,

                                                  GREENBERG TRAURIG, L.L.P.

                                                  By: /s/ Roland Garcia, Jr.
                                                  Roland Garcia, Jr.
                                                  State Bar No. 07645250
                                                  garciar@gtlaw.com
                                                  L. Bradley Hancock
                                                  State Bar No. 00798238
                                                  hancockl@gtlaw.com
                                                  1000 Louisiana Street, Suite 1700
                                                  Houston, Texas 77002
                                                  713-374-3500 - Telephone
                                                  713-374-3505 - Facsimile

                                                    COUNSEL FOR SPECIALLY
                                                    APPEARING DEFENDANT TMX
                                                    FINANCE HOLDINGS, INC.


                              CERTIFICATE OF SERVICE

     I certify that a true and correct copy of the foregoing was served on all counsel of record in
accordance with the Texas Rules of Civil Procedure on the 14th day of April, 2015.

                                                 /s/ L. Bradley Hancock
                                                 L. Bradley Hancock




                                                2

                                                                                APPENDIX 0165
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                                  GENERAL OBJECTIONS

       Specially Appearing Defendant TMX Finance Holdings, Inc. (“Holdings”) hereby adopts

and incorporates by reference the following general objections into each of its specific responses

to the requests contained in Plaintiffs’ First Request for Production of Documents to Defendant

TMX Finance Holdings, Inc.:


       1.      Holdings objects to the request for documents, and the incorporated definitions, to

the extent that any part thereof purports to place any greater or different obligation or burden

upon Holdings than required under the Texas Rules of Civil Procedure or other applicable law.


       2.      Holdings objects to the request for documents to the extent the requests reach

beyond the Rule 11 agreement between counsel.


       3.      Holdings objects to the request for documents to the extent the requests reach

beyond the appropriate scope of discovery for the limited purpose of determining the validity of

an objection on jurisdictional grounds.


   RESPONSES AND SPECIFIC OBJECTIONS TO REQUESTS FOR PRODUCTION


       1.      The “annual income statement and balance sheet” and the “K-1” for TMX

Finance Holdings for 2011, 2012, and 2013.


Response: Holdings objects to this Request as overly broad and seeking information that is

neither relevant to nor reasonably calculated to lead to the discovery of admissible evidence.

Moreover, Holdings objects to the extent this Request seeks information prior to its formation on

July 26, 2012. Subject to and without waiving any objection, Holdings will produce the annual

statement of income and balance sheet for 2012 and 2013 on an attorneys’ eyes only basis.


                                                3

                                                                               APPENDIX 0166
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       2.      Any and all documents that support Your response to Interrogatory No. 7, served

concurrently herewith.


Response: Holdings objects to this Request as overly broad, unduly burdensome, and seeking

information that is neither relevant to nor reasonably calculated to lead to the discovery of

admissible evidence. Holdings further objects that this Request seeks information protected by

the work-product doctrine, and responsive documents may be withheld on the basis of privilege.

Subject to and without waiving any objection, there are no responsive, non-privileged documents

in Holdings’ possession, custody, or control.


       3.      All organizational charts depicting or describing your corporate structure,

including parent companies, subsidiaries, corporate affiliates, predecessors, and successors, and

any offices, departments, divisions, or organizations, including but not limited to, formal or

informal working groups, that are composed of employees or agents of more than one of the

Defendants to this lawsuit or any parent companies, subsidiaries, corporate affiliates,

predecessors, and successors.


Response: Holdings objects to this Request as overly broad, unduly burdensome, and seeking

information that is neither relevant to nor reasonably calculated to lead to the discovery of

admissible evidence.     Holdings further objects to this Request as being confusing and

nonsensical.


       4.      All documents relating to bylaws and articles of incorporation, or functional

equivalent thereof, for You and any entity in which you have an interest (whether ownership,

proprietary, direct, indirect, beneficial, management, oversight, or otherwise) including, but not

limited to, any changes to such bylaws and articles of incorporation.



                                                4

                                                                               APPENDIX 0167
  Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 152 of 296



Response: Holdings objects to this Request as overly broad, unduly burdensome, and seeking

information that is neither relevant to nor reasonably calculated to lead to the discovery of

admissible evidence. Subject to and without waiving any objection, Holdings states that it is a

Delaware corporation and incorporation documents are made available and can be retrieved

through the Delaware Secretary of State’s website.


       4.[sic] All documents, including but not limited to emails, referring or relating to

meetings held by and between any of Your officers and directors in which the state of Texas is

referenced.


Response: Holdings objects to this Request as overly broad, unduly burdensome, and seeking

information that is neither relevant to nor reasonably calculated to lead to the discovery of

admissible evidence. Holdings further objects that this Request seeks discovery of information

protected by the attorney-client privilege and work-product doctrine, and responsive documents

may be withheld on the basis of privilege. Subject to and without waiving any objections, there

are no responsive, non-privileged documents in Holdings’ possession, custody, or control.


       4.[sic] All documents reflecting communications by and between at least one of your

officers or directors, on the one hand, and anyone, on the other hand, referring or relating to the

state of Texas.


Response: Holdings objects to this Request as overly broad, unduly burdensome, and seeking

information that is neither relevant to nor reasonably calculated to lead to the discovery of

admissible evidence.    Holdings further objects to the extent this Request seeks discovery of

documents protected by the attorney-client privilege and work-product doctrine, and responsive

documents may be withheld on the basis of privilege. Subject to and without waiving any



                                                5

                                                                                APPENDIX 0168
  Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 153 of 296



objection, there are no responsive, non-privileged documents in Holdings’ possession, custody,

or control.


       5.[sic] All documents reflecting any contracts or agreements in which both You and any

of TMX Finance, TMX Finance TX, and/or TitleMax TX are parties.


Response: Holdings objects that this Request is overly broad. Responsive documents may be

withheld on the basis of privilege. Subject to and without waiving any objection, there are no

responsive, non-privileged documents in Holdings’ possession, custody, or control.


       6.[sic] All powers of attorney or similar written authorization executed by or on behalf of

You and granting authority to any other Defendants to act for, or on behalf of You.


Response: Holdings objects that this Request is overly broad. Subject to and without waiving

any objection, there are no responsive, non-privileged documents in Holdings’ possession,

custody, or control.


       7.[sic] All powers of attorney or similar written authorization executed by or on behalf of

any Defendant and granting authority to You to act for, or on behalf of the other Defendant.


Response: Holdings objects that this Request is overly broad. Subject to and without waiving

any objection, there are no responsive, non-privileged documents in Holdings’ possession,

custody, or control.


       8.[sic] Copies of all checks, deposits or withdrawals from any account identified in

response to Interrogatory No. 9 from the time of the opening of the account to present.




                                                6

                                                                               APPENDIX 0169
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Response: Holdings objects to this Request as overly broad, unduly burdensome, and seeking

information that is neither relevant to nor reasonably calculated to lead to the discovery of

admissible evidence.


       6.[sic] All documents reflecting any and all financial transactions (including but not

limited to capital contributions, loans, securities agreements, leases, salary and bonus payments)

involving both You and any other Defendant.


Response: Holdings objects to this Request as overly broad and cumulative of the deposition

testimony of Christopher Kelly Wall as the 30(b)(6) witness of Holdings. Subject to and without

waiving these objections and the General Objections, Holdings has produced TMX_007063 and

TMX_007083-007087. There are no additional responsive, non-privileged documents in

Holdings’ possession, custody, or control. The only privileged documents in Holdings’

possession, custody, and control are core work product involving its counsel.




                                                7

                                                                                APPENDIX 0170
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          Exhibit 13
 Attorneys Eyes Only
  In Camera Review




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         EXHIBIT 14




                                                            APPENDIX 0172
   Case 4:17-cv-02786 Document 1-6 Filed in TXSD on 09/14/17 Page 157 of 296



From: HancockL@gtlaw.com [mailto:HancockL@gtlaw.com]
Sent: Wednesday, January 28, 2015 6:40 PM
To: Powers, Sarah
Cc: Goebelsmann, Christina; Romero, Abigail Stecker; Wargo, Joseph D.; ggannaway@beckredden.com;
johnsenc@gtlaw.com
Subject: RE: TMax--Jesswein

Sarah,

As I told you yesterday, I was in mediation until late, and just concluded my mediation today. I am now
trying to catch back up before I leave for my next mediation tomorrow.

The contact for the subpoena for Otto Bielss is as follows:

Jennifer D. Sawyer
Sawyer Law Group, LLC
24 Drayton Street, Suite 202
Savannah, Georgia 31401
912-662-8612

I am confirming whether or not the Young notice can be sent to the same address.

We are working on the affidavit, which is not something that is done overnight (or even over a
weekend). Accountants do not work that quickly.

As for Mr. Jesswein, his last known contact information is:

Redacted
Redacted
Redacted
Redacted
Redacted

As for the persons involved in the approval of the $50 flyer, Kelly Wall is our corporate rep on that
issue. Jesswein created and approved of the flyer, so I do not believe that the interrogatory needs to be
revised.

Many thanks,

Brad


L. Bradley Hancock
Shareholder
Greenberg Traurig, LLP | 1000 Louisiana Street | Suite 1700 | Houston, TX 77002
Tel 713.374.3525 | Fax 713.754.7525 | Cell 713.320.8307
HancockL@gtlaw.com | www.gtlaw.com




                                                                                     APPENDIX 0173
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         EXHIBIT 15




                                                            APPENDIX 0174
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                            ORAL HEARING ON PARTIES' MOTIONS
                                    NOVEMBER 21, 2014

 1
 2                                  REPORTER'S RECORD
                                  VOLUME 1 OF 1 VOLUMES
 3                          TRIAL COURT CAUSE NO. 2013-33584
 4
 5   WELLSHIRE FINANCIAL SERVICES, LLC d/b/a             ) IN THE DISTRICT COURT
     LOANSTAR TITLE LOANS, d/b/a MONEYMAX TITLE          )                         )
 6   LOANS, and d/b/a LOANMAX; MEADOWWOOD                )
     FINANCIAL SERVICES, LLC, d/b/a LOANSTAR             )
 7   LOANS, AND d/b/a MONEYMAX TITLE LOANS; and          )
     INTEGRITY TEXAS FUNDING, LP                         )
 8                                                       )
     vs.                                                 ) HARRIS   COUNTY, TEXAS
 9                                                       )
     TMX FINANCE HOLDINGS, INC.; TMX FINANCE,            )                         )
10   LLC; TMX FINANCE OF TEXAS, INC;                     )
     and TITLEMAX OF TEXAS, INC.                         ) 152ND JUDICIAL DISTRICT
11
12
13                  _____________________________________________
14                        ORAL HEARING ON PARTIES' MOTIONS
                    _____________________________________________
15
16
17         On the 21ST day of November, 2014, the following proceedings came
18   on to be held in the above-titled and numbered cause before the
19   Honorable ROBERT K. SCHAFFER, Judge Presiding, held in Houston, Harris
20   County, Texas.
21         Proceedings reported by computerized stenotype machine.
22
23
24
25

                             CYNTHIA MARTINEZ MONTALVO, CSR
                                  152ND DISTRICT COURT
                                      713-368-6037
                                   cynthiam@justex.net




                                                                       APPENDIX 0175
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                                                                                     43

                          ORAL HEARING ON PARTIES' MOTIONS
                                  NOVEMBER 21, 2014

 1   limitations you placed on it we would like the same Order to that.
 2             THE COURT:     I haven't a clue what you're talking about.
 3             MR. GANNAWAY:     And I'm going to be specific, your Honor.
 4   One is you told us not just to produce profit-and-loss information
 5   but to produce revenue -- certain revenue and expense information.
 6   We'd just ask that they do the same thing so that we can analyze the
 7   profit-and-loss numbers.
 8             The other is that you said if we didn't produce information
 9   pursuant to the Requests for profit-and-loss information, that we
10   could not use it at trial to impeach their expert.             And I would
11   like -- your Honor, honestly I think that's an inappropriate ruling.
12   But if it is going to stand, then it needs to go both ways.               And if
13   they don't produce --
14             THE COURT:     What is inappropriate about it?
15             MR. GANNAWAY:     Because it wasn't relief they sought in the
16   Motion that was before your Honor when your Honor ruled.
17             THE COURT:     But that is almost reciting what the Rule says
18   that if evidence is requested and not produced, it doesn't come in at
19   trial.   And that's the whole intent of my ruling.
20             I am frustrated with having evidence come up at trial that
21   was not produced in Discovery.        And, now, I have to conduct an
22   independent review of whether or not one party or the other is going
23   to be prejudiced by that.
24             MR. GANNAWAY:     I'm not here to challenge your ruling that
25   you made already, your Honor.

                            CYNTHIA MARTINEZ MONTALVO, CSR
                                 152ND DISTRICT COURT
                                     713-368-6037
                                  cynthiam@justex.net




                                                                     APPENDIX 0176
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                                        NO. 2013-33584

WELLSHIRE FINANCIAL SERVICES, LLC,                 §                 IN THE DISTRICT COURT
d/b/a LOANSTAR TITLE LOANS, d/b/a                  §
MONEYMAX TITLE LOANS, and d/b/a                    §
LOANMAX; MEADOWWOOD FINANCIAL                      §
SERVICES, LLC, d/b/a LOANSTAR TITLE                §
LOANS, and d/b/a MONEYMAX TITLE                    §
LOANS; and INTEGRITY TEXAS                         §
FUNDING, LP,                                       §
                                                   §
         Plaintiffs,                               §            OF HARRIS COUNTY, TEXAS
v.                                                 §
                                                   §
TMX FINANCE HOLDINGS, INC.;                        §
TMX FINANCE, LLC;                                  §
TMX FINANCE OF TEXAS, INC.; and                    §
TITLEMAX OF TEXAS, INC.,                           §
                                                   §
        Defendants.                                §                 152"d JUDICIAL DISTRICT

           ORDER DENYING DEFENDANT TMX FINANCE HOLDINGS, INC.'S
                           SPECIAL APPEARANCE

        On this day, the Court heard Defendant TMX Finance Holdings, Inc.'s ("Defendant")

Special Appearance ("Special Appearance") (filed on August 28, 2015). After considering the

Motion, the responses and replies thereto, Plaintiffs' live petition on file, argument of counsel,

controlling law, the evidence presented, and any papers in the file or otherwise available to the

parties, the Court is of the opinion that Defendant's Special Appearance should be DENIED in

its entirety.

        IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Defendant's

special appearance is OVERRULED and the Court retains Plaintiffs' suit against TMX Finance

Holdings, Inc. on the Court's docket.

        SIGNED this _ _ day of _ _ _ _ _ _ _, 2015.




                                             HONORABLE ROBERT SCHAFFER



                                                                               APPENDIX 0177
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                                                                        1/22/2016 4:26:29 PM
                                                                             Chris Daniel - District Clerk Harris County
                                                                                                Envelope No. 8754248
                                                                                                    By: SALENE SMITH
                                 CAUSE NO. 2013-33584                                     Filed: 1/22/2016 4:26:29 PM


 WELLSHIRE FINANCIAL                         §        IN THE DISTRICT COURT OF
 SERVICES, LLC, ET AL.                       §
                                             §
 v.                                          §        HARRIS COUNTY, TEXAS
                                             §
 TMX FINANCE HOLDINGS,                       §
 INC., ET AL.                                §        152nd JUDICIAL DISTRICT

 ———————————————————————————————————

 TITLEMAX OF TEXAS, INC.                     §
                                             §
 v.                                          §
                                             §
 WELLSHIRE FINANCIAL SERVICES,               §
 LLC and MEADOWWOOD                          §
 FINANCIAL SERVICES, LLC                     §
 ———————————————————————————————————
          DEFENDANT/COUNTERPLAINTIFF TITLEMAX
        OF TEXAS , INC .’S FIRST AMENDED COUNTERCLAIM
 ———————————————————————————————————
        Defendant/Counterplaintiff TitleMax of Texas, Inc. brings this First Amended

 Counterclaim against Plaintiffs/Counterdefendants Wellshire Financial Services, LLC and

 Meadowwood Financial Services, LLC (collectively, “Counterdefendants”).

                                           I.
                                        PARTIES

        1.      Defendant/Counterplaintiff TitleMax of Texas, Inc. (“TitleMax of Texas”)

 is a Delaware corporation with its principal place of business in Texas. TitleMax of Texas

 assists Texas customers in obtaining loans through third-party lenders. TitleMax of Texas

 was sued by Counterdefendants in this lawsuit.

        2.      Plaintiff/Counterdefendant Wellshire Financial Services, LLC (“Wellshire”)

 is a Georgia limited liability company. Wellshire is a competitor of TitleMax of Texas that

 operates in Texas.

        3.      Plaintiff/Counterdefendant       Meadowwood    Financial   Services,      LLC




                                                                             APPENDIX 0178
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 (“Meadowwood”) is a Georgia limited liability company. Meadowwood is a competitor of

 TitleMax of Texas that operates in Texas.

                                               II.
                                             FACTS

        4.      TitleMax of Texas is a credit service organization (“CSO”). As a CSO,

 TitleMax of Texas assists customers in obtaining loans through third-party lenders.

 Namely, TitleMax of Texas connects a customer with a lender who, with the CSO, will

 secure a loan by placing a lien on the customer’s vehicle. In addition to arranging for title

 loans, TitleMax of Texas will also help a customer refinance a pre-existing loan arranged by

 another CSO (such as a title loan held by Counterdefendants). TitleMax of Texas’s CSO

 business depends on the facilitation of title loans; refinancing title loans; additional loan

 arrangements; and receiving referrals from existing customers. Counterdefendants are in

 the same line of business as TitleMax of Texas and directly or indirectly compete with

 TitleMax of Texas.

        5.      Counterdefendants have engaged in a campaign of corporate espionage

 against TitleMax of Texas. Counterdefendants have stolen TitleMax of Texas’s proprietary

 confidential financial and store-profitability information and have interfered with TitleMax

 of Texas’s contracts, customers, and business relations by refusing to provide Letters of

 Guarantee and by using driving records to solicit TitleMax of Texas’s customers.

 A.     Counterdefendants have entered TitleMax of Texas’s non-public areas
        under false pretenses to steal its confidential information.

        6.      Counterdefendants have entered non-public areas within TitleMax of Texas

 stores posing as potential customers or other third parties and, using recording devices,

 unlawfully and improperly taken TitleMax of Texas’s proprietary confidential financial and

 store-profitability information. Additionally, Counterdefendants have taken pictures of

 TitleMax of Texas’s goal boards, which contain store-profitability information

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 circumventing the need for Counterdefendants to do their own marketing analysis. See

 generally Affidavit of Zachary Farmer, attached as Exhibit 1. Counterdefendants have taken

 TitleMax of Texas’s confidential business information to attempt to undermine TitleMax

 of Texas, gain a competitive advantage, and increase Counterdefendants’ competitiveness

 in the marketplace.

 B.      Counterdefendants have interfered with TitleMax of Texas’s contracts and
         business relationships by refusing to return titles and/or provide Letters of
         Guarantee within a reasonable period of time.

         7.      Additionally, Counterdefendants have refused to return titles to customers

 and/or provide Letters of Guarantee to TitleMax of Texas within a reasonable period of

 time, substantially interfering with its contracts and current and prospective business

 relationships. Customers have the right to do business with the lender of their choice. A

 customer has the option to pay the entirety of an existing loan by using funds obtained

 from another lender (a situation commonly referred to as a “Buyout”). Buyouts are

 common in the industry. To perform a Buyout in the industry custom, the new CSO

 obtains from the original CSO either the title to the vehicle or a Letter of Guarantee of title

 ensuring that clear title to the vehicle will be released upon full payment of the original title

 loan. The new CSO steps into the shoes of the customer during the Buyout process. See

 generally confirmation correspondence from the Texas Office of Consumer Credit

 Commissioner and the State of South Carolina Department of Consumer Affairs, attached

 as Exhibit 2.

         8.      When customers desire to pay off their loans, Texas law requires a

 lienholder to provide a release of lien and title within a reasonable time. Because customers

 need the money immediately and may not have the requisite credit, time, or resources to

 use traditional banking to pay off the loan, Letters of Guarantee are commonly employed

 in the title industry to expedite and facilitate Buyouts. When a customer is unable to obtain

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 an immediate release of title or a Letter of Guarantee, the customer is prevented from

 contracting with a new CSO and is essentially held hostage. This effectively results in a

 prepayment penalty to the customer and violates the CSO’s duty to provide a release of

 lien and title or its equivalent. See id.

         9.       Knowing the foreseeable damages to the customer and the new title

 company, Counterdefendants have refused to provide Letters of Guarantee to TitleMax of

 Texas or its customers. This refusal to allow a Buyout is an institutionalized policy of

 Counterdefendants. By refusing to provide either the title or the Letter of Guarantee, the

 Buyout transactions cannot be completed, the existing loans cannot be bought out or paid

 off, and TitleMax of Texas loses those customers and the related goodwill. Moreover,

 because customers sometimes choose to refinance their title loans, losing that customer

 may result in not only the loss of the initial contract, but also future contracts (such as

 refinancing loans or arranging additional loans) with that customer. This is notwithstanding

 any potential referrals that the new customer may send to TitleMax of Texas.

         10.      In addition to refusing to return titles and/or provide Letters of Guarantee

 to TitleMax of Texas and its customers within a reasonable period of time,

 Counterdefendants have engaged in independently tortious and unlawful conduct. Among

 other things, Counterdefendants breached their duty of care owed to TitleMax of Texas;

 lied to TitleMax of Texas’s customers about its business and practices, such as by falsely

 telling customers that TitleMax of Texas repossesses vehicles as early as one to two days

 into delinquency; and engaged in deceptive and unfair business practices.

         11.      The Deceptive Trade Practices and Consumer Protection Act (the

 “DTPA”) provides that it is a violation to use false, misleading, or deceptive acts or

 practices including but not limited to representing that an agreement confers or involves

 rights, remedies, or obligations which it does not have or involve, or which are prohibited

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 by law. See TEX. BUS. & COMMERCE CODE § 17.46(b)(12). By failing to provide Letters of

 Guarantee, Counterdefendants are intentionally and knowingly denying their customers of

 their right to prepay their loans pursuant to their contracts, which is a violation of the

 DTPA. See TEX. BUS. & COMMERCE CODE § 17.45(9), (13). Moreover, given the urgency

 by which many title loan customers need to pay off their loan, Counterdefendants’ refusal

 amounts to an unconscionable action or course of action. See TEX. BUS. & COMMERCE

 CODE § 17.45(5).

 C.      Counterdefendants have accessed and used driving records to interfere with
         TitleMax of Texas’s customers, contracts, and prospective business
         relations.

         12.     Despite vigorously accusing TitleMax of Texas of using driving records to

 solicit customers, it has been discovered that Counterdefendants have been actively

 engaged in the same conduct in which they allege TitleMax of Texas was engaged.

 TitleMax of Texas recently learned that Counterdefendants appear to have accessed and

 used driving records to interfere with TitleMax of Texas’s customers, contracts, and

 prospective business relations. See generally Affidavit of John Salinas, attached as Exhibit 3.

 One such customer, who highly values privacy and confidentiality and insists on remaining

 anonymous, was contacted and solicited by Counterdefendants. Id. at ¶¶ 2-3.

 Counterdefendants were aware of the existing TitleMax of Texas loan; told the customer

 they could offer a better deal; and offered to Buyout the loan. Id. at ¶ 3. The customer had

 not told anyone else about the loan, and upon information and belief Counterdefendants

 could have only determined its existence through the use of driving records. Id. at ¶ 3.

                                         III.
                                    COUNTERCLAIMS

           COUNT I—TORTIOUS INTERFERENCE WITH EXISTING CONTRACTS

         13.     TitleMax of Texas incorporates the foregoing allegations as if fully set forth



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 in this Paragraph.

           14.   TitleMax of Texas had valid contracts with customers.

           15.   Counterdefendants knew of these contracts and willfully and intentionally

 interfered with them, as discussed above.

           16.   Counterdefendants’ interferences proximately caused TitleMax of Texas

 injury.

           17.   TitleMax of Texas incurred actual damage or loss, including but not limited

 to lost profits, loss of goodwill, and loss of future contracts and business prospects.

           18.   Counterdefendants’ actions were malicious or wanton, and therefore

 TitleMax of Texas specifically requests an award of exemplary damages.

           COUNT II—TORTIOUS INTERFERENCE WITH PROSPECTIVE RELATIONS

           19.   TitleMax of Texas incorporates the foregoing allegations as if fully set forth

 in this Paragraph.

           20.   TitleMax of Texas had a reasonable probability that potential customers

 would have entered into business relationships with TitleMax of Texas.

           21.   Counterdefendants either acted with a conscious desire to prevent the

 relationship from occurring or knew the interference was certain or substantially certain to

 occur as a result of the conduct.

           22.   Counterdefendants’ actions were independently tortious and/or unlawful,

 as discussed above.

           23.   Counterdefendants’ interferences proximately caused TitleMax of Texas

 injury.

           24.   TitleMax of Texas incurred actual damage or loss, including but not limited

 to lost profits, loss of goodwill, and loss of future contracts and business prospects.

           25.   Counterdefendants’ actions were malicious or wanton, and therefore

                                                6

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 TitleMax of Texas specifically requests an award of exemplary damages.

                                 COUNT III—CONVERSION

         26.     TitleMax of Texas incorporates the foregoing allegations as if fully set forth

 in this Paragraph.

         27.     Counterdefendants have wrongly asserted dominion over TitleMax of

 Texas’s property, namely its proprietary confidential financial and store-profitability

 information, inconsistent with TitleMax of Texas’s right of ownership.

         28.     TitleMax of Texas owns and has the right to possess its proprietary

 confidential financial and store-profitability information.

         29.     Counterdefendants unlawfully and knowingly came into actual possession

 of TitleMax of Texas’s proprietary confidential financial and store-profitability information.

         30.     Counterdefendants’ knowingly used TitleMax of Texas’s proprietary

 confidential financial and store-profitability information for their own benefit. The

 conversion harmed TitleMax of Texas.

         31.     Counterdefendants’ actions demonstrate willful misconduct, malice, fraud,

 wantonness, oppression, or that entire want of care which would raise the presumption of

 conscious indifference to consequences sufficient to justify an award of punitive damages.

                             COUNT IV—THEFT OF PROPERTY

         32.     TitleMax of Texas incorporates the foregoing allegations as if fully set forth

 in this Paragraph.

         33.     Counterdefendants have committed theft regarding TitleMax of Texas’s

 property, namely its proprietary confidential financial and store-profitability information.

         34.     TitleMax of Texas owns and has a possessory right over its proprietary

 confidential financial and store-profitability information.

         35.     Counterdefendants unlawfully and knowingly appropriated TitleMax of


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 Texas’s proprietary confidential financial and store-profitability information.

         36.     TitleMax of Texas did not consent to Counterdefendants’ taking of the

 property.

         37.     Counterdefendants’ theft has harmed TitleMax of Texas.

         38.     Counterdefendants’ actions demonstrate willful misconduct, malice, fraud,

 wantonness, oppression, or that entire want of care which would raise the presumption of

 conscious indifference to consequences sufficient to justify an award of punitive damages.

                           COUNT V—DECLARATORY JUDGMENT

         39.     TitleMax of Texas incorporates the foregoing allegations as if fully set forth

 in this Paragraph.

         40.     A declaratory judgment would resolve a judicial controversy regarding the

 rights, obligations, and statuses of the parties with respect to Buyouts.

         41.     TitleMax of Texas seeks a declaratory judgment pursuant to Chapter 37 of

 the Texas Civil Practice and Remedies Code declaring that:

                 a. When a debtor pays off a title loan, the title-loan company must, within

                      a reasonable period of time, provide either the title to the vehicle or its

                      equivalent, a letter of guarantee; and

                 b. When a debtor seeks to pay off a title loan with funds brokered by a

                      competitor title-loan company, the competitor assumes the legal rights

                      of the debtor.

                                        IV.
                               CONDITIONS PRECEDENT

         42.     All conditions precedent to TitleMax of Texas’s claims for relief have been

 performed or have occurred.




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                                         V.
                                       PRAYER

       43.    WHEREFORE, TitleMax of Texas prays for the following relief as
              discussed herein:

              a.     actual damages;

              b.     exemplary damages;

              c.     declaratory judgment;

              d.     temporary and permanent injunctive relief;

              e.     prejudgment and post-judgment interest at the highest rate
                     allowable by law;

              f.     court costs;

              g.     attorney’s fees; and

              h.     such other and further relief as the Court deems just and proper.

       Dated: January 22, 2016

                                                 Respectfully submitted,

                                                 HOLLAND & KNIGHT LLP

                                                 By: /s/ L. Bradley Hancock
                                                 L. Bradley Hancock
                                                 State Bar No. 00798238
                                                 brad.hancock@hklaw.com
                                                 Christopher David Johnsen
                                                 State Bar No. 24072169
                                                 chris.johnsen@hklaw.com
                                                 1100 Louisiana Street, Suite 4300
                                                 Houston, TX 77002-5227
                                                 713-821-7000 (telephone)
                                                 713-821-7001 (facsimile)

                                                 GREENBERG TRAURIG, L.L.P.

                                                 Roland Garcia, Jr.
                                                 State Bar No. 07645250
                                                 garciar@gtlaw.com
                                                 1000 Louisiana Street, Suite 1700
                                                 Houston, Texas 77002
                                                 713-374-3500 - Telephone
                                                 713-374-3505 - Facsimile

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                                                    COUNSEL FOR DEFENDANTS
                                                    TMX FINANCE OF TEXAS, INC.;
                                                    TITLEMAX OF TEXAS, INC.; TMX
                                                    FINANCE LLC; AND TMX
                                                    FINANCE HOLDINGS, INC.

                           CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing was served on all counsel of
 record in accordance with the Texas Rules of Civil Procedure on the 22nd day of January,
 2016.

                                                   /s/ Christopher David Johnsen
                                                   Christopher David Johnsen




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                EXHIBIT 1




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                        IN THE SUPERIOR COURT OF FULTON COUNTY
                                   STATE OF GEORGIA


DRUMMOND FINANCIAL SERVICES,                    )
LLC; et al.,                                    )
                                                )
          Plaintiffs,                           )
                                                )       CIVIL ACTION FILE
v.                                              )       NO.: 2014cv253677
                                                )
TMX FINANCE HOLDINGS, INC.; et al., )
                                                )
          Defendants.                           )

                               AFFIDAVIT OF ZACHARY FARMER

          Personally appeared before the undersigned ZACHARY FARMER who, after being duly
sworn, testified and said on oath as follows:
          1.      I am Zachary Farmer, an individual resident of the State of Ohio.
          2.      I am over 21 years of age and competent in all respects to give testimony in this
matter.
          3.      On December 10, 2014, I interviewed for a position with TitleMax. During the
interview, I voluntarily disclosed the information that is substantially repeated in this Affidavit.
TitleMax has not offered me anything of value in exchange for the information contained in this
Affidavit.
          4.      From February 2009 through November 14, 2014, I was an employee of
Wellshire Financial Services, LLC and Drummond Financial Services, LLC, companies owned
by Select Management Resources LLC ("Select"). I worked in stores doing business as
"LoanStar Title Loans," "North American Title Loans," and "LoanMax."
          5.      From August 2010 through June 2012, I was employed as an Operations
Specialist.
          6.      As an Operations Specialist, I traveled around the country, filling in at short-
staffed stores, consulting. detecting fraud, assisting with staffing decisions, and identifying
sponsorship opportunities. One primary task as an Operations Specialist was to improve Select' s
competitiveness in the marketplace, specifically with respect to Selcct's primary competitor,



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TitleMax.       I reported to Jesse Anderson, Brent Matthews, and Berk Jolly, who were Vice
Presidents of Select.
          7.      As an Operations Specialist, I used several different tactics to gain competitive
advantages for Select over TitleMax.
          8.      For example, I would pretend to be a customer and go into TitleMax stores to talk
with their employees in an effort to determine what TitleMax was offering customers. I would
also pretend to be a LoanMax customer seeking a better deal from TitleMax in order to see what
terms they might offer. I would present TitleMax employees with a LoanMax application and
try to coax them to talk about LoanMax.
          9.      I would also carry a concealed recording device to record my interactions with
TitleMax employees. I would then mail the recording to Select Vice President Jesse Anderson at
Select's corporate office in Alpharetta, Georgia.
          10.     As another example, I would pose as a repo-man seeking to do business with
TitleMax and would ask TitleMax store managers how many repossessions they had during a
specific period.     TitleMax managers would often provide that information assuming I was
actually in the repossession business.
          11.     Another tactic that I used to gain competitive advantage for Select, was to gain
access to and photograph TitleMax "goal boards." Each TitleMax store had a goal board. The
goal boards were typically located in back rooms of TitleMax stores, which were not open to the
public.
          12.     A goal board typically listed a TitlcMax store's financial performance goals for
the month, the actual financial results from previous months, and the month-to-date financial
results. The more established TitleMax stores would have more financial data on their goal
boards. I would send the photographs of the goal boards electronically to Select Vice President
Jesse Anderson. The data helped Select determine whether to open a Select-branded store in the
immediate area to compete with TitleMax.
          13.     My method for gaining access to the goal boards was to pose as a potential
customer and ask a TitleMax employee if I might use the store's restroom. I would then access
the private back office business area and take pictures of the store's goal board as I pretended to
look for the restroom. I then emailed the photographs to Select Vice President Jesse Anderson.



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       14.     The first time I photographed a goal board, I was sent to a TitleMax store to act
like a potential customer with a LoanStar application. I was to present the application to the
TitleMax employee to find out what they would say about LoanStar. While in the TitleMax
store, I needed to use the restroom, and on my way back to the restroom I saw a goal board and
took a picture of it. I sent the picture to Jesse Anderson, who responded that I should try to take
photographs of as many other goal boards from TitleMax locations as I could. About a week
later. Brent Matthews, another Select Vice President, followed up with me to see how many
boards I was able to photograph and suggest where I could find more.
       15.     Over the span of a year. in 2011 and 2012. I visited TitlcMax stores in Texas
(including Arlington, Carrolton, Mesquite, and Garland), South Carolina (including Rock Hill,
Columbia, and Myrtle Beach), and Alabama (including Tuscaloosa and Birmingham). In total, I
visited approximately 75 TitleMax stores for the express purpose of photographing goal boards.
Of those 75 stores, I successfully photographed approximately 30 goal boards.
       16.     I photographed the goal boards with a smartphone provided to me by Select and I
used the email address provided to me by Select to transmit the photographs to Select Vice
President Jesse Anderson.
       17.     It is my understanding that gaining access to TitleMax non-public areas and
photographing TitleMax goal boards became a uniform practice of Select.
       18.     For example, in my last assignment with Select, I participated in a conference call
with Arca Managers in Ohio, shortly bcf ore TitleMax entered the Ohio market. During the call,
the Arca Managers were told by Select upper management that they should comply with Sclcct's
company-wide practice and direct their employees to enter TitlcMax stores under false pretenses
so that they could gain access to and photograph TitlcMax goal boards.
       19.     Another tactic that I observed was LoanMax employees using OMV records to
identify which competitor bought out their customers' loans in an effort to confirm whether
LoanMax was losing business to TitleMax.
       20.     I make this affidavit based upon my personal knowledge for use in this lawsuit
and for any legal purpose.




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WITNESS my hand and seal.    this~~ of January, 2015.




Sworn to and subscribed before me
this    0    day of January, 2015.




_ ____L,~~~~~-!__County,                    P#
My commission expires -~S"~_-~!Jt:J
                                 __-~/;~b~




                               MICHAEL P. ROlfES
                              NOTARY PUBLIC· OHIO
                            COMMISSION #2011-RE-374728




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                EXHIBIT 2




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From:                                 William Purce <William.Purce@occc.texas.gov>
Sent:                                 Thursday, November 12, 2015 9:47 AM
To:                                   Victoria Newman
Subject:                              Re: Buyouts of Competitors



Dear Ms. Newman:

At this time, our agency has not issued any advisory bulletins on this issue related to credit access businesses (there are
some advisory letters dealing with regulated lenders and property tax lenders). However, our agency has investigated
this issue in the past and has instructed licensees to provide and accept the payoffs. Our analysis of this issue is very
similar to the analysis discussed in the South Carolina opinion letter.

Respectfully,




William Purce
Senior Administrative Review Examiner
Office of Consumer Credit Commissioner
2601 North Lamar Boulevard
Austin, Texas 78705
512.936.7626
wi ll iam.pu rce@ occc.texas.gov


EB DCCC:
TEXAS OFFICf OF CONSUMER
CREDIT COMMISSlONER
    From:     Victoria Newman <Victor!a.Newrnan@titlemax.com >
    To:       'William Purce' <Wi ll iam.Purce@occc.texas.gov>
    Date:     11/12/2015 9:07 AM
   Subje ct: Buyouts of Competitors
   Hi William ,

   I hope you are doing well. A question came up that I would like your help resolving.

   I take the position that a buyout request from a customer should not be refused regardless of whether it's from a
   competitor. South Carolina has issued similar guidance on the matter (attached for your reference) . A refusal of the
   buyout (or failure to immediately return the title or provide a letter of guaranty) , in my opinion, would be akin to a
   prepayment penalty.

   Has the OCCC issued guidance on this issue before? I haven't found any but I could have missed it.

   Thanks,

   Victoria


   Victoria H. Newman
   Sr. Compliance and Corporate Counsel

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TMX Finance
15 Bull Street, Ste 200
Savannah , GA 31401
Direct line: (912) 503-2824
Facsimile: (866) 591-4638
Email: vlctoria.newma n@titlemax. com

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is intended only for use by the intended recipient(s) and may contain trade secret or otherwise proprietary information of TMX Finance LLC and/or its
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Immediately notify TllleMax e-mail administrator at: abuse@titlemax.blz and permanently delete the original and any copy of this e-mail, any attachments ,
and/or any printouts thereof."




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                                                                                                                                 APPENDIX 0195
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                                                                                                                              Johnny E. Sosebee
                              1IDepart1nent of QConsun1er %lffair%                                                                   Vic<> Chair
                                                                                                                                     Piedmont
                                                       2221 DEVINE STREET, STE 200                                              Mark Hammond
                                                              PO BOX 5757                                                       Secretary nf State
                                                         COLUMBlA, SC 29250-5757                                                     Culumbia
Carri Grube Lybarker                                                                                                         Clifford Ray Keasler
                                                                                                                                   Myrtle BP.ad'
   Administrator
                                                                                                                               Terrell A. Parrish
                                                                                                                                        Greer
                                                                                                                                Magaly P. Penn
                                                                                                                                   Siiripsonvllle
                                                          September 12, 2014                                                W. Fred Pen;iington , Jr.
                                                                                                                                       Taylors


           Via Hand Delfrery and Electronic Mail

          Mr. Jim Copeland
          Acting Commissioner/ Assistant Commissioner
          Consumer Finance Division
          S.C. State Board of Financial Institutions
          1205 Pendleton Stree[, Suite 306
          Columbia. SC 2920 l

                      RE :    Opinion Request- Prepayment Penalties

           Dear Jim:

                  You have reques.tt~d an opinion regmding prai.;rices employed by supervised lenders when
          a loan is beiug prnl?aid by a third pruty on behalf of a consumer, the original debtor. Consumer
          credit b·ansa,ctions are governed by tbe South Cm-olina Consumer Protecl.ion Code C'tbe 1Code"),
          S.C.      Code
                      Ann. secLions 37-1.-101 et seq. 1 Right to prepay a consun.1e.i: loan is addressed jn §-
          37-3-209 wiU1 prepayment of credit sales addressed in § 37-2-209. From the information you
          have provided, the following guestion has been posed and will be addressed herein in the form of
          a general auswer that could change depending on specific circumsrnnces:

                              Can a lender subject to the Code charge a consurr1cr a different.inteicisi. ·
                              rate than currently being asses, ed and impose di'fferen'L              terms
                                                                                            regahiing. .
                              accepted rnelhod of payment r oth rwi se impose varying contract .t.e @s
                              when a con nmer Joan is being µrepaid by a thir<i party on behalf of the
                              consumer?

                 As Staled above,§ 37-3-209 governs the consumer's riglll to prepay a consumer loar1.
         The section specifical ly states:" ... lhe debtor may prepay in foll the unpaid balance of a
         consumer Joa n, re.financing, or consolidatiun at any lim e withow penalty." (Emphasis added.) A
         "debtor" is defined as "any per. o.n who is an obJi gor in a credit Lransactfon, including any
         cosignor, con'l.a.ker, guarantor , endorsee or surety, and the assignee of any obligor, and also
         includes any.person who agrees 10 a ·swne th e p a,y m enl of a credic obligati.on." (Emphasis
         added .) See§ "7- l -.:>01(1 4). Last.Jy, "person" i ucludcs not o nly an rndivid.ual, but an
         organization.. See§ 37-1 -301 (20). T L1e rig.h t of a dcb ror L1 prepay a loao in foll without pcnaity
         cannot be waived. See§ 37 - 1-107(!).


          'further reforen.ce to the Soutr1 Cari ilina Code of L:iws will be by Code scuion only.
ADMINISTRATOR                PUBLIC INFORMATION           CON SUMER ADVOCACY                  El FORCl:cMEN 1I           CONSUMER COMPLAINTS
  803-734-4233                   (JOJ-734-4296                 80J-734-4 i!OO                 INVESTIGATORS                   803-734-4200
  AC COUITTING                 Fax: 803-734-4229            Fax; 803-734-4257                   003-734-4236                Fax: 603-734-4286
  303-734-4264                                                                                Fax : 1i03-7J4-428"f
Fax: 803-734-4209                      E-Mail: SCDCA@S CCON SUMER.GOV       Toll Frae in SC: 300 ·922 · !~94
                                       WelJsitc: WWW. CONS UMER.SC.GOV      Voice!rT: 800-735· 2905

                                                                                                                     APPENDIX 0196
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                                                                                             Copeland
                                                                                    September 12, 20 L4
                                                                                             Page 2 of 3
                                  ---~------                   · - - -----·-··-.'

          The cardinal rule of statutory construction is to ascertain and effectuate the Legislature's
 .intent from the plain ianguage of the statute. ~11rns v. State FarmMuL Aulo JJl s. ·o. , 297 S.C.
 520, 522, 377 S.E.2d 569, 570 ( 1989). The words of the statute must be given their plain and
 ord.inary meaning without resorting to subtle or forced construction to limit or expand i:he
 statute's operation. Hir.ach i Data Svs. Corp. v. Leatherman, 309 S.C. l 74, l 78, 420 S.E.2d
 843,846 ( 1992). Statutory provisions of the Code shall be libei;a.lly construed as well as applied
 to promote the Title's underlying purposes and policies.§ 37-1-102(1); Davis v. NationsCredlt
 Financial ''erv[c:es Coc:poratjon et al, 326 S.C. 83, 86, 484 S.E.2d 471,472 (1997). The pi'imary
 purpose of the Code is to protect consumers, as evidenced within relief provisions contained
 therein . Camp v. S prings Mo rtga2e Com. , 310 S.C. 514,516, 426 S.E.2d 304,305 (l 993) .
 Section 37- l- l02 further delineates the purposes and policies of the Code, including to foster
 competition among suppliers, protect borrowers against unfair practices and encourage fair and
 economically sound consumer credit practices. See§ 37-1-102(2)(c)-(e).

        The plain la11guage of the Code perm.its a d~b~or to prepay a loan in foll without incurring
 any type of penalty. Further, debtor is defined broadly to not only include the original consumer
 who has promised or otherwise is obligated to pay the debt, but to assignees and other persons
 who agree to assume responsibility of paying the debt as well, including an organization.

          In the scenario you provided, a lhird pait.y .js attempting to prepay a louo in full on behalf
 of rh:e consumer. The Lender, however, conrracted for-altemate hiterest rate terms to apply ·
 should a Lhird party, including but nqt li.n)jted Jo, a bank, credit union, title loan, automobile
 dealership or insurance company pay off the Jo_ap. ill construing t:he scatutory language of Lhe
 Code liberally lo effec tuate i.t.s pmposes and policies, the .Qepartcnent concludes such alternate
 terms would constitute a prepaym~nt penalty if the th.lrd party is aLi assignee of the obli gor or
 entered into an agreement to pay the loan. The third party nssuming t)lc obligation is considered
 the debtor and, thus, is entitled to pay off the loan under the same terms as the consumer \Vhom
 originaUy·incutred the debUobiigatjon. See§ 37-1-301(14).

        You have also posed a scenario whereby the Leuder-r-equires that the original dcbror be
presern at the tim e the third p arty pay~ off the loan. As exp l~ined above, however, when the
third party assumed th e obligation, l'he third party is considered the debtor. If the Lender refuses
to accept paymen t from Lhe third pany on Lhe basis that the original debtor is not present, this
amounts to a violation § 37-3-209 as the Lender is depriving the debtor of the right to prepay.

         Lastly, you posed a sce nario whereby the Lender refuses to accept the same type of
payment method from a third party attempting to prepay a Loan in foll as it has previously
conlracted for or otherwise accepted from the original deptor. While this may not be considered
a prepayment pemllty, the practice could constiture breach of contract if the contract delineates
the types of pa yment accepted or if the Lender bas previously, through a course of dealings,
accepced payment from th e original debtor via the same method the third party is attempting to
utilize. See§ 37·· 3-l03(3); Do wli n(• v. C1iarlesr.o n & W.C. Rv. 'o., 105 S.C. 475, 81 S.E. 313
(1913); \Veisz. (.ir~1phics Div. v . Peck industries, 304 S.C. lOJ, 403 S.E.2d 146 (Cl. /\pp. J991).




                                                                                     APPENDIX 0197
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                                                                                        Copeland
                                                                               September 12, 2014
                                                                                         Page 3of3
                                                          ------ -- ---------~-




        When a deblor exercises the right to prepay pursuant to§ 37-3-209, please also be
mimlfuJ of other provisions of rbe Code governing prepayment. Section 37-3-210, for example,
regulates prep<Lyincnt rebates for consumer loans while§ 37~4-108 states the parameters for the
treatment of refunds of insurance premiums upon prepayment of a consumer loan.

        Pursuant lo sections 37-6-104(4) <ind 37-6-506(3), reliance upon an administrnlivc
imerpretatioo provjdes protection from any penalties authorized by the Code if tbe administrative
interpretation is subseqllenll y declared invalid by a court or ls rescinded. Please do not hesitate
lo comact me direcUy at 803-734-4297 should you need any further informal.ion.




                         ~eJ:ox. D~
                                           Carri Grube Lybarker,   ~




                                                                                  APPENDIX 0198
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                EXHIBIT 3




                                                            APPENDIX 0199
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                                    CAUSE NO. 2013-33584

WELLSHIRE FINANCIAL                        §                IN THE DISTRICT COURT OF
SERVICES, LLC, ET AL.                      §
                                           §
v.                                         §                HARRIS COUNTY, TEXAS
                                           §
TMX FINANCE HOLDINGS,                      §
INC., ET AL.                               §                l 52"ct JUDICIAL DISTRICT

                              AFFIDAVIT OF JOHN SALINAS

STATE OF TEXAS                        §
                                      §
COUNTY OF HARRIS                      §

       Before me, the undersigned authority, appeared John Salinas, known to me to be the
person whose name is subscribed hereto and, after being duly sworn by me, stated as follows:

       1.      My name is John Salinas. I am over the age of 21, of sound mind, and competent
to make this Affidavit.

       2.     I am a district manager of Defendant/Counterplaintiff TitleMax of Texas, Inc.
("TitleMax"). I have knowledge of the facts stated in this Affidavit through my role with
TitleMax, and each of the statements made below is based upon my knowledge.

        3.      This Affidavit concerns a very good, repeat TitleMax customer who was solicited
by Plaintiffs/Counterdefendants Wellshire Financial Services, LLC and Meadowwood Financial
Services, LLC ("LoanStar"). This customer highly values the customer's privacy and
confidentiality and insists on remaining anonymous. For ease of reference, the customer will be
referred to as "Peter," which is not the customer's real name.

        4.      On November 14, 2015, Peter called a TitleMax store in Pasadena, Texas to
obtain the minimum amount he would need to pay to refinance his loan. While he was on the
phone, he said that LoanStar called him a few days prior in an attempt to buyout his loan.
LoanStar referenced TitleMax; knew that Peter has a loan with TitleMax; told Peter that
LoanStar could offer him a better deal; and wanted to buyout Peter's loan with TitleMax. Peter
has not even told his own family that he has a loan with TitleMax and therefore he was very
concerned about how LoanStar obtained his information. He asked if TitleMax and LoanStar are
affiliated or if TitleMax sells or gives away its customers' information to LoanStar. He was
disturbed that LoanStar had obtained his information and he felt violated. He was also worried
that others would find out he has a title loan, which is a very personal matter for him.

        5.     Later that day when Peter arrived at the store to refinance his loan, he was still
upset that LoanStar had obtained his information to solicit his loan. He continued to discuss what
happened and he reiterated everything he reported in Paragraph 3. After some time and effort,




                                                                               APPENDIX 0200
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         Subscribed and sworn to before me by Joh Salina on this the 20th day of January, 2016,
to certify which witness my hand and seal of o flice


                                                           ~-/




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                                        NO. 2013-33584

WELLSHIRE FINANCIAL SERVICES, LLC,                §                 IN THE DISTRICT COURT
d/b/a LOANSTAR TITLE LOANS, d/b/a                 §
MONEYMAX TITLE LOANS, and d/b/a                   §
LOANMAX; MEADOWWOOD FINANCIAL                     §
SERVICES, LLC, d/b/a LOANSTAR TITLE               §
LOANS, and d/b/a MONEYMAX TITLE                   §
LOANS; and INTEGRITY TEXAS                        §
FUNDING, LP,                                      §
                                                  §
        Plaintiffs,                               §            OF HARRIS COUNTY, TEXAS
                                                  §
v.                                                §
                                                  §
TMX FINANCE HOLDINGS, INC.;                       §
TMX FINANCE, LLC;                                 §
TMX FINANCE OF TEXAS, INC.; and                   §
TITLEMAX OF TEXAS, INC.,                          §
                                                  §
        Defendants.                               §                 152"d JUDICIAL DISTRICT

 PLAINTIFFS' OBJECTION TO TITLEMAX'S FIRST AMENDED COUNTERCLAIM

        COME NOW, Plaintiffs Wellshire Financial Services, LLC d/b/a LoanStar Title Loans,

d/b/a MoneyMax Title Loans, and d/b/a LoanMax ("Wellshire"); Meadowwood Financial

Services, LLC, d/b/a LoanStar Title Loans, and d/b/a MoneyMax Title Loans ("Meadowwood"

and collectively with Wellshire, "LoanStar"), and Integrity Texas Funding, LP ("Integrity," and

collectively with LoanStar, "Plaintiffs"), and file this Objection to Defendants' ("TitleMax")

First Amended Counterclaim ("Amended Counterclaim"), respectfully showing the Court as

follows:

        1.      TitleMax filed its Amended Counterclaim after the Court heard Plaintiffs' motion

for summary judgment, without first seeking the requisite leave of Court.      Consequently, in




                                                                             APPENDIX 0202
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addition to being meritless, 1 TitleMax' s Amended Counterclaim is also procedurally improper

and should not be considered by this Court. (See Pls.' Supp. Br. in Support of its Mot. For

Summary J.)

       2.       On August 14, 2015, Plaintiffs filed their Motion for Summary Judgment

demonstrating that TitleMax's counterclaims were deficient as a matter of law.

       3.       On November 6, 2015, the Court heard oral argument on Plaintiffs' motion for

summaiy judgment. At the conclusion of that hearing, the Court stated that it would rule on the

viability of the Letter of Guarantee counterclaims and reserved ruling on the Secret Shopping

counterclaims until after the parties had deposed TitleMax's star witness, Zach Farmer. (See

Nov. 6, 2015 Hearing Tr.) On January 12, 2016, Plaintiffs deposed Mr. Farmer who testified

that, after obtaining permission from TitleMax employees, he entered public areas of TitleMax

stores and photographed goal boards that were kept in plain view of any member of the public.

       4.       Recognizing that Farmer's testimony confirmed its Counterclaim was not viable,

TitleMax served and filed an Amended Counterclaim on January 29, 2016.                  (See Am.

Counterclaim.) Despite the fact that this amendment caine more than five months after Plaintiffs

moved for summary judgment on TitleMax's original Counterclaim and more than two months

after the Court heard Plaintiffs' motion, TitleMax failed to seek leave of Court before filing the

Counterclaim.

       5.       However, TitleMax is required to seek leave of Court before filing an amended

counterclaim, when, as here, it seeks to ainend its pleading after a summary judgment hearing,

but before an order is entered. TRCP 166a(c) (parties may only file amended pleadings after



1
  Plaintiffs are contemporaneously filing a supplement brief in support of their Motion for
Summary Judgment, demonstrating that TitleMax's ainendments to its Counterclaim are futile
and that the Court should dismiss TitleMax's counterclaim in its entirety.

                                                2



                                                                                 APPENDIX 0203
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hearing on summary judgment motion, but before judgment is rendered, "with permission of the

court"); Hussong v. Schawn 's Sales Enters., Inc., 896 S. W.2d 320, 323 (Tex. App.-Houston

[1st Dist.] 1995) (citing Leinen v. Buffington 's Bayou City Serv., 824 S.W.2d 682, 685 (Tex.

App.-Houston [14th Dist] 1992, no writ) ("[A] trial court can only consider pleadings and proof

on the file at the time of the [summary judgment] hearing, or filed after the hearing and before

judgment with the permission of the court.") (emphasis added). TitleMax has still never sought

this Court's permission to file its amended Counterclaim and accordingly its amended

Counterclaim should be struck as procedurally improper.



DATED: February 23, 2016                    Respectfully submitted,

                                            SUTHERLAND ASBILL & BRENNAN LLP

                                            By:     Isl Daniel Johnson
                                                    Daniel Johnson (SBN 24046165)
                                                    Robert A. Lemus (SBN 24052225)
                                                   1001 Fannin, Suite 3700
                                                   Houston, Texas 77002
                                                   Telephone: (713) 470-6100
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                                            And

                                            WARGO & FRENCH LLP
                                                 Joseph D. Wargo (GA No. 738764)
                                                 (Admitted Pro Hae Vice)
                                                 John C. Matthews (FL No. 89659)
                                                 (Admitted Pro Hae Vice)
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                                               E-Mail: jwargo@wargofrench.com


                                               3


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                                        E-Mail: jmatthews@wargofrench.com
                                        E-Mail: dgaynor@wargofrench.com

                                        Attorneys for Wells hire Financial Services,
                                        LLC, d/b/a LoanStar Title Loans, d/b/a
                                        MoneyMax Title Loans, and d/b/a LoanMax;
                                        Meadowwood Financial Services, LLC, d/b/a
                                        LoanStar Title Loans, and dlbla MoneyMax
                                        Title Loans; and Integrity Texas Funding, LP




                                    4



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                                CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing PLAINTIFFS' OBJECTION TO

TITLEMAX'S FIRST AMENDED COUNTERCLAIM has been forwarded to all counsel of

record in accordance with Texas Rules of Civil Procedure 21 and 2la, on this 23rd day of

February 2016.

L. Bradley Hancock
Christopher Johnsen
Holland & Knight LLP
1100 Louisiana Street, Suite 4300
Houston, TX 77002

Roland Garcia, Jr.
Greenberg Traurig LLP
I 000 Louisiana Street, #1700
Houston, TX 77002

Attorneys for Defendants
TMX Finance LLC,
TMX Finance of Texas, Inc. and
TitleMax of Texas, Inc.



                                                Isl Daniel Johnson
                                                 Daniel Johnson




                                           5


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                                                                        11/2/2016 1:16:24 PM
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                                                                                                         By: Iris Collins
                                 CAUSE NO. 2013-33584                                    Filed: 11/2/2016 1:16:24 PM


 WELLSHIRE FINANCIAL     § IN THE DISTRICT COURT OF
 SERVICES, LLC, ET AL.   §
                         §
 v.                      § HARRIS COUNTY, TEXAS
                         §
 TMX FINANCE LLC, ET AL. § 152nd JUDICIAL DISTRICT
 ———————————————————————————————————

 TITLEMAX OF TEXAS, INC., and               §
 TMX FINANCE OF TEXAS, INC.                 §
                                            §
 v.                                         §
                                            §
 WELLSHIRE FINANCIAL SERVICES,              §
 LLC and MEADOWWOOD                         §
 FINANCIAL SERVICES, LLC                    §
 ———————————————————————————————————
                  DEFENDANTS’/COUNTERPLAINTIFFS’
                   SECOND AMENDED COUNTERCLAIM
 ———————————————————————————————————
        Defendants/Counterplaintiffs TitleMax of Texas, Inc. and TMX Finance of Texas,

 Inc. (collectively, “TitleMax” and/or “Counterplaintiffs”) bring this Second Amended

 Counterclaim against Plaintiffs/Counterdefendants Wellshire Financial Services, LLC and

 Meadowwood Financial Services, LLC (collectively, “Counterdefendants”).

                                           I.
                                        PARTIES

        1.      Defendant/Counterplaintiff TitleMax of Texas, Inc. (“TitleMax of Texas”)

 is a Delaware corporation with its principal place of business in Texas. TitleMax of Texas

 assists Texas customers in obtaining loans through third-party lenders. TitleMax of Texas

 was sued by Counterdefendants in this lawsuit.

        2.      Defendant/Counterplaintiff TMX Finance of Texas, Inc. (“TMX Finance

 of Texas”) is a Delaware corporation with its principal place of business in Texas. TMX

 Finance of Texas provides direct lending services to Texas customers. TMX Finance of




                                                                            APPENDIX 0207
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 Texas was sued by Counterdefendants in this lawsuit.

        3.      Plaintiff/Counterdefendant Wellshire Financial Services, LLC (“Wellshire”)

 is a Georgia limited liability company. Wellshire is a competitor of TitleMax of Texas that

 operates in Texas.

        4.      Plaintiff/Counterdefendant     Meadowwood        Financial   Services,   LLC

 (“Meadowwood”) is a Georgia limited liability company. Meadowwood is a competitor of

 TitleMax of Texas that operates in Texas.

                                               II.
                                             FACTS

        5.      TitleMax of Texas is a credit service organization (“CSO”). As a CSO,

 TitleMax of Texas assists customers in obtaining loans through third-party lenders.

 Namely, TitleMax of Texas connects a customer with a lender who, with the CSO, will

 secure a loan by placing a lien on the customer’s vehicle. In addition to arranging for title

 loans, TitleMax of Texas will also help a customer refinance a pre-existing loan arranged by

 another CSO (such as a title loan held by Counterdefendants).

        6.      TMX Finance of Texas is a direct lender who makes loans directly to

 customers. TMX Finance of Texas is compensated through finance charges paid by the

 customer.

        7.      TitleMax’s business is affected by facilitating or making title loans;

 refinancing title loans; facilitating or making additional loan arrangements; and receiving

 referrals from existing customers. Counterdefendants are in the same line of business as

 TitleMax and directly or indirectly compete with TitleMax.

        8.      Counterdefendants have engaged in a campaign of corporate espionage

 against TitleMax. Counterdefendants have stolen TitleMax’s proprietary confidential

 financial and store-profitability information and have interfered with TitleMax’s contracts,


                                               2

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 customers, and business relations by refusing to provide Letters of Guarantee and by using

 driving records to solicit TitleMax’s customers.

 A.     Counterdefendants have entered TitleMax’s non-public areas under false
        pretenses to steal its confidential information.

        9.      Counterdefendants have entered non-public areas within TitleMax stores

 posing as potential customers or other third parties and, using recording devices,

 unlawfully and improperly taken TitleMax’s proprietary confidential financial and store-

 profitability information. Additionally, Counterdefendants have taken pictures of

 TitleMax’s goal boards and surrounding reports hung next to the goal boards, which

 contain store-profitability information, circumventing the need for Counterdefendants to

 do their own marketing and business analysis. See generally Affidavit of Zachary Farmer,

 attached as Exhibit 1. Counterdefendants have taken TitleMax’s confidential business

 information to attempt to undermine TitleMax, gain an unfair competitive advantage, and

 increase Counterdefendants’ competitiveness in the marketplace.

 B.     Counterdefendants have interfered with TitleMax’s contracts and business
        relationships by refusing to return titles and/or provide Letters of Guarantee
        within a reasonable period of time.

        10.     Additionally, Counterdefendants have refused to return titles to customers

 and/or provide Letters of Guarantee to TitleMax within a reasonable period of time,

 substantially interfering with TitleMax’s contracts and current and prospective business

 relationships. Customers have the right to do business with the lender or CSO of their

 choice. A customer has the option to pay the entirety of an existing loan by using funds

 obtained from another lender (a situation commonly referred to as a “Buyout”). To

 perform a Buyout in the industry custom, the new CSO or lender obtains from the original

 CSO or lender either the title to the vehicle or a Letter of Guarantee of title ensuring that

 clear title to the vehicle will be released upon full payment of the original title loan. The



                                               3

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 new CSO or new lender steps into the shoes of the customer during the Buyout process.

 See generally confirmation correspondence from the Texas Office of Consumer Credit

 Commissioner and the State of South Carolina Department of Consumer Affairs, attached

 as Exhibit 2.

         11.      When customers desire to pay off their loans, Texas law requires a

 lienholder to provide a release of lien and title within a reasonable time. Because customers

 need the money immediately and may not have the requisite credit, time, or resources to

 use traditional banking to pay off the loan, Letters of Guarantee are commonly employed

 in the Texas title loan industry to expedite and facilitate Buyouts. When a customer is

 unable to obtain an immediate release of title or a Letter of Guarantee, the customer is

 prevented from contracting with a new CSO or new lender and is essentially held hostage.

 This effectively results in a prepayment penalty to the customer and violates the CSO’s or

 lender’s duty to provide a release of lien and title or its equivalent. See id.

         12.      Knowing the foreseeable damages to the customer and the new title

 company, Counterdefendants have refused to provide Letters of Guarantee to TitleMax or

 its customers. This refusal to allow a Buyout is an institutionalized policy of

 Counterdefendants. By refusing to provide either the title or the Letter of Guarantee, the

 Buyout transactions cannot be completed, the existing loans cannot be bought out or paid

 off, and TitleMax loses those customers and the related goodwill. Moreover, because

 customers sometimes choose to refinance their title loans, losing that customer may result

 in not only the loss of the initial contract, but also future contracts (such as refinancing

 loans or arranging additional loans) with that customer. This is notwithstanding any

 potential referrals that the new customer may send to TitleMax.

         13.      In addition to refusing to return titles and/or provide Letters of Guarantee

 to TitleMax and its customers within a reasonable period of time, Counterdefendants have

                                                  4

                                                                                   APPENDIX 0210
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 engaged in independently tortious and unlawful conduct. Among other things,

 Counterdefendants breached their duty of care owed to TitleMax; lied to TitleMax’s

 customers about its business and practices, such as by falsely telling customers that

 TitleMax repossesses vehicles as early as one to two days into delinquency; and engaged in

 deceptive and unfair business practices.

         14.     The Deceptive Trade Practices and Consumer Protection Act (the

 “DTPA”) provides that it is a violation to use false, misleading, or deceptive acts or

 practices including but not limited to representing that an agreement confers or involves

 rights, remedies, or obligations which it does not have or involve, or which are prohibited

 by law. See TEX. BUS. & COMMERCE CODE § 17.46(b)(12). By failing to provide Letters of

 Guarantee, Counterdefendants are intentionally and knowingly denying their customers the

 right to prepay their loans pursuant to their contracts, which is a violation of the DTPA.

 See TEX. BUS. & COMMERCE CODE § 17.45(9), (13). Moreover, given the urgency by which

 many title loan customers need to pay off their loan, Counterdefendants’ refusal amounts

 to an unconscionable action or course of action. See TEX. BUS. & COMMERCE CODE §

 17.45(5).

 C.      Counterdefendants have accessed and used driving records to interfere with
         TitleMax of Texas’s customers, contracts, and prospective business
         relations.

         15.     Despite vigorously accusing TitleMax of Texas of using driving records to

 solicit customers, it has been discovered that Counterdefendants have been actively

 engaged in the same conduct in which they allege TitleMax of Texas was engaged.

 TitleMax of Texas recently learned that Counterdefendants appear to have accessed and

 used driving records to interfere with TitleMax of Texas’s customers, contracts, and

 prospective business relations. See generally Affidavit of John Salinas, attached as Exhibit 3.

 One such customer, who highly values privacy and confidentiality and insists on remaining

                                               5

                                                                                APPENDIX 0211
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 anonymous, was contacted and solicited by Counterdefendants. Id. at ¶¶ 2-3.

 Counterdefendants were aware of the existing TitleMax of Texas loan; told the customer

 they could offer a better deal; and offered to Buyout the loan. Id. at ¶ 3. The customer had

 not told anyone else about the loan, and upon information and belief Counterdefendants

 could have only determined its existence through the use of driving records. Id. at ¶ 3.

                                         III.
                                    COUNTERCLAIMS

           COUNT I—TORTIOUS INTERFERENCE WITH EXISTING CONTRACTS

         16.     TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

         17.     TitleMax had valid contracts with customers.

         18.     Counterdefendants knew of these contracts and willfully and intentionally

 interfered with them, as discussed above.

         19.     Counterdefendants’ interferences proximately caused TitleMax injury.

         20.     TitleMax incurred actual damage or loss, including but not limited to lost

 profits, loss of goodwill, and loss of future contracts and business prospects.

         21.     Counterdefendants’ actions were malicious or wanton, and therefore

 TitleMax specifically requests an award of exemplary damages.

        COUNT II—TORTIOUS INTERFERENCE WITH PROSPECTIVE RELATIONS

         22.     TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

         23.     TitleMax had a reasonable probability that potential customers would have

 entered into business relationships with TitleMax.

         24.     Counterdefendants either acted with a conscious desire to prevent the

 relationship from occurring or knew the interference was certain or substantially certain to



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                                                                                   APPENDIX 0212
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 occur as a result of the conduct.

         25.     Counterdefendants’ actions were independently tortious and/or unlawful,

 as discussed above.

         26.     Counterdefendants’ interferences proximately caused TitleMax injury.

         27.     TitleMax incurred actual damage or loss, including but not limited to lost

 profits, loss of goodwill, and loss of future contracts and business prospects.

         28.     Counterdefendants’ actions were malicious or wanton, and therefore

 TitleMax specifically requests an award of exemplary damages.

                                 COUNT III—CONVERSION

         29.     TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

         30.     Counterdefendants have wrongly asserted dominion over TitleMax’s

 property, namely its proprietary confidential financial and store-profitability information,

 inconsistent with TitleMax’s right of ownership.

         31.     TitleMax owns and has the right to possess its proprietary confidential

 financial and store-profitability information.

         32.     Counterdefendants unlawfully and knowingly came into actual possession

 of TitleMax’s proprietary confidential financial and store-profitability information.

         33.     Counterdefendants’ knowingly used TitleMax’s proprietary confidential

 financial and store-profitability information for their own benefit. The conversion harmed

 TitleMax.

         34.     Counterdefendants’ actions demonstrate willful misconduct, malice, fraud,

 wantonness, oppression, or that entire want of care which would raise the presumption of

 conscious indifference to consequences sufficient to justify an award of punitive damages.




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                             COUNT IV—THEFT OF PROPERTY

         35.     TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

         36.     Counterdefendants have committed theft regarding TitleMax’s property,

 namely its proprietary confidential financial and store-profitability information.

         37.     TitleMax owns and has a possessory right over its proprietary confidential

 financial and store-profitability information.

         38.     Counterdefendants unlawfully and knowingly appropriated TitleMax’s

 proprietary confidential financial and store-profitability information.

         39.     TitleMax did not consent to Counterdefendants’ taking of the property.

         40.     Counterdefendants’ theft has harmed TitleMax.

         41.     Counterdefendants’ actions demonstrate willful misconduct, malice, fraud,

 wantonness, oppression, or that entire want of care which would raise the presumption of

 conscious indifference to consequences sufficient to justify an award of punitive damages.

                           COUNT V—DECLARATORY JUDGMENT

         42.     TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

         43.     A declaratory judgment would resolve a judicial controversy regarding the

 rights, obligations, and statuses of the parties with respect to Buyouts.

         44.     TitleMax seeks a declaratory judgment pursuant to Chapter 37 of the Texas

 Civil Practice and Remedies Code declaring that:

                 a. When a debtor pays off a title loan, the title-loan company must, within

                     a reasonable period of time, provide either the title to the vehicle or its

                     equivalent, a letter of guarantee; and

                 b. When a debtor seeks to pay off a title loan with funds brokered by a

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                    competitor title-loan company, the competitor assumes the legal rights

                    of the debtor.

                                      IV.
                             CONDITIONS PRECEDENT

        45.    All conditions precedent to TitleMax’s claims for relief have been

 performed or have occurred.

                                           V.
                                         PRAYER

         46.   WHEREFORE, TitleMax prays for the following relief as discussed herein:

               a.      actual damages;

               b.      exemplary damages;

               c.      declaratory judgment;

               d.      temporary and permanent injunctive relief;

               e.      prejudgment and post-judgment interest at the highest rate
                       allowable by law;

               f.      court costs;

               g.      attorney’s fees; and

               h.      such other and further relief as the Court deems just and proper.

        Dated: November 2, 2016

                                                   Respectfully submitted,

                                                   HOLLAND & KNIGHT LLP

                                                   By: /s/ L. Bradley Hancock
                                                   L. Bradley Hancock
                                                   State Bar No. 00798238
                                                   brad.hancock@hklaw.com
                                                   Christopher David Johnsen
                                                   State Bar No. 24072169
                                                   chris.johnsen@hklaw.com
                                                   1100 Louisiana Street, Suite 4300
                                                   Houston, TX 77002-5227
                                                   713-821-7000 (telephone)
                                                   713-821-7001 (facsimile)

                                               9

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                                                   GREENBERG TRAURIG, L.L.P.

                                                   Roland Garcia, Jr.
                                                   State Bar No. 07645250
                                                   garciar@gtlaw.com
                                                   1000 Louisiana Street, Suite 1700
                                                   Houston, Texas 77002
                                                   713-374-3500 - Telephone
                                                   713-374-3505 - Facsimile

                                                    COUNSEL FOR DEFENDANTS
                                                    TMX FINANCE OF TEXAS, INC.;
                                                    TITLEMAX OF TEXAS, INC.; TMX
                                                    FINANCE LLC; AND TMX
                                                    FINANCE HOLDINGS, INC.

                           CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing was served on all counsel of
 record in accordance with the Texas Rules of Civil Procedure on the 2nd day of
 November, 2016.

                                                   /s/ Christopher David Johnsen
                                                   Christopher David Johnsen




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                EXHIBIT 1




                                                            APPENDIX 0217
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                        IN THE SUPERIOR COURT OF FULTON COUNTY
                                   STATE OF GEORGIA


DRUMMOND FINANCIAL SERVICES,                    )
LLC; et al.,                                    )
                                                )
          Plaintiffs,                           )
                                                )       CIVIL ACTION FILE
v.                                              )       NO.: 2014cv253677
                                                )
TMX FINANCE HOLDINGS, INC.; et al., )
                                                )
          Defendants.                           )

                               AFFIDAVIT OF ZACHARY FARMER

          Personally appeared before the undersigned ZACHARY FARMER who, after being duly
sworn, testified and said on oath as follows:
          1.      I am Zachary Farmer, an individual resident of the State of Ohio.
          2.      I am over 21 years of age and competent in all respects to give testimony in this
matter.
          3.      On December 10, 2014, I interviewed for a position with TitleMax. During the
interview, I voluntarily disclosed the information that is substantially repeated in this Affidavit.
TitleMax has not offered me anything of value in exchange for the information contained in this
Affidavit.
          4.      From February 2009 through November 14, 2014, I was an employee of
Wellshire Financial Services, LLC and Drummond Financial Services, LLC, companies owned
by Select Management Resources LLC ("Select"). I worked in stores doing business as
"LoanStar Title Loans," "North American Title Loans," and "LoanMax."
          5.      From August 2010 through June 2012, I was employed as an Operations
Specialist.
          6.      As an Operations Specialist, I traveled around the country, filling in at short-
staffed stores, consulting. detecting fraud, assisting with staffing decisions, and identifying
sponsorship opportunities. One primary task as an Operations Specialist was to improve Select' s
competitiveness in the marketplace, specifically with respect to Selcct's primary competitor,



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                                                                                  APPENDIX 0218
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TitleMax.       I reported to Jesse Anderson, Brent Matthews, and Berk Jolly, who were Vice
Presidents of Select.
          7.      As an Operations Specialist, I used several different tactics to gain competitive
advantages for Select over TitleMax.
          8.      For example, I would pretend to be a customer and go into TitleMax stores to talk
with their employees in an effort to determine what TitleMax was offering customers. I would
also pretend to be a LoanMax customer seeking a better deal from TitleMax in order to see what
terms they might offer. I would present TitleMax employees with a LoanMax application and
try to coax them to talk about LoanMax.
          9.      I would also carry a concealed recording device to record my interactions with
TitleMax employees. I would then mail the recording to Select Vice President Jesse Anderson at
Select's corporate office in Alpharetta, Georgia.
          10.     As another example, I would pose as a repo-man seeking to do business with
TitleMax and would ask TitleMax store managers how many repossessions they had during a
specific period.     TitleMax managers would often provide that information assuming I was
actually in the repossession business.
          11.     Another tactic that I used to gain competitive advantage for Select, was to gain
access to and photograph TitleMax "goal boards." Each TitleMax store had a goal board. The
goal boards were typically located in back rooms of TitleMax stores, which were not open to the
public.
          12.     A goal board typically listed a TitlcMax store's financial performance goals for
the month, the actual financial results from previous months, and the month-to-date financial
results. The more established TitleMax stores would have more financial data on their goal
boards. I would send the photographs of the goal boards electronically to Select Vice President
Jesse Anderson. The data helped Select determine whether to open a Select-branded store in the
immediate area to compete with TitleMax.
          13.     My method for gaining access to the goal boards was to pose as a potential
customer and ask a TitleMax employee if I might use the store's restroom. I would then access
the private back office business area and take pictures of the store's goal board as I pretended to
look for the restroom. I then emailed the photographs to Select Vice President Jesse Anderson.



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       14.     The first time I photographed a goal board, I was sent to a TitleMax store to act
like a potential customer with a LoanStar application. I was to present the application to the
TitleMax employee to find out what they would say about LoanStar. While in the TitleMax
store, I needed to use the restroom, and on my way back to the restroom I saw a goal board and
took a picture of it. I sent the picture to Jesse Anderson, who responded that I should try to take
photographs of as many other goal boards from TitleMax locations as I could. About a week
later. Brent Matthews, another Select Vice President, followed up with me to see how many
boards I was able to photograph and suggest where I could find more.
       15.     Over the span of a year. in 2011 and 2012. I visited TitlcMax stores in Texas
(including Arlington, Carrolton, Mesquite, and Garland), South Carolina (including Rock Hill,
Columbia, and Myrtle Beach), and Alabama (including Tuscaloosa and Birmingham). In total, I
visited approximately 75 TitleMax stores for the express purpose of photographing goal boards.
Of those 75 stores, I successfully photographed approximately 30 goal boards.
       16.     I photographed the goal boards with a smartphone provided to me by Select and I
used the email address provided to me by Select to transmit the photographs to Select Vice
President Jesse Anderson.
       17.     It is my understanding that gaining access to TitleMax non-public areas and
photographing TitleMax goal boards became a uniform practice of Select.
       18.     For example, in my last assignment with Select, I participated in a conference call
with Arca Managers in Ohio, shortly bcf ore TitleMax entered the Ohio market. During the call,
the Arca Managers were told by Select upper management that they should comply with Sclcct's
company-wide practice and direct their employees to enter TitlcMax stores under false pretenses
so that they could gain access to and photograph TitlcMax goal boards.
       19.     Another tactic that I observed was LoanMax employees using OMV records to
identify which competitor bought out their customers' loans in an effort to confirm whether
LoanMax was losing business to TitleMax.
       20.     I make this affidavit based upon my personal knowledge for use in this lawsuit
and for any legal purpose.




                                                3



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WITNESS my hand and seal.    this~~ of January, 2015.




Sworn to and subscribed before me
this    0    day of January, 2015.




_ ____L,~~~~~-!__County,                    P#
My commission expires -~S"~_-~!Jt:J
                                 __-~/;~b~




                               MICHAEL P. ROlfES
                              NOTARY PUBLIC· OHIO
                            COMMISSION #2011-RE-374728




                                                         4




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                EXHIBIT 2




                                                            APPENDIX 0222
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From:                                 William Purce <William.Purce@occc.texas.gov>
Sent:                                 Thursday, November 12, 2015 9:47 AM
To:                                   Victoria Newman
Subject:                              Re: Buyouts of Competitors



Dear Ms. Newman:

At this time, our agency has not issued any advisory bulletins on this issue related to credit access businesses (there are
some advisory letters dealing with regulated lenders and property tax lenders). However, our agency has investigated
this issue in the past and has instructed licensees to provide and accept the payoffs. Our analysis of this issue is very
similar to the analysis discussed in the South Carolina opinion letter.

Respectfully,




William Purce
Senior Administrative Review Examiner
Office of Consumer Credit Commissioner
2601 North Lamar Boulevard
Austin, Texas 78705
512.936.7626
wi ll iam.pu rce@ occc.texas.gov


EB DCCC:
TEXASOFFICf OF CONSUMER
CREDIT COMMISSlONER
    from:     Victoria Newman <Victor!a.Newrnan@titlemax.com >
    To:       'William Purce' <Wi ll iam.Purce@occc.texas.gov>
    Date:     11/12/2015 9:07 AM
    Subject: Buyouts of Competitors
   Hi William ,

   I hope you are doing well. A question came up that I would like your help resolving.

   I take the position that a buyout request from a customer should not be refused regardless of whether it's from a
   competitor. South Carolina has issued similar guidance on the matter (attached for your reference) . A refusal of the
   buyout (or failure to immediately return the title or provide a letter of guaranty) , in my opinion, would be akin to a
   prepayment penalty.

   Has the OCCC issued guidance on this issue before? I haven't found any but I could have missed it.

   Thanks,

   Victoria


   Victoria H. Newman
   Sr. Compliance and Corporate Counsel

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                                                                                                APPENDIX 0223
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TMX Finance
15 Bull Street, Ste 200
Savannah , GA 31401
Direct line: (912) 503-2824
Facsimile: (866) 591-4638
Email: vlctoria.newma n@titlemax. com

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mail in error, please notify me immediately by a return e-mail and delete this e-mail. You are hereby notified that any
dissemination, distribution or copying of this e-mail and/or any attachments thereto, is strictly prohibited .




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mail, any attachments, or the information contained therein, Is strictly prohibited. If you received this e-ma il and you are not an intended reci pient. please
Immediately notify TltleMax e-mail administrator at: abuse@titlemax.blz and permanently delete the original and any copy of this e-mail, any attachments,
and/or any printouts thereof."




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                                                                                                                                 APPENDIX 0224
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                                                                                                                                Con11uis:::i.iorn....'rs

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                                                                                                                              Johnny E. Sosebee
                              j19 epart1nent of QConsun1er %lffair%                                                                  Vic<> Chair
                                                                                                                                   Pied111011t
                                                        2221 DEVINE STREET, STE 200                                             Mark Hammond
                                                               PO BOX 5757                                                      Sec.retary nf State
                                                          COLUMBlA, SC 29250-5757                                                    Culumbia
Carri Grube Lybarker                                                                                                         Clifford Ray Keasler
                                                                                                                                   Myrtle Bead'
   Administrator
                                                                                                                               Terrell A. Parrish
                                                                                                                                        Grc•r
                                                                                                                                Magaly P. Penn
                                                                                                                                   Siiripsonvllle
                                                            September 12, 20 l4                                             W. Fred Pen;iington , Jr.
                                                                                                                                       Taylors


           Via Hand Delfrery and Electronic Mail

          Mr. Jim Copeland
          Acting Commissioner/ Assistant Commissioner
          Consumer Finance Division
          S.C. State Board of Financial Institutions
          1205 Pendleton Stree[, Suite 306
          Columbia. SC 2920 l

                      RE :    Opinion Request- Prepayment Penalties

           Dear Jim:

                  You have reques.tt!d an opinio n regmding practices employed by supervised lenders when
          a loan is being preJ?a.id by a third pruty on behalf of a consumer, the original debtor. Consumer
          credit b·ansa,ctions are governed by tbe s ·o uth Cm-olina Consumer Protecl.ion Code C'tbe 1Code"),
          S.C.      Code
                      Ann. sections 37-1.-101 et seq. 1 Right to prepay a consun.1ei: loan is addressed jn §-
          37-3-209 witl.1 prepayment of credit sales addressed in § 37-2-209. From the information you
          have provided, the following g uestion has been posed and will be addressed herein in the form of
          a general auswer that coul d change depending on specific circumsrnnces:

                              Can a lender subject to the Code charge a consurr1cr a different.inteiisi,
                              rate than currently being asses, ed and impose di'fferen't               terms
                                                                                             regai'<iing. .
                              accepted rnelhod of payment r oth rwi se impose varying contract .t.e @s
                              when a con nmer Joan is being µrepaid by a thir<i party o n behalf of the
                              consumer?

                 As Staled above,§ 37-3-209 governs the consumer's riglll to prepay a consumer loar1.
         The section specifical ly states: " .. , lhe debtor may prepay in foll the unpaid balance of a
         consumer Joa n, re.financing, or consolidatiun at. any lim e with ow penalty." (Emphasis added.) A
         "debtor" is defined as "any per. o.n who is an obligor in a credi t Lransactfon, including any
         cosignor, con'l.ak.er, guarantor, endorsee or surety, a11d the assignee of any obligor, and also
         includes any.person who agrees 10 a ·swne the p a,y m enl of a credit. obligati.on." (Empha is
         added .) See§ "7- l -.:>01(1 4). Last.Jy, "perso n" iuc ludcs not only an rndivid.ual, but an
         organization.. See§ 37-1 -301 (20). TL1e rig,ht of a dcbror L1 prepay a loan in foll without pcnaity
         cannot be waived. See§ 37 - 1-107(!).


          'fur1her reforc.n.ce to the Soutr1 Cari ilina Code of L1ws will be by Code scuion only.
ADMINISTRATOR                PUBLIC INFORMATION             CON SUMER ADVOCACY                 El FORCl:cMEN 1 I         CONSUMER COMPLAINTS
  803-734-4233                  (JQJ.734-4296                    80J·734-4 i!OO                INVESTIGATORS                  803-734-4200
  AC COUITTING                Fax: 803-734-4229               Fax; 803-734-4257                 003-734-4236                Fax: 603·734-4286
  303-734-4264                                                                                Fax : 1i03-7J4-428'f
Fax: 803-734-4209                       E-Mail: SCDCA@S CCON SUMER.GOV      Toll Frae in SC: 300 ·9 22 · 1~94
                                        WelJsi tc: WWW. CONS UMER .SC.GOV   Voice!rT: 800·735·2905

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                                                                                   September 12, 20 L4
                                                                                            Page 2 of 3
                                  ---~------                  ·- - -----·-··-.'

          The cardinal rule of statutory construction is to ascertain and effectuate the Legislature's
 .intent from the plain ianguage of the statute. ~11rns v. Stare FarmMuL Aulo J.n s. ·a., 297 S.C.
 520, 522, 377 S.E.2d 569, 570 ( 1989). The words of the statute must be given their plain and
 ord.inary meaning without resorting to subtle or forced construction to limit or expand i:he
 statute's operation. Hir.ach i Data Svs. Corp. v. Leatherman, 309 S.C. l 74, l 78, 420 S.E.2d
 843,846 ( 1992). Statutory provisions of the Code shall be libei;a.lly construed as well as applied
 to promote the Title's underlying purposes and policies.§ 37-1-102(1); Davis v. NationsCredit
 Financial ''ervic:es Coc:poratjon et al, 326 S.C. 83, 86, 484 S.E.2d 471,472 (1997). The pi"imary
 purpose of the Code is to protect consumers, as evidenced within relief provisions contained
 therein . Camp v. Springs M o rtga!!e Com. , 310 S.C. 514,516, 426 S.E.2d 304,305 (l 993) .
 Section 37- l- l02 further delineates the purposes and policies of the Code, including to foster
 competition among suppliers, protect borrowers against unfair practices and encourage fair and
 economically sound consumer credit practices. See§ 37-1-102(2)(c)-(e).

         The plain la11guage of the Code perm.its a d~b~or to prepay a loan in foll without incurring
 any type of penalty. Further, debtor is defined broadly to not only include the original consumer
 who has promised or otherwise is obligated to pay the debt, but to assignees and other persons
 who agree to assume responsibility of paying the debt as well, including an organization.

         In the scenario you provided, a lhird pait.y .js attempting to prepay a louo in full on behalf
 of the consumer. The Lender, however, conrracted for-altemate hiterest rate terms to apply ·
 should a Lhird party, including but nqt li.n).ited Jo, a bank, credit uniou, title loan, au tomobile
 dealership or insurance company pay off the Jo_ap. ill construing t:he scatutory language of lhe
 Code liberally lo effec tuate i.t.s pmposes and policies, the .Qepartment concludes such alternate
 terms would constitute a prepaym~nt penalty if the th.lrd party is aLi assignee of the obli ger or
 entered into an agreement to pay the loan. The third party nssuming t)lc obligation is considered
 the debtor and, thus, js entitled to pay off the loan under the same terms as the consumer \Vhom
 originaUy·incutred the debUobiigatjon. See§ 37-1-301(14).

        You have also posed a scenario wbereb y the Leuder-r-equires that the original debtor be
 presern at the tim e the third party pay~ off the loan. As expl~ined above, however, when the
third party assumed th e obligation , rhe third party is considered the debtor. If the Lender refuses
to accept paymen t from Lhe third pany on Lhe basis that the original debtor is not present, this
amounts to a violation § 37-3-209 as the Lender is depriving the debtor of the right to prepay.

         Lastly, you posed a sce nario whereby the Lender refuses to accept the same type of
payment method from a third party attempting to prepay a Loan in foll as it has previously
contracted for or otherwise accepted from the original deptor. While this may not be considered
a prepayment pemllty, the practice could constiture breach of contract if the contract delineates
the types of payment accepted or if the Lender bas previously, through a course of dealings,
accepted payment from th e original debtor via the same method the third party is attempting to
utilize. See§ 37··3-l03(3); Do wli n• v. C[iarlcslo n & W. C. Rv. 'o., 105 S.C. 475, 81 S.E. 313
(1913); \Veisz (.iraphics Div. v . Peck Indus tries , 304 S.C. lOJ, 403 S.E.2d 146 (Cl. /\pp. J991).




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                                                                               September 12, 2014
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                                                         ------ -- ---------~-




        When a deblor exercises the right to prepay pursuant to§ 37-3-209, please also be
minufuJ of other provisions of rbe Code governing prepayment. Section 37-3-210, for example,
regulates prepRyincnt rebates for consumer loans while§ 37~4-108 states the parameters for the
treatment of refunds of insurance premiums upon prepayment of a consumer loan.

        Pursuant lo sections 37-6-104(4) <ind 37-6-506(3), reliance upon an administrnlivc
imerpretatioo provjdes protection from any penalties authorized by the Code if tbe ad ministrative
interpretation is subseqllenlly declared invalid by a court or ls rescinded. Please do not hesitate
lo comact me directly at 803-734-4297 should you need any further informal.ion.




                         ~eJ:ox . D~
                                          Carri Grube Lybarker,   ~




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                EXHIBIT 3




                                                            APPENDIX 0228
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                                    CAUSE NO. 2013-33584

WELLSHIRE FINANCIAL                        §                IN THE DISTRICT COURT OF
SERVICES, LLC, ET AL.                      §
                                           §
v.                                         §                HARRIS COUNTY, TEXAS
                                           §
TMX FINANCE HOLDINGS,                      §
INC., ET AL.                               §                l 52"ct JUDICIAL DISTRICT

                              AFFIDAVIT OF JOHN SALINAS

STATE OF TEXAS                        §
                                      §
COUNTY OF HARRIS                      §

       Before me, the undersigned authority, appeared John Salinas, known to me to be the
person whose name is subscribed hereto and, after being duly sworn by me, stated as follows:

       1.      My name is John Salinas. I am over the age of 21 , of sound mind, and competent
to make this Affidavit.

       2.     I am a district manager of Defendant/Counterplaintiff TitleMax of Texas, Inc.
("TitleMax"). I have knowledge of the facts stated in this Affidavit through my role with
TitleMax, and each of the statements made below is based upon my knowledge.

        3.      This Affidavit concerns a very good, repeat TitleMax customer who was solicited
by Plaintiffs/Counterdefendants Wellshire Financial Services, LLC and Meadowwood Financial
Services, LLC ("LoanStar"). This customer highly values the customer's privacy and
confidentiality and insists on remaining anonymous. For ease of reference, the customer will be
referred to as "Peter," which is not the customer's real name.

         4.     On November 14, 2015, Peter called a TitleMax store in Pasadena, Texas to
obtain the minimum amount he would need to pay to refinance his loan. While he was on the
phone, he said that LoanStar called him a few days prior in an attempt to buyout his loan.
LoanStar referenced TitleMax; knew that Peter has a loan with TitleMax; told Peter that
LoanStar could offer him a better deal; and wanted to buyout Peter's loan with TitleMax. Peter
has not even told his own family that he has a loan with TitleMax and therefore he was very
concerned about how LoanStar obtained his information. He asked if TitleMax and LoanStar are
affiliated or if TitleMax sells or gives away its customers' information to LoanStar. He was
disturbed that LoanStar had obtained his information and he felt violated. He was also worried
that others would find out he has a title loan, which is a very personal matter for him.

        5.     Later that day when Peter arrived at the store to refinance his loan, he was still
upset that LoanStar had obtained his information to solicit his loan. He continued to discuss what
happened and he reiterated everything he reported in Paragraph 3. After some time and effort,




                                                                               APPENDIX 0229
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         Subscribed and sworn to before me by Joh Salina on this the 20th day of January, 2016,
to certify which witness my hand and seal of o flice


                                                           er./




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                                                                             APPENDIX 0230
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                                                                                                    By: KATINA WILLIAMS
                                                                                                Filed: 2/3/2017 7:18:10 PM

                                      CAUSE NO. 2013-33584

WELLSHIRE FINANCIAL     § IN THE DISTRICT COURT OF
SERVICES, LLC, ET AL.   §
                        §
v.                      § HARRIS COUNTY, TEXAS
                        §
TMX FINANCE LLC, ET AL. § 152nd JUDICIAL DISTRICT
———————————————————————————————————

TITLEMAX OF TEXAS, INC., and                  §
TMX FINANCE OF TEXAS, INC.                    §
                                              §
v.                                            §
                                              §
WELLSHIRE FINANCIAL SERVICES,                 §
LLC and MEADOWWOOD                            §
FINANCIAL SERVICES, LLC                       §
———————————————————————————————————————
         DEFENDANTS TMX FINANCE OF TEXAS, INC .; TITLEMAX
            OF TEXAS , INC .; AND TMX FINANCE LLC’S THIRD
           AMENDED ANSWER AND AFFIRMATIVE DEFENSES
———————————————————————————————————————
         Defendants TMX Finance of Texas, Inc.; TitleMax of Texas, Inc.; and TMX Finance LLC

(collectively, “Defendants”) submit this Third Amended Answer and Affirmative Defenses to the

Second Amended Petition, and all amendments and supplements thereto (the “Petition”), filed by

Plaintiffs Wellshire Financial Services, LLC; Meadowwood Financial Services, LLC; and Integrity

Texas Funding, LP (collectively, “Plaintiffs”).

                                             I.
                                       GENERAL DENIAL

         In accordance with the rights granted to Defendants by Rule 92 of the Texas Rules of Civil

Procedure, Defendants generally deny each and every material allegation contained in Plaintiffs’

Petition and demand that Plaintiffs be required to prove their charges and allegations against

Defendants as required by the Constitution and the laws of the State of Texas.




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                                              II.
                                     AFFIRMATIVE DEFENSES

        1.       The Petition fails to state a claim upon which relief may be granted.

        2.       Plaintiffs’ claims are barred because the acts complained of in the Petition did not

cause Plaintiffs’ alleged injuries or losses.

        3.       Plaintiffs’ claims are barred in whole or in part by the affirmative defenses of

justification or privilege.

        4.       Plaintiffs’ damages, if any, were proximately caused in whole or in part by the acts or

omissions of negligence or other bad conduct of other parties or third parties over whom Defendants

had no control or right of control or that were acting outside the scope of employment.

        5.       Plaintiffs’ claims are barred in whole and in part by the affirmative defense of

independent discovery or development without use of improper means.

        6.       Plaintiffs’ claims are barred due to Plaintiffs’ own actions, failure to act, negligence

and/or legal fault.

        7.       Defendants acted in good faith and not with willful or reckless disregard of the law.

        8.       Plaintiffs’ claims are barred in whole or in part by the doctrine of unclean hands.

        9.       Defendants assert the affirmative defenses of res judicata and collateral estoppel.

        10.      Plaintiffs’ claims are barred at least in part by the applicable statutes of limitation.

        11.      Plaintiffs’ claims are barred by application of the doctrine of laches.

        12.      Plaintiffs’ claim for punitive damages should be dismissed to the extent an award of

punitive damages would violate the U.S. Constitution or other applicable law.

        13.      Plaintiffs’ trespass claim is barred in whole or in part by application of the innocent

trespasser doctrine.




                                                      2

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        14.     Plaintiffs’ trespass claim is barred in whole or in part by effect of permission or

invitation.

        15.     Defendants assert any other affirmative defenses to which they are entitled.

                                                  III.
                                                PRAYER

        Defendants pray that: (1) Plaintiffs take nothing by this suit; (2) Defendants recover their

attorneys’ fees, costs, and expenses incurred in this suit; and (3) Defendants have such other and

further relief to which they may be entitled.

Dated: February 3, 2017
                                                   Respectfully submitted,

                                                   HOLLAND & KNIGHT LLP

                                                   By: /s/ L. Bradley Hancock
                                                   L. Bradley Hancock
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                                                   GREENBERG TRAURIG, L.L.P.

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                                                   713-374-3500 - Telephone
                                                   713-374-3505 - Facsimile

                                                      COUNSEL FOR DEFENDANTS TMX
                                                      FINANCE OF TEXAS, INC.; TITLEMAX OF
                                                      TEXAS, INC.; TMX FINANCE LLC; AND
                                                      TMX FINANCE HOLDINGS, INC.



                                                  3

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                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was served on all counsel of record in
accordance with the Texas Rules of Civil Procedure on the 3rd day of February, 2017.

                                                  /s/ Christopher David Johnsen
                                                  Christopher David Johnsen




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                                                                              Chris Daniel - District Clerk Harris County
                                                                                                Envelope No. 15134427
                                                                                                 By: KATINA WILLIAMS
                                     CAUSE NO. 2013-33584                                    Filed: 2/3/2017 7:14:09 PM


 WELLSHIRE FINANCIAL     § IN THE DISTRICT COURT OF
 SERVICES, LLC, ET AL.   §
                         §
 v.                      § HARRIS COUNTY, TEXAS
                         §
 TMX FINANCE LLC, ET AL. § 152nd JUDICIAL DISTRICT
 ———————————————————————————————————

 TITLEMAX OF TEXAS, INC., and                 §
 TMX FINANCE OF TEXAS, INC.                   §
                                              §
 v.                                           §
                                              §
 WELLSHIRE FINANCIAL SERVICES,                §
 LLC and MEADOWWOOD                           §
 FINANCIAL SERVICES, LLC                      §
 ———————————————————————————————————
                     THIRD AMENDED COUNTERCLAIM
 ———————————————————————————————————
        Defendants/Counterplaintiffs TitleMax of Texas, Inc. and TMX Finance of Texas,

 Inc. (collectively, “TitleMax”) bring this Third Amended Counterclaim against

 Plaintiffs/Counterdefendants Wellshire Financial Services, LLC and Meadowwood Financial

 Services, LLC (collectively, “LoanStar”).

                                             I.
                                          PARTIES

        1.      Defendant/Counterplaintiff TitleMax of Texas, Inc. (“TitleMax of Texas”)

 is a Delaware corporation with its principal place of business in Texas. TitleMax of Texas

 assists Texas customers in obtaining loans through third-party lenders. TitleMax of Texas

 was sued by LoanStar in this lawsuit.

        2.      Defendant/Counterplaintiff TMX Finance of Texas, Inc. (“TMX Finance of

 Texas”) is a Delaware corporation with its principal place of business in Texas. TMX Finance

 of Texas provides direct lending services to Texas customers. TMX Finance of Texas was

 sued by LoanStar in this lawsuit.




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         3.      Plaintiff/Counterdefendant Wellshire Financial Services, LLC (“Wellshire”)

 is a Georgia limited liability company. Wellshire is a competitor of TitleMax of Texas that

 operates in Texas as LoanStar.

         4.      Plaintiff/Counterdefendant     Meadowwood        Financial    Services,   LLC

 (“Meadowwood”) is a Georgia limited liability company. Meadowwood is a competitor of

 TitleMax of Texas that operates in Texas as LoanStar.

                                              II.
                                            FACTS

         5.      TitleMax of Texas is a credit services organization (“CSO”). As a CSO,

 TitleMax of Texas assists customers in obtaining loans through third-party lenders. Namely,

 TitleMax of Texas connects a customer with a lender who, with the CSO, will secure a loan

 by placing a lien on the customer’s vehicle. In addition to arranging for title loans, TitleMax

 of Texas will also help a customer refinance a pre-existing loan arranged by another CSO

 (such as a title loan previously arranged by LoanStar). TitleMax of Texas is compensated

 through CSO fees paid by the customer.

         6.      TMX Finance of Texas is a direct lender which makes loans directly to

 customers. TMX Finance of Texas is compensated through finance charges paid by the

 customer.

         7.      TitleMax’s business is affected by facilitating or making title loans;

 refinancing title loans; facilitating or making additional loans; and receiving referrals from

 existing customers. LoanStar is in the same line of business as TitleMax and directly or

 indirectly competes with TitleMax.

         8.      Since TitleMax has entered the Texas market, it has taken a portion of

 LoanStar’s market share through lawful competition. Among other things, TitleMax engages

 in substantial advertising and marketing and generally offers its customers lower rates. On


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 the other hand, LoanStar does little to no advertising and marketing and generally has higher

 rates than TitleMax. LoanStar filed this lawsuit against TitleMax in an attempt to harass

 TitleMax and obtain through litigation what LoanStar cannot gain through lawful

 competition. To this day—years after filing the lawsuit—LoanStar has still not identified one

 individual it lost due to TitleMax’s alleged acts.

         9.      In addition to filing this lawsuit, LoanStar has engaged in a campaign of

 corporate espionage against TitleMax. LoanStar has stolen TitleMax’s proprietary

 confidential financial and store-profitability information and has interfered with TitleMax’s

 contracts, customers, and business relations by refusing to provide Letters of Guarantee and

 by using driving records to solicit TitleMax’s customers.

 A.      LoanStar has entered TitleMax’s non-public areas under false pretenses to
         steal its confidential information.

         10.     LoanStar has entered non-public areas within TitleMax stores posing as

 potential customers or other third parties and, using recording devices, unlawfully and

 improperly taken TitleMax’s proprietary confidential financial and store-profitability

 information. Additionally, LoanStar has taken pictures of TitleMax’s goal boards and

 surrounding reports hung next to the goal boards, which contain store-profitability

 information, circumventing the need for LoanStar to do their own marketing and business

 analysis. See generally Affidavit of Zachary Farmer, attached as Exhibit 1. LoanStar has taken

 TitleMax’s confidential business information to attempt to undermine TitleMax, gain an

 unfair competitive advantage, and increase LoanStar’s competitiveness in the marketplace.

 Upon information and belief, LoanStar used TitleMax’s confidential information to

 determine, among other things, where to put new stores and where not to put new stores,

 whether to renew leases, how to staff stores, where to conduct marketing, and product

 performance.



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 B.      LoanStar has interfered with TitleMax’s contracts and business relationships
         by refusing to return titles and/or provide Letters of Guarantee within a
         reasonable period of time.

         11.      Additionally, LoanStar has refused to return titles to customers and/or

 provide Letters of Guarantee to TitleMax within a reasonable period of time, substantially

 interfering with TitleMax’s contracts and current and prospective business relationships.

 Customers have the right to do business with the lender or CSO of their choice. A customer

 has the option to pay the entirety of an existing loan by using funds obtained from another

 lender (a situation commonly referred to as a “Buyout”). To perform a Buyout in the industry

 custom, the new CSO or lender obtains from the original CSO or lender either the title to

 the vehicle or a Letter of Guarantee of title ensuring that clear title to the vehicle will be

 released upon full payment of the original title loan. The new CSO or new lender steps into

 the shoes of the customer during the Buyout process. See generally confirmation

 correspondence from the Texas Office of Consumer Credit Commissioner and the State of

 South Carolina Department of Consumer Affairs, attached as Exhibit 2.

         12.      When customers desire to pay off their loans, Texas law requires a lienholder

 to provide a release of lien and title within a reasonable time. Because customers need the

 money immediately and may not have the requisite credit, time, or resources to use traditional

 banking to pay off the loan, Letters of Guarantee are commonly employed in the Texas title

 loan industry to expedite and facilitate Buyouts. When a customer is unable to obtain an

 immediate release of title or a Letter of Guarantee, the customer is prevented from

 contracting with a new CSO or new lender and is essentially held hostage. This effectively

 results in a prepayment penalty to the customer and violates the CSO’s or lender’s duty to

 provide a release of lien and title or its equivalent. See id.

         13.      Knowing the foreseeable damages to the customer and the new title

 company, LoanStar has refused to return titles to TitleMax customers during Buyouts.

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 Instead, LoanStar claims that the titles are at its corporate office in Georgia. In fact, LoanStar

 intentionally moved its titles to Georgia to attempt to thwart Buyouts by TitleMax. Any

 LoanStar policy to maintain titles in Georgia was targeted at TitleMax.

         14.     Additionally, LoanStar has refused to provide Letters of Guarantee to

 TitleMax or its customers. This is also a LoanStar policy designed by frustrate Buyouts. By

 refusing to provide either the title or the Letter of Guarantee, the Buyout transactions cannot

 be completed, the existing loans cannot be bought out or paid off, and TitleMax loses those

 customers and the related goodwill. Moreover, because customers sometimes choose to

 refinance their title loans, losing that customer may result in not only the loss of the initial

 contract, but also future contracts (such as refinancing loans or arranging additional loans)

 with that customer. This is notwithstanding any potential referrals that the new customer

 may send to TitleMax.

         15.     In addition to refusing to return titles and provide Letters of Guarantee to

 TitleMax and its customers within a reasonable period of time, LoanStar has engaged in

 independently tortious and unlawful conduct. Among other things, LoanStar breached their

 duty of care owed to TitleMax; lied to TitleMax’s customers about its business and practices,

 such as by falsely telling customers that TitleMax repossesses vehicles as early as one to two

 days into delinquency; and engaged in deceptive and unfair business practices.

         16.     The Deceptive Trade Practices and Consumer Protection Act (the “DTPA”)

 provides that it is a violation to use false, misleading, or deceptive acts or practices including

 but not limited to representing that an agreement confers or involves rights, remedies, or

 obligations which it does not have or involve, or which are prohibited by law. See TEX. BUS.

 & COMMERCE CODE § 17.46(b)(12). By failing to provide Letters of Guarantee, LoanStar is

 intentionally and knowingly denying their customers the right to prepay their loans pursuant

 to their contracts, which is a violation of the DTPA. See TEX. BUS. & COMMERCE CODE §

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 17.45(9), (13). Moreover, given the urgency by which many title loan customers need to pay

 off their loan, LoanStar’s refusal amounts to an unconscionable action or course of action.

 See TEX. BUS. & COMMERCE CODE § 17.45(5).

 C.        LoanStar has accessed and used driving records to interfere with TitleMax of
           Texas’s customers, contracts, and prospective business relations.

           17.    Despite vigorously accusing TitleMax of Texas of using driving records to

 solicit customers, it has been discovered that LoanStar has been actively engaged in the same

 conduct in which they allege TitleMax of Texas was engaged. TitleMax of Texas recently

 learned that LoanStar appears to have accessed and used driving records to interfere with

 TitleMax of Texas’s customers, contracts, and prospective business relations. See generally

 Affidavit of John Salinas, attached as Exhibit 3. One such customer, who highly values

 privacy and confidentiality and insists on remaining anonymous, was contacted and solicited

 by LoanStar. Id. at ¶¶ 2-3. LoanStar was aware of the existing TitleMax of Texas loan; told

 the customer LoanStar could offer a better deal; and offered to Buyout the loan. Id. at ¶ 3.

 The customer had not told anyone else about the loan, and upon information and belief,

 LoanStar could have only determined its existence through the use of driving records. Id.

 at ¶ 3.

                                         III.
                                    COUNTERCLAIMS

            COUNT I—TORTIOUS INTERFERENCE WITH EXISTING CONTRACTS

           18.    TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

           19.    TitleMax had valid contracts with customers.

           20.    LoanStar knew of these contracts and willfully and intentionally interfered

 with them, as discussed above.

           21.    LoanStar’s interferences proximately caused TitleMax injury.


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          22.    TitleMax incurred actual damage or loss, including but not limited to lost

 profits, loss of goodwill, and loss of future contracts and business prospects.

          23.    LoanStar’s actions were malicious or wanton, and therefore TitleMax

 specifically requests an award of exemplary damages.

          COUNT II—TORTIOUS INTERFERENCE WITH PROSPECTIVE RELATIONS

          24.    TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

          25.    TitleMax had a reasonable probability that potential customers would have

 entered into business relationships with TitleMax.

          26.    LoanStar either acted with a conscious desire to prevent the relationship

 from occurring or knew the interference was certain or substantially certain to occur as a

 result of the conduct.

          27.    LoanStar’s actions were independently tortious and/or unlawful, as discussed

 above.

          28.    LoanStar’s interferences proximately caused TitleMax injury.

          29.    TitleMax incurred actual damage or loss, including but not limited to lost

 profits, loss of goodwill, and loss of future contracts and business prospects.

          30.    LoanStar’s actions were malicious or wanton, and therefore TitleMax

 specifically requests an award of exemplary damages.

                                  COUNT III—CONVERSION

          31.    TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

          32.    LoanStar has wrongly asserted dominion over TitleMax’s property, namely

 its proprietary confidential financial and store-profitability information, inconsistent with

 TitleMax’s right of ownership.


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         33.     TitleMax owns and has the right to possess its proprietary confidential

 financial and store-profitability information.

         34.     LoanStar unlawfully and knowingly came into actual possession of

 TitleMax’s proprietary confidential financial and store-profitability information.

         35.     LoanStar knowingly used TitleMax’s proprietary confidential financial and

 store-profitability information for their own benefit. The conversion harmed TitleMax.

         36.     LoanStar’s actions demonstrate willful misconduct, malice, fraud,

 wantonness, oppression, or that entire want of care which would raise the presumption of

 conscious indifference to consequences sufficient to justify an award of punitive damages.

                             COUNT IV—THEFT OF PROPERTY

         37.     TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

         38.     LoanStar has committed theft regarding TitleMax’s property, namely its

 proprietary confidential financial and store-profitability information.

         39.     TitleMax owns and has a possessory right over its proprietary confidential

 financial and store-profitability information.

         40.     LoanStar unlawfully and knowingly appropriated TitleMax’s proprietary

 confidential financial and store-profitability information.

         41.     TitleMax did not consent to LoanStar’s taking of the property.

         42.     LoanStar’s theft has harmed TitleMax.

         43.     LoanStar’s actions demonstrate willful misconduct, malice, fraud,

 wantonness, oppression, or that entire want of care which would raise the presumption of

 conscious indifference to consequences sufficient to justify an award of punitive damages.

                           COUNT V—DECLARATORY JUDGMENT

         44.     TitleMax incorporates the foregoing allegations as if fully set forth in this

                                                  8

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 Paragraph.

         45.     A declaratory judgment would resolve a judicial controversy regarding the

 rights, obligations, and statuses of the parties.

         46.     TitleMax seeks a declaratory judgment pursuant to Chapter 37 of the Texas

 Civil Practice and Remedies Code declaring that:

                 a. when a debtor pays off a title loan, the title-loan company must, within a

                     reasonable period of time, either return the title to the vehicle or provide

                     its equivalent, such as a letter of guarantee;

                 b. title loans may be paid off by a customer or anyone acting on their behalf

                     with cash or any other contractual payment option;

                 c. title-loan companies must maintain titles to vehicles at the stores in which

                     the customers tendered such titles as security for the loans;

                 d. when a debtor seeks to pay off a title loan with funds obtained, directly

                     or indirectly, from a competitor title-loan company, the competitor

                     assumes the legal rights of the debtor;

                 e. title-loan companies must accept powers of attorney authorizing a

                     competitor title-loan company to perform all acts necessary to

                     consummate a Buyout;

                 f. title-loan companies have the right to accompany their customers to a

                     competitor title-loan company for the purpose of consummating a

                     Buyout;

                 g. so long as they do not breach the peace, title-loan companies have the

                     right to enter the parking lots and other public areas of a competitor title-

                     loan company;

                 h. title-loan companies do not have the right to enter non-public areas of a

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                  competitor title-loan company under false pretenses for the purpose of

                  surreptitiously misappropriating confidential information; and

             i.   title-loan companies have the right to offer promotional credits or other

                  compensation for referrals, so long as such referrals were not obtained

                  through improper means.

                            IV.
    APPLICATION FOR TEMPORARY AND PERMANENT INJUNCTION

       47.   TitleMax asks that the Court enjoin LoanStar from:

             a. refusing to return titles to customers within a reasonable period of time

                  from a Buyout;

             b. refusing to provide Letters of Guarantee to customers or TitleMax within

                  a reasonable period of time from a Buyout;

             c. soliciting TitleMax’s customers through the use of Department of Motor

                  Vehicle records or any other database containing any publicly available

                  driver’s information;

             d. entering non-public areas within TitleMax stores under false pretenses;

             e. refusing to accept contractual payment methods for a Buyout;

             f. moving titles to vehicles from the stores in which the customers tendered

                  such titles as security for the loans in the hopes of thwarting a Buyout;

             g. refusing to accept powers of attorney authorizing a competitor title-loan

                  company to perform all acts necessary to consummate a Buyout;

             h. refusing to allow a competitor title-loan company to accompany its

                  customers during a Buyout; and

             i.   refusing to allow a competitor title-loan company to enter LoanStar’s

                  parking lots and other public areas, so long as the competitor does not


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                      breach the peace.

         48.     A temporary injunction is proper to preserve the status quo pending a trial

 on the merits. Butnaru v. Ford Motor Co., 84 S.W.3d 198, 204 (Tex. 2002). An applicant must

 demonstrate: “(1) a cause of action against the defendant; (2) a probable right to the relief

 sought; and (3) a probable, imminent, and irreparable injury in the interim.” Id.; see also Tex.

 Civ. Prac. & Rem. Code Ann. § 65.011. “Irreparable injury” exists where damages cannot be

 measured by any “certain pecuniary standard.” Butnaru, 84 S.W.3d at 204. Interference with

 business relationships and attempting to acquire a party’s customers and confidential

 information is sufficient to cause “imminent and irreparable harm of a kind that would not

 be fairly compensable following trial.” See Jenkins v. Transdel Corp., No. 03-04-00033-CV, 2004

 WL 1404364, at *3 (Tex. App.—Austin 2004, no pet.) (mem. op.); see also RenewData Corp. v.

 Strickler, No. 03-05-00273-CV, 2006 WL 504998, at *15-16 (Tex. App.—Austin Mar. 3, 2006,

 no pet.) (mem. op.) (“Because it is difficult to assign a dollar value to loss of customer

 goodwill and clientele, it constitutes an irreparable injury.”). Thus, the Court should enter a

 temporary injunction.

         49.     TitleMax further requests the entry of a permanent injunction following a

 trial on the merits. TitleMax requests the Court set this request for a full trial on the merits.

                                        V.
                               CONDITIONS PRECEDENT

         50.     All conditions precedent to TitleMax’s claims for relief have been performed

 or have occurred.

                                              VI.
                                            PRAYER

         51.     WHEREFORE, TitleMax prays for the following relief as discussed herein:

                 a.      actual damages;

                 b.      exemplary damages;

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              c.     declaratory judgment;

              d.     temporary and permanent injunctive relief;

              e.     prejudgment and post-judgment interest at the highest rate allowable
                     by law;

              f.     court costs;

              g.     attorney’s fees; and

              h.     such other and further relief as the Court deems just and proper.

       Dated: February 3, 2017

                                                 Respectfully submitted,

                                                 HOLLAND & KNIGHT LLP

                                                 By: /s/ L. Bradley Hancock
                                                 L. Bradley Hancock
                                                 State Bar No. 00798238
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                                                 COUNSEL FOR DEFENDANTS
                                                 TMX FINANCE OF TEXAS, INC.;
                                                 TITLEMAX OF TEXAS, INC.; TMX
                                                 FINANCE LLC; AND TMX
                                                 FINANCE HOLDINGS, INC.




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                           CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing was served on all counsel of
 record in accordance with the Texas Rules of Civil Procedure on the 3rd day of February,
 2017.

                                                   /s/ Christopher David Johnsen
                                                   Christopher David Johnsen




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                EXHIBIT 1




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                        IN THE SUPERIOR COURT OF FULTON COUNTY
                                   STATE OF GEORGIA


DRUMMOND FINANCIAL SERVICES,                    )
LLC; et al.,                                    )
                                                )
          Plaintiffs,                           )
                                                )       CIVIL ACTION FILE
v.                                              )       NO.: 2014cv253677
                                                )
TMX FINANCE HOLDINGS, INC.; et al., )
                                                )
          Defendants.                           )

                               AFFIDAVIT OF ZACHARY FARMER

          Personally appeared before the undersigned ZACHARY FARMER who, after being duly
sworn, testified and said on oath as follows:
          1.      I am Zachary Farmer, an individual resident of the State of Ohio.
          2.      I am over 21 years of age and competent in all respects to give testimony in this
matter.
          3.      On December 10, 2014, I interviewed for a position with TitleMax. During the
interview, I voluntarily disclosed the information that is substantially repeated in this Affidavit.
TitleMax has not offered me anything of value in exchange for the information contained in this
Affidavit.
          4.      From February 2009 through November 14, 2014, I was an employee of
Wellshire Financial Services, LLC and Drummond Financial Services, LLC, companies owned
by Select Management Resources LLC ("Select"). I worked in stores doing business as
"LoanStar Title Loans," "North American Title Loans," and "LoanMax."
          5.      From August 2010 through June 2012, I was employed as an Operations
Specialist.
          6.      As an Operations Specialist, I traveled around the country, filling in at short-
staffed stores, consulting. detecting fraud, assisting with staffing decisions, and identifying
sponsorship opportunities. One primary task as an Operations Specialist was to improve Select' s
competitiveness in the marketplace, specifically with respect to Selcct's primary competitor,



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                                                                                  APPENDIX 0249
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TitleMax.       I reported to Jesse Anderson, Brent Matthews, and Berk Jolly, who were Vice
Presidents of Select.
          7.      As an Operations Specialist, I used several different tactics to gain competitive
advantages for Select over TitleMax.
          8.      For example, I would pretend to be a customer and go into TitleMax stores to talk
with their employees in an effort to determine what TitleMax was offering customers. I would
also pretend to be a LoanMax customer seeking a better deal from TitleMax in order to see what
terms they might offer. I would present TitleMax employees with a LoanMax application and
try to coax them to talk about LoanMax.
          9.      I would also carry a concealed recording device to record my interactions with
TitleMax employees. I would then mail the recording to Select Vice President Jesse Anderson at
Select's corporate office in Alpharetta, Georgia.
          10.     As another example, I would pose as a repo-man seeking to do business with
TitleMax and would ask TitleMax store managers how many repossessions they had during a
specific period.     TitleMax managers would often provide that information assuming I was
actually in the repossession business.
          11.     Another tactic that I used to gain competitive advantage for Select, was to gain
access to and photograph TitleMax "goal boards." Each TitleMax store had a goal board. The
goal boards were typically located in back rooms of TitleMax stores, which were not open to the
public.
          12.     A goal board typically listed a TitlcMax store's financial performance goals for
the month, the actual financial results from previous months, and the month-to-date financial
results. The more established TitleMax stores would have more financial data on their goal
boards. I would send the photographs of the goal boards electronically to Select Vice President
Jesse Anderson. The data helped Select determine whether to open a Select-branded store in the
immediate area to compete with TitleMax.
          13.     My method for gaining access to the goal boards was to pose as a potential
customer and ask a TitleMax employee if I might use the store's restroom. I would then access
the private back office business area and take pictures of the store's goal board as I pretended to
look for the restroom. I then emailed the photographs to Select Vice President Jesse Anderson.



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       14.     The first time I photographed a goal board, I was sent to a TitleMax store to act
like a potential customer with a LoanStar application. I was to present the application to the
TitleMax employee to find out what they would say about LoanStar. While in the TitleMax
store, I needed to use the restroom, and on my way back to the restroom I saw a goal board and
took a picture of it. I sent the picture to Jesse Anderson, who responded that I should try to take
photographs of as many other goal boards from TitleMax locations as I could. About a week
later. Brent Matthews, another Select Vice President, followed up with me to see how many
boards I was able to photograph and suggest where I could find more.
       15.     Over the span of a year. in 2011 and 2012. I visited TitlcMax stores in Texas
(including Arlington, Carrolton, Mesquite, and Garland), South Carolina (including Rock Hill,
Columbia, and Myrtle Beach), and Alabama (including Tuscaloosa and Birmingham). In total, I
visited approximately 75 TitleMax stores for the express purpose of photographing goal boards.
Of those 75 stores, I successfully photographed approximately 30 goal boards.
       16.     I photographed the goal boards with a smartphone provided to me by Select and I
used the email address provided to me by Select to transmit the photographs to Select Vice
President Jesse Anderson.
       17.     It is my understanding that gaining access to TitleMax non-public areas and
photographing TitleMax goal boards became a uniform practice of Select.
       18.     For example, in my last assignment with Select, I participated in a conference call
with Arca Managers in Ohio, shortly bcf ore TitleMax entered the Ohio market. During the call,
the Arca Managers were told by Select upper management that they should comply with Sclcct's
company-wide practice and direct their employees to enter TitlcMax stores under false pretenses
so that they could gain access to and photograph TitlcMax goal boards.
       19.     Another tactic that I observed was LoanMax employees using OMV records to
identify which competitor bought out their customers' loans in an effort to confirm whether
LoanMax was losing business to TitleMax.
       20.     I make this affidavit based upon my personal knowledge for use in this lawsuit
and for any legal purpose.




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                                                                                APPENDIX 0251
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WITNESS my hand and seal.    this~~ of January, 2015.




Sworn to and subscribed before me
this    0    day of January, 2015.




_ ____L,~~~~~-!__County,                    P#
My commission expires -~S"~_-~!Jt:J
                                 __-~/;~b~




                               MICHAEL P. ROlfES
                              NOTARY PUBLIC· OHIO
                            COMMISSION #2011-RE-374728




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                                                             APPENDIX 0252
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                EXHIBIT 2




                                                            APPENDIX 0253
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From:                                 William Purce <William.Purce@occc.texas.gov>
Sent:                                 Thursday, November 12, 2015 9:47 AM
To:                                   Victoria Newman
Subject:                              Re: Buyouts of Competitors



Dear Ms. Newman:

At this time, our agency has not issued any advisory bulletins on this issue related to credit access businesses (there are
some advisory letters dealing with regulated lenders and property tax lenders). However, our agency has investigated
this issue in the past and has instructed licensees to provide and accept the payoffs. Our analysis of this issue is very
similar to the analysis discussed in the South Carolina opinion letter.

Respectfully,




William Purce
Senior Administrative Review Examiner
Office of Consumer Credit Commissioner
2601 North Lamar Boulevard
Austin, Texas 78705
512.936.7626
wi ll iam.pu rce@ occc.texas.gov


EB DCCC:
TEXASOFFICf OF CONSUMER
CREDIT COMMISSlONER
    from:     Victoria Newman <Victor!a.Newrnan@titlemax.com >
    To:       'William Purce' <Wi ll iam.Purce@occc.texas.gov>
    Date:     11/12/2015 9:07 AM
    Subject: Buyouts of Competitors
   Hi William ,

   I hope you are doing well. A question came up that I would like your help resolving.

   I take the position that a buyout request from a customer should not be refused regardless of whether it's from a
   competitor. South Carolina has issued similar guidance on the matter (attached for your reference) . A refusal of the
   buyout (or failure to immediately return the title or provide a letter of guaranty) , in my opinion, would be akin to a
   prepayment penalty.

   Has the OCCC issued guidance on this issue before? I haven't found any but I could have missed it.

   Thanks,

   Victoria


   Victoria H. Newman
   Sr. Compliance and Corporate Counsel

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                                                                                                APPENDIX 0254
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TMX Finance
15 Bull Street, Ste 200
Savannah , GA 31401
Direct line: (912) 503-2824
Facsimile: (866) 591-4638
Email: vlctoria.newma n@titlemax. com

PRIVILEGED AND CONFIDENTIAL: This e-mail and any attachments hereto are intended only for use by the
addressee(s) named herein and may contain privileged and/or confidential information. If you have received th is e-
mail in error, please notify me immediately by a return e-mail and delete this e-mail. You are hereby notified that any
dissemination, distribution or copying of this e-mail and/or any attachments thereto, is strictly prohibited .




"NOTE: This e-mail, any attachments, and the information contained therein are confidential. The information contained in this email and/or any attachments
is intended only for use by the intended recipient(s) and may contain trade secret or otherwise proprietary information of TMX Finance LLC and/or its
affiliates and subsidiaries (collectively, "TitleMax"). If you are not the intended recipient of this e-mail, any use , dlsseminallon, distribution or copying of this e-
mail, any attachments, or the information contained therein, Is strictly prohibited. If you received this e-ma il and you are not an intended reci pient. please
Immediately notify TltleMax e-mail administrator at: abuse@titlemax.blz and permanently delete the original and any copy of this e-mail, any attachments,
and/or any printouts thereof."




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                                                                                                                              Johnny E. Sosebee
                              j19 epart1nent of QConsun1er %lffair%                                                                  Vic<> Chair
                                                                                                                                   Pied111011t
                                                        2221 DEVINE STREET, STE 200                                             Mark Hammond
                                                               PO BOX 5757                                                      Sec.retary nf State
                                                          COLUMBlA, SC 29250-5757                                                    Culumbia
Carri Grube Lybarker                                                                                                         Clifford Ray Keasler
                                                                                                                                   Myrtle Bead'
   Administrator
                                                                                                                               Terrell A. Parrish
                                                                                                                                        Grc•r
                                                                                                                                Magaly P. Penn
                                                                                                                                   Siiripsonvllle
                                                            September 12, 20 l4                                             W. Fred Pen;iington , Jr.
                                                                                                                                       Taylors


           Via Hand Delfrery and Electronic Mail

          Mr. Jim Copeland
          Acting Commissioner/ Assistant Commissioner
          Consumer Finance Division
          S.C. State Board of Financial Institutions
          1205 Pendleton Stree[, Suite 306
          Columbia. SC 2920 l

                      RE :    Opinion Request- Prepayment Penalties

           Dear Jim:

                  You have reques.tt!d an opinio n regmding practices employed by supervised lenders when
          a loan is being preJ?a.id by a third pruty on behalf of a consumer, the original debtor. Consumer
          credit b·ansa,ctions are governed by tbe s ·o uth Cm-olina Consumer Protecl.ion Code C'tbe 1Code"),
          S.C.      Code
                      Ann. sections 37-1.-101 et seq. 1 Right to prepay a consun.1ei: loan is addressed jn §-
          37-3-209 witl.1 prepayment of credit sales addressed in § 37-2-209. From the information you
          have provided, the following g uestion has been posed and will be addressed herein in the form of
          a general auswer that coul d change depending on specific circumsrnnces:

                              Can a lender subject to the Code charge a consurr1cr a different.inteiisi,
                              rate than currently being asses, ed and impose di'fferen't               terms
                                                                                             regai'<iing. .
                              accepted rnelhod of payment r oth rwi se impose varying contract .t.e @s
                              when a con nmer Joan is being µrepaid by a thir<i party o n behalf of the
                              consumer?

                 As Staled above,§ 37-3-209 governs the consumer's riglll to prepay a consumer loar1.
         The section specifical ly states: " .. , lhe debtor may prepay in foll the unpaid balance of a
         consumer Joa n, re.financing, or consolidatiun at. any lim e with ow penalty." (Emphasis added.) A
         "debtor" is defined as "any per. o.n who is an obligor in a credi t Lransactfon, including any
         cosignor, con'l.ak.er, guarantor, endorsee or surety, a11d the assignee of any obligor, and also
         includes any.person who agrees 10 a ·swne the p a,y m enl of a credit. obligati.on." (Empha is
         added .) See§ "7- l -.:>01(1 4). Last.Jy, "perso n" iuc ludcs not only an rndivid.ual, but an
         organization.. See§ 37-1 -301 (20). TL1e rig,ht of a dcbror L1 prepay a loan in foll without pcnaity
         cannot be waived. See§ 37 - 1-107(!).


          'fur1her reforc.n.ce to the Soutr1 Cari ilina Code of L1ws will be by Code scuion only.
ADMINISTRATOR                PUBLIC INFORMATION             CON SUMER ADVOCACY                 El FORCl:cMEN 1 I         CONSUMER COMPLAINTS
  803-734-4233                  (JQJ.734-4296                    80J·734-4 i!OO                INVESTIGATORS                  803-734-4200
  AC COUITTING                Fax: 803-734-4229               Fax; 803-734-4257                 003-734-4236                Fax: 603·734-4286
  303-734-4264                                                                                Fax : 1i03-7J4-428'f
Fax: 803-734-4209                       E-Mail: SCDCA@S CCON SUMER.GOV      Toll Frae in SC: 300 ·9 22 · 1~94
                                        WelJsi tc: WWW. CONS UMER .SC.GOV   Voice!rT: 800·735·2905

                                                                                                                     APPENDIX 0256
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                                                                                   September 12, 20 L4
                                                                                            Page 2 of 3
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          The cardinal rule of statutory construction is to ascertain and effectuate the Legislature's
 .intent from the plain ianguage of the statute. ~11rns v. Stare FarmMuL Aulo J.n s. ·a., 297 S.C.
 520, 522, 377 S.E.2d 569, 570 ( 1989). The words of the statute must be given their plain and
 ord.inary meaning without resorting to subtle or forced construction to limit or expand i:he
 statute's operation. Hir.ach i Data Svs. Corp. v. Leatherman, 309 S.C. l 74, l 78, 420 S.E.2d
 843,846 ( 1992). Statutory provisions of the Code shall be libei;a.lly construed as well as applied
 to promote the Title's underlying purposes and policies.§ 37-1-102(1); Davis v. NationsCredit
 Financial ''ervic:es Coc:poratjon et al, 326 S.C. 83, 86, 484 S.E.2d 471,472 (1997). The pi"imary
 purpose of the Code is to protect consumers, as evidenced within relief provisions contained
 therein . Camp v. Springs M o rtga!!e Com. , 310 S.C. 514,516, 426 S.E.2d 304,305 (l 993) .
 Section 37- l- l02 further delineates the purposes and policies of the Code, including to foster
 competition among suppliers, protect borrowers against unfair practices and encourage fair and
 economically sound consumer credit practices. See§ 37-1-102(2)(c)-(e).

         The plain la11guage of the Code perm.its a d~b~or to prepay a loan in foll without incurring
 any type of penalty. Further, debtor is defined broadly to not only include the original consumer
 who has promised or otherwise is obligated to pay the debt, but to assignees and other persons
 who agree to assume responsibility of paying the debt as well, including an organization.

         In the scenario you provided, a lhird pait.y .js attempting to prepay a louo in full on behalf
 of the consumer. The Lender, however, conrracted for-altemate hiterest rate terms to apply ·
 should a Lhird party, including but nqt li.n).ited Jo, a bank, credit uniou, title loan, au tomobile
 dealership or insurance company pay off the Jo_ap. ill construing t:he scatutory language of lhe
 Code liberally lo effec tuate i.t.s pmposes and policies, the .Qepartment concludes such alternate
 terms would constitute a prepaym~nt penalty if the th.lrd party is aLi assignee of the obli ger or
 entered into an agreement to pay the loan. The third party nssuming t)lc obligation is considered
 the debtor and, thus, js entitled to pay off the loan under the same terms as the consumer \Vhom
 originaUy·incutred the debUobiigatjon. See§ 37-1-301(14).

        You have also posed a scenario wbereb y the Leuder-r-equires that the original debtor be
 presern at the tim e the third party pay~ off the loan. As expl~ined above, however, when the
third party assumed th e obligation , rhe third party is considered the debtor. If the Lender refuses
to accept paymen t from Lhe third pany on Lhe basis that the original debtor is not present, this
amounts to a violation § 37-3-209 as the Lender is depriving the debtor of the right to prepay.

         Lastly, you posed a sce nario whereby the Lender refuses to accept the same type of
payment method from a third party attempting to prepay a Loan in foll as it has previously
contracted for or otherwise accepted from the original deptor. While this may not be considered
a prepayment pemllty, the practice could constiture breach of contract if the contract delineates
the types of payment accepted or if the Lender bas previously, through a course of dealings,
accepted payment from th e original debtor via the same method the third party is attempting to
utilize. See§ 37··3-l03(3); Do wli n• v. C[iarlcslo n & W. C. Rv. 'o., 105 S.C. 475, 81 S.E. 313
(1913); \Veisz (.iraphics Div. v . Peck Indus tries , 304 S.C. lOJ, 403 S.E.2d 146 (Cl. /\pp. J991).




                                                                                    APPENDIX 0257
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                                                                                        Copeland
                                                                               September 12, 2014
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                                                         ------ -- ---------~-




        When a deblor exercises the right to prepay pursuant to§ 37-3-209, please also be
minufuJ of other provisions of rbe Code governing prepayment. Section 37-3-210, for example,
regulates prepRyincnt rebates for consumer loans while§ 37~4-108 states the parameters for the
treatment of refunds of insurance premiums upon prepayment of a consumer loan.

        Pursuant lo sections 37-6-104(4) <ind 37-6-506(3), reliance upon an administrnlivc
imerpretatioo provjdes protection from any penalties authorized by the Code if tbe ad ministrative
interpretation is subseqllenlly declared invalid by a court or ls rescinded. Please do not hesitate
lo comact me directly at 803-734-4297 should you need any further informal.ion.




                         ~eJ:ox . D~
                                          Carri Grube Lybarker,   ~




                                                                                 APPENDIX 0258
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                EXHIBIT 3




                                                            APPENDIX 0259
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                                    CAUSE NO. 2013-33584

WELLSHIRE FINANCIAL                        §                IN THE DISTRICT COURT OF
SERVICES, LLC, ET AL.                      §
                                           §
v.                                         §                HARRIS COUNTY, TEXAS
                                           §
TMX FINANCE HOLDINGS,                      §
INC., ET AL.                               §                l 52"ct JUDICIAL DISTRICT

                              AFFIDAVIT OF JOHN SALINAS

STATE OF TEXAS                        §
                                      §
COUNTY OF HARRIS                      §

       Before me, the undersigned authority, appeared John Salinas, known to me to be the
person whose name is subscribed hereto and, after being duly sworn by me, stated as follows:

       1.      My name is John Salinas. I am over the age of 21 , of sound mind, and competent
to make this Affidavit.

       2.     I am a district manager of Defendant/Counterplaintiff TitleMax of Texas, Inc.
("TitleMax"). I have knowledge of the facts stated in this Affidavit through my role with
TitleMax, and each of the statements made below is based upon my knowledge.

        3.      This Affidavit concerns a very good, repeat TitleMax customer who was solicited
by Plaintiffs/Counterdefendants Wellshire Financial Services, LLC and Meadowwood Financial
Services, LLC ("LoanStar"). This customer highly values the customer's privacy and
confidentiality and insists on remaining anonymous. For ease of reference, the customer will be
referred to as "Peter," which is not the customer's real name.

         4.     On November 14, 2015, Peter called a TitleMax store in Pasadena, Texas to
obtain the minimum amount he would need to pay to refinance his loan. While he was on the
phone, he said that LoanStar called him a few days prior in an attempt to buyout his loan.
LoanStar referenced TitleMax; knew that Peter has a loan with TitleMax; told Peter that
LoanStar could offer him a better deal; and wanted to buyout Peter's loan with TitleMax. Peter
has not even told his own family that he has a loan with TitleMax and therefore he was very
concerned about how LoanStar obtained his information. He asked if TitleMax and LoanStar are
affiliated or if TitleMax sells or gives away its customers' information to LoanStar. He was
disturbed that LoanStar had obtained his information and he felt violated. He was also worried
that others would find out he has a title loan, which is a very personal matter for him.

        5.     Later that day when Peter arrived at the store to refinance his loan, he was still
upset that LoanStar had obtained his information to solicit his loan. He continued to discuss what
happened and he reiterated everything he reported in Paragraph 3. After some time and effort,




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         Subscribed and sworn to before me by Joh Salina on this the 20th day of January, 2016,
to certify which witness my hand and seal of o flice


                                                           er./




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                                                                             APPENDIX 0261
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                                                                              Chris Daniel - District Clerk Harris County
                                                                                                Envelope No. 18024352
                                                                                                 By: KATINA WILLIAMS
                                     CAUSE NO. 2013-33584                                      Filed: 7/6/2017 11:51 AM


 WELLSHIRE FINANCIAL     § IN THE DISTRICT COURT OF
 SERVICES, LLC, ET AL.   §
                         §
 v.                      § HARRIS COUNTY, TEXAS
                         §
 TMX FINANCE LLC, ET AL. § 152nd JUDICIAL DISTRICT
 ———————————————————————————————————

 TITLEMAX OF TEXAS, INC., and                 §
 TMX FINANCE OF TEXAS, INC.                   §
                                              §
 v.                                           §
                                              §
 WELLSHIRE FINANCIAL SERVICES,                §
 LLC and MEADOWWOOD                           §
 FINANCIAL SERVICES, LLC                      §
 ———————————————————————————————————
                    FOURTH AMENDED COUNTERCLAIM
 ———————————————————————————————————
        Defendants/Counterplaintiffs TitleMax of Texas, Inc. and TMX Finance of Texas,

 Inc. (collectively, “TitleMax”) bring this Fourth Amended Counterclaim against

 Plaintiffs/Counterdefendants Wellshire Financial Services, LLC and Meadowwood Financial

 Services, LLC (collectively, “LoanStar”).

                                             I.
                                          PARTIES

        1.      Defendant/Counterplaintiff TitleMax of Texas, Inc. (“TitleMax of Texas”)

 is a Delaware corporation with its principal place of business in Texas. TitleMax of Texas

 assists Texas customers in obtaining loans through third-party lenders. TitleMax of Texas

 was sued by LoanStar in this lawsuit.

        2.      Defendant/Counterplaintiff TMX Finance of Texas, Inc. (“TMX Finance of

 Texas”) is a Delaware corporation with its principal place of business in Texas. TMX Finance

 of Texas provides direct lending services to Texas customers. TMX Finance of Texas was

 sued by LoanStar in this lawsuit.




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         3.      Plaintiff/Counterdefendant Wellshire Financial Services, LLC (“Wellshire”)

 is a Georgia limited liability company. Wellshire is a competitor of TitleMax of Texas that

 operates in Texas as LoanStar.

         4.      Plaintiff/Counterdefendant     Meadowwood        Financial    Services,   LLC

 (“Meadowwood”) is a Georgia limited liability company. Meadowwood is a competitor of

 TitleMax of Texas that operates in Texas as LoanStar.

                                              II.
                                            FACTS

         5.      TitleMax of Texas is a credit services organization (“CSO”). As a CSO,

 TitleMax of Texas assists customers in obtaining loans through third-party lenders. Namely,

 TitleMax of Texas connects a customer with a lender who, with the CSO, will secure a loan

 by placing a lien on the customer’s vehicle. In addition to arranging for title loans, TitleMax

 of Texas will also help a customer refinance a pre-existing loan arranged by another CSO

 (such as a title loan previously arranged by LoanStar). TitleMax of Texas is compensated

 through CSO fees paid by the customer.

         6.      TMX Finance of Texas is a direct lender which makes loans directly to

 customers. TMX Finance of Texas is compensated through finance charges paid by the

 customer.

         7.      TitleMax’s business is affected by facilitating or making title loans;

 refinancing title loans; facilitating or making additional loans; and receiving referrals from

 existing customers.

         8.      LoanStar is in the same line of business as TitleMax and directly or indirectly

 competes with TitleMax. LoanStar is part of a conglomerate of lending entities controlled by

 parent company Select Management Resources LLC (“SMR”). LoanStar, acting as SMR’s

 alter ego, operates under the direction and control of SMR. This control is evidenced by


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 LoanStar’s submission to SMR management. For example, LoanStar designated SMR’s Chief

 Operating Officer to testify as the corporate representative of LoanStar. SMR, through its

 affiliates, operate in various states nation-wide.

         9.      As TitleMax has expanded into new markets, it has taken a portion of

 LoanStar’s market share through lawful competition. Among other things, TitleMax engages

 in substantial advertising and marketing and generally offers its customers lower rates. On

 the other hand, LoanStar does little to no advertising and marketing and generally has higher

 rates than TitleMax. LoanStar filed this lawsuit against TitleMax in an attempt to harass

 TitleMax and obtain through litigation what LoanStar cannot gain through lawful

 competition. To this day—years after filing the lawsuit—LoanStar has still not identified one

 individual it lost due to TitleMax’s alleged acts.

         10.     In addition to filing this lawsuit, LoanStar, in collaboration with SMR, has

 engaged in a nation-wide scheme and campaign of corporate espionage against TitleMax.

 LoanStar has stolen TitleMax’s proprietary confidential financial and store-profitability

 information and the formula, pattern, and device used by TitleMax to compile this

 information to maximize its competitive advantage. TitleMax’s goal boards and reports

 consist of a customized methodology that TitleMax developed by exertions of extensive

 time, labor, skill, money, and through years of operations knowledge gained as a leader in

 the title loan industry. The information in TitleMax goal boards and reports are vital to

 TitleMax’s success as they serve as a focal point for the employees in each individual store

 in furtherance of TitleMax’s performance-based focus. Due to LoanStar’s theft, TitleMax no

 longer has the exclusive possession or use of its confidential and proprietary information and

 methodology.

         11.     Further, LoanStar has interfered with TitleMax’s contracts, customers, and

 business relations by refusing to provide Letters of Guarantee and by using driving records

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 to solicit TitleMax’s customers.

 A.     LoanStar has entered TitleMax’s non-public areas under false pretenses to
        steal its confidential information.

        12.     LoanStar has, through improper means, entered non-public areas within

 TitleMax stores posing as potential customers or other third parties and, using recording

 devices, unlawfully and improperly taken TitleMax’s proprietary confidential financial and

 store-profitability information and the formula, pattern, and device used by TitleMax to

 compile this information. LoanStar’s covert operation resulted in LoanStar employees

 successfully photographing TitleMax’s proprietary confidential financial and store-

 profitability information and the formula, pattern, and device used by TitleMax to compile

 this information. Photographs of TitleMax’s proprietary information were then relayed to

 LoanStar’s Vice President of Operations over the state of Texas.

        13.     By taking photographs of TitleMax’s goal boards and surrounding

 customized reports hung next to the goal boards, LoanStar circumvented the need to do

 their own marketing and business analysis. See generally Affidavit of Zachary Farmer, attached

 as Exhibit 1. LoanStar has taken TitleMax’s compilation of confidential business

 information and exploited it in an attempt to undermine TitleMax, gain an unfair competitive

 advantage, and increase LoanStar’s competitiveness in the marketplace. Upon information

 and belief, LoanStar used TitleMax’s compilation of confidential information to assist and

 accelerate research and development and to determine, among other things, where to put

 new stores and where not to put new stores, whether to renew leases, how to staff stores,

 where to conduct marketing, and product performance. LoanStar’s misappropriation and use

 of TitleMax’s proprietary information has unfairly provided LoanStar with a mechanism for

 advancing its competiveness and expertise in the industry without any of the input and

 development costs that TitleMax incurred over the past several years as TitleMax has sourced



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 and customized its unique integrated approach to, and use of, certain key performance

 indicators.

 B.      LoanStar has interfered with TitleMax’s contracts and business relationships
         by refusing to return titles and/or provide Letters of Guarantee within a
         reasonable period of time.

         14.      Additionally, LoanStar has refused to return titles to customers and/or

 provide Letters of Guarantee to TitleMax within a reasonable period of time, substantially

 interfering with TitleMax’s contracts and current and prospective business relationships.

 Customers have the right to do business with the lender or CSO of their choice. A customer

 has the option to pay the entirety of an existing loan by using funds obtained from another

 lender (a situation commonly referred to as a “Buyout”). To perform a Buyout in the industry

 custom, the new CSO or lender obtains from the original CSO or lender either the title to

 the vehicle or a Letter of Guarantee of title ensuring that clear title to the vehicle will be

 released upon full payment of the original title loan. The new CSO or new lender steps into

 the shoes of the customer during the Buyout process. See generally confirmation

 correspondence from the Texas Office of Consumer Credit Commissioner and the State of

 South Carolina Department of Consumer Affairs, attached as Exhibit 2.

         15.      When customers desire to pay off their loans, Texas law requires a lienholder

 to provide a release of lien and title within a reasonable time. Because customers need the

 money immediately and may not have the requisite credit, time, or resources to use traditional

 banking to pay off the loan, Letters of Guarantee are commonly employed in the Texas title

 loan industry to expedite and facilitate Buyouts. When a customer is unable to obtain an

 immediate release of title or a Letter of Guarantee, the customer is prevented from

 contracting with a new CSO or new lender and is essentially held hostage. This effectively

 results in a prepayment penalty to the customer and violates the CSO’s or lender’s duty to

 provide a release of lien and title or its equivalent. See id.

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         16.     Knowing the foreseeable damages to the customer and the new title

 company, LoanStar has refused to return titles to TitleMax customers during Buyouts.

 Instead, LoanStar claims that the titles are at its corporate office in Georgia. In fact, LoanStar

 intentionally moved its titles to Georgia to attempt to thwart Buyouts by TitleMax. Any

 LoanStar policy to maintain titles in Georgia was targeted at TitleMax.

         17.     Additionally, LoanStar has refused to provide Letters of Guarantee to

 TitleMax or its customers. This is also a LoanStar policy designed by frustrate Buyouts. By

 refusing to provide either the title or the Letter of Guarantee, the Buyout transactions cannot

 be completed, the existing loans cannot be bought out or paid off, and TitleMax loses those

 customers and the related goodwill. Moreover, because customers sometimes choose to

 refinance their title loans, losing that customer may result in not only the loss of the initial

 contract, but also future contracts (such as refinancing loans or arranging additional loans)

 with that customer. This is notwithstanding any potential referrals that the new customer

 may send to TitleMax.

         18.     In addition to refusing to return titles and provide Letters of Guarantee to

 TitleMax and its customers within a reasonable period of time, LoanStar has engaged in

 independently tortious and unlawful conduct. Among other things, LoanStar breached their

 duty of care owed to TitleMax; lied to TitleMax’s customers about its business and practices,

 such as by falsely telling customers that TitleMax repossesses vehicles as early as one to two

 days into delinquency; and engaged in deceptive and unfair business practices.

         19.     The Deceptive Trade Practices and Consumer Protection Act (the “DTPA”)

 provides that it is a violation to use false, misleading, or deceptive acts or practices including

 but not limited to representing that an agreement confers or involves rights, remedies, or

 obligations which it does not have or involve, or which are prohibited by law. See TEX. BUS.

 & COMMERCE CODE § 17.46(b)(12). By failing to provide Letters of Guarantee, LoanStar is

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 intentionally and knowingly denying their customers the right to prepay their loans pursuant

 to their contracts, which is a violation of the DTPA. See TEX. BUS. & COMMERCE CODE §

 17.45(9), (13). Moreover, given the urgency by which many title loan customers need to pay

 off their loan, LoanStar’s refusal amounts to an unconscionable action or course of action.

 See TEX. BUS. & COMMERCE CODE § 17.45(5).

 C.        LoanStar has accessed and used driving records to interfere with TitleMax of
           Texas’s customers, contracts, and prospective business relations.

           20.    Despite vigorously accusing TitleMax of Texas of using driving records to

 solicit customers, it has been discovered that LoanStar has been actively engaged in the same

 conduct in which they allege TitleMax of Texas was engaged. TitleMax of Texas recently

 learned that LoanStar appears to have accessed and used driving records to interfere with

 TitleMax of Texas’s customers, contracts, and prospective business relations. See generally

 Affidavit of John Salinas, attached as Exhibit 3. One such customer, who highly values

 privacy and confidentiality and insists on remaining anonymous, was contacted and solicited

 by LoanStar. Id. at ¶¶ 2-3. LoanStar was aware of the existing TitleMax of Texas loan; told

 the customer LoanStar could offer a better deal; and offered to Buyout the loan. Id. at ¶ 3.

 The customer had not told anyone else about the loan, and upon information and belief,

 LoanStar could have only determined its existence through the use of driving records. Id.

 at ¶ 3.

                                         III.
                                    COUNTERCLAIMS

            COUNT I—TORTIOUS INTERFERENCE WITH EXISTING CONTRACTS

           21.    TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

           22.    TitleMax had valid contracts with customers.

           23.    LoanStar knew of these contracts and willfully and intentionally interfered


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 with them, as discussed above.

          24.    LoanStar’s interferences proximately caused TitleMax injury.

          25.    TitleMax incurred actual damage or loss, including but not limited to lost

 profits, loss of goodwill, and loss of future contracts and business prospects.

          26.    LoanStar’s actions were malicious or wanton, and therefore TitleMax

 specifically requests an award of exemplary damages.

          COUNT II—TORTIOUS INTERFERENCE WITH PROSPECTIVE RELATIONS

          27.    TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

          28.    TitleMax had a reasonable probability that potential customers would have

 entered into business relationships with TitleMax.

          29.    LoanStar either acted with a conscious desire to prevent the relationship

 from occurring or knew the interference was certain or substantially certain to occur as a

 result of the conduct.

          30.    LoanStar’s actions were independently tortious and/or unlawful, as discussed

 above.

          31.    LoanStar’s interferences proximately caused TitleMax injury.

          32.    TitleMax incurred actual damage or loss, including but not limited to lost

 profits, loss of goodwill, and loss of future contracts and business prospects.

          33.    LoanStar’s actions were malicious or wanton, and therefore TitleMax

 specifically requests an award of exemplary damages.

                                  COUNT III—CONVERSION

          34.    TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

          35.    LoanStar has wrongly asserted dominion over TitleMax’s property, namely


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 its proprietary confidential financial and store-profitability information, inconsistent with

 TitleMax’s right of ownership.

         36.     TitleMax owns and has the right to possess its proprietary confidential

 financial and store-profitability information.

         37.     LoanStar unlawfully and knowingly came into actual possession of

 TitleMax’s proprietary confidential financial and store-profitability information.

         38.     LoanStar knowingly used TitleMax’s proprietary confidential financial and

 store-profitability information for their own benefit. The conversion harmed TitleMax.

         39.     LoanStar’s actions demonstrate willful misconduct, malice, fraud,

 wantonness, oppression, and/or that entire want of care which would raise the presumption

 of conscious indifference to consequences sufficient to justify an award of punitive

 damages.

                             COUNT IV—THEFT OF PROPERTY

         40.     TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

         41.     LoanStar has committed theft regarding TitleMax’s property, namely its

 proprietary confidential financial and store-profitability information.

         42.     TitleMax owns and has a possessory right over its proprietary confidential

 financial and store-profitability information.

         43.     LoanStar unlawfully and knowingly appropriated TitleMax’s proprietary

 confidential financial and store-profitability information.

         44.     TitleMax did not consent to LoanStar’s taking of the property.

         45.     LoanStar’s theft has harmed TitleMax.

         46.     LoanStar’s actions demonstrate willful misconduct, malice, fraud,

 wantonness, oppression, and/or that entire want of care which would raise the presumption

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 of conscious indifference to consequences sufficient to justify an award of punitive

 damages.

                         COUNT V—MISAPPROPRIATION OF TRADE SECRETS

         47.       TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

         48.       TitleMax owns trade secrets that consist of its secret or substantially secret

 proprietary confidential financial and store-profitability information and the formula,

 pattern, and device used by TitleMax to compile this information.

         49.       LoanStar, through the use of improper means, misappropriated TitleMax’s

 trade secrets.

         50.       LoanStar was wrongfully enriched by its misappropriation of TitleMax’s

 trade secrets.

         51.       LoanStar’s misappropriation of TitleMax’s trade secrets has harmed

 TitleMax.

         52.       LoanStar’s actions demonstrate willful misconduct, malice, fraud,

 wantonness, oppression, and/or that entire want of care which would raise the presumption

 of conscious indifference to consequences sufficient to justify an award of punitive

 damages.

                  COUNT VI—UNFAIR COMPETITION BY MISAPPROPRIATION

         53.       TitleMax’s formula, pattern, and device used to compile its proprietary

 confidential financial and store-profitability information was created through extensive time,

 experience, labor, skill and money.

         54.       LoanStar’s misappropriation and use of this compilation of information, in

 competition with TitleMax, gave LoanStar a special advantage because LoanStar was

 burdened with little or none of the expense TitleMax incurred in developing the compilation

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 of information nor the operating expertise required to develop and formulate the unique

 methodology misappropriated by LoanStar.

         55.     LoanStar was wrongfully enriched by its misappropriation of TitleMax’s

 compilation of information.

         56.     LoanStar’s misappropriation of TitleMax’s compilation of information has

 harmed TitleMax.

         57.     LoanStar’s actions demonstrate willful misconduct, malice, fraud,

 wantonness, oppression, and/or that entire want of care which would raise the presumption

 of conscious indifference to consequences sufficient to justify an award of punitive

 damages.

                          COUNT VII—DECLARATORY JUDGMENT

         58.     TitleMax incorporates the foregoing allegations as if fully set forth in this

 Paragraph.

         59.     A declaratory judgment would resolve a judicial controversy regarding the

 rights, obligations, and statuses of the parties.

         60.     TitleMax seeks a declaratory judgment pursuant to Chapter 37 of the Texas

 Civil Practice and Remedies Code declaring that:

                 a. when a debtor pays off a title loan, the title-loan company must, within a

                     reasonable period of time, either return the title to the vehicle or provide

                     its equivalent, such as a letter of guarantee;

                 b. title loans may be paid off by a customer or anyone acting on their behalf

                     with cash or any other contractual payment option;

                 c. title-loan companies must maintain titles to vehicles at the stores in which

                     the customers tendered such titles as security for the loans;

                 d. when a debtor seeks to pay off a title loan with funds obtained, directly

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                  or indirectly, from a competitor title-loan company, the competitor

                  assumes the legal rights of the debtor;

             e. title-loan companies must accept powers of attorney authorizing a

                  competitor title-loan company to perform all acts necessary to

                  consummate a Buyout;

             f. title-loan companies have the right to accompany their customers to a

                  competitor title-loan company for the purpose of consummating a

                  Buyout;

             g. so long as they do not breach the peace, title-loan companies have the

                  right to enter the parking lots and other public areas of a competitor title-

                  loan company;

             h. title-loan companies do not have the right to enter non-public areas of a

                  competitor title-loan company under false pretenses for the purpose of

                  surreptitiously misappropriating confidential information; and

             i.   title-loan companies have the right to offer promotional credits or other

                  compensation for referrals, so long as such referrals were not obtained

                  through improper means.

                            IV.
    APPLICATION FOR TEMPORARY AND PERMANENT INJUNCTION

       61.   TitleMax asks that the Court enjoin LoanStar from:

             a. refusing to return titles to customers within a reasonable period of time

                  from a Buyout;

             b. refusing to provide Letters of Guarantee to customers or TitleMax within

                  a reasonable period of time from a Buyout;

             c. soliciting TitleMax’s customers through the use of Department of Motor


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                      Vehicle records or any other database containing any publicly available

                      driver’s information;

                 d. entering non-public areas within TitleMax stores under false pretenses;

                 e. refusing to accept contractual payment methods for a Buyout;

                 f. moving titles to vehicles from the stores in which the customers tendered

                      such titles as security for the loans in the hopes of thwarting a Buyout;

                 g. refusing to accept powers of attorney authorizing a competitor title-loan

                      company to perform all acts necessary to consummate a Buyout;

                 h. refusing to allow a competitor title-loan company to accompany its

                      customers during a Buyout; and

                 i.   refusing to allow a competitor title-loan company to enter LoanStar’s

                      parking lots and other public areas, so long as the competitor does not

                      breach the peace.

         62.     A temporary injunction is proper to preserve the status quo pending a trial

 on the merits. Butnaru v. Ford Motor Co., 84 S.W.3d 198, 204 (Tex. 2002). An applicant must

 demonstrate: “(1) a cause of action against the defendant; (2) a probable right to the relief

 sought; and (3) a probable, imminent, and irreparable injury in the interim.” Id.; see also Tex.

 Civ. Prac. & Rem. Code Ann. § 65.011. “Irreparable injury” exists where damages cannot be

 measured by any “certain pecuniary standard.” Butnaru, 84 S.W.3d at 204. Interference with

 business relationships and attempting to acquire a party’s customers and confidential

 information is sufficient to cause “imminent and irreparable harm of a kind that would not

 be fairly compensable following trial.” See Jenkins v. Transdel Corp., No. 03-04-00033-CV, 2004

 WL 1404364, at *3 (Tex. App.—Austin 2004, no pet.) (mem. op.); see also RenewData Corp. v.

 Strickler, No. 03-05-00273-CV, 2006 WL 504998, at *15-16 (Tex. App.—Austin Mar. 3, 2006,

 no pet.) (mem. op.) (“Because it is difficult to assign a dollar value to loss of customer

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 goodwill and clientele, it constitutes an irreparable injury.”). Thus, the Court should enter a

 temporary injunction.

         63.     TitleMax further requests the entry of a permanent injunction following a

 trial on the merits. TitleMax requests the Court set this request for a full trial on the merits.

                                        V.
                               CONDITIONS PRECEDENT

         64.     All conditions precedent to TitleMax’s claims for relief have been performed

 or have occurred.

                                              VI.
                                            PRAYER

         65.     WHEREFORE, TitleMax prays for the following relief as discussed herein:

                 a.      actual damages;

                 b.      exemplary damages;

                 c.      declaratory judgment;

                 d.      temporary and permanent injunctive relief;

                 e.      prejudgment and post-judgment interest at the highest rate allowable
                         by law;

                 f.      court costs;

                 g.      attorney’s fees; and

                 h.      such other and further relief as the Court deems just and proper.

         Dated: July 6, 2017

                                                       Respectfully submitted,

                                                       HOLLAND & KNIGHT LLP

                                                       By: /s/ L. Bradley Hancock
                                                       L. Bradley Hancock
                                                       State Bar No. 00798238
                                                       brad.hancock@hklaw.com
                                                       Jeffrey D. Anderson
                                                       State Bar No. 24087100
                                                       jeffrey.anderson@hklaw.com

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                                                    Houston, TX 77002-5227
                                                    713-821-7000 (telephone)
                                                    713-821-7001 (facsimile)

                                                    GREENBERG TRAURIG, L.L.P.

                                                    Roland Garcia, Jr.
                                                    State Bar No. 07645250
                                                    garciar@gtlaw.com
                                                    1000 Louisiana Street, Suite 1700
                                                    Houston, Texas 77002
                                                    713-374-3500 - Telephone
                                                    713-374-3505 - Facsimile

                                                    COUNSEL FOR DEFENDANTS
                                                    TMX FINANCE OF TEXAS, INC.;
                                                    TITLEMAX OF TEXAS, INC.; TMX
                                                    FINANCE LLC; AND TMX
                                                    FINANCE HOLDINGS, INC.



                           CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing was served on all counsel of
 record in accordance with the Texas Rules of Civil Procedure on the 6th day of July, 2017.

                                                   /s/ Jeffrey D. Anderson
                                                   Jeffrey D. Anderson




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                EXHIBIT 1




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                        IN THE SUPERIOR COURT OF FULTON COUNTY
                                   STATE OF GEORGIA


DRUMMOND FINANCIAL SERVICES,                    )
LLC; et al.,                                    )
                                                )
          Plaintiffs,                           )
                                                )       CIVIL ACTION FILE
v.                                              )       NO.: 2014cv253677
                                                )
TMX FINANCE HOLDINGS, INC.; et al., )
                                                )
          Defendants.                           )

                               AFFIDAVIT OF ZACHARY FARMER

          Personally appeared before the undersigned ZACHARY FARMER who, after being duly
sworn, testified and said on oath as follows:
          1.      I am Zachary Farmer, an individual resident of the State of Ohio.
          2.      I am over 21 years of age and competent in all respects to give testimony in this
matter.
          3.      On December 10, 2014, I interviewed for a position with TitleMax. During the
interview, I voluntarily disclosed the information that is substantially repeated in this Affidavit.
TitleMax has not offered me anything of value in exchange for the information contained in this
Affidavit.
          4.      From February 2009 through November 14, 2014, I was an employee of
Wellshire Financial Services, LLC and Drummond Financial Services, LLC, companies owned
by Select Management Resources LLC ("Select"). I worked in stores doing business as
"LoanStar Title Loans," "North American Title Loans," and "LoanMax."
          5.      From August 2010 through June 2012, I was employed as an Operations
Specialist.
          6.      As an Operations Specialist, I traveled around the country, filling in at short-
staffed stores, consulting. detecting fraud, assisting with staffing decisions, and identifying
sponsorship opportunities. One primary task as an Operations Specialist was to improve Select' s
competitiveness in the marketplace, specifically with respect to Selcct's primary competitor,



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TitleMax.       I reported to Jesse Anderson, Brent Matthews, and Berk Jolly, who were Vice
Presidents of Select.
          7.      As an Operations Specialist, I used several different tactics to gain competitive
advantages for Select over TitleMax.
          8.      For example, I would pretend to be a customer and go into TitleMax stores to talk
with their employees in an effort to determine what TitleMax was offering customers. I would
also pretend to be a LoanMax customer seeking a better deal from TitleMax in order to see what
terms they might offer. I would present TitleMax employees with a LoanMax application and
try to coax them to talk about LoanMax.
          9.      I would also carry a concealed recording device to record my interactions with
TitleMax employees. I would then mail the recording to Select Vice President Jesse Anderson at
Select's corporate office in Alpharetta, Georgia.
          10.     As another example, I would pose as a repo-man seeking to do business with
TitleMax and would ask TitleMax store managers how many repossessions they had during a
specific period.     TitleMax managers would often provide that information assuming I was
actually in the repossession business.
          11.     Another tactic that I used to gain competitive advantage for Select, was to gain
access to and photograph TitleMax "goal boards." Each TitleMax store had a goal board. The
goal boards were typically located in back rooms of TitleMax stores, which were not open to the
public.
          12.     A goal board typically listed a TitlcMax store's financial performance goals for
the month, the actual financial results from previous months, and the month-to-date financial
results. The more established TitleMax stores would have more financial data on their goal
boards. I would send the photographs of the goal boards electronically to Select Vice President
Jesse Anderson. The data helped Select determine whether to open a Select-branded store in the
immediate area to compete with TitleMax.
          13.     My method for gaining access to the goal boards was to pose as a potential
customer and ask a TitleMax employee if I might use the store's restroom. I would then access
the private back office business area and take pictures of the store's goal board as I pretended to
look for the restroom. I then emailed the photographs to Select Vice President Jesse Anderson.



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       14.     The first time I photographed a goal board, I was sent to a TitleMax store to act
like a potential customer with a LoanStar application. I was to present the application to the
TitleMax employee to find out what they would say about LoanStar. While in the TitleMax
store, I needed to use the restroom, and on my way back to the restroom I saw a goal board and
took a picture of it. I sent the picture to Jesse Anderson, who responded that I should try to take
photographs of as many other goal boards from TitleMax locations as I could. About a week
later. Brent Matthews, another Select Vice President, followed up with me to see how many
boards I was able to photograph and suggest where I could find more.
       15.     Over the span of a year. in 2011 and 2012. I visited TitlcMax stores in Texas
(including Arlington, Carrolton, Mesquite, and Garland), South Carolina (including Rock Hill,
Columbia, and Myrtle Beach), and Alabama (including Tuscaloosa and Birmingham). In total, I
visited approximately 75 TitleMax stores for the express purpose of photographing goal boards.
Of those 75 stores, I successfully photographed approximately 30 goal boards.
       16.     I photographed the goal boards with a smartphone provided to me by Select and I
used the email address provided to me by Select to transmit the photographs to Select Vice
President Jesse Anderson.
       17.     It is my understanding that gaining access to TitleMax non-public areas and
photographing TitleMax goal boards became a uniform practice of Select.
       18.     For example, in my last assignment with Select, I participated in a conference call
with Arca Managers in Ohio, shortly bcf ore TitleMax entered the Ohio market. During the call,
the Arca Managers were told by Select upper management that they should comply with Sclcct's
company-wide practice and direct their employees to enter TitlcMax stores under false pretenses
so that they could gain access to and photograph TitlcMax goal boards.
       19.     Another tactic that I observed was LoanMax employees using OMV records to
identify which competitor bought out their customers' loans in an effort to confirm whether
LoanMax was losing business to TitleMax.
       20.     I make this affidavit based upon my personal knowledge for use in this lawsuit
and for any legal purpose.




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WITNESS my hand and seal.    this~~ of January, 2015.




Sworn to and subscribed before me
this    0    day of January, 2015.




_ ____L,~~~~~-!__County,                    P#
My commission expires -~S"~_-~!Jt:J
                                 __-~/;~b~




                               MICHAEL P. ROlfES
                              NOTARY PUBLIC· OHIO
                            COMMISSION #2011-RE-374728




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                EXHIBIT 2




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From:                                 Will iam Purce <William.Purce@occc.texas.gov>
Sent:                                 Thursday, November 12, 2015 9:47 AM
To:                                   Victoria Newman
Subject:                              Re: Buyouts of Competitors



Dear Ms. Newman:

At this time, our agency has not issued any advisory bulletins on this issue related to credit access businesses (there are
some advisory letters dealing with regulated lenders and property tax lenders). However, our agency has investigated
this issue in the past and has instructed licensees to provide and accept the payoffs. Our analysis of this issue is very
similar to the analysis discussed in the South Carolina opinion letter.

Respectfully,




William Purce
Senior Adm inistrative Review Examiner
Office of Consumer Credit Commissioner
2601 North Lamar Boulevard
Austin, Texas 78705
512.936.7626
wi ll iam.pu rce@ occc.texas.gov


EB DCCC:
TEXASOFFICf OF CONSUMER
CREDIT COMMISSlONER
    from:     Victoria Newman <Victorja,Newrnan@titlemax.com >
    To:       'William Purce' <Wi ll iam.Purce@occc.texas.gov>
    Date:     11/12/2015 9:07 AM
    Subject: Buyouts of Competitors
   Hi William,

   I hope you are doing well. A question came up that I would like your help resolving.

   I take the position that a buyout request from a customer should not be refused regardless of whether it's from a
   competitor. South Carolina has issued similar guidance on the matter (attached for your reference) . A refusal of the
   buyout (or failure to immediately return the title or provide a letter of guaranty) , in my opinion, would be akin to a
   prepayment penalty.

   Has the OCCC issued guidance on this issue before? I haven't found any but I could have missed it.

   Thanks,

   Victoria


   Victoria H. Newman
   Sr. Compliance and Corporate Counsel

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TMX Finance
15 Bull Street, Ste 200
Savannah, GA 31401
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Email: vlctoria.newman@titlemax.com

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mail, any attachments, or the information contained therein, Is strictly prohibited. If you received this e-ma il and you are not an intended recipient. please
Immediately notify TltleMax e-mail administrator at: abuse@titlemax.blz and permanently delete the original and any copy of this e-mail, any attachments,
and/or any printouts thereof."




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Carri Grube lybarker                                                                                                          Clifford Ray Keasler
                                                                                                                                    Myrtle Bead'
   Administrator
                                                                                                                                Terrell A. Parrish
                                                                                                                                         Grc•r
                                                                                                                                 Magaly P. Penn
                                                                                                                                    Siiripsonvllle
                                                          September 12, 20 l4                                                W. Fred Pen;iington , Jr.
                                                                                                                                        Taylors


           Via Hand Deliliery and Electronic Mail

          Mr. Jim Copelarrd
          Acting Commissioner/ Assistant Commissioner
          Consumer Finance Division
          S.C. State Board of Financial Institutions
          1205 Pendleton Stree[, Suite 306
          Columbia. SC 2920 l

                      RE :    Opinion Request- Prepayment Penalties

           Dear Jim:

                  You have reques.tt!d an opinion regmding practices employed by supervised lenders when
          a loan is being preJ?a.id by a third pruty on behalf of a consumer, the original debtor. Consumer
          credit b·ansa,ctions are governed by tbe s ·outh Cm-olina Consumer Prate.cl.ion Code C'tbe 1Code"),
          S.C.      Code
                      Ann. sections 37-1.-101 et seq. 1 Right to prepay a consun.1ei: loan is addressed jn §-
          37-3-209 witl1 prepayment of credit sales addressed in § 37-2-209 . From the information you
          have provided, the following guestion has been posed and will be addressed herein in the form of
          a general auswer that could change depending on specific circumsrnnces:

                              Can a lender subject to the Code charge a consuru,cr a different.inteiisi,
                              rate than currently being asses, ed and impose di'fferen't terms regahiing. .
                              accepted rnelhod of payment r oth rwise impose varying contract .t.e @s
                              when a con nmer Joan is being µrepaid by a thirci party on behalf of the
                              consumer?

                 As Staled above,§ 37-3-209 governs the consumer's riglll to prepay a consumer loar1.
         The section specifical ly states: " .. , lhe debtor may prepay in foll the unpaid balance of a
         consumer Joan, re.financing, or consolidatiun at any lime with ow pcmalty." (Emphasis added.) A
         "debtor" is defined as "any per. o.n who is an obligor in a credi t Lransaction, including any
         cosignor, con'l.ak.er, guarantor, endorsee or surely, a11d the assignee of any obligor, and also
         includes any.person who agrees 10 a ·swne the pa,y menl of a credit. obligati.on." (Empha is
         added .) See§ "7- l -.:> 01(1 4 ). Las t.Jy, "person" iuc ludcs not o nly an rndivid.ual, but an
         organization.. See§ 37 - 1-301(20). TL1e rig,ht of a dcbr or L1 prepa y a loan in foll without pcnaity
         cannot be waived. See§ 37 - 1-107(! ).


          'fur1her reforc.o.ce to the Soutr1 Cari ilina Code of L1ws will be by Code scuion only.
ADMINISTRATOR                PUBLIC INFORMATION           CON SUMER ADVOCACY                    El FOKCl:cM EN 1/         CONSUMER COMPLAINTS
  803-734-4233                   (JQJ.734-4296                 80J·734-4 i!OO                   INVESTI GATORS                 803-734-4200
  AC COUITTING                 Fax: 803-734-4229             Fax; 803-734-4257                    003-734-4236               Fax: 603·734-4286
  303-734-4264                                                                                  Fax: 1i03-7J4-428'f
Fax: 803-734-4209                      E·Mai!: SCDCA@SCCON SUMER.GOV         Toll Frae in SC: 3 0 0 ·9 22 ·1~94
                                       WelJsi tc: WWW. CONSUMER .SC.GOV      Voice!rT: 800·735·2905

                                                                                                                      APPENDIX 0285
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                                                                                   September 12, 20 L4
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                                  ---~------                   ·- - -----·-·-. '

          The cardinal rule of statutory construction is to ascertain and effectuate the Legislature's
 .intent from the plain ianguage of the statute. ~11ms v. Stare FarmMuL Aulo JJJ s. ·a. , 297 S.C.
 520, 522, 377 S.E.2d 569, 570 ( 1989). The words of the statute must be given their plain and
 ord.inary meaning without resorting to subtle or forced construction to limit or expand i:he
 statute's operation. Hir.ach i Data Svs. Corp. v. Leatherman, 309 S.C. l 74, l 78, 420 S.E.2d
 843,846 ( 1992). Statutory provisions of the Code shall be libei;ally construed as well as applied
 to promote the Title's underlying purposes and policies.§ 37-1-102(1); Davis v. NationsCredlt
 Financial ''ervic:es Coc:poratjon et al. , 326 S.C. 83, 86, 484 S.E.2d 471,472 (1997). The pi"imary
 purpose of the Code is to protect consumers, as evidenced within relief provisions contained
 therein . Camp v. Springs Mortga2e Com. , 310 S.C. 514,516, 426 S.E.2d 304,305 (l 993) .
 Section 37- l- l02 further delineates the purposes and policies of the Code, including to foster
 competition among suppliers, protect borrowers against unfair practices and encourage fair and
 economically sound consumer credit practices. See§ 37-1-102(2)(c)-(e).

        The plain language of the Code perm.its a d~b~or to prepay a loan in foll without incurring
 any type of penalty. Further, debtor is defined broadly to not only include the original consumer
 who has promised or otherwise is obligated to pay the debt, but to assignees and other persons
 who agree to assume responsibility of paying the debt as well, including an organization.

         In the scenario you provided, a lhird pait.y .js attempting to prepay a louo in full on behalf
 of the consumer. The Lender, however, conrracted for-altemate hiterest rate terms to ap ply ·
 should a Lhird party, including but nqt l.in).ited Jo, a bank, credit uniou, title loan, au tomobile
 dealership or insurance company pay off the Jo_ap. ill construing t:he scatutory language of lhe
 Code liberally lo effec tuate i.t.s pmposes and policies, the .Qepartment concludes such alternate
 terms would constitute a prepaym~nt penalty if the th.lrd party is aLi assignee of the obli ger or
 entered into an agreement to pay the loan. The third party nssuming t)lc ohligation is considered
 the debtor and, thus, js entitled to pay off the loan under the same terms as the consumer \Vhom
 originaUy·incurred the debUobiigatjon. See§ 37-1-301(14).

          You have also posed a scenario wbereb y the Leuder-r-equires that the original dcbror be
 p.resern at the tim e the third party pay~ off the loan. As expl~ined above, however, when the
 third party assumed th e obligation , rhe third party i.s considered the debtor. If the Lender refuses
to accept paymen t from Lhe third pany on Lhe basis that the original debtor is not present, this
amounts to a violation § 37-3-209 as the Lender is depriving the debtor of the right to prepay.

         Lastly, you posed a sce nario whereby the Lender refuses to accept the same type of
payment method from a third party attempting to prepay a Loan in foll as it has previously
contracted for or otherwise accepted from the original deptor. While this may not be considered
a prepayment pemllty, the practice could constiture breach of contract if the contract delineates
the types of payment accepted or if the Lender bas previously, through a course of dealings,
accepted payment from the original debtor via the same method the third party is attempting to
utilize. See§ 37·· 3-l03(3); Do wlin • v. C tiarleslo n & W. C. Rv. 'o., 105 S.C. 475, 81 S.E. 313
(1913); \Veisz. (.iraphics Div. v . Peck Indus tries , 304 S.C. lOJ, 403 S.E.2d 146 (Cl. /\pp. 1991).




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                                                                                        Copeland
                                                                               September 12, 2014
                                                                                      Page 3of3
                                                         ----------------- --
        When a deblor exercises the right to prepay pursuant to§ 37-3-209, please also be
minufuJ of other provi:;ions of rbe Code governing prepayment. Section 37-3-210, for example,
regulates prepRyincnt rebates for consumer loans while§ 37~4-108 states the parameters for the
treatment of refunds of insurance premiums upon prepayment of a consumer loan.

        Pursuant lo sections 37-6-104(4) <ind 37-6-506(3), reliance upon an administrnlivc
imerpretatioo provjdes protection from any penalties authorized by the Code if tbe ad ministrative
interpretation is subseqllenlly declared invalid by a court or ls rescinded. Please do not hesitate
lo comact me direcUy at 803-734-4297 should you need any further informal.ion.




                         ~eJ§:Jx . D~
                                          Carri Grube Lybarker,   ~




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                EXHIBIT 3




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                                    CAUSE NO. 2013-33584

WELLSHIRE FINANCIAL                        §                IN THE DISTRICT COURT OF
SERVICES, LLC, ET AL.                      §
                                           §
v.                                         §                HARRIS COUNTY, TEXAS
                                           §
TMX FINANCE HOLDINGS,                      §
INC., ET AL.                               §                l 52"ct JUDICIAL DISTRICT

                              AFFIDAVIT OF JOHN SALINAS

STATE OF TEXAS                        §
                                      §
COUNTY OF HARRIS                      §

       Before me, the undersigned authority, appeared John Salinas, known to me to be the
person whose name is subscribed hereto and, after being duly sworn by me, stated as follows:

       1.      My name is John Salinas. I am over the age of 21, of sound mind, and competent
to make this Affidavit.

       2.     I am a district manager of Defendant/Counterplaintiff TitleMax of Texas, Inc.
("TitleMax"). I have knowledge of the facts stated in this Affidavit through my role with
TitleMax, and each of the statements made below is based upon my knowledge.

        3.      This Affidavit concerns a very good, repeat TitleMax customer who was solicited
by Plaintiffs/Counterdefendants Wellshire Financial Services, LLC and Meadowwood Financial
Services, LLC ("LoanStar"). This customer highly values the customer's privacy and
confidentiality and insists on remaining anonymous. For ease of reference, the customer will be
referred to as "Peter," which is not the customer's real name.

         4.     On November 14, 2015, Peter called a TitleMax store in Pasadena, Texas to
obtain the minimum amount he would need to pay to refinance his loan. While he was on the
phone, he said that LoanStar called him a few days prior in an attempt to buyout his loan.
LoanStar referenced TitleMax; knew that Peter has a loan with TitleMax; told Peter that
LoanStar could offer him a better deal; and wanted to buyout Peter's loan with TitleMax. Peter
has not even told his own family that he has a loan with TitleMax and therefore he was very
concerned about how LoanStar obtained his information. He asked if TitleMax and LoanStar are
affiliated or if TitleMax sells or gives away its customers' information to LoanStar. He was
disturbed that LoanStar had obtained his information and he felt violated. He was also worried
that others would find out he has a title loan, which is a very personal matter for him.

        5.     Later that day when Peter arrived at the store to refinance his loan, he was still
upset that LoanStar had obtained his information to solicit his loan. He continued to discuss what
happened and he reiterated everything he reported in Paragraph 3. After some time and effort,




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         Subscribed and sworn to before me by Joh Salina on this the 20th day of January, 2016,
to certify which witness my hand and seal of o flice


                                                           er./




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                                                                                 Chris Daniel - District Clerk Harris County
                                                                                                   Envelope No. 18023903
                                                                                                    By: KATINA WILLIAMS
                                                                                                  Filed: 7/6/2017 11:41 AM

                                      CAUSE NO. 2013-33584

WELLSHIRE FINANCIAL     § IN THE DISTRICT COURT OF
SERVICES, LLC, ET AL.   §
                        §
v.                      § HARRIS COUNTY, TEXAS
                        §
TMX FINANCE LLC, ET AL. § 152nd JUDICIAL DISTRICT
———————————————————————————————————

TITLEMAX OF TEXAS, INC., and                  §
TMX FINANCE OF TEXAS, INC.                    §
                                              §
v.                                            §
                                              §
WELLSHIRE FINANCIAL SERVICES,                 §
LLC and MEADOWWOOD                            §
FINANCIAL SERVICES, LLC                       §
———————————————————————————————————————
         DEFENDANTS TMX FINANCE OF TEXAS, INC .; TITLEMAX
           OF TEXAS , INC .; AND TMX FINANCE LLC’S FOURTH
           AMENDED ANSWER AND AFFIRMATIVE DEFENSES
———————————————————————————————————————
         Defendants TMX Finance of Texas, Inc.; TitleMax of Texas, Inc.; and TMX Finance LLC

(collectively, “Defendants”) submit this Fourth Amended Answer and Affirmative Defenses to the

Second Amended Petition, and all amendments and supplements thereto (the “Petition”), filed by

Plaintiffs Wellshire Financial Services, LLC; Meadowwood Financial Services, LLC; and Integrity

Texas Funding, LP (collectively, “Plaintiffs”).

                                             I.
                                       GENERAL DENIAL

         In accordance with the rights granted to Defendants by Rule 92 of the Texas Rules of Civil

Procedure, Defendants generally deny each and every material allegation contained in Plaintiffs’

Petition and demand that Plaintiffs be required to prove their charges and allegations against

Defendants as required by the Constitution and the laws of the State of Texas.




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                                              II.
                                     AFFIRMATIVE DEFENSES

        1.       The Petition fails to state a claim upon which relief may be granted.

        2.       Plaintiffs’ claims are barred because the acts complained of in the Petition did not

cause Plaintiffs’ alleged injuries or losses.

        3.       Plaintiffs’ claims are barred in whole or in part by the affirmative defenses of

justification or privilege.

        4.       Plaintiffs’ damages, if any, were proximately caused in whole or in part by the acts or

omissions of negligence or other bad conduct of other parties or third parties over whom Defendants

had no control or right of control or that were acting outside the scope of employment.

        5.       Plaintiffs’ claims are barred in whole and in part by the affirmative defense of

independent discovery or development without use of improper means.

        6.       Plaintiffs’ claims are barred due to Plaintiffs’ own actions, failure to act, negligence

and/or legal fault.

        7.       Defendants acted in good faith and not with willful or reckless disregard of the law.

        8.       Plaintiffs’ claims are barred in whole or in part by the doctrine of unclean hands.

        9.       Defendants assert the affirmative defenses of res judicata and collateral estoppel.

        10.      Plaintiffs’ claims are barred at least in part by the applicable statutes of limitation.

        11.      Plaintiffs’ claims are barred by application of the doctrine of laches.

        12.      Plaintiffs’ claim for punitive damages should be dismissed to the extent an award of

punitive damages would violate the U.S. Constitution or other applicable law.

        13.      Plaintiffs’ trespass claim is barred in whole or in part by application of the innocent

trespasser doctrine.




                                                      2

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          14.    Plaintiffs’ trespass claim is barred in whole or in part by effect of permission or

invitation.

          15.    Plaintiffs’ claims are barred in whole or in part due to lack of standing to bring their

claims.

          16.    Plaintiffs’ claims are barred in whole or in part as there are no lost trade secrets by an

alleged DMV database search.

          17.    Plaintiffs’ claims are barred in whole or in part as there has been no improper

solicitation of Plaintiff’s customers.

          18.    Plaintiffs’ claims are barred in whole or in part as Plaintiffs have not identified any

specific lost customers or contracts, and such claims are based on speculation.

          19.    Plaintiffs’ claims are barred as they have engaged in a nation-wide scheme to

misappropriate Defendants’ confidential, proprietary and/or substantially secret information.

          20.    Plaintiffs have brought groundless claims in bad faith and for the purpose of

harassment, have intentionally and unreasonably delayed the prosecution, defense and trial of this

case, have caused unnecessary and expensive discovery, have failed to timely comply with court orders

and discovery requests, have impeded discovery motions by delaying and obstructing attempts to

confer on discovery motions, and continue to pursue objectively unreasonable claims unnecessarily

multiplying these proceedings.

          21.    Defendants assert any other affirmative defenses to which they are entitled.

                                                  III.
                                                PRAYER

          Defendants pray that: (1) Plaintiffs take nothing by this suit; (2) Defendants recover their

attorneys’ fees, costs, and expenses incurred in this suit; and (3) Defendants have such other and

further relief to which they may be entitled.

Dated: July 6, 2017

                                                     3

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                                                   Respectfully submitted,

                                                   HOLLAND & KNIGHT LLP

                                                   By: /s/ L. Bradley Hancock
                                                   L. Bradley Hancock
                                                   State Bar No. 00798238
                                                   brad.hancock@hklaw.com
                                                   Jeffrey D. Anderson
                                                   State Bar No. 24087100
                                                   jeffrey.anderson@hklaw.com
                                                   1100 Louisiana Street, Suite 4300
                                                   Houston, TX 77002-5227
                                                   713-821-7000 (telephone)
                                                   713-821-7001 (facsimile)

                                                   GREENBERG TRAURIG, L.L.P.

                                                   Roland Garcia, Jr.
                                                   State Bar No. 07645250
                                                   garciar@gtlaw.com
                                                   1000 Louisiana Street, Suite 1700
                                                   Houston, Texas 77002
                                                   713-374-3500 - Telephone
                                                   713-374-3505 - Facsimile

                                                     COUNSEL FOR DEFENDANTS TMX
                                                     FINANCE OF TEXAS, INC.; TITLEMAX OF
                                                     TEXAS, INC.; TMX FINANCE LLC; AND
                                                     TMX FINANCE HOLDINGS, INC.

                               CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing was served on all counsel of record in
accordance with the Texas Rules of Civil Procedure on the 6th day of July, 2017.

                                                  /s/ Jeffrey D. Anderson
                                                  Jeffrey D. Anderson




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                                          NO. 2013-33584

 WELLSHIRE FINANCIAL SERVICES,                    §                IN THE DISTRICT COURT
 LLC, d/b/a LOANSTAR TITLE LOANS,                 §
 d/b/a/ MONEYMAX TITLE LOANS, and                 §
 d/b/a LOANMAX; MEADOWWOOD                        §
 FINANCIAL SERVICES, LLC, d/b/a                   §
 LOANSTAR TITLE LOANS, and d/b/a/                 §
 MONEYMAX TITLE LOANS; and                        §
 INTEGRITY TEXAS FUNDING, LP,                     §
                                                  §            OF HARRIS COUNTY, TEXAS
        Plaintiffs,                               §
                                                  §
 v.                                               §
                                                  §
 TMX FINANCE HOLDINGS, INC.;                      §
 TMX FINANCE, LLC;                                §
 TMX FINANCE OF TEXAS, INC.; and                  §
 TITLEMAX OF TEXAS, INC.                          §
                                                  §               152nd JUDICIAL DISTRICT
        Defendants.                               §
                                                  §
                                                  §


                      PLAINTIFFS’ THIRD AMENDED PETITION AND
                             REQUEST FOR DISCLOSURE

       COME NOW, Plaintiffs WELLSHIRE FINANCIAL SERVICES, LLC, d/b/a

LOANSTAR TITLE LOANS, d/b/a/ MONEYMAX TITLE LOANS, and d/b/a LOANMAX;

MEADOWWOOD FINANCIAL SERVICES, LLC, d/b/a LOANSTAR TITLE LOANS, and

d/b/a/ MONEYMAX TITLE LOANS; and INTEGRITY TEXAS FUNDING, LP and file this

Amended Petition and Request for Disclosure, and respectfully show the following:

                                     I.      DISCOVERY

       1.      Pursuant to Tex. R. Civ. P. 190.3, discovery is to be conducted under a Level 3

discovery control plan.




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                                         II.     PARTIES

         2.     Plaintiff Wellshire Financial Services, LLC, d/b/a LoanStar Title Loans

(“LoanStar”) is a limited liability company organized under the laws of the State of Georgia.

LoanStar is registered to transact business in the State of Texas.

         3.     Plaintiff Meadowwood Financial Services, LLC, d/b/a LoanStar Title Loans, and

d/b/a/ Moneymax Title Loans (“Meadowwood”) is a limited liability company organized under

the laws of the State of Georgia. Meadowwood is registered to transact business in the State of

Texas.

         4.     Plaintiff Integrity Texas Funding, LP (“Integrity”) is a limited partnership

organized under the laws of the State of South Carolina. Integrity is registered to transact

business in the State of Texas.

         5.     LoanStar, Meadowwood, and Integrity are hereafter referred to collectively as

“Plaintiffs.”

         6.     Defendant TMX Finance Holdings, Inc. (“TMX Finance Holdings”) is a

corporation organized under the laws of the State of Delaware, whose home office address is 15

Bull Street, Suite 200, Savannah, GA 31401. Defendant TMX Finance Holdings has engaged in

business in the State of Texas, does not maintain a regular place of business in the State of

Texas, does not have a registered agent for service of process in the State of Texas, and therefore

may be served with process through the Texas Secretary of State, 1019 Brazos Street, Austin,

Texas 78701.

         7.     Defendant TMX Finance, LLC (“TMX Finance”) is a limited liability company

organized under the laws of the State of Delaware, whose home office address is 15 Bull Street,

Suite 200, Savannah, GA 31401. Defendant TMX Finance has engaged in business in the State

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of Texas, does not maintain a regular place of business in the State of Texas, does not have a

registered agent for service of process in the State of Texas, and therefore may be served with

process through the Texas Secretary of State, 1019 Brazos Street, Austin, Texas 78701.

       8.      Defendant TMX Finance of Texas, Inc. (“TMX Finance Texas”) is a corporation

organized under the laws of the State of Delaware. TMX Finance Texas is registered to transact

business in the State of Texas and may be served with process by serving its registered agent, CT

Corporation System, at 350 North St. Paul St., Suite 2900, Dallas, Texas 75201.

       9.      Defendant TitleMax of Texas, Inc. (“TMX Texas”) is a corporation organized

under the laws of the State of Delaware. TMX Texas is registered to transact business in the

State of Texas and may be served with process by serving its registered agent, CT Corporation

System, at 350 North St. Paul St., Suite 2900, Dallas, Texas 75201.

       10.     Defendants TMX Finance Holdings, TMX Finance, TMX Finance of Texas, and

TMX Texas are jointly and severally liable for Plaintiffs’ claims and are collectively referred to

as “Defendants” or “TitleMax.”


                                    III.    JURISDICTION

       11.     The court has jurisdiction over the lawsuit because the amount in controversy

exceeds this court’s minimum jurisdictional requirements.

       12.     The court has jurisdiction over Defendants, nonresident corporations, because

Defendants have purposefully availed themselves of the privileges and benefits of conducting

business in Texas.




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                                          IV.    VENUE

       13.     Venue is proper in Harris County under Chapter 15 of the Tex. Civ. Prac. & Rem.

Code, including but not limited to §15.002.


                                    V.     ACTS OF AGENTS

       14.     When it is alleged that Defendants did any act, it is meant that Defendants

performed or participated in such act or thing, or Defendants’ officers, agents, or employees

performed or participated the act or thing and were authorized to do so by Defendants.


                                          VI.    FACTS

                               A.        PLAINTIFFS’ BUSINESS

       15.     LoanStar is licensed and operates as a Credit Services Organization (“CSO”)

under Texas law.

       16.     Meadowwood is licensed and operates as a Credit Services Organization (“CSO”)

under Texas law.

       17.     Integrity operates as a consumer lender to provide secured and unsecured loans to

customers.

       18.     LoanStar brokers loans exclusively with Integrity. The loans that LoanStar and

Integrity specialize in offering are loans secured by customers’ motor vehicles.

       19.     Meadowwood brokers loans exclusively with Integrity. The loans that

Meadowwood and Integrity specialize in offering are loans secured by customers’ motor

vehicles.

       20.     The major value of a customer’s business to Plaintiffs is the retention of that

customer, both for refinances and future loans. Therefore, Plaintiffs invest significant time and

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resources in developing the existing customer relationship. Due to these efforts, customers will

return to Plaintiffs for future loans and use Plaintiffs to refinance their loans. It is this customer

retention that produces value for Plaintiffs.

        21.      To preserve that value, Plaintiffs expend significant effort and money to obtain

and retain the business of its customers. Plaintiffs’ customer list is proprietary and confidential,

and the information is appropriately protected from any unauthorized access or distribution.

        22.      LoanStar shares its proprietary customer list and customer loan information with

Integrity under contractual assurances of confidentiality and appropriate treatment. LoanStar’s

customers are Integrity’s customers.

        23.      Meadowwood shares its proprietary customer list and customer loan information

with Integrity under contractual assurances of confidentiality and appropriate treatment.

Meadowwood’s customers are Integrity’s customers.


                               B.      DEFENDANTS’ BUSINESS

        24.      Defendants are part of a family of related companies operating under the name

“TitleMax.” TitleMax is engaged in the business of automobile title lending, and is a competitor

of Plaintiffs.

        25.      Defendant TMX Texas operates as a CSO under Texas law and is a competitor of

Plaintiffs.

        26.      Defendant TMX Finance Texas also operates as a CSO under Texas law and is a

competitor of Plaintiffs.

        27.      Defendant TMX Finance is a parent company which owns all ownership and

membership interests of various operating subsidiaries, including Defendants TMX Finance


                                                   5




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Texas and TMX Texas. Defendant TMX Finance manages, directs, and controls all operations

of its operating subsidiaries, including Defendants TMX Finance Texas and TMX Texas.

       28.     Tracy Young is the CEO of TMX Finance and controls all aspects of the

company. Mr. Young owns TMX Finance through his ownership interest in TMX Finance

Holdings.

       29.     Defendant TMX Finance Holdings is a parent company which owns all ownership

and membership interests in Defendant TMX Finance, and thus indirectly owns Defendants

TMX Finance Texas and TMX Texas.

       30.     Mr. Young is also the CEO of TMX Finance Holdings. Mr. Young also controls

all aspects of TMX Finance Holdings. Mr. Young owns TMX Finance Holdings.

       31.     Otto Bielss is a President or Senior Executive for the TitleMax family of

companies. In those capacities, Mr. Bielss controls or directs the business activities of those

companies, including their sales and marketing operations.


               C.      TEXAS DMV DRIVER INFORMATION DATABASE

       32.     The Texas Department of Motor Vehicles (“DMV”) maintains a database of

records containing drivers’ personal information collected in connection with obtaining a

driver’s license and/or vehicle registration (“DMV Records”). The DMV sells DMV Records to

certain entities who are authorized to resell the DMV Records under very limited circumstances

(the “Authorized Resellers”). Access to DMV Records is severely restricted to only a few

permissible uses because of the sensitive personal identifying nature of the information contained

therein. Violation of the federal and state laws limiting access to DMV Records is a punishable

criminal offense.


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             D.       CONDUCT OF DEFENDANTS’ EMPLOYEES OR AGENTS

       33.        Upon information and belief, Defendants have conspired to surreptitiously target

and collect the license plate numbers of the customers in LoanStar’s and Meadowwood’s parking

lots, and have used that information to perform impermissible searches for the customers’

personal information in DMV Records. Defendants have also conspired to impermissibly search

the DMV Records directly by lienholder to identify Plaintiffs’ customers, obtain their personal

information, and use that information for impermissible purposes.

       34.        Access to the non-public DMV Records is strictly prohibited by state and federal

statute, including the Texas Motor Vehicle Records Disclosure Act, Tex. Transp. Code §

730.001 et seq., and the federal Driver’s Privacy Protection Act, 18 U.S.C. § 2721 et seq., except

for specifically enumerated purposes.

       35.        Therefore, in order to access these DMV Records, Defendants are required to—

and do in fact—falsely represent to the Authorized Resellers that they will use the information

therein for a statutorily permitted purpose. Defs.’ No Evidence and Traditional Summary

Judgment Mtn. filed February 5, 2016, at 16-18. Defendants actually use such information to

solicit Plaintiffs’ customers for loan products absent their consent or an opportunity to prohibit

such solicitation, which is impermissible. In fact, Defendants do not even advise the customers

that their information was obtained from DMV Records.

       36.        Through these acts, Defendants have sought to collect and compile the

information contained in Plaintiffs’ confidential customer lists for Defendants’ use in the direct

contact and solicitation of Plaintiffs’ customers. Specifically, Defendants’ fraudulent scheme is

to obtain access to the identities and contact information belonging to Plaintiffs’ customers via

the DMV Records—which requires an affirmative act of misrepresentation to the Authorized

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Resellers as described above—and then to solicit the identified customers via methods including

direct mail and telephone calls, offering to buy out their loan(s) with Plaintiffs on terms they

purport to be favorable for the customers. This conduct comprises a single, continuous scheme,

each individual act being dependent on the commission of the other acts in order for the scheme

to carry out its fraudulent purpose.

       37.     For example, on or about January 18, 2013, Defendants utilized the United States

Postal Service to send a letter to Plaintiffs’ existing customer Ana Maria Ochoa, offering to buy

out her current loan by issuing her a new loan on purportedly better terms. Defendants could not

have learned of Ms. Ochoa’s identity or that she was an existing title loan customer, other than

via their illegal searches of the DMV records. Pltfs.’ Appl. for Temp. Restraining Order (“TRO

Appl.”) filed June 8, 2013, Ex. E. This tactic was repeated on countless occasions throughout

the State of Texas.

       38.     Upon information and belief, the fraudulent customer-stealing conspiracy outlined

above was approved and sanctioned at the highest levels of Defendants’ management structure

located in the State of Georgia. Specifically, upon information and belief, it was directed and

concealed by Defendants’ top executives and ownership including Tracy Young and Otto Bielss.

Mr. Young and Mr. Bielss are therefore co-conspirators in this scheme.

       39.     Indeed, Plaintiffs placed Defendants’ General Counsel, Vin Thomas (also located

in the State of Georgia), on notice that this conduct was occurring as of at least November 15,

2012 via letter directed to him. Pltfs.’ TRO Appl., Ex. F. Immediately thereafter, Mr. Thomas

discussed Plaintiffs’ letter with Defendants’ senior management, including Mr. Young and Mr.

Bielss. In a responsive letter dated December 6, 2012, Mr. Thomas denied the conduct was

occurring, but acknowledged that it would be improper if it were. Pltfs.’ TRO Appl., Ex. G.

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       40.     Notwithstanding Defendants’ assurances, their fraudulent scheme not only

continued, it expanded. Pltfs.’ TRO Appl., Exs. E, H. For example, in the spring of 2013,

Defendants, via General Manager Ishmael Hernandez, conducted such a large search of one

Authorized Reseller’s databases that it “overwhelmed” its servers and resulted in other customers

encountering difficulty in obtaining information from them. Id. Mr. Hernandez emailed his

colleague Keith Haberstroh (also a General Manager) a list of Plaintiffs’ customers obtained

from the Authorized Reseller, and Mr. Haberstroh forwarded the list to various other of

Defendants’ General Managers, as well as two of Defendants’ retail stores, instructing them to

use the list for a “mailer.” Pltfs.’ TRO Appl., Exs. S, T.

       41.     In a similar instance, Mr. Hernandez emailed Defendants’ employee a list of

Plaintiffs’ customers’ identifying information obtained from an Authorized Reseller, stating—in

an email titled “GOOD LUCK”—“Here are some leads just for your area.” See Plaintiffs’ TRO

Appl., Ex. U. Later, at deposition in this case, Mr. Hernandez asserted his Fifth Amendment

right against self-incrimination when asked about these activities, as did three other employees

engaged in similar conduct (Felix DeLeon, James Batterson, and Lucia Grajeda).

       42.     In May 2013, an employee and whistleblower using the pseudonym “Humble

Veritas” contacted Defendants’ corporate human resources and legal departments alleging that

Defendants’ employees were engaging in the conduct described herein. In contrast to

Defendants’ assurances to Plaintiffs that the conduct was not occurring and would be considered

improper if it was, Defendants’ corporate departments advised Humble Veritas that the conduct

in question constituted “an acceptable business practice.”

       43.     Despite this e-mail exchange in May 2013, and despite the knowledge of

Defendants’ top management and ownership (including Mr. Young and Mr. Bielss) that

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Defendants were engaging in the conduct described herein, Defendants abjectly failed to produce

these “smoking gun” e-mails to Plaintiffs in discovery. In February 2015, after nothing had been

done to rectify Defendants’ illegal and fraudulent conduct, Humble Veritas forwarded his e-

mails to Plaintiffs’ counsel, stating that they may be of “interest” in the pending litigation.

            44.    Defendants’ illegal and unlawful actions have interfered with and hindered

Plaintiffs’ ability to conduct their businesses and affairs with such customers, causing them to

lose thousands of customers to Defendants as a direct result of the fraudulent scheme alleged

herein.

            45.    As a result, Plaintiffs have lost millions of dollars in profits as a direct result of

the fraudulent scheme alleged herein.


                                      VII.    CAUSES OF ACTION

       A.         COUNT I – MISAPPROPRIATION OF PLAINTIFFS’ TRADE SECRETS

            46.    Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.

            47.    Plaintiffs’ customer list and related loan information are trade secrets under Texas

law.

            48.    Defendants have acquired or discovered Plaintiffs’ trade secret by improper

means. Defendants have performed unlawful and impermissible searches for the drivers’

personal information in the DMV Records in order to target Plaintiffs’ customers for direct

contact and solicitation. This conduct is continuous and ongoing.

            49.    Defendants have used, and continue to use, Plaintiffs’ trade secrets without

authorization from Plaintiffs. Upon information and belief, Defendants have accessed

information from the DMV Records to circumvent the measures Plaintiffs have in place to


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prevent unauthorized access to Plaintiffs’ trade secrets. Defendants then used the unlawfully

accessed personal information to solicit Plaintiffs’ customers for business.

          50.    Defendants’ unauthorized use of Plaintiffs’ trade secrets has harmed Plaintiffs.

Defendants were and are in fact using the personal information, including the name, address,

date of birth, and driver’s license number, to directly contact and solicit Plaintiffs’ existing and

prospective customers. Defendants’ unlawful efforts have caused Plaintiffs to lose customers to

Defendants.

          51.    As a direct and proximate result of Defendants’ infringing acts, Plaintiffs have

suffered damages in the form of the loss of existing and prospective customers, loss of business

goodwill, loss of interest payments under the current loan contracts, loss of interest payments

under the prospective loan contracts, and loss of associated prospective fees in an amount not

less than that which will make Plaintiffs whole and which will be proven at trial.

          52.    Defendants’ conduct was committed intentionally, knowingly, and with callous

disregard of Plaintiffs’ legitimate rights. Accordingly, Plaintiffs are entitled to recover

exemplary damages in an amount to be determined by a jury.


     B.         COUNT II - TORTIOUS INTERFERENCE WITH INTEGRITY’S LOAN
                                     CONTRACTS

          53.    Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.

          54.    Defendants had actual knowledge of the valid Loan Contracts existing between

Integrity and its customers.

          55.    Despite their actual knowledge of the Loan Contracts, Defendants willfully and

intentionally interfered with the customers’ performance of the Loan Contracts by one, or both,

of the following independently tortious and unlawful acts for the purpose of directly contacting

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and soliciting Plaintiffs’ customers: (1) surreptitiously recording the customers’ license plate

numbers to perform impermissible searches of the DMV Records or (2) impermissibly searching

the DMV Records by lienholder for Integrity’s customers. Defendants were not parties to the

Loan Contracts, had no rights or interests in the Loan Contracts and no legitimate justification or

excuse for their interference.

       56.     Integrity has been damaged as a direct and proximate result of Defendants’

conduct including the loss of existing customers and Loan Contracts, loss of business goodwill,

and loss of interest due under the Loan Contracts, in an amount not less than that which will

make Integrity whole and which will be proven at trial.

       57.     Defendants’ conduct was committed intentionally, knowingly, and with callous

disregard of Integrity’s legitimate rights. Accordingly, Integrity is entitled to recover exemplary

damages in an amount to be determined by a jury.


        C.   COUNT III - TORTIOUS INTERFERENCE WITH INTEGRITY’S
        PROSPECTIVE LOAN CONTRACTS AND BUSINESS RELATIONSHIPS

       58.     Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.

       59.     Defendants had actual knowledge of the relationship between Integrity and its

customers, including the reasonable probability that Integrity would have entered into business

relationships with its repeat customers.

       60.     Despite Defendants’ actual knowledge of the current and prospective

relationships between Integrity and its customers, Defendants willfully and intentionally

interfered with Integrity’s prospective contracts and business relationships by one, or both, of the

following independently tortious and unlawful acts for the purpose of directly contacting and

soliciting Plaintiffs’ customers: (1) surreptitiously recording the customers’ license plate

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numbers to perform impermissible searches of the DMV Records or (2) impermissibly searching

the DMV Records by lienholder for Integrity’s customers. Defendants had no legitimate right,

justification, or excuse to interfere in the relationship between Integrity and its customers, and

Defendants’ conduct was intentionally calculated to damage Integrity.

       61.     Integrity has been damaged as a direct and proximate result of Defendants’

conduct including the loss of prospective Loan Contracts, loss of business goodwill, and loss of

interest due under the prospective Loan Contracts, in an amount not less than that which will

make Integrity whole and which will be proven at trial.

       62.     Defendants’ conduct was committed intentionally, knowingly, and with callous

disregard of Integrity’s legitimate rights. Accordingly, Integrity is entitled to recover exemplary

damages in an amount to be determined by a jury.


     D.   COUNT IV - TORTIOUS INTERFERENCE WITH LOANSTAR’S AND
       MEADOWWOOD’S PROSPECTIVE CSO CONTRACTS AND BUSINESS
                           RELATIONSHIPS

       63.     Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.

       64.     Defendants had actual knowledge of the relationship between LoanStar and

Meadowwood and their existing customers, respectively, including the reasonable probability

that LoanStar and Meadowwood would have entered into business relationships with their

respective repeat customers.

       65.     Despite Defendants’ actual knowledge of the relationship between LoanStar and

its customers, and Meadowwood and its customers, Defendants willfully and intentionally

interfered with LoanStar’s and Meadowwood’s respective, prospective contracts and business

relationships by one, or both, of the following independently tortious and unlawful acts for the


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purpose of directly contacting and soliciting Plaintiffs’ customers: (1) surreptitiously recording

the customers’ license plate numbers to perform impermissible searches of the DMV Records or

(2) impermissibly searching the DMV Records by lienholder for Integrity’s customers.

Defendants had no legitimate right, justification, or excuse to interfere in the relationship

between LoanStar and its customers, and between Meadowwood and its customers, and

Defendants’ conduct was intentionally calculated to damage LoanStar and Meadowwood.

        66.    LoanStar and Meadowwood have been damaged as a direct and proximate result

of Defendants’ conduct including the loss of existing customers, loss of business goodwill, and

loss of CSO Fees under the prospective CSO Contracts, in an amount not less than that which

will make LoanStar and Meadowwood whole and which will be proven at trial.

        67.    Defendants’ conduct was committed intentionally, knowingly, and with callous

disregard of LoanStar’s and Meadowwood’s legitimate rights. Accordingly, LoanStar and

Meadowwood are entitled to recover exemplary damages in an amount to be determined by a

jury.


                                E.      COUNT V – CIVIL RICO

        68.    Plaintiffs incorporate the foregoing paragraphs as if fully set forth herein.

        69.    At all relevant times, each Defendant was a “person” within the meaning of the

federal Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961(3).

        70.    All Defendants, along with their ownership and executives including Mr. Young

and Mr. Bielss, constitute an association-in-fact “enterprise” as that term is defined in 18 U.S.C.

§ 1964(4), that engages in, and the activities of which affect, interstate commerce.




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           71.   Specifically, upon information and belief, Defendants’ conduct in fabricating a

scheme to steal customers from Plaintiffs was invented at the highest levels of Defendants’

corporate structure, and then filtered down throughout the same. Each of the operating

subsidiaries of Defendants TMX Finance Holdings and TMX Finance, along with their

employees and agents, were complicit in this fraudulent scheme and acted in furtherance of that

scheme when they, among other things, falsely represented to the Authorized Resellers that they

intended to use the information obtained by DMV Records for a statutorily-permitted purpose,

and subsequently used that information to target Plaintiffs’ customers with mailed solicitations in

violation of 18 U.S.C. § 1341. The conduct of Defendants and their co-conspirators spans state

lines to target Plaintiffs’ customers, as it is directed from and approved by executives located in

the State of Georgia and utilized the U.S. mail services. This conspiracy began in at least 2011

and continued through the present.

           72.   As a result of Defendants’ fraudulent scheme, Plaintiffs have lost relationships

with thousands of customers and been denied a fair opportunity to consummate relationships

with many more potential customers, causing Plaintiffs to forfeit millions of dollars in lost

profits.


                                   VIII. EQUITABLE RELIEF

           73.   As may be demonstrated in a separate application for temporary restraining order,

temporary injunction, and permanent injunction, Plaintiffs request any and all equitable relief to

which they may be entitled.


                                      IX.     JURY DEMAND

           74.   Plaintiffs demand a jury trial and tender the appropriate fee with this petition.

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                                XII.    CONDITIONS PRECEDENT

       75.       All conditions precedent to Plaintiffs’ claim for relief have been performed or

have occurred.


                              XIII. REQUEST FOR DISCLOSURE

       76.       Under Tex. R. Civ. Proc. 194, Plaintiffs request that Defendants disclose, within

50 days of the service of this request, the information or material described in Rule 194.2.


                                           XIV. PRAYER

       WHEREFORE, Plaintiffs respectfully pray that Defendants be cited to appear and

answer, and on final trial, that Plaintiffs be awarded a judgment against Defendants, jointly and

severally, for the following:

       a.        Actual damages;

       b.        Disgorgement of all profits wrongfully earned by Defendants;

       c.        Exemplary damages, including treble damages as authorized by RICO;

       d.        Prejudgment and postjudgment interest;

       e.        Attorney fees;

       f.        Court costs; and

       g.        All other relief to which Plaintiffs are entitled.


DATED: August 16, 2017                           Respectfully submitted,

                                                 JOHNSON GARCIA LLP

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                                  CERTIFICATE OF SERVICE

        This is to certify that a copy of the within and foregoing has been forwarded to all counsel

of record in accordance with Texas Rules of Civil Procedure 21 and 21a on this 16th day of August 2017.

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